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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      §
    In re:                                                            §      Chapter 11
                                                                      §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                           §      Case No. 20-33233 (DRJ)
                                                                      §
                                       Debtors.                       §      (Joint Administration Requested)
                                                                      §

                     DECLARATION OF DOMENIC J. DELL’OSSO, JR.,
                   EXECUTIVE VICE PRESIDENT AND CHIEF FINANCIAL
                    OFFICER OF CHESAPEAKE ENERGY CORPORATION
             IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

             I, Domenic J. Dell’Osso, Jr., hereby declare under penalty of perjury:

             1.     I am the Executive Vice President and Chief Financial Officer of Chesapeake

Energy Corporation2 (“CEC” and, together with its debtor subsidiaries, “Chesapeake” or the

“Debtors”), a corporation organized under the laws of Oklahoma, and one of the above-captioned

Debtors. As Executive Vice President and Chief Financial Officer since November 2010, my

responsibilities include, among others, evaluating Chesapeake’s restructuring and refinancing

alternatives and negotiating with Chesapeake’s stakeholders.                       Previously, I was the Vice

President—Finance for CEC and Chief Financial Officer of Chesapeake Midstream Development,

L.P., a Delaware limited partnership and wholly owned midstream subsidiary of CEC. Prior to

joining Chesapeake, I had approximately five years of experience in the oil and gas industry,




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
      Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
2
      A chart depicting the Debtors’ organizational structure is attached hereto as Exhibit A.
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including serving as an energy investment banker with Jefferies & Co. and Banc of America

Securities LLC.

          2.   On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) with the

United States Bankruptcy Court for the Southern District of Texas (the “Court”). To minimize the

adverse effects on their business, the Debtors have filed motions and pleadings seeking various

types of “first day” relief (collectively, the “First Day Motions”). The First Day Motions seek

relief to allow the Debtors to meet necessary obligations and fulfill their duties as debtors in

possession. I am familiar with the contents of each First Day Motion and believe that the relief

sought in each First Day Motion is necessary to enable the Debtors to operate in chapter 11 with

minimal disruption or loss of productivity and value, constitutes a critical element in achieving a

successful reorganization of the Debtors, and best serves the Debtors’ estates and creditors’

interests.

          3.   I am generally familiar with the Debtors’ day-to-day operations, business and

financial affairs, and books and records. Except as otherwise indicated herein, all facts set forth

in this declaration are based upon my personal knowledge of the Debtors’ employees, operations,

and finances, information learned from my review of relevant documents, information supplied to

me by other members of the Debtors’ management and their advisors, or my opinion based on my

experience, knowledge, and information concerning the Debtors’ operations and financial

condition. I am over the age of 18 and am authorized to submit this declaration on behalf of the

Debtors, and, if called upon to testify, I could and would testify competently to the facts set forth

herein.




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         4.      This declaration has been organized into five sections.                      The first provides

background information on the Debtors’ business and operations.3 The second offers detailed

information on the Debtors’ capital structure. The third gives an overview of pending litigation

in which the Debtors are involved. The fourth describes the events leading to the filing of these

chapter 11 cases and the Debtors’ prepetition restructuring efforts. The fifth sets forth the

evidentiary basis for the relief requested in each of the First Day Motions.

                                           Preliminary Statement

         5.      The Debtors commence these chapter 11 cases with commitments from the majority

of their first lien, first lien last out, and second lien creditors for over $4 billion of new capital,

including a $925 million new money debtor-in-possession (“DIP”) facility, a $600 million fully

backstopped rights offering, and $2.5 billion exit facilities. The rights offering and exit facilities,

combined with the equitization of all obligations junior to the Revolving Credit Facility pursuant

to the Restructuring Support Agreement (as defined herein) executed by the Debtors and the

Consenting Stakeholders (as defined in the Restructuring Support Agreement) will deleverage the

Debtors’ balance sheet by approximately $7 billion. This remarkable level of support and

investment, achieved in the face of a global pandemic and an unprecedented downturn in the oil

and gas industry, will position the Debtors for long-term success.

         6.      The Debtors’ business has been burdened by an overlevered balance sheet for many

years.   The Debtors have worked tirelessly since 2013 to reduce their outstanding funded

indebtedness through a series of strategic and financial transactions, including most recently in




3
    Many of the financial figures presented in this declaration are unaudited and potentially subject to change but
    reflect the Debtors’ most recent review of their business. The Debtors reserve all rights to revise and supplement
    the figures presented herein.



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December 2019.       Despite these efforts, the Debtors require a comprehensive deleveraging

transaction to position the business for profitability in the current commodity price environment.

        7.      In light of the current commodity price environment, the Debtors recognized that a

successful restructuring likely would require both a significant deleveraging and a significant new

money investment. With that in mind, beginning in late March 2020, the Debtors, with the

assistance of their advisors, commenced comprehensive restructuring negotiations with their major

creditor constituencies, including MUFG, the administrative agent under the Revolving Credit

Facility, an ad hoc group of lenders under the $1.5 billion new money FLLO Term Loan Facility

(the “FLLO Term Loan Group”) that was borrowed in December 2019, and Franklin Advisers,

Inc., as investment manager on behalf of certain funds and accounts (“Franklin”). Each of these

constituents retained restructuring advisors:

               MUFG is represented by Sidley Austin LLP, as counsel, Houlihan Lokey Capital,
                Inc., as investment banker, and RPA Advisors, LLC, as financial advisor;

               the FLLO Term Loan Group is represented by Davis Polk & Wardwell LLP, as
                counsel, and Perella Weinberg Partners LP and Tudor, Pickering, Holt & Co., as
                investment bankers; and

               Franklin is represented by Akin Gump Strauss Hauer & Feld LLP, as counsel,
                Moelis & Company LLC, as investment banker, and FTI Consulting, Inc., as
                financial advisor.

        8.      The Debtors focused their conversations with Revolving Credit Facility lenders on

the terms of a potential DIP and potential exit financing and their conversations with the FLLO

Term Loan Group and Franklin on all aspects of a comprehensive restructuring, including the

terms of a new money investment.

        9.      On April 9, 2020, the Debtors, with the assistance of their advisors, launched a DIP

marketing process. The Debtors contacted five institutions within the first-tier of the Debtors’

existing capital structure, as well as several financial institutions with junior secured debt holdings,



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to gauge their interest in providing DIP and exit financing to the Debtors. In connection with this

process and as described in greater detail herein, the Debtors received initial indications of interest

from four lenders or groups of lenders within the Revolving Credit Facility, including three

individual Revolving Credit Facility lenders and the steering committee of Revolving Credit

Facility lenders led by MUFG.

       10.     By early May 2020, the Debtors were negotiating two competing proposals: a

$1.35 billion new money DIP facility with $2.5 billion in exit financing led by a prominent

financial institution (the “non-MUFG proposal”), and a $925 million new money DIP facility led

by MUFG that was supported by a majority of the Revolving Credit Facility lenders (the “MUFG

proposal”). Although the Debtors initially preferred the non-MUFG proposal, the Debtors were

unable to secure the requisite level of Revolving Credit Facility lender support for such proposal.

As a result, the Debtors and their advisors focused their efforts on negotiating the MUFG proposal.

These efforts bore fruit. After almost six weeks of hard fought, arm’s-length negotiations, the

Debtors, MUFG, and 100 percent of the Revolving Credit Facility lenders agreed on the terms of

a $925 million new money DIP facility.

       11.     In parallel with the DIP marketing process, the Debtors engaged with advisors to

each of the FLLO Term Loan Group and Franklin regarding the terms of a comprehensive

deleveraging transaction. The Debtors highlighted in their initial conversations with the lenders’

advisors that the preference period for certain liens granted in connection with the December 2019

Refinancing Transactions, including the issuance of the approximately $1.5 billion new-money

FLLO Term Loan Facility and uptier of the Second Lien Notes, may expire in mid-May 2020 and

that the possible expiration of the preference periods would inform the Debtors’ determination of

when to commence these chapter 11 cases. Specifically, the Debtors communicated that, absent




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agreement or significant progress toward agreement on the terms of a new money investment and

deleveraging transaction, the Debtors likely would commence chapter 11 cases in advance of that

date.

          12.   With the specter of potential preference litigation hanging over negotiations, the

Debtors were able to reach agreement with the FLLO Term Loan Group members and Franklin on

the parameters of a restructuring transaction that included a $600 million fully backstopped rights

offering within approximately three weeks from the start of negotiations. Over the course of the

next month while the Debtors continued to negotiate the DIP Facility, the Debtors, the FLLO Term

Loan Group, and Franklin continued to refine the terms of the rights offering and other

restructuring transactions in mid-May 2020.

          13.   As the primary terms of the DIP financing neared conclusion, the Revolving Credit

Facility lenders were included as part of the restructuring support agreement negotiations,

particularly in light of the desire to de-risk the Debtors’ contemplated restructuring through

committed exit financing. The Revolving Credit Facility lenders and the FLLO Term Loan Group

engaged directly on the terms of a global deal, including the terms of proposed exit financing. On

June 18, 2020, the Revolving Credit Facility lenders, the FLLO Term Loan Group, and Franklin

reached agreement in principle on a global deal, which included $2.5 billion exit facilities,

comprised of a $1.75 billion revolving facility and a $750 million first lien last out term loan

facility.   The terms of the global agreement are documented in the Restructuring Support

Agreement executed on June 28, 2020.

          14.   The Restructuring Support Agreement delivers significant value to all stakeholders

in the form of a deleveraged balance sheet and a significant new money investment that together




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will provide a path to exit in a volatile and challenging commodity price environment.

Specifically, the Restructuring Support Agreement provides the following recoveries to creditors:4

       Revolving Credit Facility Claims: Each holder of an Allowed Revolving Credit Facility
        Claim shall receive its pro rata share of either (i) Tranche A RBL Exit Facility Loans or
        (ii) Tranche B Exit Facility Loans on a dollar for dollar basis.

       FLLO Term Loan Facility Claims: Each holder of an Allowed FLLO Term Loan Facility
        Claim shall receive its pro rata share of (a) 76 percent of the New Common Stock (subject
        to dilution on account of the management incentive plan, rights offering, backstop
        commitment fee, and new warrants) and (b) the right to participate in the Rights Offering
        on the terms set forth in the Restructuring Support Agreement.

       Second Lien Notes Claims: Each holder of an Allowed Second Lien Notes Claim shall
        receive its pro rata share of (a) 12 percent of the New Common Stock (subject to dilution
        on account of the management incentive plan, rights offering, backstop commitment fee,
        and new warrants), (b) the right to participate in the Rights Offering on the terms set forth
        in Restructuring Support Agreement, (c) the New Class A Warrants, (d) the New Class B
        Warrants, and (e) 50 percent of the New Class C Warrants.

       Unsecured Notes Claims: Each holder of an Allowed Unsecured Notes Claim shall
        receive its pro rata share of (a) 12 percent of the New Common Stock (subject to dilution
        on account of the management incentive plan, rights offering, backstop commitment fee,
        and new warrants) (the “Unsecured Claims Recovery”) and (b) 50 percent of the New Class
        C Warrants.

       General Unsecured Claims: Each holder of an Allowed General Unsecured Claim shall
        receive its pro rata share of the Unsecured Claims Recovery.

        15.      The Restructuring Support Agreement also sets out certain dates and deadlines by

which the Debtors must achieve certain milestones in these cases, including:

       no later than 5 days after the Petition Date, the Bankruptcy Court shall have entered the
        Interim DIP Order;

       no later than 30 days after the Petition Date, the Company Parties shall have filed a motion
        seeking entry of the Backstop Commitment Agreement Approval Order;

       no later than 30 days after the Petition Date, the Company Parties shall have filed a motion,
        which is acceptable to the DIP Agent, seeking (i) approval of all fees to be paid with respect
        to the Exit Facilities and (ii) authority to pay the upfront fees, arranger fees, and any other

4
    Capitalized terms used in Paragraphs 14 and 15 but not otherwise defined herein shall have the meaning given to
    such terms in the Restructuring Support Agreement.



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       fees under the Exit Facilities Term Sheet earned and payable prior to the effective date of
       a plan of reorganization (the “Exit Facilities Motion”);

      no later than 35 days after the Petition Date, the Bankruptcy Court shall have entered the
       Final DIP Order;

      no later than 60 days after the Petition Date, the Bankruptcy Court shall have entered the
       Backstop Commitment Agreement Approval Order;

      no later than 60 days after the Petition Date, the Debtors shall have (i) obtained Bankruptcy
       Court approval of the relief requested in the Exit Facilities Motion and (ii) paid the upfront
       fees, arranger fees, and all other fees then earned and payable (as described in the Exit
       Facilities Term Sheet);

      no later than 90 days after the Petition Date, the Debtors shall have filed the Plan and
       Disclosure Statement;

      no later than 120 days after the Petition Date, the Company Parties shall have filed a motion
       seeking approval of the Disclosure Statement;

      no later than 160 days after the Petition Date, the Bankruptcy Court shall have entered an
       order approving the Disclosure Statement;

      no later than 195 days after the Petition Date, the Bankruptcy Court shall have entered the
       Confirmation Order; and

      no later than 220 days after the Petition Date, the Plan Effective Date shall have occurred.

       16.     The DIP Facility and the Restructuring Support Agreement, including the

significant equity commitments and exit facilities commitments contained therein, demonstrate the

lenders’ support and commitment to the Debtors and belief in the strength of the Debtors’ asset

base and future potential. While pursuing the transactions set forth in the Restructuring Support

Agreement over the coming months, the Debtors plan to continue to engage and consult with all

of their major stakeholders, including the official committee of unsecured creditors once

appointed, regarding the terms of the restructuring, stabilize the business through approval of the

various First Day Motions described herein, reject certain burdensome midstream contracts, and

ensure that the Debtors have adequate liquidity through approval of the DIP Facility and

consensual use of cash collateral.


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                                                   Discussion

        17.      Chesapeake is a publicly-traded oil and natural gas company headquartered in

Oklahoma City, Oklahoma.              Founded in 1989, Chesapeake grew from its initial $50,000

investment and first well spud in Grady County, Oklahoma to become one of the largest oil and

gas exploration and production companies in the United States. In its early years, Chesapeake’s

growth was primarily attributable to its strategy of drilling horizontal natural gas wells in

unconventional reservoirs and the early adoption of hydraulic fracturing techniques in Southern

Oklahoma and Fayette County, Texas.5 In 1993, Chesapeake went public through an initial public

offering that raised approximately $25 million. With the newly raised capital, Chesapeake made

its first big lease play in the Austin Chalk formation. By 1996, Chesapeake began focusing on

opportunistic acquisitions, joint ventures, and unconventional drilling in carbonates, tight

sandstones, and shales particularly in the Barnett Shale, Fayetteville Shale, and Marcellus Shale,

and in 2008, Chesapeake discovered the Haynesville Shale in East Texas/Northwestern

Louisiana. From 2009 to 2013, Chesapeake’s natural gas production continued to grow from

2.3 billion to nearly 3.0 billion cubic feet per day. During this same time, the Debtors also began

to build substantial acreage positions in basins which produce a significant amount of crude oil

and natural gas liquids (“NGLs”), along with natural gas, including the Eagle Ford Shale in South

Texas, the Utica Shale in Ohio and the Powder River Basin in Wyoming. Recently, the Debtors

acquired additional exposure to crude oil acreage and production in the Brazos Valley of the Eagle

Ford Shale in Southeastern Texas with the acquisition of WildHorse Resource Development

Corporation (“WildHorse”) in February 2019.


5
    Unconventional reservoirs refer broadly to oil and natural gas reservoirs that do not meet the criteria for
    conventional production. By using hydraulic fracturing stimulation or “fracking” techniques, Chesapeake was
    able to extract oil and natural gas from resources whose porosity, permeability, or other characteristics differed
    from conventional sandstone reservoirs.



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         18.      Chesapeake’s growth required extensive capital support, and by the time the current

management team, led by Chief Executive Officer Robert D. Lawler, took over in 2013,

Chesapeake had been saddled with significant funded debt obligations and other legacy

commitments equating to over $20 billion in total leverage. This left Chesapeake in a tenuous

position when the oil and natural gas markets began to falter in 2014. Prior to the collapse in oil

and natural gas prices, the new management team had already undertaken immense efforts to

streamline its business operations, reduce its obligations, and divest non-core assets, and these

activities have continued until today. Ultimately, and in light of recent world events, Chesapeake

determined to commence these chapter 11 cases in order to permanently restructure its balance

sheet and position Chesapeake for long-term sustainable profitability.

I.       The Debtors’ Assets and Operations.

         19.      The Debtors have a gas-centric asset portfolio with significant, high-quality drilling

inventory.6 The Debtors hold substantial positions in the liquids-rich resource plays of the Eagle

Ford Shale in South Texas—including the Brazos Valley, the Powder River Basin in Wyoming,

and the Anadarko Basin in Northwestern Oklahoma. The Debtors’ natural gas resource plays are

the Marcellus Shale in the Northern Appalachian Basin in Pennsylvania, and the

Haynesville/Bossier Shales in Northwestern Louisiana. The following is an overview of each of

the Debtors’ six geographic operating areas, including acreage held as of December 31, 2019 and

production volumes as of March 31, 2020:




6
     As of March 31, 2020, Chesapeake’s portfolio contains 4,186 billion cubic feet of proved gas reserves,
     213 million barrels of proved oil reserves, and 78 million barrels of oil equivalent of proved NGLs reserves, in
     each case, based on Securities & Exchange Commission parameters.




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       Marcellus Shale: Chesapeake holds a significant natural gas position in the Marcellus
        Shale in the Northern Appalachian Basin in Pennsylvania, holding approximately
        538,000 net acres7 and producing an average of 163,000 barrels of oil equivalent per
        day.

       Haynesville/Bossier Shale: Chesapeake discovered and holds a large position in the
        Haynesville/Bossier Shale in the Northwestern Louisiana region. Chesapeake began
        developing natural gas in the area in 2008. Chesapeake holds approximately 293,000
        net acres and produces approximately 93,000 barrels of oil equivalent per day.

       Eagle Ford Shale of South Texas: Chesapeake holds approximately 232,000 net acres
        in South Texas and produces approximately 108,000 barrels of oil equivalent per day,
        the majority of which is crude oil.

       Brazos Valley: Chesapeake obtained their Brazos Valley position in Southeastern
        Texas through an acquisition of WildHorse in 2019. Chesapeake holds approximately
        477,000 net acres in the Brazos Valley—primarily targeting the Eagle Ford Shale oil
        formation—and produces approximately 61,000 barrels of oil equivalent per day.

       Powder River Basin: Chesapeake holds approximately 206,000 net acres in
        Wyoming’s Powder River Basin and produces approximately 38,000 barrels of oil
        equivalent per day, the majority of which is composed of crude oil and NGLs.

       Mid-Continent - Anadarko Basin: Chesapeake holds a position in the Mid-Continent
        located in Northwestern Oklahoma, holding approximately 736,000 net acres and
        producing approximately 16,000 barrels of oil equivalent per day.




7
    As opposed to a gross acre, a net acre reduces an oil and gas company’s ownership to reflect its true working
    interest, or cost-bearing interest, in a lease. Net acres are calculated by multiplying the gross acres covered by a
    lease by Chesapeake’s working interest in such lease. For example, if Chesapeake bears 50% of the costs
    associated with a 10,000 acre lease, and another company bears the remaining 50%, Chesapeake has 5,000 net
    acres in such lease.



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        20.      As of March 31, 2020, the Debtors held (i) interests in approximately 13,700 gross

wells, a substantial majority of which are Debtor-operated, (ii) approximately 5,193,000 gross

acres8 of developed leasehold, undeveloped leasehold, and fee minerals, in the aggregate,

and (iii) estimated proved reserves of approximately 988 million barrels of oil equivalent, in the

aggregate, of oil, natural gas, and NGLs based on Securities & Exchange Commission parameters.

For the three months ending March 31, 2020, the Debtors’ exploration and production activities

yielded a total production of approximately 479,000 barrels of oil equivalent per day.



8
    Gross acres represent the total surface area covered by Chesapeake’s leased acreage, without taking into account
    the fact that Chesapeake may not bear 100% of costs associated with such acreage. Similarly, gross producing
    wells reflect the number of wells that Chesapeake owns an interest in which are currently producing oil or natural
    gas.



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          21.      The Debtors, through Debtor Chesapeake Energy Marketing, LLC (“CEML”), also

provide oil, natural gas and NGL marketing services, including commodity price structuring;

securing and negotiating gathering, hauling, processing, and transportation services; contract

administration; and nomination services for both the Debtor and non-Debtor interest owners in

Debtor-operated wells. CEML also provides services to enhance the value of the Debtors’ oil and

natural gas production by aggregating volumes sold to various intermediary markets, end markets,

and pipelines. This aggregation enables the Debtors to attract larger, more creditworthy customers,

which assists in maximizing the prices the Debtors receive.

          22.      The Debtors’ oil typically is sold under market-sensitive, short-term or spot price

contracts, while natural gas and NGL production usually is sold to purchasers under percentage-

of-proceeds contracts, percentage-of-index contracts, or spot price contracts.9                        Under the

percentage-of-proceeds contracts, the Debtors receive a percentage of the resale price received

from the ultimate purchaser. Under the percentage-of-index contracts, the price the Debtors

receive is tied to published indices. From time to time, the Debtors also enter into long-term

gathering, processing, and transportation contracts that require the Debtors to deliver fixed,

determinable quantities of production over a specified period of time or, in the event the Debtors

are unable to deliver or transport the committed volumes, pay shortfall payments.

II.       Chesapeake’s Capital Structure.

          23.      As of the Petition Date, the Debtors have approximately $9.169 billion in total

funded debt obligations. The following table depicts the Debtors’ prepetition capital structure:




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      For any given moment, the spot price for a commodity represents the then-current price at which that commodity
      could be bought or sold for immediate delivery.



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                        Debt                        Approx. Principal Amount Outstanding ($mm)
Revolving Credit Facility                                                                   $1,929
   Letters of Credit outstanding under RCF                                                    $74
First Lien Last Out Term Loan Facility                                                      $1,500
Total Senior Secured Debt                                                                   $3,503
11.500% Senior Secured Second Lien Notes due 2025                                           $2,330
Total Secured Debt                                                                          $5,833
6.625% Senior Notes due 2020                                                                 $176
6.875% Senior Notes due 2020                                                                  $74
6.125% Senior Notes due 2021                                                                 $166
5.375% Senior Notes due 2021                                                                 $127
4.875% Senior Notes due 2022                                                                 $272
5.750% Senior Notes due 2023                                                                 $168
7.000% Senior Notes due 2024                                                                 $623
8.000% Senior Notes due 2025                                                                 $246
8.000% Senior Notes due 2026                                                                  $46
7.500% Senior Notes due 2026                                                                 $119
8.000% Senior Notes due 2027                                                                 $253
5.500% Convertible Senior Notes due 2026                                                    $1,064
6.875% BVL Senior Notes due 2025                                                               $2
Total Unsecured Debt                                                                        $3,336
Total Funded Debt                                                                           $9,169

                                                                      Approximate Liquidation
                 Preferred Equity                       Shares              Preference
5.75% Cumulative Non-Voting Convertible Preferred
                                                       423,363             $423.4 million
Stock (Series A)
5.75% Cumulative Non-Voting Convertible Preferred
                                                       770,528             $770.5 million
Stock
4.50% Cumulative Convertible Preferred Stock           2,558,900           $255.9 million
5.00% Cumulative Convertible Preferred Stock
                                                       1,810,667           $181.1 million
(Series 2005B)




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        A.      Revolving Credit Facility.

        24.     The Debtors maintain a senior secured reserve-based revolving credit facility

(the “Revolving Credit Facility”) under that certain Amended and Restated Credit Agreement,

dated as of September 12, 2018 (as amended, restated or otherwise modified from time to time,

the “Revolving Credit Facility Credit Agreement”), by and among CEC, as borrower, the Debtor

guarantors party thereto, MUFG Union Bank, N.A. (“MUFG”), as administrative agent (in such

capacity, together with its permitted successors and assigns, the “Revolving Credit Facility

Administrative Agent”), and the other lender, issuer, and agent parties thereto. Borrowings under

the Revolving Credit Facility Credit Agreement are subject to a borrowing base that is adjusted

twice each year (on June 15 and October 30), and may be adjusted twice more per year during

“wildcard” redeterminations based on the evaluation of the Debtors’ reserve reports, hedging

schedule, and other similar information subject to certain procedures set forth in the Revolving

Credit Facility Credit Agreement.      As part of these regularly scheduled borrowing base

redeterminations, effective as of June 15, 2020, the lenders under the Revolving Credit Facility

elected to reduce the borrowing base from $3 billion to $2.3 billion.

        25.     The Revolving Credit Facility includes a swingline commitment of $300 million

and a letter of credit sublimit of $750 million. Outstanding loans, swingline loans, and letters of

credit issued under the Revolving Credit Facility are capped at the lesser of the Revolving Credit

Facility borrowing base and $2.6 billion in aggregate commitments. As of the Petition Date, the

Revolving Credit Facility borrowing base is $2.3 billion and the Debtors had outstanding

borrowings under the Revolving Credit Facility of approximately $1.929 billion, excluding

outstanding letters of credit.




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       26.     The Revolving Credit Facility Credit Agreement was amended three times in 2019

in connection with the acquisition of certain assets and issuance of additional indebtedness:

      February 1, 2019: amended in connection with the WildHorse acquisition to, among
       other things, permit the Debtors’ investment in WildHorse;

      December 3, 2019: amended to, among other things, permit the issuance of the Second
       Lien Notes and entry into the FLLO Term Loan Facility without associated reductions
       in the borrowing base, increase the amount of first lien last out indebtedness that could
       be incurred by the Debtors in connection with the FLLO Term Loan Facility, modify
       certain financial performance covenants, and increase the mortgage coverage
       requirement under the Revolving Credit Facility Credit Agreement to not less than 90
       percent of the Debtors’ proved reserves; and

      December 26, 2019: amended to extend borrowing base clawback relief to Second
       Lien Notes issued in exchange for cash under certain circumstances.

       27.     The Revolving Credit Facility was amended again in June 2020 to waive certain

defaults.

       28.     The Revolving Credit Facility matures on September 12, 2023, and bears interest

at either the alternate base rate or LIBOR, at the Debtors’ election, plus an applicable margin. The

Debtors’ obligations under the Revolving Credit Facility are required to be secured on a first lien

basis by substantially all of the Debtors’ assets and property, whether real, personal, or mixed,

including by mortgages on the Debtors’ oil and gas properties representing not less than 90 percent

of the net present value (discounted at nine percent per annum) of the Debtors’ proved reserves

included in their most recently delivered reserve report, as discounted.

       B.      First Lien Last Out Term Loan Facility.

       29.     As of the Petition Date, the Debtors have approximately $1.5 billion in principal

outstanding under the first lien last out term loan facility (the “FLLO Term Loan Facility”)

incurred under that certain term loan agreement (the “FLLO Term Loan Facility Credit

Agreement”), dated as of December 19, 2019, as supplemented by that certain Class A Term Loan

Supplement, dated as of December 19, 2019 (as amended, restated or otherwise modified from


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time to time), by and among CEC, as borrower, the Debtor guarantors party thereto, GLAS USA

LLC., as administrative agent (the “FLLO Term Loan Facility Administrative Agent”), and the

lender parties thereto, and as further amended, restated or otherwise modified from time to time,

by and among CEC, as borrower, the Debtor guarantors party thereto, FLLO Term Loan Facility

Administrative Agent, and the lender parties thereto.

        30.    The FLLO Term Loan Facility matures on June 23, 2024, and bears interest at a

rate of LIBOR plus eight percent per annum with a one percent LIBOR floor. The FLLO Term

Loan Facility is subject to a make-whole premium prior to the 18-month anniversary of December

23, 2019, a premium to par equal to five percent from the 18-month anniversary until but excluding

the 30-month anniversary, and a premium to par equal to 2.5 percent from the 30-month

anniversary until but excluding the 42-month anniversary.             Beginning on the 42-month

anniversary, the Debtors may prepay the FLLO Term Loan Facility at par. The FLLO Term Loan

Facility is required to be secured by first priority liens on substantially all of the Debtors’ assets

and property, whether real, personal, or mixed, provided that the FLLO Term Loan Facility will

be second in recovery behind the Revolving Credit Facility pursuant to that certain First Lien

Collateral Trust Agreement. On June 23, 2020, the Debtors elected to skip a $22.9 million interest

payment due to FLLO Term Loan Facility lenders.

        31.    The proceeds of the FLLO Term Loan Facility were used to finance tender offers

for the BVL Senior Notes due 2025 and to repay all amounts outstanding under the revolving

credit facility assumed in connection with the WildHorse acquisition (the “BVL Revolving

Facility”).




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        C.      11.500% Senior Secured Second Lien Notes due 2025.

        32.     In connection with entry into that certain Indenture, dated as of December 19, 2019,

by and among CEC, as issuer, certain Debtor guarantors party thereto and Deutsche Bank Trust

Company Americas, as trustee and collateral trustee (the “Second Lien Notes Indenture”), the

Debtors issued a series of 11.500% Senior Secured Second Lien Notes due 2025 (the “Second Lien

Notes”) in an initial aggregate principal amount of approximately $2.2 billion in exchange for

approximately $3.2 billion in carrying value of then-existing unsecured notes.             Also on

December 19, 2019, the Debtors issued an additional $120 million of Second Lien Notes pursuant

to a private offering.

        33.     The Second Lien Notes are required to be secured by second priority liens on

substantially all of the Debtors’ assets and property, whether real, personal, or mixed. The Second

Lien Notes bear interest at a rate of 11.500% per annum, with interest payable on January 1 and

July 1 of each year, beginning on July 1, 2020. The Second Lien Notes mature on January 1, 2025.

As of the Petition Date, approximately $2.33 billion in principal is outstanding under the Second

Lien Notes.

        D.      Unsecured Notes

                1.       6.625% Senior Notes due 2020.

        34.     In connection with entry into that certain Second Supplemental Indenture, dated as

of August 17, 2010, to that certain Indenture, dated as of August 2, 2010 (the “2010 Base

Indenture”), by and among CEC, as issuer, certain Debtor guarantors party thereto, and The Bank

of New York Trust Company, N.A., as trustee, the Debtors issued a series of 6.625% senior notes

due 2020 (the “6.625% Senior Notes due 2020”) in an aggregate principal amount of $1.4 billion.




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       35.     The 6.625% Senior Notes due 2020 bear interest at a rate of 6.625% per annum,

with interest payable on February 15 and August 15 of each year, beginning on February 15, 2011.

The 6.625% Senior Notes due 2020 mature on August 15, 2020. As of the Petition Date,

approximately $176 million in principal is outstanding under the 6.625% Senior Notes due 2020.

               2.     6.875% Senior Notes due 2020.

       36.     In connection with entry into that certain Indenture, dated as of November 8, 2005,

by and among CEC, as issuer, certain Debtor guarantors party thereto, and The Bank of New York

Trust Company, N.A., as trustee, the Debtors issued a series of 6.875% senior notes due 2020 (the

“6.875% Senior Notes due 2020”) in an aggregate principal amount of $500 million.

       37.     The 6.875% Senior Notes due 2020 bear interest at a rate of 6.875% per annum,

with interest payable on May 15 and November 15 of each year, beginning on May 15, 2006.

The 6.875% Senior Notes due 2020 mature on November 15, 2020. As of the Petition Date,

approximately $74 million in principal is outstanding under the 6.875% Senior Notes due 2020.

               3.     6.125% Senior Notes due 2021.

       38.     In connection with entry into that certain Fifth Supplemental Indenture, dated as of

February 11, 2011, to the 2010 Base Indenture, by and among CEC, certain Debtor guarantors

party thereto, and The Bank of New York Trust Company, N.A., as trustee, the Debtors issued a

series of 6.125% senior notes due 2021 (the “6.125% Senior Notes due 2021”) in an aggregate

principal amount of $1 billion.

       39.     The 6.125% Senior Notes due 2021 bear interest at a rate of 6.125% per annum,

with interest payable on February 15 and August 15 of each year, beginning on August 15, 2011.

The 6.125% Senior Notes due 2021 mature on February 15, 2021. As of the Petition Date,

approximately $166 million in principal is outstanding under the 6.125% Senior Notes due 2021.




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               4.      5.375% Senior Notes due 2021.

       40.     In connection with entry into that certain Sixteenth Supplemental Indenture, dated

as of April 1, 2013, to the 2010 Base Indenture, by and among CEC, certain Debtor guarantors

party thereto, and Wilmington Savings Fund Society, FSB, as successor trustee, the Debtors issued

a series of 5.375% senior notes due 2021 (the “5.375% Senior Notes due 2021”) in an aggregate

principal amount of $700 million.

       41.     The 5.375% Senior Notes due 2021 bear interest at a rate of 5.375% per annum,

with interest payable on June 15 and December 15 of each year, beginning on December 15, 2013.

The 5.375% Senior Notes due 2021 mature on June 15, 2021.                As of the Petition Date,

approximately $127 million in principal is outstanding under the 5.375% Senior Notes due 2021.

On June 15, 2020, the Debtors elected to skip a $3.4 million interest payment due to holders of the

5.375% Senior Notes due 2021.

               5.      4.875% Senior Notes due 2022.

       42.     In connection with entry into that certain Second Supplemental Indenture, dated as

of April 24, 2014, to that certain Indenture, dated as of April 24, 2014 (the “2014 Base Indenture”),

by and among CEC, certain Debtor guarantors party thereto, and Wilmington Savings Fund

Society, FSB, as successor trustee, the Debtors issued a series of 4.875% senior notes due 2022

(the “4.875% Senior Notes due 2022”) in an aggregate principal amount of $1.5 billion.

       43.     The 4.875% Senior Notes due 2022 bear interest at a rate of 4.875% per annum,

with interest payable on April 15 and October 15 of each year, beginning on October 15, 2014.

The 4.875% Senior Notes due 2022 mature on April 15, 2022.               As of the Petition Date,

approximately $272 million in principal is outstanding under the 4.875% Senior Notes due 2022.




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               6.     5.750% Senior Notes due 2023.

       44.     In connection with entry into that certain seventeenth supplemental indenture, dated

as of April 1, 2013, to the 2010 Base Indenture, by and among CEC, certain Debtor guarantors

party thereto, and Wilmington Savings Fund Society, FSB, as successor trustee, the Debtors issued

a series of 5.750% senior notes due 2023 (the “5.750% Senior Notes due 2023”) in an aggregate

principal amount of $1.1 billion.

       45.     The 5.750% Senior Notes due 2023 bear interest at a rate of 5.750% per annum,

with interest payable on March 15 and September 15 of each year, beginning on

September 15, 2013. The 5.750% Senior Notes due 2023 mature on March 15, 2023. As of the

Petition Date, approximately $168 million in principal is outstanding under the 5.750% Senior

Notes due 2023.

               7.     7.000% Senior Notes due 2024.

       46.     In connection with entry into that certain Eighth Supplemental Indenture, dated as

of September 27, 2018, to the 2014 Base Indenture, by and among CEC, certain Debtor guarantors

party thereto, and Wilmington Savings Fund Society, FSB, as successor trustee, the Debtors issued

a series of 7.000% senior notes due 2024 (the “7.000% Senior Notes due 2024”) in an aggregate

principal amount of $850 million.

       47.     The 7.000% Senior Notes due 2024 bear interest at a rate of 7.000% per annum,

with interest payable on April 1 and October 1 of each year, beginning on April 1, 2019. The

7.000% Senior Notes due 2024 mature on October 1, 2024. As of the Petition Date, approximately

$623 million in principal is outstanding under the 7.000% Senior Notes due 2024.




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               8.     8.000% Senior Notes due 2025.

       48.     In connection with entry into that certain Sixth Supplemental Indenture, dated as of

December 20, 2016, to the 2014 Base Indenture, by and among CEC, certain Debtor guarantors

party thereto, and Wilmington Savings Fund Society, FSB, as successor trustee, the Debtors issued

a series of 8.000% senior notes due 2025 (the “8.000% Senior Notes due 2025”) in an aggregate

principal amount of $1 billion.

       49.     The 8.000% Senior Notes due 2025 bear interest at a rate of 8.000% per annum,

with interest payable on January 15 and July 15 of each year, beginning on July 15, 2017. The

8.000% Senior Notes due 2025 mature on January 15, 2025.               As of the Petition Date,

approximately $246 million in principal is outstanding under the 8.000% Senior Notes due 2025.

               9.     8.000% Senior Notes due 2026.

       50.     In connection with entry into that certain Tenth Supplemental Indenture, dated as

of April 3, 2019, to the 2014 Base Indenture, by and among CEC, certain Debtor guarantors party

thereto, and Wilmington Savings Fund Society, FSB, as successor trustee, the Debtors issued a

series of 8.000% senior notes due 2026 (the “8.000% Senior Notes due 2026”) in an aggregate

principal amount of approximately $918.5 million.

       51.     The 8.000% Senior Notes due 2026 bear interest at a rate of 8.000% per annum,

with interest payable on March 15 and September 15 of each year, beginning on

September 15, 2019. The 8.000% Senior Notes due 2026 mature on March 15, 2026. As of the

Petition Date, approximately $46 million in principal is outstanding under the 8.000% Senior

Notes due 2026.




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              10.     7.500% Senior Notes due 2026.

       52.    In connection with entry into that certain Ninth Supplemental Indenture, dated as

of September 27, 2018, to the 2014 Base Indenture, by and among CEC, certain Debtor guarantors

party thereto, and Wilmington Savings Fund Society, FSB, as successor trustee, the Debtors issued

a series of 7.500% senior notes due 2026 (the “7.500% Senior Notes due 2026”) in an aggregate

principal amount of $400 million.

       53.    The 7.500% Senior Notes due 2026 bear interest at a rate of 7.500% per annum,

with interest payable on April 1 and October 1 of each year, beginning on April 1, 2019. The

7.500% Senior Notes due 2026 mature on October 1, 2026. As of the Petition Date, approximately

$119 million in principal is outstanding under the 7.500% Senior Notes due 2026.

              11.     8.000% Senior Notes due 2027.

       54.    In connection with entry into that certain Seventh Supplemental Indenture, dated as

of June 6, 2017, to the 2014 Base Indenture, by and among CEC, certain Debtor guarantors party

thereto, and Wilmington Savings Fund Society, FSB, as successor trustee, the Debtors issued a

series of 8.000% senior notes due 2027 (the “8.000% Senior Notes due 2027”) in an aggregate

principal amount of $750 million.

       55.    The 8.000% Senior Notes due 2027 bear interest at a rate of 8.000% per annum,

with interest payable on June 15 and December 15 of each year, beginning on December 15, 2017.

The 8.000% Senior Notes due 2027 mature on June 15, 2027.             As of the Petition Date,

approximately $253 million in principal is outstanding under the 8.000% Senior Notes due 2027.

On June 15, 2020, the Debtors elected to skip a $10.1 million interest payment due to holders of

the 8.000% Senior Notes due 2027.




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                 12.    5.500% Convertible Senior Notes due 2026.

           56.   In connection with entry into that certain Indenture, dated as of October 5, 2016,

by and among CEC, certain Debtor guarantors party thereto, and Wilmington Savings Fund

Society, FSB, as successor trustee, the Debtors issued a series of 5.500% convertible senior notes

due 2026 (the “Convertible Notes”) in an aggregate principal amount of approximately $1.25

billion.

           57.   The Convertible Notes bear interest at a rate of 5.500% per annum, with interest

payable not more than 15 days after each March 1 and September 1 of each year, beginning on

March 15, 2017. The Convertible Notes mature on September 15, 2026. As of the Petition Date,

approximately $1.064 billion in principal is outstanding under the Convertible Notes.

                 13.    6.875% BVL Senior Notes due 2025.

           58.   In connection with entry into that certain Indenture, dated as of February 1, 2017,

by and among WildHorse, certain Debtor guarantors party thereto, and U.S. Bank National

Association, as trustee, WildHorse issued a series of 6.875% senior notes due 2025

(the “BVL Senior Notes” and together with the 6.625% Senior Notes due 2020, the 6.875% Senior

Notes due 2020, the 6.125% Senior Notes due 2021, the 5.375% Senior Notes due 2021, the

4.875% Senior Notes due 2022, the 5.750% Senior Notes due 2023, the 7.000% Senior Notes due

2024, the 8.000% Senior Notes due 2025, the 8.000% Senior Notes due 2026, the 7.500% Senior

Notes due 2026, the 8.000% Senior Notes due 2027, and the Convertible Notes, collectively, the

“Unsecured Notes”) in an aggregate principal amount of approximately $350 million. CEC

assumed the BVL Senior Notes on February 1, 2019.

           59.   The BVL Senior Notes bear interest at a rate of 6.875% per annum, with interest

payable on February 1 and August 1 of each year, beginning on August 1, 2017. The BVL Senior




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Notes mature on February 1, 2025. As of the Petition Date, approximately $2 million in principal

is outstanding under the BVL Senior Notes.

       E.      Intercreditor Agreement.

       60.     MUFG, as priority lien agent on behalf of the Revolving Credit Facility secured

parties and FLLO Term Loan Facility secured parties, and the Second Lien Collateral Trustee (as

such term is defined in the Intercreditor Agreement) are parties to that certain Intercreditor

Agreement, dated as of December 19, 2019 (as amended, restated, or otherwise modified from

time to time, the “Intercreditor Agreement”). The Intercreditor Agreement governs certain rights

and remedies as among the secured parties under the Revolving Credit Facility, the FLLO Term

Loan Facility, and the Second Lien Notes, relative priority of claims, and certain other matters,

including the exercise of remedies and permitted actions in the event of the Debtors’ chapter 11

proceedings.

       F.      First Lien Collateral Trust Agreement.

       61.     The Revolving Credit Facility Administrative Agent and FLLO Term Loan Facility

Administrative Agent are parties to that certain Collateral Trust Agreement, dated as of December

19, 2019 (as amended, restated or otherwise modified from time to time, the “First Lien Collateral

Trust Agreement”), pursuant to which the Revolving Credit Facility Administrative Agent, as first

lien collateral trustee, will receive, hold, administer, maintain, enforce, and distribute the proceeds

of all of its liens upon the collateral for the benefit of the secured parties under the Revolving

Credit Facility and the secured parties under the FLLO Term Loan Facility Credit Agreement. The

First Lien Collateral Trust Agreement governs certain rights and remedies as among the secured

parties under the Revolving Credit Facility and the FLLO Term Loan Facility, relative priority of




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claims and certain other matters, including the exercise of remedies and permitted actions in the

event of the Debtors’ chapter 11 proceedings.

       G.      Preferred Equity.

       62.     CEC’s certificate of incorporation authorizes the Board of Directors (the “Board”)

to establish one or more series of preferred stock. As of the Petition Date, there are four series of

preferred stock outstanding: (a) 5.75% Cumulative Non-Voting Convertible Preferred Stock

(Series A) (the “5.75% Series A Preferred Stock”); (b) 5.75% Cumulative Non-Voting Convertible

Preferred Stock (the “5.75% Preferred Stock”); (c) 4.50% Cumulative Convertible Preferred Stock

(the “4.50% Preferred Stock”); and (d) 5.00% Cumulative Convertible Preferred Stock

(Series 2005B) (the “5.00% Preferred Stock” and together with the 5.75% Series A Preferred

Stock, the 5.75% Preferred Stock, and                 the 4.50% Preferred      Stock, collectively,

the “Preferred Stock”).

               1.      5.75% Series A Preferred Stock.

       63.     Approximately 423,363 shares of 5.75% Series A Preferred Stock are outstanding

as of the Petition Date. Holders of 5.75% Series A Preferred Stock are entitled to receive, when,

as, and if declared by the Board, cumulative dividends at the rate of 5.75% per annum per share

on the $1,000.00 liquidation preference per share of the 5.75% Series A Preferred Stock, payable

quarterly in arrears on February 15, May 15, August 15 and November 15 of each year. Dividends

on the 5.75% Series A Preferred Stock must be paid in cash. As of the Petition Date, the 5.75%

Series A Preferred Stock are convertible, at the holder’s option at any time, at a conversion rate of

0.1918 and at a conversion price of $5,215.02 per share of 5.75% Series A Preferred Stock. The

conversion rate and price were adjusted after the Reverse Stock Split to reflect a proportional

decrease in the number of shares of common stock to be issuable upon conversion.




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               2.     5.75% Preferred Stock.

       64.     Approximately 770,528 shares of 5.75% Preferred Stock are outstanding as of the

Petition Date. Holders of 5.75% Preferred Stock are entitled to receive, when, as, and if declared

by the Board, cumulative dividends at the rate of 5.75% per annum per share on the $1,000.00

liquidation preference per share of the 5.75% Preferred Stock, payable quarterly in arrears on

February 15, May 15, August 15 and November 15 of each year. Dividends on the 5.75% Preferred

Stock must be paid in cash. As of the Petition Date, the 5.75% Preferred Stock are convertible, at

the holder’s option at any time, at a conversion rate of 0.1984 and at a conversion price of

$5,039.59 per share of 5.75% Preferred Stock. The conversion rate and price were adjusted after

the Reverse Stock Split to reflect a proportional decrease in the number of shares of common stock

to be issuable upon conversion.

               3.     4.50% Preferred Stock.

       65.     Approximately 2,558,900 shares of 4.50% Preferred Stock are outstanding as of the

Petition Date. Holders of 4.50% Preferred Stock are entitled to receive, when, as, and if declared

by the Board, cumulative dividends at the rate of 4.50% per annum per share on the $100.00

liquidation preference per share of the 4.50% Preferred Stock, payable quarterly in arrears on

March 15, June 15, September 15 and December 15 of each year. Dividends on the 4.50%

Preferred Stock may be paid in cash or, subject to certain limitations, in common stock, or a

combination thereof. As of the Petition Date, the 4.50% Preferred Stock are convertible, at the

holder’s option at any time, at a conversion rate of 0.0123 and at a conversion price of $8,142.99

per share of 4.50% Preferred Stock. The conversion rate and price were adjusted after the Reverse

Stock Split to reflect a proportional decrease in the number of shares of common stock to be

issuable upon conversion.




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               4.     5.00% Preferred Stock.

       66.     Approximately 1,810,667 shares of 5.00% Preferred Stock are outstanding as of the

Petition Date. Holders of 5.00% Preferred Stock are entitled to receive, when, as, and if declared

by the Board, cumulative dividends at the rate of 5.00% per annum per share on the $100.00

liquidation preference per share of the 5.00% Preferred Stock, payable quarterly in arrears on

February 15, May 15, August 15 and November 15 of each year. Dividends on the 5.00%

Preferred Stock may be paid in cash or, subject to certain limitations, in common stock, or a

combination thereof. As of the Petition Date, the 5.00% Preferred Stock are convertible, at the

holder’s option at any time, at a conversion rate of 0.0139 and at a conversion price of $7,208.51

per share of 5.00% Preferred Stock. The conversion rate and price were adjusted after the Reverse

Stock Split to reflect a proportional decrease in the number of shares of common stock to be

issuable upon conversion.

       67.     In January 2016, Chesapeake suspended dividend payments on each series of

Preferred Stock to provide additional liquidity in the depressed commodity price environment. In

the first quarter of 2017, Chesapeake reinstated the payment of dividends on each series of

Preferred Stock and paid all past-due dividends in arrears. During 2018 and 2019, Chesapeake

paid dividends of $92 million and $91 million, respectively, to holders of each series of Preferred

Stock. On April 17, 2020, Chesapeake again suspended payment of dividends on each series of

Preferred Stock. The suspension of the Preferred Stock dividends did not constitute an event of

default under any of the Debtors’ debt instruments.

       H.      Common Stock.

       68.     Since an initial public offering of equity in 1993, the Debtors’ common stock has

traded on the New York Stock Exchange (“NYSE”) under ticker symbol “CHK.”                      On

April 13, 2020, following a shareholder vote, the Board approved a 1-for-200 reverse stock split


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(the “Reverse Stock Split”) in order to, among other things, increase the per share trading price of

Chesapeake’s common stock to satisfy the $1.00 minimum bid price requirement for continued

listing on the NYSE. As of the Petition Date, there are approximately 9.784 million shares of

common stock, par value $0.01, issued and the common stock is trading at $11.85 per share,

implying a market capitalization of approximately $115.9 million. The Board is authorized to

issue 22,500,000 shares of common stock. The Debtors have not issued cash dividends to holders

of common stock since 2015, when the Board decided to eliminate quarterly cash dividends to the

holders of common stock.

         69.    Since 2014, the trading price of CEC’s common stock has faced downward

pressures proportionate with downturns in commodity markets as depicted below:




III.     Pending Material Litigation.

         70.    The Debtors are involved in a number of litigation and regulatory proceedings

incidental to their business operations, including certain pending material litigation described

below. While the Debtors cannot predict with certainty what effect these proceedings may have



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on these chapter 11 cases, I have included this summary for the benefit of the Court’s complete

understanding of the Debtors’ business and potential liabilities. The Debtors dispute the alleged

liability in each of these cases and intend to vigorously defend the claims against them.

         A.      Pennsylvania Royalty Litigation.

         71.     On August 30, 2013, a group of Pennsylvania lessors filed royalty underpayment

claims in the U.S. District Court for the Middle District of Pennsylvania on behalf of a putative

class of lessors with interests in Pennsylvania oil and gas leases (“Demchak”).10 At the same time

the Demchak action was proceeding in federal court, another group of Pennsylvania lessors

initiated a putative class arbitration against the Debtors alleging similar royalty underpayment

claims (“Burkett”).

         72.     On September 12, 2013, the Burkett plaintiffs moved to intervene in the Demchak

federal court action, and on December 18, 2014, the Demchak and Burkett plaintiffs filed a motion

for preliminary approval of a classwide settlement covering all Pennsylvania lessors with interests

in leases containing a particular provision known as a “market enhancement clause”

(the “Demchak/Burkett Class Settlement”). The Demchak/Burkett Class Settlement provided both

a lump-sum initial settlement payment in excess of $17 million and a revised royalty formula going

forward. On October 2, 2015, the Demchak court certified the settlement class and granted

preliminary approval of the Demchak/Burkett Class Settlement.

         73.     In March and June 2014, two groups of Pennsylvania lessors initiated putative class

actions in the U.S. District Court for the Middle District of Pennsylvania, also alleging that the




10
     Demchak Partners Limited Partnership v. Chesapeake Appalachia, L.L.C., No. 3:13-cv-02289-MEM (M.D. Pa.)




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Debtors underpaid royalties owed under oil and gas leases (“Brown”11 and “Suessenbach”12). The

cases were later consolidated for discovery, and in August 2018, the Debtors reached a tentative

classwide settlement (“Brown/Suessenbach Class Settlement”). The Brown/Suessenbach Class

Settlement provided for a $7.75 million settlement fund and a revised royalty formula going

forward. On August 9, 2018, the plaintiffs filed a motion for preliminary approval of the

Brown/Suessenbach Class Settlement, which remains pending.

         74.     On December 9, 2015, the Attorney General of the Commonwealth of Pennsylvania

(the “PA AG”) filed a lawsuit in the Pennsylvania state court, alleging that the Debtors violated

the Pennsylvania Unfair Trade Practices and Consumer Protection Law (the “UTPCPL”) by

making improper deductions from royalties and entering into arrangements with affiliates that

resulted in underpayment of royalties. The PA AG seeks civil penalties, permanent injunctive

relief, and restitution on behalf of lessors in Pennsylvania. On December 11, 2015, the PA AG

filed an objection to the Demchack/Burkett Class Settlement. The Demchak court has stayed final

approval of Demchak/Burkett Class Settlement pending resolution of the PA AG action. This

matter is currently pending.

         B.      HOOPP Arbitration.

         75.     In July 2018, Healthcare of Ontario Pension Plan (“HOOPP”) filed a demand for

arbitration regarding HOOPP’s purchase of the Debtors’ interest in Chaparral Energy, Inc. stock

in January 2014 for $215 million.            HOOPP claims that the Debtors engaged in material

misrepresentations, and fraud, and that the Debtors violated both the Exchange Act and the

Oklahoma Uniform Securities Act. HOOPP seeks either rescission or $215 million monetary


11
     Brown v. Access Midstream Partners, L.P., et al., No. 3:14-cv-00597-MEM (M.D. Pa.)
12
     Suessenbach Family Limited Partnership v. Access Midstream Partners, L.P., No. 3:14-cv-001197-MEM (M.D.
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damages, together with interest, attorneys’ fees, disgorgements, and punitive damages. The

arbitration remains pending before the American Arbitration Association.

         C.       Personal Injury Litigation.

         76.      On January 29, 2020, one of the wells operated by the Debtors—the Wendland 1H

Well in Burleson County, Texas— experienced a loss of control while certain third-party vendors

were conducting workover operations.13 The incident resulted in three contractor fatalities and

one contractor injury. Ten lawsuits relating to the incident are currently pending against the

Debtors and the third-party vendors described above.

         D.       FERC Petitions.

         77.      The Debtors are parties to certain negotiated rate firm natural gas transportation

service agreements with ETC Tiger Pipeline, LLC (such counterparty, “Tiger,” and such

agreement, the “ETC Tiger Agreement”), Gulf South Pipeline Company, LP (such counterparty,

“Gulf South,” and such agreements, the “Gulf South Agreements”), and Stagecoach Pipeline &

Storage Company, LLC (such counterparty, “Stagecoach,” and such agreements, the “Stagecoach

Agreements”), the rates and terms and conditions of which are subject to a Federal Energy

Regulatory Commission (“FERC”) Gas Tariff.

         78.      On May 19, 2020, anticipating these chapter 11 cases and expecting that the

Debtors would move the Court to authorize rejection of the ETC Tiger Agreement, Tiger filed a

Petition for Declaratory Order and Request for Expedited Action with FERC, requesting a

declaratory judgement that “[the Debtors] must petition [FERC] for approval to abrogate, modify,




13
     A “workover” means the process of performing major maintenance or remedial treatments on an oil or gas well.




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or amend” the ETC Tiger Agreement.14 More generally, Tiger requested that FERC clarify its

“unsettled role”15 and find that “if a party to a [FERC]-jurisdictional contract under the [Natural

Gas Act] seeks to reject such an agreement in bankruptcy court, the party must receive [Natural

Gas Act] Section 5 approval before a bankruptcy court can determine whether to reject the

agreement.”16

          79.     On May 22, 2020, Gulf South filed a Petition for Declaratory Order and Motion for

Shortened Answer Period with FERC, similarly anticipating the Debtors’ chapter 11 filing and

requesting a declaratory judgment that “Chesapeake is required to seek [FERC] approval in order

to modify or abrogate the [Gulf South Agreements] regardless of whether it seeks to reject the

contracts in bankruptcy.”17

          80.     On June 10, 2020, Stagecoach filed a Petition for Declaratory Order and Motion

for Shortened Comment Period with FERC, also anticipating the Debtors’ chapter 11 filing and

requesting a declaratory judgment that “Chesapeake must seek [FERC] approval in order to

abrogate or modify the regulatory obligations inherent in the Chesapeake [Stagecoach

Agreements].”18




14
     Petition for Declaratory Order and Request for Expedited Action of ETC Tiger Pipeline, LLC, dated May 19,
     2020, FERC Docket No. RP20-881-000 (the “Tiger Petition”).
15
     Id. at 14.
16
     Id. at 3.
17
     Petition for Declaratory Order and Motion for Shortened Answer Period, dated May 22, 2020, FERC Docket No.
     RP20-881-000 (the “Gulf South Petition”), at 9.
18
     Petition for Declaratory Order and Motion for Shortened Comment Period, and Request for Expedited Action
     dated June 9, 2020 FERC Docket No. RP20-952-000, at 2(the “Stagecoach Petition” and together with the Tiger
     Petition and Gulf South Agreements, the “FERC Petitions”), at 2.




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          81.     FERC established June 18, 2020, June 25, 2020, and July 9, 2020 as the comment

due dates for the Tiger Petition, Gulf South Petition, and Stagecoach Petition, respectively.

The Debtors filed their responsive comment to the Tiger Petition on June 18, 2020 and the Gulf

South Petition on June 25, 2020. On June 22, 2020, FERC issued the Order on Petition for

Declaratory Order in connection with the Tiger Petition.19 In the Tiger Order, FERC stated that

the Debtors may not “modify the rates, terms, or conditions of its transportation agreements with

ETC Tiger by rejecting those contracts in bankruptcy” and “must obtain approval from [FERC] to

do so.”20

          82.     In the period leading up to the Petition Date, the Debtors analyzed their executory

contracts and unexpired leases and determined that, in their business judgment, the ETC Tiger

Agreement and Gulf South Agreements, which obligate the Debtors to pay approximately $311

million in aggregate gross costs through their remaining terms, are unnecessary and burdensome

to the Debtors’ estates. Accordingly, contemporaneously herewith, the Debtors filed the Motion

of Chesapeake Energy Corporation for Entry of an Order (I) Authorizing Rejection of the

Negotiated Rate Firm Transportation Agreements and Related Contracts Effective as of

July 1, 2020 and (II) Granting Related Relief (the “FERC Contract Rejection Motion”) seeking,

in part, entry of an order by the Court authorizing the Debtors to reject the ETC Tiger Agreement

and the Gulf South Agreements effective as of the Petition Date.

          83.     Additionally, on the Petition Date, the Debtors commenced an adversary

proceeding for, among other things, a declaratory judgement confirming the Court’s exclusive

jurisdiction to determine the Debtors’ right to reject the ETC Tiger Agreement, Gulf South


19
     Order on Petition for Declaratory Order, dated June 22, 2020, FERC Docket No. RP20-881-000, 171 FERC ¶
     61,248 (the “Tiger Order”).
20
     Id. at 24.



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Agreements, and the Stagecoach Agreement (as applicable) under section 365 of the Bankruptcy

Code—which FERC cannot preempt or veto.

        E.     Environmental Proceedings.

        84.    The Debtors are defendants in numerous mass tort actions filed in Oklahoma

alleging that the Debtors (and other companies) have operated wastewater disposal wells in a

manner that has caused earthquakes. The lawsuits seek compensation for injury to real and

personal property, diminution of property value, and economic losses due to business interruption,

among other claims. The lawsuits also seek reimbursement of insurance premiums and the award

of punitive damages and attorneys’ fees.

IV.     Events Leading Up to the Restructuring.

        85.    The Debtors commenced these chapter 11 cases following years of proactive

liability management against a backdrop of consistently declining oil and gas prices. The Debtors

have undertaken significant efforts since 2013 to address their leverage and profitability—

including rationalizing capital expenditures, reducing operating and general administrative

expenses, executing over $11 billion in strategic oil and gas divestitures, reducing off balance sheet

liabilities and consummating multiple refinancing transactions, including as recently as

December 2019. Despite these efforts, the recent and dramatic drop in commodity prices and

resulting tightening of the credit markets have frustrated the Debtors’ ability to further deleverage

absent a chapter 11 proceeding.

        A.     Extreme Commodity Price Volatility

        86.    West Texas Intermediate (“WTI”) index—the benchmark for U.S.-based oil

exploration and production companies—crude oil prices ranged from a high of $107.26 per barrel

to a low of -$37.63 per barrel between January 1, 2012 and the Petition Date. Henry Hub natural




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gas prices ranged from a high of $6.15 per mmbtu to a low of $1.55 per mmbtu during that same

period.

                                  WTI Crude Prices since 2012




          87.   In addition to long term negative pricing declines, prices dropped precipitously in

recent months as a result of the onset of the COVID-19 pandemic and the recent price war between

Russia and the Kingdom of Saudi Arabia. The initial spread of COVID-19 caused decreased

factory output and transportation demand, resulting in a decline in energy prices. To address this,

OPEC, led by the Kingdom of Saudi Arabia, called for additional cuts in oil production, subject to

agreement by Russia. However, those initial efforts faltered, and the parties failed to reach an

agreement as to production levels. Instead, both the Kingdom of Saudi Arabia and Russia

announced that they would increase, rather than decrease, production, resulting in surplus supply

amidst already decreasing demand for energy. Meanwhile, the COVID-19 pandemic continued to

spread, causing governments across the world to institute strict public health and safety measures

including quarantine orders, stay-at-home orders, and social distancing guidelines that have further

decreased energy demand. On April 12, 2020, in an effort to relieve some of the negative impacts

on the industry, 23 countries agreed to commit to withholding 9.7 million barrels of oil per day

from the global markets.



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       88.     The corresponding effects on energy markets have been stark. On March 9, 2020,

the WTI index declined 24.59 percent in a single day. Major oil indexes and U.S. indexes then

continued to hover around $20.00 per barrel, until prices plummeted to a level never before seen

on April 20, 2020, when WTI crude oil for May delivery settled at negative $37.63 per barrel, a

record low and drop of roughly 306 percent in a single day.

                                WTI Crude May 2020 Contracts




       89.     Since that time, prices have rebounded to $38.49 per barrel (WTI) and $1.47 per

mmbtu (Henry Hub) as of the Petition Date but such prices continue to challenge further economic

development of the Debtors’ assets.

       B.      Operational Responses.

       90.     The Debtors implemented a proactive approach to address their balance sheet

beginning in 2013, following the appointment of Doug Lawler as Chief Executive Officer.

Mr. Lawler and the new management team initiated a shift across all aspects of the Debtors’

business centered on four strategic pillars: financial discipline; profitable and efficient growth



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from captured resources; exploration; and business development. Underpinning the management

team’s efforts was a transformation from Chesapeake’s culture of “grow at any cost” to a culture

that is laser-focused on cost leadership and increased competitiveness relative to its peers. With

this approach, as of December 31, 2019, Chesapeake was able to achieve, among other

accomplishments, the following results:

            reduction in total leverage by over $10 billion since 2012;

            elimination of more than $10 billion in midstream and operating commitments since
             2012;

            increase of oil mix by over 80 percent since 2012;

            growth of Adjusted EBITDAX margins per barrel of oil equivalent by 50 percent since
             2015;

            removal of approximately $1.7 billion in total cash costs since 2014; and

            improvement of all aspects of health, safety, environmental, and regulatory
             performance.

       91.       One component of the Debtors’ liability management efforts was executing a series

of transactions to divest certain non-core assets and maximize operational efficiencies. To that

end, in 2014, the Debtors sold certain acreage and producing properties targeting the Marcellus

and Utica Shale formations located in Southern Pennsylvania and Northern West Virginia,

respectively, for $4.975 billion. In 2017, the Debtors sold certain acreage and producing properties

in the Haynesville Shale area of Northern Louisiana for $915 million, recognizing a gain of

approximately $326 million. The Debtors continued their divestiture efforts in 2018, selling (a) all

of their acreage in Ohio (approximately 1,500,000 gross (900,000 net) acres) for approximately

$1.868 billion, and (b) certain acreage, producing properties, and other related property and

equipment in the Mid-Continent, including all of the Debtors’ Mississippian Lime assets, for

approximately $491 million.



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       92.     The Debtors also initiated efforts to reduce their workforce to promote operational

efficiencies and improve their cash flow. Since 2015, the Debtors’ employee count has been

reduced by more than 50 percent, with corresponding reductions in compensation of approximately

43 percent and gross overhead of approximately 38 percent.

       93.     These strategic divestitures, along with the Debtors’ relentless focus on reducing

their cash operating costs, have resulted in meaningful reductions in their operating cost structure.

In 2019 alone, the Debtors improved their cost structure by approximately $0.79 per barrel of oil

equivalent by reducing production, gathering, processing, transportation, and general and

administrative expenses which amounted to $290 million (approximately 13%) in savings in 2019

compared to 2018.

       94.     The Debtors also executed certain strategic acquisitions, including the February

2019 acquisition of WildHorse for approximately $4 billion in the aggregate, consisting of

717.4 million shares of common stock and approximately $381 million in cash, less $28 million

of cash held by WildHorse as of the acquisition date, and the assumption of WildHorse’s

$1.4 billion of debt. The WildHorse acquisition enabled the Debtors to strengthen their presence

in the Eagle Ford Shale and Austin Chalk formations in Texas and significantly increase their oil

production, while simultaneously reducing operational costs through operational and capital

efficiencies as a result of the Debtors’ significant expertise with unconventional assets and

technical and operational excellence.      The WildHorse transaction generated approximately

$250 million in cost savings in 2019, with additional savings anticipated over the coming years.

       C.      Financial Responses.

               1.      Transactions.

       95.     The Debtors have taken numerous efforts to manage their balance sheet in the last

half decade. In 2015, the Debtors completed a private exchange of their 8.00% Senior Secured


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Second Lien Notes due 2022 (the “2022 Second Lien Notes”) for certain senior unsecured notes

and contingent convertible notes (the “Existing Notes”). Approximately $3.9 billion of the

Existing Notes were exchanged for approximately $2.4 billion aggregate principal amount of the

2022 Second Lien Notes.

       96.      The Debtors continued their efforts in 2016 and early 2017 with a series of preferred

stock exchanges and conversions, including the following.

            January 2016: The Debtors suspended dividend payments on their convertible
             preferred stock to increase liquidity; the suspension lasted throughout 2016. On
             February 15, 2017, the Debtors reinstated dividend payments, and paid the past-due
             dividends in arrears.

            February and March 2016: Certain preferred shareholders converted (i) 24,601
             shares of 5.75% Preferred Stock and (ii) 1,201 shares of 5.75% Series A Preferred
             Stock into an aggregate of approximately 1 million shares of the Debtors’ common
             stock. The converted preferred stock represented approximately $26 million of
             liquidation value.

            October and November 2016: The Debtors completed a private exchange of an
             aggregate of approximately 119.2 million shares of their common stock for (i) 134,000
             shares of 5.00% Preferred Stock, (ii) 629,271 shares of 5.75% Preferred Stock, and
             (iii) 622,936 shares of 5.75% Series Preferred Stock. The exchanged preferred stock
             represented approximately $1.3 billion of liquidation value.

            January 2017: The Debtors completed exchanges of an aggregate of approximately
             10 million shares of their common stock for (i) 150,948 shares of 5.00% Preferred
             Stock, (ii) 72,600 shares of 5.75% Preferred Stock, and (iii) 5.75% Series A Preferred
             Stock. The exchanged preferred stock represented approximately $100 million of
             liquidation value.

       97.      In total, the preferred stock exchanges and conversions completed in 2016 and 2017

eliminated approximately $80 million of annual dividend obligations.

       98.      Also from 2015 to 2017, the Debtors completed several open market repurchases

and redemptions, including the: (a) purchase of approximately $119 million aggregate principal

amount of their 3.25% Senior Notes due 2016 for cash in 2015; (b) repurchase in 2015 of

approximately $60 million of their outstanding 2.5% Contingent Convertible Notes due 2037 for



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$32 million, $122 million of their 3.25% Senior Notes due 2016 for $115 million, and $2 million

of their 6.5% Senior Notes due 2017 for $1 million; and (c) retirement of $643 million aggregate

principal amount of their outstanding senior notes and contingent convertible senior notes in 2017.

       99.     The Debtors also made efforts to right size their balance sheet through debt

repurchases. In 2015, the Debtors used $508 million of cash to repurchase $513 million principal

amount of debt. In 2016, the Debtors used $2.734 billion of cash to repurchase $2.884 billion

principal amount of debt. And, in 2017, the Debtors used $2.592 billion of cash to repurchase

$2.389 billion principal amount of debt.

       100.    In 2018, the Debtors’ liability management strategy continued, including additional

transactions intended to reduce cash interest payments and overall leverage. For example, the

Debtors completed public notes offerings through which they raised approximately $1.24 billion.

As part of the offerings, the Debtors issued at par $850 million of 7.000% Senior Notes due 2024

and $400 million of 7.500% Senior Notes due 2026. The Debtors used the proceeds of these notes

offerings, plus cash on hand and borrowings under the Revolving Credit Facility to pay

approximately $1.23 billion outstanding under their then existing secured term loan. Also in 2018,

the Debtors redeemed the $1.42 billion aggregate principal amount outstanding of their 8.00%

senior secured second lien notes due 2022 for $1.48 billion in an all cash transaction using

proceeds from the sale of their Utica assets in Ohio.

       101.    In 2019, the Debtors (a) repurchased $698 million principal amount of the BVL

Senior Notes for $693 million and (b) privately negotiated exchanges of certain of their Unsecured

Notes and Convertible Notes for common stock. Approximately $507 million of the principal

amount outstanding on certain Unsecured Notes was exchanged for 235,563,519 shares of

common stock, and approximately $186 million principal amount outstanding on the Convertible




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Notes was exchanged for 73,389,094 shares of common stock. As a result of these exchange

transactions, the Debtors recorded an aggregate net gain of approximately $64 million.

       102.    In December 2019, the Debtors (a) entered into the $1.455 billion FLLO Term Loan

Facility, the proceeds of which were used to finance tender offers for the Debtors’ unsecured BVL

Senior Notes and to pay amounts outstanding under the revolving credit facility for Debtor Brazos

Valley Longhorn, L.L.C., (b) completed private offers to exchange approximately $3.2 billion in

carrying value of unsecured notes for approximately $2.2 billion of Second Lien Notes, and

(c) issued an additional $120 million of Second Lien Notes pursuant to a private offering at 89.75%

of par. Additionally, the Debtors amended the existing Revolving Credit Facility to allow for the

foregoing transactions (collectively, the “Refinancing Transactions”). In the first quarter of 2020,

the Debtors repurchased approximately $156 million in principal amount of Unsecured Notes, at

a discount, for $93 million.

               2.      Reverse Stock Split.

       103.    In the weeks leading up to the Petition Date, CEC approved and effected the

Reverse Stock Split. In December 2019, the NYSE alerted CEC that its stock risked delisting

under the NYSE rules because it traded below $1.00, and CEC had six months to correct course

before delisting would occur. In April 2020, CEC’s stock continued to trade below $1.00 and,

with the recent market downturn, it appeared improbable that the trading price would fall back in

compliance within the six-month timeframe. To avoid delisting, CEC effected a 1-for-200 Reverse

Stock Split with the approval of its stockholders on April 13, 2020. As of the Petition Date, CEC’s

stock trades within the NYSE’s requirements.




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                 3.      Section 382 Rights Agreement.

         104.    On April 23, 2020, the Board declared a dividend of one preferred share purchase

right to common stockholders of record on May 4, 2020. Each right entitles the registered holder

to purchase from CEC one one-thousandth of a share of Series B Preferred Stock, par value $0.01

per share, of CEC at a price of $90.00 subject to adjustment. In connection with the distribution

of the rights, CEC entered into a section 382 rights agreement with Computershare Trust company,

N.A., as rights agent. The purpose of the rights agreement is to protect value by preserving CEC’s

ability to use its tax attributes21 to offset potential future income taxes for federal income tax

purposes. The rights agreement is intended to reduce the likelihood of an ownership change by

deterring any person or group of affiliated or associated persons from acquiring beneficial

ownership of 4.9% or more of the outstanding shares of common stock. The rights agreement will

expire on the close of business on the day following the certification of the voting results from

CEC’s 2021 annual meeting, unless CEC’s shareholders ratify the rights agreement at or prior to

such meeting, in which case it will continue in effect until April 22, 2023, unless terminated earlier

in accordance with its terms.

         D.      Retention of Restructuring Advisors.

         105.    In March 2020, the Debtors retained Kirkland & Ellis LLP as legal advisor,

Rothschild & Co. and Intrepid Partners, LLC as investment bankers, and Alvarez & Marsal North

America, LLC as restructuring advisors, to assist the Debtors with a review of all strategic

alternatives, including a comprehensive balance sheet restructuring. Additionally, Wachtell,

Lipton, Rosen & Katz has been, and continues to be, counsel to the Board.



21
     As of December 31, 2019, Chesapeake estimates it had, among certain other tax attributes, approximately
     $7.6 billion of federal net operating losses and $12 billion of total asset basis.



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       E.      Hedge Portfolio Unwind.

       106.    In an effort to mitigate exposure to the volatile commodities market and related

adverse market price changes, the Debtors historically entered into various derivative instruments.

Because commodity prices had declined substantially since the Debtors entered into their hedge

arrangements, their hedge portfolio held a mark-to-market value to the Debtors of approximately

$405 million as of June 8, 2020. In light of the June 15 borrowing base redetermination and the

Debtors’ ongoing minimum liquidity covenants under the Revolving Credit Facility, the Debtors

executed a consent letter with the Revolving Credit Facility Administrative Agent that allowed the

Debtors to unwind their hedge portfolio and apply the proceeds thereof to reduce the commitments

under the Revolving Credit Facility. The hedge unwind resulted in an approximately $382 million

reduction of the Revolving Credit Facility commitments. The Debtors have no hedges outstanding

as of the Petition Date.

       F.      Discussions with Creditors and Entry into Restructuring Support Agreement.

       107.    As discussed above, on June 28, 2020, the Debtors entered into the Restructuring

Support Agreement (a copy of which is attached as Exhibit B hereto, the “Restructuring Support

Agreement”) with holders of approximately 100 percent of the Revolving Credit Facility Loans

(as defined in the Restructuring Support Agreement), approximately 87 percent of the FLLO Term

Loans (as defined in the Restructuring Support Agreement), approximately 60 percent of the

Second Lien Notes, and approximately 31 percent of the Unsecured Notes. The Restructuring

Support Agreement represents a significant achievement for the Debtors and is a testament to the

strength and potential of the Debtors and their asset base.

       108.    As discussed, the Restructuring Support Agreement includes a commitment from

the Revolving Credit Facility lenders, the FLLO Term Loan Group, and Franklin to support a

deleveraging of the Debtors’ balance sheet by approximately $7 billion. Specifically, substantially


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all of the Revolving Credit Facility lenders agreed to provide a $925 million new money DIP

Facility and $2.5 billion exit facilities and consent to consensual use of cash collateral, and the

FLLO Term Loan Group and Franklin agreed to backstop a $600 million rights offering. The

equity commitment and exit facilities will fund distributions under the Plan and support the future

working capital needs of the reorganized business.

       109.    The FLLO Term Loan Group’s and Franklin’s willingness to backstop the rights

offering is conditioned on the Debtors’ ability to obtain satisfactory savings on their gathering,

processing, and transportation agreements. Production in certain basins in which the Debtors have

interests is uneconomic in light of the current pricing environment coupled with current production

volumes and existing midstream obligations. As a result, the Restructuring Support Agreement

requires the Debtors to either reject or renegotiate their midstream agreements or, in the event the

Debtors are unable to reject such agreements or achieve sufficient concessions in negotiations,

terminate or abandon their interests in such basins and any corresponding contractual obligations.

       G.      Proposed DIP Financing.

       110.    The DIP Facility is a critical and integral component of the Restructuring Support

Agreement. Additionally, absent the funds available from the DIP Facility and access to cash

collateral, the Debtors could face a value-destructive interruption to their business and lose support

from important stakeholders on whom the Debtors’ business depends. This, in turn, would hinder

the Debtors’ ability to maximize the value of their estates and would force the Debtors to curtail

their operations significantly to the detriment of the Debtors, their estates, and their creditors. A

significant portion of the Debtors’ prepetition collateral includes oil and gas properties and related

assets on which the secured parties have liens, including the oil and gas extracted by the Debtors

from those properties and the proceeds generated from sales thereof. The Debtors’ business model

is predicated upon their ability to maximize the value of their oil and gas assets through extraction,


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bring the extracted hydrocarbons to market, and utilize the proceeds of such hydrocarbon sales to

fund their business operations. The continuation of the Debtors’ operations and the preservation

of their going concern value is largely dependent upon their ability to regularly convert the

prepetition oil and gas collateral into cash collateral and use the cash in their operations.

       111.    The Debtors also rely on the Cash Collateral generated from their operations to

fund working capital, capital expenditures, development efforts, and for other general corporate

purposes. Access to postpetition Cash Collateral and the proposed DIP Facility is essential to

enable the Debtors to ultimately consummate their restructuring, all while continuing to operate

their business by satisfying payroll obligations, pay suppliers, cover overhead costs, paying

expenses pursuant to joint operating agreements for properties operated by the Debtors, satisfying

joint interest billings for properties where the Debtors are non-operating working interest owners,

and satisfying any other payments that are essential for the continued management, operation, and

preservation of the Debtors’ assets.

       112.    Accordingly, the Debtors’ access to the proposed DIP Facility will enable the

Debtors to stabilize their cash flows, continue operating in the ordinary course, and fulfill their

commitment to key stakeholders, including their vendors, customers, joint-venture partners,

royalty interest owners, and employees through the chapter 11 process.

       113.    In connection with the development of the DIP sizing analysis and DIP marketing

process, the Debtors and their advisors evaluated the Debtors’ liquidity position and developed

projections (as updated from time to time in accordance with the terms of the DIP Facility, the

“Approved Budget”) of postpetition cash needs for the Debtors’ businesses in the initial 13 weeks

of these chapter 11 cases, including detailed line items for categories of cash flows anticipated to

be received or disbursed during this period, and, along with the longer term monthly forecasts, was




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utilized to determine the amount of postpetition financing required to administer these

chapter 11 cases. The Approved Budget and projections provide an accurate reflection of the

Debtors’ likely funding requirements over the identified period, respectively, and are appropriate

under the circumstances.      The Approved Budget includes all reasonable, necessary, and

foreseeable expenses to be incurred in connection with the operation of their business for the period

set forth in the Approved Budget.

       114.    The DIP Facility is the product of an extensive prepetition marketing process that

the Debtors, with the assistance of their advisors, launched on April 9, 2020. As described in

greater detail in the Declaration of Stephen Antinelli In Support of the Debtors’ Emergency Motion

for Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain Postpetition

Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and

Providing Claims with Superpriority Administrative Expense Status, (IV) Granting Adequate

Protection to the Existing Secured Parties, (V) Modifying the Automatic Stay, (VI) Scheduling a

Final Hearing, and (VII) Granting Related Relief, filed contemporaneously herewith, the Debtors

conducted a fulsome and competitive marketing process over the course of more than two months.

The Debtors contacted multiple financial institutions in the Revolving Credit Facility and certain

institutions in the FLLO Term Loan and Second Lien Notes. Potential DIP lenders were provided

with substantial due diligence to inform their proposals, including a preliminary business plan, a

DIP financing sizing analysis, and a 13-week cash flow analysis, and access to a heavily populated

virtual data room.

       115.    The Debtors ultimately received initial indications of interest from four lenders or

groups of lenders within the Debtors’ Revolving Credit Facility between April 16 and April 24,

including three prominent financial institutions and the steering committee of the Revolving Credit




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Facility lenders led by MUFG. The proposed new money DIP facility included in the various

proposals ranged from $700 million to $1.35 billion. The Debtors engaged in further negotiations

with each potential DIP lender to improve the terms of the initial indications of interest. By early

May 2020, the Debtors were negotiating two competing proposals: a $1.35 billion new money

DIP facility with $2.5 billion in exit financing led by a prominent financial institution and jointly

underwritten by two other prominent financial institutions that was conditioned on gaining the

support of a majority of the Revolving Credit Facility lenders, and a $925 million new money DIP

facility led by MUFG that did not include an exit facility but did have the support of a majority of

the Revolving Credit Facility lenders.

       116.    At such time, the Debtors, in consultation with their advisors, preferred the

economic terms and structure of the non-MUFG proposal, which (a) provided more capital to

address the Debtors’ liquidity deficiencies; (b) required a lower interest rate and other fees; and

(c) contemplated an exit facility structure that provided the Debtors with a clear path to exit from

bankruptcy. Notably, the non-MUFG proposal was contingent upon, among other things, securing

the support of at least 50.1 percent of the Revolving Credit Facility lenders. Despite the Debtors’

and their advisors’ best efforts, the parties were unable to secure the requisite support for the

non-MUFG proposal. Instead, all other Revolving Credit Facility lenders were in support of the

MUFG proposal.

       117.    Despite the lack of support for the non-MUFG proposal, the Debtors continued to

engage in further negotiations with both the lead proponent of the non-MUFG proposal and MUFG

regarding their respective proposals, which included: (a) multiple conferences with the Debtors’

management and advisors; (b) the exchange of multiple iterations of term sheet proposals and

related documents reflecting the proposed debtor-in-possession financing terms; and




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(c) circulation of the proposed budget and other due diligence materials to potential lenders. As

part of these negotiations, the Debtors and the proponent of the non-MUFG proposal negotiated a

“middle ground” DIP financing proposal that bridged the two previous DIP financing proposals

under consideration into one, cohesive proposal. This “middle ground” DIP financing proposal

included (a) a $1.15 billion new money DIP facility, (b) a roll up of a portion of the obligations

under the Revolving Credit Facility on a dollar-for-dollar basis, and (c) a path to emerge from

bankruptcy in the form of a $2.5 billion exit facility. The proponent of the non-MUFG proposal

and the Debtors and their advisors attempted to secure support for the “middle ground” DIP

financing proposal, but after significant discussions with both prospective DIP lenders and direct

dialogue with multiple Revolving Credit Facility lenders, a majority of the Revolving Credit

Facility lenders continued to support the MUFG proposal.

         118.     As a result, the Debtors and their advisors focused their efforts on (a) negotiating

the MUFG proposal and (b) reaching agreement with the FLLO Term Loan Group and Franklin

on the terms of the new money money investment, believing that such an agreement would provide

a clearer path to exit from bankruptcy and assist with DIP facility negotiations. These negotiations

successfully resulted in agreed-upon terms of a comprehensive restructuring, including $2.5 billion

exit facilities and a fully backstopped equity investment in an amount of $600 million.

         119.     The final terms of the DIP facility (the “DIP Facility”) are summarized in the

DIP Motion, filed contemporaneously herewith.                 The key terms of the DIP Facility are as

follows:22




22
     Capitalized terms used in this paragraph but not otherwise defined herein shall have the meaning given to such
     terms in the DIP Facility.



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        $925 million new money commitment;

        a conversion of all loans outstanding under the Revolving Credit Facility in excess of
         $750 million, inclusive of loans beneficially owned by the DIP Lenders and non-DIP
         Lenders (the “Roll-Up”);

        nine-month maturity;

        adequate protection for the Revolving Credit Facility lenders consisting of (a) adequate
         protection liens, (b) superpriority claims, (c) fees and expenses, (d) interest, and
         (e) financial reporting; and

        adequate protection for the FLLO Term Loan Facility Lenders and Second Lien
         Noteholders in the form of (a) adequate protection liens, (b) superpriority claims, (c) fees
         and expenses (subject to certain conditions), and (d) financial reporting.

         120.   The Debtors require immediate access to the proposed DIP Facility and cash

collateral to refinance their obligations under the Revolving Credit Facility and continue operating

in the ordinary course of business during the early stages of these chapter 11 cases. Absent

immediate access to the proposed DIP Facility and cash collateral, the Debtors would be unable to

operate their business, pay employees, vendors, and other suppliers, pay expenses pursuant to joint

operating agreements for properties operated by the Debtors, satisfy joint interest billings for

properties where the Debtors are a non-operating working interest holder, or administer these

chapter 11 cases, and their ability to successfully reorganize would be jeopardized. Accordingly,

and based on extensive discussions with the Debtors’ management team and advisors, I believe

that the DIP Facility gives the Debtors sufficient liquidity to implement a successful restructuring.

V.       First Day Motions.

         121.   Contemporaneously herewith, the Debtors have filed a number of First Day

Motions seeking orders granting various forms of relief intended to stabilize the Debtors’ business

operations, facilitate the efficient administration of these chapter 11 cases, and expedite a swift

and smooth restructuring of the Debtors’ balance sheet, including:




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  A. Administrative Motions:

              “Joint Administration Motion”:   Debtors’ Emergency
               Motion for Entry of an Order (I) Directing Joint
               Administration of Chapter 11 Cases and (II) Granting
               Related Relief

              “Creditor Matrix Motion”: Debtors’ Emergency Motion for
               Entry of an Order (I) Authorizing the Debtors to File a
               Consolidated List of Creditors and a Consolidated List of
               the 50 Largest Unsecured Creditors, (II) Waiving the
               Requirement to File a List of Equity Security Holders, and
               (III) Authorizing the Debtors to Redact Certain Personal
               Identification Information

              “Schedules and Statements Extension Motion”: Debtors’
               Emergency Motion for Entry of an Order Extending Time to
               File Schedules of Assets and Liabilities, Schedules of
               Current Income and Expenditures, Schedules of Executory
               Contracts and Unexpired Leases, and Statements of
               Financial Affairs

              “Claims, Noticing, Solicitation, and Administrative Agent
               Application”: Debtors’ Emergency Application for Order
               Appointing Epiq Corporate Restructuring, LLC as Claims,
               Noticing, Solicitation, and Administrative Agent, Effective
               as of June 28, 2020

  B.     Finance Motions:

              “Cash Management Motion”: Debtors’ Emergency Motion
               for Entry of Interim and Final Orders (I) Authorizing the
               Debtors to (A) Continue to Operate Their Cash
               Management System and Maintain Existing Bank Accounts
               and (B) Continue to Perform Intercompany Transactions,
               and (II) Granting Related Relief

              “DIP and Cash Collateral Motion”: Debtors’ Emergency
               Motion for Entry of Interim and Final Orders (I) Authorizing
               the Debtors to Obtain Postpetition Financing,
               (II) Authorizing the Debtors to Use Cash Collateral,
               (III) Granting Liens and Providing Claims With
               Superpriority Administrative Expense Status, (IV) Granting
               Adequate Protection to the Existing Secured Parties,
               (V) Modifying the Automatic Stay, (VI) Scheduling a Final
               Hearing, and (VII) Granting Related Relief



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              “Hedging Motion”: Debtors’ Emergency Motion for Entry
               of an Order (I) Authorizing the Debtors to (A) Enter into and
               Perform Under Hedge Agreements, (B) Grant Liens and
               Superpriority Claims, and (C) Modify the Automatic Stay,
               and (II) Granting Related Relief

  C.     Operational Motions:

              “Wages Motion”: Debtors’ Emergency Motion for Entry of
               an Order (I) Authorizing the Debtors to (A) Pay Prepetition
               Wages, Salaries, Other Compensation, and Reimbursable
               Expenses, and (B) Continue Employee Benefits Programs,
               and (II) Granting Related Relief

              “Lienholders Motion”: Debtors’ Emergency Motion for
               Entry of Interim and Final Orders (I) Authorizing the
               Payment of (A) Operating Expenses, (B) Marketing
               Expenses, (C) Shipping and Warehousing Claims,
               (D) 503(b)(9) Claims, and (E) Outstanding Orders and
               (II) Granting Related Relief

              “Royalty Payments Motion”: Debtors’ Emergency Motion
               for Entry of an Order (I) Authorizing Payment of
               (A) Obligations Owed to Holders of Mineral and Other
               Interests and Non-Op Working Interests and (B) Joint
               Interest Billings, and (II) Granting Related Relief

              “Surety Bond Motion”: Debtors’ Emergency Motion for
               Entry of an Order (I) Approving Continuation of the Surety
               Bond Program and (II) Granting Related Relief

              “Insurance Motion”: Debtors’ Emergency Motion for Entry
               of an Order (I) Authorizing the Debtors to (A) Continue
               Insurance Coverage Entered into Prepetition and Satisfy
               Prepetition Obligations Related Thereto, (B) Renew,
               Amend, Supplement, Extend, or Purchase Insurance
               Policies, and (II) Granting Related Relief

              “Utilities Motion”: Debtors’ Emergency Motion for Entry
               of an Order (I) Approving the Debtors’ Proposed Adequate
               Assurance of Payment for Future Utility Services,
               (II) Prohibiting Utility Providers from Altering, Refusing, or
               Discontinuing Services, (III) Approving the Debtors’
               Proposed Procedures for Resolving Additional Assurance
               Requests, and (IV) Granting Related Relief




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                       “Taxes Motion”: Debtors’ Emergency Motion for Entry of
                        an Order (I) Authorizing the Payment of Certain Prepetition
                        Taxes and Fees and (II) Granting Related Relief

                       “NOL Motion”: Debtors’ Emergency Motion for Entry of
                        an Order (I) Approving Notification and Hearing
                        Procedures for Certain Transfers of Common Stock and
                        Preferred Stock and (II) Granting Related Relief

                       “Sell Down Date Motion”: Debtors’ Motion for Entry of an
                        Order Establishing a Record Date for Notice and Sell-Down
                        Procedures for Trading in Certain Claims Against the
                        Debtors’ Estates

                       “Contract Rejection Motion”: Debtors’ Motion for Entry of
                        an Order (I) Authorizing Rejection of Certain Executory
                        Contracts Effective as of July 1, 2020 and (II) Granting
                        Related Relief

                       “FERC Contract Rejection Motion”: Motion of Chesapeake
                        Energy Corporation for Entry of an Order (I) Authorizing
                        Rejection of the Negotiated Rate Firm Transportation
                        Agreements and Related Contracts Effective as of July 1,
                        2020 and (II) Granting Related Relief

        122.    I have consulted with advisors regarding and understand each of the First Day

Motions and the relief requested therein. To the best of my knowledge and belief, the factual

statements contained in each of the First Day Motions are true and accurate and each such factual

statement is incorporated herein by reference.

        123.    I believe that the relief requested in the First Day Motions is necessary, in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will allow the

Debtors to operate with minimal disruption and maximum value preservation during the pendency

of these chapter 11 cases. I also understand that the relief requested in the First Day Motions is

supported by MUFG, the FLLO Term Loan Group, and Franklin. Failure to grant the relief

requested in any of the First Day Motions may result in immediate and irreparable harm to the

Debtors, their business, and their estates. Accordingly, for the reasons set forth herein and in each



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respective First Day Motion, the Court should grant the relief requested in each of the First Day

Motions.



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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

 Dated: June 28, 2020                      /s/ Domenic J. Dell’Osso, Jr.
                                           Domenic J. Dell’Osso, Jr.
                                           Executive Vice President and Chief Financial Officer
                                           Chesapeake Energy Corporation
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                                 Exhibit A

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                                 Exhibit B

                      Restructuring Support Agreement

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THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR ACCEPTANCE
WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A
CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY
CODE. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING
CONTAINED IN THIS RESTRUCTURING SUPPORT AGREEMENT SHALL BE AN
ADMISSION OF FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE
AGREEMENT EFFECTIVE DATE ON THE TERMS DESCRIBED HEREIN, DEEMED
BINDING ON ANY OF THE PARTIES HERETO.

                              RESTRUCTURING SUPPORT AGREEMENT

        This RESTRUCTURING SUPPORT AGREEMENT (including all exhibits, annexes, and
schedules hereto in accordance with Section 14.02, collectively, this “Agreement”) is made and
entered into as of June 28, 2020 (the “Execution Date”), by and among the following parties (each
of the following described in sub-clauses (i) through (v) of this preamble, and any person or entity
that becomes a party hereto in accordance with the terms hereof, collectively, the “Parties”): 1

                  The undersigned parties that (a) have executed and delivered counterpart signature
                  pages to this Agreement, a joinder to this Agreement substantially in the form
                  attached hereto as Exhibit D (a “Joinder”), or a Transfer Agreement to counsel to
                  the Company Parties, counsel to the Consenting Revolving Credit Facility Lenders,
                  counsel to the Consenting FLLO Term Loan Facility Lenders, and counsel to the
                  Consenting Second Lien Noteholders and (b) have committed to become, or have
                  become, a DIP Lender in the Chapter 11 Cases (collectively, the “Consenting DIP
                  Lenders”).

                  the undersigned holders of Revolving Credit Facility Claims that have executed and
                  delivered counterpart signature pages to this Agreement, a Joinder, or a Transfer
                  Agreement to counsel to the Company Parties, counsel to the Consenting DIP
                  Lenders, counsel to the Consenting FLLO Term Loan Facility Lenders, and counsel
                  to the Consenting Second Lien Noteholders (collectively, the “Consenting
                  Revolving Credit Facility Lenders”);

                  the undersigned holders of FLLO Term Loan Facility Claims that have executed
                  and delivered counterpart signature pages to this Agreement, a Joinder or a Transfer
                  Agreement to counsel to the Company Parties, counsel to the Consenting DIP
                  Lenders, counsel to the Consenting Revolving Credit Facility Lenders, and counsel
                  to the Consenting Second Lien Noteholders (collectively, the “Consenting FLLO
                  Term Loan Facility Lenders”);

                  the undersigned holders of, or investment advisors, sub-advisors, or managers of
                  discretionary accounts that hold, Second Lien Notes Claims that have executed and
                  delivered counterpart signature pages to this Agreement, a Joinder, or a Transfer

1   Capitalized terms used but not defined in the preamble and recitals to this Agreement have the meanings ascribed to them in
    Section 1.
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               Agreement to counsel to the Company Parties, counsel to the Consenting DIP
               Lenders, counsel to the Consenting Revolving Credit Facility Lenders, and counsel
               to the Consenting FLLO Term Loan Facility Lenders (collectively,
               the “Consenting Second Lien Noteholders” and, together with the Entities
               referenced in clauses (i) - (iii), collectively, the “Consenting Stakeholders”); and

               Chesapeake Energy Corporation, a corporation incorporated under the Laws of
               Oklahoma, or any of its Affiliates listed on Exhibit A to this Agreement that has
               executed and delivered counterpart signature pages to this Agreement to counsel to
               the Consenting DIP Lenders, counsel to the Consenting Revolving Credit Facility
               Lenders, counsel to the Consenting FLLO Term Loan Facility Lenders, and counsel
               to the Consenting Second Lien Noteholders (each, a “Company Party” and,
               collectively, the “Company Parties”).

                                           RECITALS

        WHEREAS, the Consenting Stakeholders have in good faith and at arms’ length
negotiated or been apprised of certain restructuring and recapitalization transactions with respect
to the Company Parties’ capital structure on the terms set forth in this Agreement and as specified
in the term sheet attached as Exhibit B hereto (the “Restructuring Term Sheet” and, such
transactions as described in this Agreement and the Restructuring Term Sheet, collectively,
the “Restructuring Transactions”);

       WHEREAS, the Company Parties intend to implement the Restructuring Transactions
through the commencement by the Debtors of voluntary cases under chapter 11 of the Bankruptcy
Code in the Bankruptcy Court (the cases commenced, the “Chapter 11 Cases”); and

       WHEREAS, the Parties have agreed to take certain actions in support of the Restructuring
Transactions on the terms and conditions set forth in this Agreement and the Restructuring Term
Sheet;

        NOW, THEREFORE, in consideration of the covenants and agreements contained
herein, and for other valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, each Party, severally and not jointly, intending to be legally bound hereby, agrees
as follows:




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                                         AGREEMENT

Section 1.     Definitions and Interpretation.

      1.01. Definitions. Capitalized terms used but not defined in this Agreement have the
meanings given to such terms in Exhibit 1 to Exhibit B attached hereto.

       1.02.   Interpretation. For purposes of this Agreement:

        (a)    in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or
neuter gender shall include the masculine, feminine, and neuter gender;

        (b)    capitalized terms defined only in the plural or singular form shall nonetheless have
their defined meanings when used in the opposite form;

        (c)     unless otherwise specified, any reference herein to a contract, lease, instrument,
release, indenture, or other agreement or document being in a particular form or on particular terms
and conditions means that such document shall be substantially in such form or substantially on
such terms and conditions;

        (d)     unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit shall mean such document, schedule, or exhibit, as it may have been or may be amended,
restated, supplemented, or otherwise modified from time to time; provided that any capitalized
terms herein which are defined with reference to another agreement, are defined with reference to
such other agreement as of the date of this Agreement, without giving effect to any termination of
such other agreement or amendments to such capitalized terms in any such other agreement
following the date hereof;

       (e)      unless otherwise specified, all references herein to “Sections” are references to
Sections of this Agreement;

        (f)     the words “herein,” “hereof,” and “hereto” refer to this Agreement in its entirety
rather than to any particular portion of this Agreement;

       (g)      captions and headings to Sections are inserted for convenience of reference only
and are not intended to be a part of or to affect the interpretation of this Agreement;

       (h)     references to “shareholders”, “directors”, and/or “officers” shall also include
“members”, “partners”, and/or “managers”, as applicable, as such terms are defined under the
applicable limited liability company or partnership Laws;

       (i)     the use of “include” or “including” is without limitation, whether stated or not;

       (j)     the phrase “counsel to the Company Parties” refers to Kirkland & Ellis LLP;

       (k)     the phrase “counsel to the Consenting DIP Lenders” refers in this Agreement to
counsel specified in Section 14.10(b);
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       (l)    the phrase “counsel to the Consenting Revolving Credit Facility Lenders” refers in
this Agreement to counsel specified in Section 14.10(c);

        (m)   the phrase “counsel to the Consenting FLLO Term Loan Facility Lenders” refers
in this Agreement to counsel specified in Section 14.10(d);

      (n)     the phrase “counsel to the Consenting Second Lien Noteholders” refers in this
Agreement to counsel specified in Section 14.10(e); and

       (o)    the phrase “counsel to the Consenting Stakeholders” means counsel to the
Consenting DIP Lenders, counsel to the Consenting Revolving Credit Facility Lenders, counsel to
the Consenting FLLO Term Loan Facility Lenders, and counsel to the Consenting Second Lien
Noteholders.

Section 2.      Effectiveness of this Agreement. This Agreement shall become effective and
binding upon each of the Parties at 12:00 a.m., prevailing Eastern Daylight Time, on the
Agreement Effective Date, which is the date on which all of the following conditions have been
satisfied or waived in accordance with this Agreement:

        (a)    the holders of 100% of the aggregate Revolving DIP Loan Commitments under the
DIP Facility (inclusive of validly executed but unsettled trades) shall have executed and delivered
counterpart signature pages of this Agreement to counsel to the Company Parties, counsel to the
Consenting Revolving Credit Facility Lenders, counsel to the Consenting FLLO Term Loan
Facility Lenders, and counsel to the Consenting Second Lien Noteholders;

        (b)    the holders of at least 66.67% of the aggregate outstanding principal amount under
the Revolving Credit Facility (inclusive of validly executed but unsettled trades) shall have
executed and delivered counterpart signature pages of this Agreement to counsel to the Company
Parties, counsel to the Consenting DIP Lenders, counsel to the Consenting FLLO Term Loan
Facility Lenders, and counsel to the Consenting Second Lien Noteholders;

        (c)    the holders of at least 66.67% of the aggregate outstanding principal amount under
the FLLO Term Loan Facility (inclusive of validly executed but unsettled trades) shall have
executed and delivered counterpart signature pages of this Agreement to counsel to the Company
Parties, counsel to the Consenting DIP Lenders, counsel to the Consenting Revolving Credit
Facility Lenders, and counsel to the Consenting Second Lien Noteholders;

       (d)      the holders of at least 50% of the aggregate outstanding principal amount of Second
Lien Notes shall have executed and delivered counterpart signature pages of this Agreement to
counsel to the Company Parties, counsel to the Consenting DIP Lenders, counsel to the Consenting
Revolving Credit Facility Lenders, and counsel to the Consenting FLLO Term Loan Facility
Lenders;

        (e)     the Company Parties shall have executed and delivered counterpart signature pages
of this Agreement to counsel to the Consenting DIP Lenders, counsel to the Consenting Revolving
Credit Facility Lenders, counsel to the Consenting FLLO Term Loan Facility Lenders, and counsel
to the Consenting Second Lien Noteholders; and
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       (f)     the Company Parties shall have paid in full all Restructuring Expenses incurred and
invoiced at least one (1) Business Day prior to the Agreement Effective Date that were not
previously paid by the Company Parties, and shall pay all remaining outstanding Restructuring
Expenses at least one (1) day prior to Petition Date.

The Company Parties shall be provided signature pages of the Consenting Stakeholders in
unredacted form; provided, that the Company Parties and counsel to the Company Parties shall not
make any public disclosure of any kind that would disclose either: (i) the holdings of any
Consenting Stakeholders (including the signature pages hereto, which shall not be publicly
disclosed or filed) or (ii) the identity of any Consenting Stakeholder, in each case without the prior
written consent of such Consenting Stakeholder or the order of a Bankruptcy Court or other court
with competent jurisdiction. For the avoidance of doubt, if there is a subsequent Termination Date
as to the Company Parties pursuant to Section 12.02, Section 12.03, Section 12.04, Section 12.05,
Section 12.06, or Section 12.07, any and all provisions of the Agreement referencing “counsel to
the Company Parties,” a “Company Party,” or the “Company Parties” are, and shall continue to
be, in full force and effect with respect to the Consenting Stakeholders as if such provisions were
written without reference to “counsel to the Company Parties,” a “Company Party,” or the
“Company Parties” and this Agreement, shall be in full force and effect with respect to each other
Party hereto until the occurrence of a Termination Date as to such Party.

Section 3.     Definitive Documents.

        3.01. The Definitive Documents governing the Restructuring Transactions shall include,
without limitation, the following: (A) the Plan and its exhibits, ballots, and solicitation procedures;
(B) the Confirmation Order; (C) the Disclosure Statement; (D) the order of the Bankruptcy Court
approving the Disclosure Statement and the other Solicitation Materials; (E) the First Day
Pleadings and all orders sought pursuant thereto; (F) the Plan Supplement; (G) the DIP Order, DIP
Credit Agreement, and any and all other DIP Documents and related documentation; (H) the
Backstop Commitment Agreement, (I) Backstop Commitment Agreement Approval Order, Rights
Offering Procedures, Registration Rights Agreement and any and all documentation required to
implement, issue, and distribute the New Common Stock; (J) the documents or agreements related
to the New Warrants; (K) the Exit Facilities Documents and related documentation; (L) the
Management Incentive Plan; (M) the New Organizational Documents and all other documents or
agreements for the governance of Reorganized Chesapeake, including the list of directors of
reorganized Chesapeake and any certificates of incorporation and shareholders’ agreements or
supplements as may be reasonably necessary or advisable to implement the Restructuring; and (N)
such other agreements and documentation reasonably desired or necessary to consummate and
document the transactions contemplated by this Agreement, the Restructuring Term Sheet, and the
Plan.

        3.02. The Definitive Documents executed prior to the Execution Date or
contemporaneously herewith or in a form attached to this Agreement or the Restructuring Term
Sheet are acceptable to the Parties. The Definitive Documents not executed or in a form attached
to this Agreement or the Restructuring Term Sheet as of the Execution Date remain subject to
negotiation and completion. Upon completion, the Definitive Documents and every other
document, deed, agreement, filing, notification, letter or instrument related to the Restructuring

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Transactions shall contain terms, conditions, representations, warranties, and covenants consistent
with the terms of this Agreement, as they may be modified, amended, or supplemented in
accordance with Section 13. Further,

        (a)    the Definitive Documents not executed or in a form attached to this Agreement as
of the Execution Date and any amendment to the Definitive Documents shall at all times be in
form and substance reasonably acceptable to the Required Plan Sponsors 2 and the Company
Parties and, solely as affects their rights or treatment in any material respect, the Required
Consenting DIP Lenders;

        (b)      the Definitive Documents set forth in Section 3.01(A)-(E), (F) (other than
documents included in the Plan Supplement which are specifically enumerated in Section 3.01),
(G)-(H) and (K), and any modifications, amendments, or supplements to the foregoing, shall at
all times be in form and substance reasonably acceptable to the Required Consenting DIP Lenders;

       (c)     the New Warrants, the Rights Offering Procedures, the Registration Rights
Agreement and any and all documentation required to implement, issue, and distribute the New
Common Stock, and any modifications, amendments, or supplements to the foregoing, shall at all
times be in form and substance reasonably acceptable to the Consenting Second Lien Noteholders
holding at least 66.67% of the aggregate outstanding principal amount of the Second Lien Note
Claims that are held by Consenting Second Lien Noteholders;

        (d)     the Backstop Commitment Agreement shall be in form and substance acceptable to
each Backstop Party; 3 provided that if the Backstop Commitment Agreement is not in form and
substance acceptable to any particular Consenting FLLO Term Loan Facility Lender, or
Consenting Second Lien Noteholder, such Consenting FLLO Term Loan Facility Lender, or
Consenting Second Lien Noteholder may refuse to be a Backstop Party but such event shall not
give rise to any termination of this Agreement so long as: (i) the Rights Offering is fully
backstopped by the Backstop Parties; and (ii) the terms of the Backstop Commitment Agreement
do not have a disproportionate and adverse effect on such Consenting FLLO Term Loan Facility
Lender, or Consenting Second Lien Noteholder in any material respect as compared to all other
Consenting FLLO Term Loan Facility Lenders, or Consenting Second Lien Noteholders,
respectively, proposed to be Backstop Parties; and

       (e)     the DIP Documents and Exit Facilities Documents shall be, and shall be deemed to
be, acceptable to the Consenting Stakeholders and Company Parties to the extent they are
consistent with the DIP Term Sheet and Exit Facilities Term Sheet; provided that the Consenting


2   “Required Plan Sponsors” means the Backstop Parties holding FLLO Term Loan Facility Claims and commitments to
    Backstop the Rights Offering such that the Required Plan Sponsors Percentage exceeds 66 2/3%. “Required Plan Sponsors
    Percentage” means a fraction, expressed as a percentage, (a) the numerator of which shall be the sum of (i) the aggregate
    outstanding principal amount of FLLO Term Loan Facility Claims that are held by the relevant Backstop Parties and (ii) the
    percentage of the Backstop ascribed to the relevant Backstop Parties (as set forth in the Backstop Commitment Agreement)
    multiplied by the Rights Offering Amount and (b) the denominator of which shall be the sum of (i) the aggregate outstanding
    principal amount of FLLO Term Loan Facility Claims that are held by all of the Backstop Parties and (ii) the Rights Offering
    Amount.
3   “Backstop Party” means each of the members of the FLLO Ad Hoc Group and Franklin that are signatories to the Backstop
    Commitment Agreement.
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Stakeholders and Company Parties reserve all rights with respect to all terms (including any
amendments thereto) in the DIP Documents and Exit Facilities Documents that are not specified
in the DIP Term Sheet and Exit Facilities Term Sheet.

Section 4.     Commitments of the Consenting Stakeholders.

       4.01.   General Commitments, Forbearances, and Waivers.

       (a)      During the Agreement Effective Period, each Consenting Stakeholder, severally
and not jointly, agrees, in respect of all of its Company Claims, to:

                (i)     support the Restructuring Transactions within the timeframes outlined
herein and in the Definitive Documents and vote and exercise any powers or rights available to it
(including in any creditors’ meeting or in any process requiring voting or approval to which they
are legally entitled to participate) in each case in favor of any matter requiring approval to the
extent necessary to implement the Restructuring Transactions;

               (ii)   use commercially reasonable efforts to cooperate with, and subject to
applicable Laws, assist the Company Parties in obtaining additional support for the Restructuring
Transactions from the Company Parties’ other stakeholders;

               (iii) use commercially reasonable efforts to oppose, subject to applicable Laws,
any party or person from taking any actions contemplated in Section 4.02(b);

                (iv)   use any commercially reasonably efforts to give, subject to applicable Laws,
any notice, order, instruction, or direction to the applicable Agents/Trustees necessary to give
effect to the Restructuring Transactions; and

             (v)    negotiate in good faith and use commercially reasonable efforts to execute
and implement the Definitive Documents that are consistent with this Agreement.

        (b)     During the Agreement Effective Period, subject to applicable Laws and as
otherwise set forth in this Agreement, each Consenting Stakeholder, severally, and not jointly,
agrees, in respect of all of its Company Claims, that it shall not directly or indirectly:

              (i)   object to, delay, impede, or take any other action to interfere with
acceptance, implementation, or consummation of the Restructuring Transactions;

                (ii)     either itself or through any representatives or agents, solicit, initiate,
negotiate, facilitate, propose, continue or respond to any Alternative Restructuring Proposal from
or with any Entity or propose, file, support, consent to, seek formal or informal credit committee
approval of, or vote for any Alternative Restructuring Proposal (and shall immediately inform the
other Consenting Stakeholders and the Company Parties of any notification of any Alternative
Restructuring Proposal); provided, that notwithstanding the foregoing, any Consenting
Stakeholder or its representatives may respond to and participate in discussions with any third
party who has made, or intends to make, any bona fide, unsolicited proposal to acquire any material
assets of the Company Parties or an Alternative Restructuring Proposal to the Company Parties
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and take actions to facilitate or encourage the proposing Entity to submit such material asset
acquisition proposal or Alternative Restructuring Proposal to the Company Parties;

               (iii) file any motion, pleading, or other document with the Bankruptcy Court or
any other court (including any modifications or amendments thereof) that, in whole or in part, is
not materially consistent with this Agreement or the Plan;

               (iv)    initiate, or have initiated on its behalf, any litigation or proceeding of any
kind with respect this Agreement, or the other Restructuring Transactions contemplated herein
against the other Parties other than to enforce this Agreement or any Definitive Document or as
otherwise permitted under this Agreement;

              (v)     exercise, or direct any other person to exercise, any right or remedy for the
enforcement, collection, or recovery of any of Claims against or Interests in the Company
Parties; or

               (vi)    object to, delay, impede, or take any other action to interfere with the
Company Parties’ ownership and possession of their assets, wherever located, or interfere with the
automatic stay arising under section 362 of the Bankruptcy Code;

               (vii) object to or commence any legal proceeding challenging the adequate
protection granted or proposed to be granted to the holders of the Revolving Credit Facility Claims,
the FLLO Term Loan Facility Claims, or the Second Lien Notes Claims under the DIP Order; or

                (viii) file or support, directly or indirectly, a motion, application, adversary
proceeding, or cause of action (a) challenging the validity, enforceability, perfection or priority of,
or seeking avoidance or subordination of the DIP Claims, the Revolving Credit Facility Claims,
the FLLO Term Loan Facility Claims, the Second Lien Notes Claims, or the Liens securing such
Claims, or (b) otherwise seeking to impose liability upon or enjoin the DIP Lenders, Revolving
Credit Facility Lenders, FLLO Term Loan Facility Lenders, or the Second Lien Noteholders.

       4.02.   Commitments with Respect to Chapter 11 Cases.

        (a)     During the Agreement Effective Period, each Consenting Stakeholder that is
entitled to vote to accept or reject the Plan pursuant to its terms, severally, and not jointly, agrees
that it shall, subject to receipt by such Consenting Stakeholder, whether before or after the
commencement of the Chapter 11 Cases, of the Solicitation Materials:

                 (i)     vote each of its Company Claims to accept the Plan by delivering its duly
executed and completed ballot accepting the Plan on a timely basis following the commencement
of the solicitation of the Plan and its actual receipt of the Solicitation Materials and the ballot that
meet the requirements of Sections 1125 and 1126 of the Bankruptcy Code; provided, however, that
the consent or votes of the Consenting Stakeholders shall be immediately revoked and deemed
void ab initio upon the occurrence of the Termination Date (other than a Termination Date caused
solely by the Plan Effective Date);


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                (ii)    to the extent it is permitted to elect whether to opt in or out of the releases
set forth in the Plan, elect to opt in to, or not to opt out of, the releases set forth in the Plan by
timely delivering its duly executed and completed ballot(s) indicating such election; and

                (iii) except as expressly set forth in this Agreement, not change, withdraw,
amend, or revoke (or cause to be changed, withdrawn, amended, or revoked) any vote or election
referred to in clauses (i) and (ii) above.

        (b)    During the Agreement Effective Period, each Consenting Stakeholder, in respect of
each of its Company Claims, severally and not jointly, will not directly or indirectly object to,
delay, impede, or take any other action to interfere with any motion or other pleading or document
filed by a Company Party in the Bankruptcy Court that is consistent with this Agreement.

Section 5.      Additional Provisions Regarding the Consenting Stakeholders’ Commitments.
Notwithstanding anything contained in this Agreement, nothing in this Agreement shall: (a) be
construed to prohibit any Consenting Stakeholder from appearing as a party in interest in any
matter to be adjudicated in the Chapter 11 Cases, so long as such appearance and the positions
advocated in connection therewith are not inconsistent with this Agreement and are not for the
purpose of delaying, interfering, impeding, or taking any other action to delay, interfere or impede,
directly or indirectly, the Restructuring Transactions; (b) affect the ability of any Consenting
Stakeholder to consult with any other Consenting Stakeholder, the Company Parties, or any other
party in interest in the Chapter 11 Cases (including any official committee and the United States
Trustee); (c) impair or waive the rights of any Consenting Stakeholder to assert or raise any
objection permitted under this Agreement in connection with the Restructuring Transactions;
(d) prevent any Consenting Stakeholder from enforcing this Agreement or contesting whether any
matter, fact, or thing is a breach of, or is inconsistent with, this Agreement; (e) obligate a
Consenting Stakeholder to deliver a vote to support the Plan or prohibit a Consenting Stakeholder
from withdrawing such vote, in each case from and after the Termination Date as to a Consenting
Stakeholder (other than a Termination Date as a result of the occurrence of the Plan Effective Date)
and, for the avoidance of doubt, upon the Termination Date (other than a Termination Date as a
result of the occurrence of the Plan Effective Date), such Consenting Stakeholder’s vote shall
automatically be deemed void ab initio and such Consenting Stakeholder shall have a reasonable
opportunity to cast a vote; (f) be construed to prohibit any Consenting Stakeholder from either
itself or through any representatives or agents, soliciting, initiating, negotiating, facilitating,
proposing, continuing, or responding to any proposal to purchase or sell Company Claims, so long
as such Consenting Stakeholder complies with Section 8.01, or (g) prevent the DIP Agent or DIP
Lenders from exercising any of its or their rights and privileges under the DIP Documents. Nothing
in this Agreement shall impair or affect the rights or obligations of any party under the DIP
Documents or DIP Order.

Section 6.     Commitments of the Company Parties.

        6.01. Affirmative Commitments. Except as set forth in Section 7, during the Agreement
Effective Period, the Company Parties agree to:



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        (a)    support and take all steps reasonably necessary and desirable to consummate the
Restructuring Transactions in accordance with this Agreement and within the timeframes outlined
herein;

        (b)    support and take all steps necessary and desirable to facilitate solicitation of the
Plan in accordance with this Agreement and within the timeframes outlined herein;

       (c)     to the extent any legal or structural impediment arises that would prevent, hinder,
or delay the consummation of the Restructuring Transactions contemplated herein, take all steps
reasonably necessary and desirable to address any such impediment;

        (d)    use commercially reasonable efforts to obtain any and all required regulatory and/or
third-party approvals for the Restructuring Transactions;

        (e)    negotiate in good faith and use commercially reasonable efforts to execute and
deliver the Definitive Documents and any other required agreements to effectuate and consummate
the Restructuring Transactions as contemplated by this Agreement;

       (f)     use commercially reasonable efforts to seek additional support for the Restructuring
Transactions from their other material stakeholders;

        (g)     provide draft copies of all substantive motions, documents, and other pleadings to
be filed in the Chapter 11 Cases to counsel to the Consenting DIP Lenders, counsel to the
Consenting Revolving Credit Facility Lenders, counsel to the Consenting FLLO Term Loan
Facility Lenders, and counsel to the Consenting Second Lien Noteholders as soon as reasonably
practicable, but in no event less than two (2) Business Days prior to the date when the Company
Parties intend to file such documents and, without limiting any approval rights set forth in this
Agreement, consult in good faith with counsel to the DIP Lenders, counsel to the Consenting
Revolving Credit Facility Lenders, counsel to the Consenting FLLO Term Loan Facility Lenders,
and counsel to the Consenting Second Lien Noteholders regarding the form and substance of any
such proposed filing. Notwithstanding the foregoing, in the event that two (2) Business Days’
notice is not reasonably practicable under the circumstances, the Company Parties shall provide
draft copies of any such motions, documents, or other pleadings to counsel to the applicable
Consenting Stakeholders as soon as otherwise reasonably practicable before the date when the
Company Parties intend to file any such motion, documents, or other pleading;

        (h)    provide, and direct their employees, officers, advisors, and other representatives to
provide, to each of the Consenting DIP Lenders, the Consenting Revolving Credit Facility
Lenders, the Consenting FLLO Term Loan Facility Lenders, and the Consenting Second Lien
Noteholders, and each of their respective legal and financial advisors (i) reasonable access to the
Company Parties’ books and records during normal business hours on reasonable advance notice
to the Company Parties’ representatives and without disruption to the operation of the Company
Parties’ business, (ii) reasonable access to the management and advisors of the Company Parties
on reasonable advance notice to such persons and without disruption to the operation of the
Company Parties’ business, and (iii) such other information as reasonably requested by the
Consenting DIP Lenders, the Consenting Revolving Credit Facility Lenders, the Consenting FLLO
Term Loan Facility Lenders, the Consenting Second Lien Noteholders or their respective legal and
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financial advisors; notwithstanding the foregoing, the Company Parties shall not be required (x) to
permit any inspection, or to disclose any information, that in the reasonable judgment of the
Company Parties, would cause the Company Party to violate its respective obligations with respect
to confidentiality to a third party, (y) to disclose any legally privileged information of the Company
Party, or (z) to violate applicable Law;

        (i)     actively oppose and object to the efforts of any person seeking to object to, delay,
impede, or take any other action to interfere with the acceptance, implementation, or
consummation of the Restructuring Transactions (including, if applicable, the filing of timely filed
objections or written responses) to the extent such opposition or objection is reasonably necessary
or desirable to facilitate implementation of the Restructuring Transactions;

        (j)     actively oppose and object to any motion, application, adversary proceeding, or
cause of action (a) challenging the validity, enforceability, perfection or priority of, or seeking
avoidance or subordination of the DIP Claims; the Revolving Credit Facility Claims, the FLLO
Term Loan Facility Claims, or the Second Lien Notes Claims or the Liens securing such Claims,
(b) otherwise seeking to impose liability upon or enjoin the DIP Lenders, the Revolving Credit
Facility Lenders, the FLLO Term Loan Facility Lenders, or the Second Lien Noteholders,
(c) seeking the entry of an order directing the appointment of a trustee or examiner (with expanded
powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code), (d) seeking
the entry of an order converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy
Code, (e) seeking the entry of an order dismissing the Chapter 11 Cases, or (f) seeking the entry
of an order modifying or terminating the Company Parties’ exclusive right to file and/or solicit
acceptances of a plan of reorganization, as applicable;

      (k)     actively oppose or object to any effort by a third party seeking standing to bring
any motion, application, adversary proceeding, or cause of action described in Section 6.01(j);

       (l)     upon reasonable request of any of the Consenting Stakeholders, inform counsel to
the Consenting Stakeholders as to: (i) the material business and financial (including liquidity)
performance of the Company Parties; (ii) the status and progress of the Restructuring Transactions,
including progress in relation to the negotiations of the Definitive Documents; and (iii) the status
of obtaining any necessary or desirable authorizations (including any consents) from each
Consenting Stakeholder, any competent judicial body, governmental authority, banking, taxation,
supervisory, or regulatory body or any stock exchange;

        (m)    inform counsel to the Consenting Stakeholders as soon as reasonably practicable
after becoming aware of: (i) any matter or circumstance which they know, or believe is likely, to
be a material impediment to the implementation or consummation of the Restructuring
Transactions; (ii) any notice of any commencement of any material involuntary insolvency
proceedings, legal suit for payment of debt or securement of security from or by any person in
respect of any Company Party; (iii) a breach of this Agreement (including a breach by any
Company Party); and (iv) any representation or statement made or deemed to be made by them
under this Agreement which is or proves to have been incorrect or misleading in any material
respect when made or deemed to be made;


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       (n)      to the extent any legal or structural impediment arises under Section 6.01(m) that
would prevent, hinder or delay the consummation of the Plan, use commercially reasonable efforts
to negotiate with the Consenting DIP Lenders, the Consenting Revolving Credit Facility Lenders,
the Consenting FLLO Term Loan Facility Lenders, and the Consenting Second Lien Noteholders
in good faith in an effort to agree to appropriate additional or alternative provisions or alternative
implementation mechanics to address any such impediment; provided, that the economic outcome
for the Consenting DIP Lenders, the Consenting Revolving Credit Facility Lenders, the
Consenting FLLO Term Loan Facility Lenders, and the Consenting Second Lien Noteholders and
other material terms of this Agreement must be substantially preserved in such alternate provisions
or implementation mechanics;

        (o)   to the extent the Company Parties decide to seek Bankruptcy Court approval
of (a) a key employee incentive plan for insider employees (the “KEIP”), and/or (b) a key
employee retention plan for key non-insider employees (the “KERP”), such plans shall be in a
form acceptable to the Consenting Stakeholders with respect to the terms of such KEIP and/or
KERP prior to filing motion(s) seeking approval of the KEIP and/or KERP; provided, however,
the KERP effective as of May 1, 2020 shall be deemed acceptable to the Consenting Stakeholders;

       (p)    use commercially reasonable efforts to seek additional support for the Restructuring
from their other material stakeholders to the extent reasonably prudent and, to the extent the
Company Parties receive any Joinders or Transfer Agreements, to notify the Consenting
Stakeholders of such Joinders and Transfer Agreements; and

       (q)     promptly pay Restructuring Expenses.

        6.02. Negative Commitments. Except as set forth in Section 7, during the Agreement
Effective Period, each of the Company Parties shall not directly or indirectly:

      (a)    object to, delay, impede, or take any other action to interfere with acceptance,
implementation, or consummation of the Restructuring Transactions;

        (b)   take any action (i) that is inconsistent in any material respect with the
Restructuring Transactions described in this Agreement or the Plan, (ii) is intended to frustrate or
impede approval, implementation and consummation of the Restructuring Transactions described
in this Agreement or the Plan, or (iii) would have the effect of frustrating or impeding approval,
implementation and consummation of the Restructuring Transactions described in this Agreement
or the Plan;

      (c)     modify the Plan, in whole or in part, in a manner that is not consistent with this
Agreement in all material respects; or

       (d)     file any motion, pleading, or Definitive Documents with the Bankruptcy Court or
any other court (including any modifications or amendments thereof) that, in whole or in part, is
not materially consistent with this Agreement or the Plan.



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Section 7.      Additional Provisions Regarding Company Parties’ Commitments.

        7.01. Notwithstanding anything to the contrary in this Agreement, nothing in this
Agreement shall require a Company Party or the board of directors, board of managers, or similar
governing body of a Company Party, after consulting with counsel, to take any action or to refrain
from taking any action with respect to the Restructuring Transactions to the extent taking or failing
to take such action would be inconsistent with applicable Law or its fiduciary obligations under
applicable Law, and any such action or inaction pursuant to this Section 7.01 shall not be deemed
to constitute a breach of this Agreement. The Company Parties shall give prompt written notice
to the Consenting Stakeholders of any determination in accordance with this Section 7.01 to take
or refrain from taking any action. This Section 7.01 shall not impede any Party’s right to terminate
this Agreement pursuant to Section 12.01(i).

         7.02. Notwithstanding anything to the contrary in this Agreement (but subject to
Section 7.01), each Company Party and its respective directors, officers, employees, investment
bankers, attorneys, accountants, consultants, and other advisors or representatives shall have the
right to consider, respond to, and facilitate Alternative Restructuring Proposals, but may not solicit
an Alternative Restructuring Proposal, offer, indication of interest or inquiry for one or more
Alternative Restructuring Proposals, and in furtherance thereof, may: (a) provide access to non-
public information concerning any Company Party to any Entity or enter into Confidentiality
Agreements or nondisclosure agreements with any Entity; (b) maintain or continue discussions or
negotiations with respect to Alternative Restructuring Proposals; (c) otherwise cooperate with,
assist, participate in, or facilitate any inquiries, proposals, discussions, or negotiation of Alternative
Restructuring Proposals; and (d) enter into or continue discussions or negotiations with holders of
Claims against or Interests in a Company Party (including any Consenting Stakeholder), any other
party in interest in the Chapter 11 Cases (including any official committee and the United States
Trustee), or any other Entity regarding the Restructuring Transactions or Alternative Restructuring
Proposals. If any Company Party receives an Alternative Restructuring Proposal, or any update
to an Alternative Restructuring Proposal from the counterparty thereto, then such Company Party
shall (A) within two (2) Business Days of receiving such proposal, provide counsel to the
Consenting Stakeholders with all documentation received in connection with such Alternative
Restructuring Proposal; (B) provide counsel to the Consenting Stakeholders with regular updates
as to the status and progress of such Alternative Restructuring Proposal; and (C) respond promptly
to reasonable information requests and questions from counsel to the Consenting Stakeholders
relating to such Alternative Restructuring Proposal.

        7.03. Nothing in this Agreement shall: (a) impair or waive the rights of such Company
Party to assert or raise any objection permitted under this Agreement in connection with the
Restructuring Transactions; or (b) prevent such Company Party from enforcing this Agreement or
contesting whether any matter, fact, or thing is a breach of, or is inconsistent with, this Agreement.

Section 8.      Transfer of Interests and Securities.

        8.01. During the Agreement Effective Period, no Consenting Stakeholder shall Transfer
any ownership (including any beneficial ownership as defined in the Rule 13d-3 under the
Securities Exchange Act of 1934, as amended) in any Company Claims to any affiliated or

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unaffiliated party, including any party in which it may hold a direct or indirect beneficial interest,
unless:

       (a)     the authorized transferee is either (1) a qualified institutional buyer as defined in
Rule 144A of the Securities Act, (2) a non-U.S. person in an offshore transaction as defined under
Regulation S under the Securities Act, (3) an institutional accredited investor (as defined by
Rule 501(a)(1), (2), (3), and (7) of the Securities Act), or (4) a Consenting Stakeholder not in
breach of this Agreement;

        (b)    either (i) the transferee executes and delivers to counsel to the Consenting
Stakeholders and counsel to the Company Parties, at or before the time of the proposed Transfer,
a Transfer Agreement or (ii) the transferee is a Consenting Stakeholder or an affiliate thereof and
the transferee provides notice of such Transfer (including the amount and type of Company
Claim/Interest Transferred) to counsel to the Company Parties and counsel to the Consenting
Stakeholders by the close of business on the second Business Day following such Transfer; and

       (c)     such Transfer shall not violate the terms of any order entered by the Bankruptcy
Court with respect to preservation of net operating losses.

        8.02. Upon compliance with the requirements of Section 8.01, the transferor shall be
deemed to relinquish its rights (and be released from its obligations) under this Agreement to the
extent of the rights and obligations in respect of such transferred Company Claims. With respect
to Company Claims held by the relevant transferee upon consummation of a Transfer, such
transferee is deemed to make all of the representations and warranties of a Consenting Stakeholder
and undertake all obligations relevant to such transferor (including, for the avoidance of doubt, the
commitments made in Section 4.02) set forth in this Agreement. Any Transfer in violation of
Section 8.01 shall be void ab initio.

       8.03. This Agreement shall in no way be construed to preclude any Consenting
Stakeholders from acquiring additional Company Claims; provided, however, that (a) such
additional Company Claims shall automatically and immediately upon acquisition by a Consenting
Stakeholder be deemed subject to the terms of this Agreement (regardless of when or whether
notice of such acquisition is given to counsel to the Company Parties or to counsel to the
Consenting DIP Lenders, counsel to the Consenting Revolving Credit Facility Lenders, counsel to
the Consenting FLLO Term Loan Facility Lenders, and counsel to the Consenting Second Lien
Noteholders) and (b) on the effective date of such transfer, such Consenting Stakeholder must
provide notice of such acquisition (including the amount and type of Company Claim acquired) to
counsel to the Company Parties within five (5) Business Days of such acquisition.

       8.04. This Section 8 shall not impose any obligation on any Company Party to issue any
“cleansing letter” or otherwise publicly disclose information for the purpose of enabling a
Consenting Stakeholder to Transfer any of its Company Claims. Notwithstanding anything to the
contrary herein, to the extent a Company Party and another Party have entered into a
Confidentiality Agreement, the terms of such Confidentiality Agreement shall continue to apply
and remain in full force and effect according to its terms, and this Agreement does not supersede
any rights or obligations otherwise arising under such Confidentiality Agreements.

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        8.05. Notwithstanding Section 8.01, (a) a Consenting Stakeholder may Transfer any
Company Claims to an Entity that is an Affiliate, affiliated fund, or affiliated entity with a common
investment advisor, which Entity shall automatically be bound by this Agreement upon the
Transfer of such Company Claims and (b) a Qualified Marketmaker that acquires any Company
Claims from such Consenting Stakeholder with the purpose and intent of acting as a Qualified
Marketmaker for such Company Claims shall not be required to execute and deliver a Transfer
Agreement in respect of such Company Claims if such Qualified Marketmaker subsequently
Transfers such Company Claims (by purchase, sale assignment, participation, or otherwise) to a
transferee that is a Consenting Stakeholder or a transferee who executes and delivers to counsel to
the Consenting Stakeholders and counsel to the Company Parties, at or before the time of the
proposed Transfer, a Transfer Agreement. Notwithstanding the foregoing, to the extent any
Consenting Stakeholder is acting in its capacity as a Qualified Marketmaker, it may Transfer any
Company Claims that it acquires from a holder of such Company Claims that is not a Consenting
Stakeholder without the requirement that the transferee be or become a Consenting Stakeholder or
execute a Transfer Agreement.

        8.06. Notwithstanding anything to the contrary in this Section 8, the restrictions on
Transfer set forth in this Section 8 shall not apply to the grant of any Liens or encumbrances on
any claims and interests in favor of a bank or broker-dealer holding custody of such claims and
interests in the ordinary course of business and which Lien or encumbrance is released upon the
Transfer of such claims and interests.

         8.07. Additional Consenting Stakeholders. Any holder of the DIP Claims, the Revolving
Credit Facility Claims, the FLLO Term Loan Facility Claims, or the Second Lien Notes Claims
that is not a party to this Agreement as of the Agreement Effective Date may, at any time after the
Agreement Effective Date, become a Consenting Stakeholder by executing and delivering to
counsel to the Consenting DIP Lenders, counsel to the Consenting Revolving Credit Facility
Lenders, counsel to the Consenting FLLO Term Loan Facility Lenders, counsel to the Consenting
Second Lien Noteholders and counsel to the Company Parties a Joinder, pursuant to which such
Person shall be bound by the terms of this Agreement.

Section 9.    Representations and Warranties of Consenting Stakeholders. Each Consenting
Stakeholder severally, and not jointly, represents and warrants that, as of the date such Consenting
Stakeholder executes and delivers this Agreement and as of the Plan Effective Date:

       (a)     it is the beneficial or record owner, or has validly executed unsettled trades, of the
face amount of the Company Claims or is the nominee, investment manager, or advisor for
beneficial holders of the Company Claims reflected in, and, having made reasonable inquiry, is
not the beneficial or record owner of any Company Claims other than those reflected in, such
Consenting Stakeholder’s signature page to this Agreement or a Transfer Agreement, as applicable
(as may be updated pursuant to Section 8);

       (b)    it has the full power and authority to act on behalf of, vote and consent to matters
concerning, such Company Claims;

       (c)     such Company Claims are free and clear of any pledge, Lien, security interest,
charge, claim, equity, option, proxy, voting restriction, right of first refusal, or other limitation on
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disposition, transfer, or encumbrances of any kind, that would adversely affect in any way such
Consenting Stakeholder’s ability to perform any of its obligations under this Agreement at the time
such obligations are required to be performed;

       (d)    it has the full power to vote, approve changes to, and Transfer all of its Company
Claims referable to it as contemplated by this Agreement subject to applicable Law; and

         (e)    solely with respect to holders of Company Claims, (i) it is either (A) a qualified
institutional buyer as defined in Rule 144A of the Securities Act, (B) not a U.S. person (as defined
in Regulation S of the Securities Act), or (C) an institutional accredited investor (as defined by
Rule 501(a)(1), (2), (3), and (7) of the Securities Act), and (ii) any securities acquired by the
Consenting Stakeholder in connection with the Restructuring Transactions will have been acquired
for investment and not with a view to distribution or resale in violation of the Securities Act.

Section 10. Representations and Warranties of Company Parties. Each Company Party
severally, and not jointly, represents and warrants that:

        (a)     as of the date such Company Party becomes a Party, each Company Party believes
that entry into this Agreement is consistent with the exercise of such Company Party’s fiduciary
duties; and

        (b)    as of the Agreement Effective Date, the Company Parties and their professionals
are not entertaining, encouraging, soliciting, or discussing any offers, indications of interest, or
inquiries for an Alternative Restructuring Proposal with any party and have not entertained,
encouraged, solicited, or discussed any such Alternative Restructuring Proposal with any party
within one week of the Agreement Effective Date, except as disclosed to the Consenting
Stakeholders.

Section 11. Mutual Representations, Warranties, and Covenants. Each of the Consenting
Stakeholders and each Company Party, in each case severally and not jointly, represents, warrants,
and covenants to each other Party, as of the date such Party executed and delivers this Agreement
or Joinder(s) and as of immediately prior to the Plan Effective Date:

        (a)     it is validly existing and in good standing under the Laws of the state of its
organization, and this Agreement is a legal, valid, and binding obligation of such Party,
enforceable against it in accordance with its terms, except as enforcement may be limited by
applicable Laws relating to or limiting creditors’ rights generally or by equitable principles relating
to enforceability;

       (b)     except as expressly provided in this Agreement, the Plan, and the Bankruptcy Code,
no consent or approval is required by any other Entity in order for it to effectuate the Restructuring
Transactions contemplated by, and perform its respective obligations under, this Agreement;

        (c)     the entry into and performance by it of, and the transactions contemplated by, this
Agreement do not, and will not, conflict in any material respect with any Law or regulation
applicable to it or with any of its articles of association, memorandum of association or other
constitutional documents;
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        (d)     except as expressly provided in this Agreement, it has (or will have, at the relevant
time) all requisite corporate or other power and authority to enter into, execute, and deliver this
Agreement and to effectuate the Restructuring Transactions contemplated by, and perform its
respective obligations under, this Agreement; and

        (e)     except as expressly provided by this Agreement, it is not party to any restructuring
or similar agreements or arrangements with the other Parties to this Agreement that have not been
disclosed to all Parties to this Agreement.

Section 12.       Termination Events.

        12.01. Consenting Stakeholder Termination Events. This Agreement may be terminated
(a) with respect to the Consenting DIP Lenders, by the Required Consenting DIP Lenders 4 by the
delivery to the Consenting Revolving Credit Facility Lenders, the Consenting FLLO Term Loan
Facility Lenders, the Consenting Second Lien Noteholders, and the Company Parties of a written
notice in accordance with Section 14.10; (b) with respect to the Consenting Revolving Credit
Facility Lenders, by the Required Consenting Revolving Credit Facility Lenders 5 by the delivery
to the Consenting DIP Lenders, the Consenting FLLO Term Loan Facility Lenders, the Consenting
Second Lien Noteholders, and the Company Parties of a written notice in accordance with Section
14.10; (c) with respect to the Consenting FLLO Term Loan Facility Lenders, by the Required
Consenting FLLO Term Loan Facility Lenders 6 by the delivery to the Consenting DIP Lenders,
the Consenting Revolving Credit Facility Lenders, the Consenting Second Lien Noteholders, and
the Company Parties of a written notice in accordance with Section 14.10; and (d) with respect to
the Consenting Second Lien Noteholders, by the Required Consenting Second Lien Noteholders, 7
by the delivery to the Consenting DIP Lenders, the Consenting Revolving Credit Facility Lenders,
Consenting FLLO Term Loan Facility Lenders, and the Company Parties of a written notice in
accordance with Section 14.10 hereof upon the occurrence of the following events:

        (a)     the breach in any material respect by a Company Party of its obligations under this
Agreement, which breach is not cured within five (5) Business Days after such Company Party
has been given written notice of such breach by another Party in accordance with Section 14.10
hereof, or if a Company Party files, publicly announces, or informs the Consenting DIP Lenders,
the Consenting Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility
Lenders, and the Consenting Second Lien Noteholders of its intention to file a chapter 11 plan that
contains terms and conditions that: (i) do not provide the Consenting DIP Lenders, the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, or the

4   “Required Consenting DIP Lenders” means Consenting DIP Lenders holding at least 51% of the aggregate Revolving DIP
    Loan Commitments under the DIP Facility that are held by Consenting DIP Lenders.
5   “Required Consenting Revolving Credit Facility Lenders” means Consenting Revolving Credit Facility Lenders holding at
    least 51% of the aggregate outstanding principal amount of the Revolving Credit Facility Claims that are held by Consenting
    Revolving Credit Facility Lenders.
6   “Required Consenting FLLO Term Loan Facility Lenders” means Consenting FLLO Term Loan Facility Lenders holding at
    least 66.67% of the aggregate outstanding principal amount of the FLLO Term Loan Facility Claims that are held by
    Consenting FLLO Term Loan Facility Lenders.
7   “Required Consenting Second Lien Noteholders” means Consenting Second Lien Noteholders holding at least 66.67% of the
    aggregate outstanding principal amount of the Second Lien Note Claims that are held by Consenting Second Lien Noteholders,
    but not less than two of the number of all Consenting Second Lien Noteholders.
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Consenting Second Lien Noteholders, as applicable, with the economic recovery set forth in the
Restructuring Term Sheet or (ii) are not otherwise consistent with this Agreement and the
Restructuring Term Sheet;

        (b)    a material breach by any Company Party of any representation, warranty, or
covenant of such Company Party set forth in this Agreement that (to the extent curable) remains
uncured for a period of five (5) Business Days after such Company Party has been given written
notice of such breach by another Party in accordance with Section 14.10 hereof;

       (c)     the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
ten (10) Business Days; provided, that this termination right may not be exercised by any Party
that sought or requested such ruling or order in contravention of any obligation set out in this
Agreement;

        (d)     the entry of an order by the Bankruptcy Court, or the filing of a motion or
application by any Company Party seeking an order (without the prior written consent of the
Required Consenting Stakeholders 8), (i) converting one or more of the Chapter 11 Cases of a
Company Party to a case under chapter 7 of the Bankruptcy Code, (ii) appointing an examiner with
expanded powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code or
a trustee in one or more of the Chapter 11 Cases of a Company Party, (iii) dismissing the Chapter
11 Cases, or (iv) rejecting this Agreement;

         (e)      the Bankruptcy Court enters an order denying confirmation of the Plan;

        (f)      any Debtor files with the Bankruptcy Court any motion or application seeking
authority to sell any material assets (other than (i) any sales contemplated in the Restructuring
Term Sheet or disclosed in writing by the Company Parties or their advisors and in reasonable
detail to the Consenting DIP Lenders, the Consenting Revolving Credit Facility Lenders, the
Consenting FLLO Term Loan Facility Lenders, and the Consenting Second Lien Noteholders or
their respective advisors prior to the execution of any definitive sale agreement in respect of such
sale or the filing of any motion or application by the Company Parties seeking Bankruptcy Court
approval of such sale and the Required Consenting Stakeholders have consented in writing to such
sale (provided, that, if such sale would have a material, disproportionate and adverse effect on any
of the Company Claims held by the Consenting DIP Lenders, the Consenting Revolving Credit
Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, or the Consenting Second
Lien Noteholders, a written consent to such sale shall also have been provided by either or all of
the Consenting DIP Lenders, the Consenting Revolving Credit Facility Lenders, the Consenting
FLLO Term Loan Facility Lenders, or the Consenting Second Lien Noteholders, respectively,
upon which such material, disproportionate, and adverse effect shall, or shall reasonably be


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 “Required Consenting Stakeholders” means the Required Consenting DIP Lenders, the Required Consenting Revolving Credit
Facility Lenders, and the Required Plan Sponsors.



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expected to, result) and (ii) any sales pursuant to any order establishing procedures for the sale of
de minimis assets);

       (g)     the occurrence of any one of the following events:

                (i)    the Debtors or any Affiliate of the Debtors files a motion, application,
adversary proceeding, or cause of action (a) challenging the validity, enforceability, perfection or
priority of, or seeking avoidance, subordination, or recharacterization of the DIP Claims, the
Revolving Credit Facility Claims, the FLLO Term Loan Facility Claims or the Second Lien Notes
Claims, as applicable, or the Liens securing any of such Claims, as applicable, or (b) otherwise
seeking to impose liability upon or enjoin the DIP Lenders, the Revolving Credit Facility Lenders,
the FLLO Term Loan Facility Lenders, or the Second Lien Noteholders, as applicable;

               (ii)   the Debtors or any Affiliate of the Debtors support any application,
adversary proceeding, or Cause of Action referred to in the immediately preceding clause (i) filed
by a third party, or consents to the standing of any such third party to bring such application,
adversary proceeding, or Cause of Action;

        (h)    the modification of the employment terms of any member of Chesapeake’s senior
management team without the consent of the Required Consenting Stakeholders, including any
further modification of the Chesapeake’s compensation program as amended on May 5, 2020;

        (i)    the failure to comply with or achieve any one of the milestones set forth in the
Restructuring Term Sheet, unless such milestone is extended with the express prior written consent
of the Required Consenting Stakeholders, which consent may be provided via email from counsel
to each of such Required Consenting Stakeholders; provided that milestones (d) and (g) in the
Restructuring Term Sheet relating to the Exit Facilities may be extended with the express prior
written consent of the Required DIP Lenders and without the consent of any other Consenting
Stakeholders;

        (j)     a Company Party or the board of directors, board of managers, or such similar
governing body of a Company Party takes or refrains from taking any action in any respect on the
basis of a determination made pursuant to Section 7.01;

       (k)     any Company Party (i) files, amends, or modifies, or files a pleading seeking
approval of, any Definitive Document or authority to amend or modify any Definitive Document,
in a manner that is inconsistent with the consent rights set forth in Section 3.02 or constitutes a
breach of this Agreement, (ii) withdraws the Plan without the prior consent of the Required
Consenting Stakeholders, or (iii) publicly announces its intention to take any such acts listed in the
foregoing clause (i) or (ii), in the case of each of the foregoing clauses (i) and (ii), which remains
uncured (to the extent curable) for five (5) Business Days after such terminating Consenting
Stakeholders transmit a written notice in accordance with Section 14.10 detailing any such breach;

      (l)    the occurrence and continuation of any event of default under the DIP Credit
Agreement that is not cured in accordance with the DIP Credit Agreement;


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       (m)    the board of directors, board of managers, or such similar governing body of any
Company Party determines, after consulting with counsel, (i) that proceeding with any of the
Restructuring Transactions would be inconsistent with the exercise of its fiduciary duties or
applicable Law or (ii) in the exercise of its fiduciary duties, to pursue an Alternative Restructuring
Proposal and any Company Party (a) makes a public announcement that it intends to accept an
Alternative Restructuring Proposal or (b) enters into a definitive agreement with respect to an
Alternative Restructuring Proposal;

      (n)    the Debtors’ use of cash collateral, the DIP Facility, or the Backstop Commitment
Agreement has been terminated in accordance with each of their respective terms;

       (o)     if any of the Company Parties enters into an agreement with a counterparty to a
swap, collar, option or other hedging arrangement to terminate such swap, collar, option, or other
hedging arrangement without obtaining the prior written consent of the Required Consenting
Stakeholders;

       (p)     the failure by the Debtors to make adequate protection payments to the Consenting
Revolving Credit Facility Lenders, the Consenting FLLO Term Loan Facility Lenders, or Franklin,
as applicable, in accordance with the DIP Order following approval of such DIP Order by the
Bankruptcy Court;

        (q)      the entry of an order by the Bankruptcy Court or any other court of competent
jurisdiction, or the filing of a motion, application, or other pleading by any Company Party seeking
an order (without the prior written consent of the Required Consenting Stakeholders), reversing or
vacating the Confirmation Order.

       12.02. Consenting DIP Lender Termination Rights. The Required Consenting DIP
Lenders may terminate this Agreement as to all Parties upon prior written notice to all Parties in
accordance with Section 14.10 hereof upon the occurrence of any of the following events:

        (a)    termination of this Agreement by either the Required Consenting FLLO Term Loan
Facility Lenders, the Required Consenting Second Lien Noteholders, or the Company Parties;

        (b)    any Debtor, any Consenting FLLO Term Loan Facility Lender, or any Consenting
Second Lien Noteholder files a motion, application, adversary proceeding, or cause of action
(A) challenging the validity, enforceability, perfection or priority of, or seeking avoidance,
subordination, or recharacterization of the DIP Claims or the Liens securing such Claims or
(B) otherwise seeking to impose liability upon or enjoin the DIP Lenders or the Revolving Credit
Facility Lenders;

        (c)    any Debtor, any Consenting FLLO Term Loan Facility Lender, or any Consenting
Second Lien Noteholder supports any application, adversary proceeding or cause of action referred
to in Section 12.04(b) filed by any third party, or consents to the standing of such third party to
bring such application, adversary proceeding or cause of action; or

      (d)     the breach in any material respect by one or more of the Consenting FLLO Term
Loan Facility Lenders or the Consenting Second Lien Noteholders of any provision set forth in
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this Agreement that remains uncured for a period of five (5) Business Days after the receipt by
such Consenting FLLO Term Loan Facility Lenders or Consenting Second Lien Noteholders of
notice of such breach; provided, however, that so long as non-breaching Consenting FLLO Term
Loan Facility Lenders party hereto continue to hold at least 66.67% of the outstanding Revolving
Credit Facility Claims or FLLO Term Loan Claims, respectively, or non-breaching Consenting
Second Lien Noteholders party hereto continue to hold at least 50% of the outstanding Second
Lien Notes Claims, such termination shall be effective only with respect to such breaching
Consenting FLLO Term Loan Facility Lender(s) or Consenting Second Lien Noteholder(s),
respectively.

        12.03. Consenting Revolving Credit Facility Lender Termination Rights. The Required
Consenting Revolving Credit Facility Lenders may terminate this Agreement as to all Parties upon
prior written notice to all Parties in accordance with Section 14.10 hereof upon the occurrence of
any of the following events:

        (a)    termination of this Agreement by either the Required Consenting FLLO Term Loan
Facility Lenders, the Required Consenting Second Lien Noteholders, or the Company Parties;

        (b)    any Debtor, any Consenting FLLO Term Loan Facility Lender, or any Consenting
Second Lien Noteholder files a motion, application, adversary proceeding, or cause of action
(A) challenging the validity, enforceability, perfection or priority of, or seeking avoidance,
subordination, or recharacterization of the Revolving Credit Facility Claims or the Liens securing
such Claims or (B) otherwise seeking to impose liability upon or enjoin the Revolving Credit
Facility Lenders;

        (c)    any Debtor, any Consenting FLLO Term Loan Facility Lenders, or any Consenting
Second Lien Noteholder supports any application, adversary proceeding or cause of action referred
to in Section 12.04(b) filed by any third party, or consents to the standing of such third party to
bring such application, adversary proceeding or cause of action; or

        (d)    the breach in any material respect by one or more of the Consenting FLLO Term
Loan Facility Lenders or the Consenting Second Lien Noteholders of any provision set forth in
this Agreement that remains uncured for a period of five (5) Business Days after the receipt by
such Consenting DIP Lenders, Consenting FLLO Term Loan Facility Lenders or Consenting
Second Lien Noteholders of notice of such breach; provided, however, that so long as non-
breaching Consenting FLLO Term Loan Facility Lenders continue to hold at least 66.67% of
FLLO Term Loan Claims, or non-breaching Consenting Second Lien Noteholders party hereto
continue to hold at least 50% of the outstanding Second Lien Notes Claims, respectively, such
termination shall be effective only with respect to such breaching Consenting FLLO Term Loan
Facility Lender(s) or Consenting Second Lien Noteholder(s), respectively.

        12.04. Consenting FLLO Term Loan Facility Lender Termination Rights. The Required
Consenting FLLO Term Loan Facility Lenders may terminate this Agreement as to all Parties upon
prior written notice to all Parties in accordance with Section 14.10 hereof upon the occurrence of
any of the following events:


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       (a)    termination of this Agreement by any of the Required Consenting DIP Lenders, the
Required Consenting Revolving Credit Facility Lenders, the Required Consenting Second Lien
Noteholders, or the Company Parties;

        (b)    any Debtor, any Consenting DIP Lender, any Consenting Revolving Credit Facility
Lender, or any Consenting Second Lien Noteholder files a motion, application, adversary
proceeding, or cause of action (A) challenging the validity, enforceability, perfection or priority
of, or seeking avoidance, subordination or recharacterization of the FLLO Term Loan Facility
Claims or the Liens securing such Claims or (B) otherwise seeking to impose liability upon or
enjoin the FLLO Term Loan Facility Lenders;

        (c)    any Debtor, any Consenting DIP Lender, any Consenting Revolving Credit Facility
Lenders, or any Consenting Second Lien Noteholder supports any application, adversary
proceeding or cause of action referred to in Section 12.04(b) filed by any third party, or consents
to the standing of such third party to bring such application, adversary proceeding or cause of
action; or

       (d)     the breach in any material respect by one or more of the Consenting DIP Lenders,
the Consenting Revolving Credit Facility Lenders or the Consenting Second Lien Noteholders of
any provision set forth in this Agreement that remains uncured for a period of five (5) Business
Days after the receipt by such Consenting DIP Lender, Consenting Revolving Credit Facility
Lenders or Consenting Second Lien Noteholders of notice of such breach; provided, however, that
so long as non-breaching Consenting DIP Lenders continue to hold or control at least 100% of the
outstanding DIP Claims, non-breaching Consenting Revolving Credit Facility Lenders party
hereto continue to hold at least 66.67% of the outstanding Revolving Credit Facility Claims, or
non-breaching Consenting Second Lien Noteholders party hereto continue to hold at least 50% of
the Second Lien Notes Claims, such termination shall be effective only with respect to such
breaching Consenting DIP Lender(s), Consenting Revolving Credit Facility Lender(s) or
Consenting Second Lien Noteholder(s), respectively; provided, further, that in the event that one
or more of the Consenting DIP Lenders breaches this Agreement in any material respect such that
the breach would otherwise give rise to a termination right under this Section 12.04(d) if such
breach were to remain uncured for a five (5) Business Day period, each Consenting FLLO Term
Loan Facility Lender and each Consenting Second Lien Noteholder shall have the right, but not
the obligation, to purchase the DIP Claims held by such breaching Consenting DIP Lender(s)
during the five (5) Business Day cure period, in which case the breach shall be deemed cured and
no termination right would arise under this Section 12.04(d).

        12.05. Consenting Second Lien Noteholder Termination Rights.                The Required
Consenting Second Lien Noteholders may terminate this Agreement as to all Parties upon prior
written notice to all Parties in accordance with Section 14.10 hereof upon the occurrence of any of
the following events:

        (a)    termination of this Agreement by either the Required Consenting DIP Lenders, the
Required Consenting Revolving Credit Facility Lenders, Required Consenting FLLO Term Loan
Facility Lenders, or the Company Parties;


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        (b)     any Debtor, any Consenting DIP Lenders, any Consenting Revolving Credit
Facility Lenders, or any Consenting FLLO Term Loan Facility Lender files a motion, application,
adversary proceeding, or cause of action (A) challenging the validity, enforceability, perfection or
priority of, or seeking avoidance, subordination or recharacterization of the Second Lien Notes
Claims or the Liens securing such Claims or (B) otherwise seeking to impose liability upon or
enjoin the Second Lien Noteholders;

        (c)    any Debtor, any Consenting DIP Lenders, any Consenting Revolving Credit
Facility Lenders, or any Consenting FLLO Term Loan Facility Lender supports any application,
adversary proceeding or cause of action referred to in Section 12.05(b) filed by any third party, or
consents to the standing of such third party to bring such application, adversary proceeding or
cause of action; or

        (d)     the breach in any material respect by one or more of the Consenting DIP Lenders,
the Consenting Revolving Credit Facility Lenders or the Consenting FLLO Term Loan Facility
Lenders of any provision set forth in this Agreement that remains uncured for a period of five (5)
Business Days after the receipt by such Consenting DIP Lenders, Consenting Revolving Credit
Facility Lenders or Consenting FLLO Term Loan Facility Lenders of notice of such breach;
provided, however, that so long as non-breaching Consenting DIP Lenders continue to hold or
control at least 100% of the outstanding DIP Claims, or non-breaching Consenting Revolving
Credit Facility Lenders or Consenting FLLO Term Loan Facility Lenders party hereto continue to
hold at least 66.67% of the outstanding Revolving Credit Facility Claims or FLLO Term Loan
Facility Claims, respectively, such termination shall be effective only with respect to such
breaching Consenting DIP Lender(s), Consenting Revolving Credit Facility Lender(s) or
Consenting FLLO Term Loan Facility Lender(s), respectively; provided, further, that in the event
that one or more of the Consenting DIP Lenders breaches this Agreement in any material respect
such that the breach would otherwise give rise to a termination right under this Section 12.05(d) if
such breach were to remain uncured for a five (5) Business Day period, each Consenting FLLO
Term Loan Facility Lender and each Consenting Second Lien Noteholder shall have the right, but
not the obligation, to purchase the DIP Claims held by such breaching Consenting DIP Lender(s)
during the five (5) Business Day cure period, in which case the breach shall be deemed cured and
no termination right would arise under this Section 12.05(d).

       12.06. Company Party Termination Events. Any Company Party may terminate this
Agreement as to all Parties upon prior written notice to all Parties in accordance with Section 14.10
hereof upon the occurrence of any of the following events:

        (a)      the breach in any material respect by one or more of the Consenting DIP Lenders
of any provision set forth in this Agreement that remains uncured for a period of five (5) Business
Days after the receipt by such Consenting DIP Lenders of notice of such breach; provided,
however, that so long as non-breaching Consenting DIP Lenders party hereto continue to hold or
control at least 100% of the outstanding DIP Claims, such termination shall be effective only with
respect to such breaching Consenting DIP Lender(s); provided, further, that in the event that one
or more of the Consenting DIP Lenders breaches this Agreement in any material respect such that
the breach would otherwise give rise to a termination right under this Section 12.06(a) if such
breach were to remain uncured for a five (5) Business Day period, each Consenting FLLO Term

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Loan Facility Lender and each Consenting Second Lien Noteholder shall have the right, but not
the obligation, to purchase the DIP Claims held by such breaching Consenting DIP Lender(s)
during the five (5) Business Day cure period, in which case the breach shall be deemed cured and
no termination right would arise under this Section 12.06(a);

       (b)     the breach in any material respect by one or more of the Consenting Revolving
Credit Facility Lenders of any provision set forth in this Agreement that remains uncured for a
period of five (5) Business Days after the receipt by such Consenting Revolving Credit Facility
Lenders of notice of such breach; provided, however, that so long as non-breaching Consenting
Revolving Credit Facility Lenders party hereto continue to hold at least 66.67% of the outstanding
Revolving Credit Facility Claims, such termination shall be effective only with respect to such
breaching Consenting Revolving Credit Facility Lender(s);

       (c)      the breach in any material respect by one or more of the Consenting FLLO Term
Loan Facility Lenders of any provision set forth in this Agreement that remains uncured for a
period of five (5) Business Days after the receipt by such Consenting FLLO Term Loan Facility
Lenders of notice of such breach; provided, however, that so long as non-breaching Consenting
FLLO Term Loan Facility Lenders party hereto continue to hold at least 66.67% of the outstanding
FLLO Term Loan Facility Claims, such termination shall be effective only with respect to such
breaching Consenting FLLO Term Loan Facility Lender(s);

       (d)     the breach in any material respect by one or more of the Consenting Second Lien
Noteholders of any provision set forth in this Agreement that remains uncured for a period of five
(5) Business Days after the receipt by such Consenting Second Lien Noteholders of notice of such
breach; provided, however, that so long as non-breaching Consenting Second Lien Noteholders
party hereto continue to hold at least 50% of the outstanding Second Lien Notes Claims, such
termination shall be effective only with respect to such breaching Consenting Second Lien
Noteholder(s);

       (e)    the board of directors, board of managers, or such similar governing body of any
Company Party determines, after consulting with counsel, (i) that proceeding with any of the
Restructuring Transactions would be inconsistent with the exercise of its fiduciary duties or
applicable Law or (ii) in the exercise of its fiduciary duties, to pursue an Alternative Restructuring
Proposal;

        (f)      the issuance by any governmental authority, including any regulatory authority or
court of competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
ten (10) Business Days after such terminating Company Party transmits a written notice in
accordance with Section 14.10 hereof detailing any such issuance; provided, that this termination
right shall not apply to or be exercised by any Company Party that sought or requested such ruling
or order in contravention of any obligation or restriction set out in this Agreement;

       (g)     termination of this Agreement by either the Required Consenting DIP Lenders,
Required Consenting Revolving Credit Facility Lenders, the Required Consenting FLLO Term
Loan Facility Lenders, or the Required Consenting Second Lien Noteholders; or

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       (h)     the Bankruptcy Court enters an order denying confirmation of the Plan.

        12.07. Mutual Termination. This Agreement, and the obligations of all Parties hereunder,
may be terminated by mutual written agreement among: (a) the Required Consenting Stakeholders
and (b) each Company Party.

        12.08. Automatic Termination. This Agreement shall terminate automatically without any
further required action or notice immediately upon (a) the date that is 10 days after any third party
filing involuntary bankruptcy petitions in respect of the Company Parties unless such petitions
have been dismissed or (b) the consummation of the Restructuring Transactions on the Plan
Effective Date.

        12.09. Effect of Termination. Upon the occurrence of a Termination Date as to a Party,
this Agreement shall be of no further force and effect as to such Party and each Party subject to
such termination shall be released from its commitments (including, without limitation, any
commitment with respect to the Exit Facilities and the Rights Offering), undertakings, and
agreements under or related to this Agreement and shall have the rights and remedies that it would
have had, had it not entered into this Agreement, and shall be entitled to take all actions, whether
with respect to the Restructuring Transactions or otherwise, that it would have been entitled to take
had it not entered into this Agreement, including with respect to any and all Claims or Causes of
Action. Upon the occurrence of a Termination Date prior to the Confirmation Order being entered
by a Bankruptcy Court, any and all consents or ballots tendered by the Parties subject to such
termination before a Termination Date shall be deemed, for all purposes, to be null and void from
the first instance and shall not be considered or otherwise used in any manner by the Parties in
connection with the Restructuring Transactions and this Agreement or otherwise;
provided, however, any Consenting Stakeholder withdrawing or changing its vote pursuant to this
Section 12.09 shall promptly provide written notice of such withdrawal or change to each other
Party to this Agreement and, if such withdrawal or change occurs on or after the Petition Date, file
notice of such withdrawal or change with the Bankruptcy Court. Nothing in this Agreement shall
be construed as prohibiting a Company Party or any of the Consenting Stakeholders from
contesting whether any such termination is in accordance with its terms or to seek enforcement of
any rights under this Agreement that arose or existed before a Termination Date. Except as
expressly provided in this Agreement, nothing herein is intended to, or does, in any manner waive,
limit, impair, or restrict (a) any right of any Company Party who is a Party or the ability of any
Company Party who is a Party to protect and reserve its rights (including rights under this
Agreement), remedies, and interests, including its claims against any Consenting Stakeholder, and
(b) any right of any Consenting Stakeholder, or the ability of any Consenting Stakeholder, to
protect and preserve its rights (including rights under this Agreement), remedies, and interests,
including its claims against any Company Party or Consenting Stakeholder. No purported
termination of this Agreement shall be effective under this Section 12.09 or otherwise if the Party
seeking to terminate this Agreement is in material breach of this Agreement, except a termination
pursuant to Section 12.06(d) or Section 12.06(g). Nothing in this Section 12.09 shall restrict any
Company Party’s right to terminate this Agreement in accordance with Section 12.06(d).




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Section 13.    Amendments and Waivers.

       (a)    This Agreement may not be modified, amended, or supplemented, and no condition
or requirement of this Agreement may be waived, in any manner except in accordance with this
Section 13.

         (a)    This Agreement may be modified, amended, or supplemented, or a condition or
requirement of this Agreement may be waived, in a writing signed by: (a) each Company Party,
(b) Consenting DIP Lenders holding 66.67% of the aggregate outstanding principal amount of the
DIP Claims that are held by Consenting DIP Lenders, (c) solely with respect to any amendment to
their treatment or termination rights, Consenting Revolving Credit Facility Lenders holding at least
66.67% of the aggregate outstanding principal amount of the Revolving Credit Facility Claims that
are held by Consenting Revolving Credit Facility Lenders; provided, that any such amendment
shall be on no less favorable economic terms than currently provided for those creditors that elect
to receive Tranche B Exit Facility Loans unless otherwise consented to by the Tranche B Lenders,
and (d) the Required Plan Sponsors; provided, however, that if the proposed modification,
amendment, waiver, or supplement has a material, disproportionate, and adverse effect on any of
the Company Claims held by a Consenting Stakeholder, then the consent of each such affected
Consenting Stakeholder shall also be required to effectuate such modification, amendment, waiver
or supplement; provided further that if the proposed modification, supplement amendment, or
waiver would modify the treatment of DIP Claims or have a material, disproportionate, or adverse
effect on the value of DIP Claims, “66.67%” in clause (b) above shall be replaced with 100%.

      (b)     Any proposed modification, amendment, waiver or supplement that does not
comply with this Section 13 shall be ineffective and void ab initio.

       (c)     The waiver by any Party of a breach of any provision of this Agreement shall not
operate or be construed as a further or continuing waiver of such breach or as a waiver of any other
or subsequent breach. No failure on the part of any Party to exercise, and no delay in exercising,
any right, power or remedy under this Agreement shall operate as a waiver of any such right, power
or remedy or any provision of this Agreement, nor shall any single or partial exercise of such right,
power or remedy by such Party preclude any other or further exercise of such right, power or
remedy or the exercise of any other right, power or remedy. All remedies under this Agreement
are cumulative and are not exclusive of any other remedies provided by Law.

Section 14.    Miscellaneous.

       14.01. Acknowledgement. Notwithstanding any other provision herein, this Agreement is
not and shall not be deemed to be an offer with respect to any securities or solicitation of votes for
the acceptance of a plan of reorganization for purposes of sections 1125 and 1126 of the
Bankruptcy Code or otherwise. Any such offer or solicitation will be made only in compliance
with all applicable securities Laws, provisions of the Bankruptcy Code, and/or other
applicable Law.

        14.02. Exhibits Incorporated by Reference; Conflicts. Each of the exhibits, annexes,
signatures pages, and schedules attached hereto is expressly incorporated herein and made a part
of this Agreement, and all references to this Agreement shall include such exhibits, annexes, and
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schedules. In the event of any inconsistency between this Agreement (without reference to the
exhibits, annexes, and schedules hereto) and the exhibits, annexes, and schedules hereto, this
Agreement (without reference to the exhibits, annexes, and schedules thereto) shall govern.

        14.03. Further Assurances. Subject to the other terms of this Agreement, the Parties agree
to execute and deliver such other instruments and perform such acts, in addition to the matters
herein specified, as may be reasonably appropriate or necessary, or as may be required by order of
the Bankruptcy Court, from time to time, to effectuate the Restructuring Transactions, as
applicable.

        14.04. Complete Agreement. Except as otherwise explicitly provided herein, this
Agreement constitutes the entire agreement among the Parties with respect to the subject matter
hereof and supersedes all prior agreements, oral or written, among the Parties with respect thereto
(including, for the avoidance of doubt, that certain Restructuring Support Agreement, dated as of
June 19, 2020, by and among the Consenting FLLO Term Loan Facility Lenders and the
Consenting Second Lien Noteholders party thereto), other than any Confidentiality Agreement.

        14.05. GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
FORUM. THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO
CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT GIVING
EFFECT TO THE CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD REQUIRE
THE LAWS OF ANY OTHER JURISDICTION TO APPLY. Each Party hereto agrees that it
shall bring any action or proceeding in respect of any claim arising out of or related to this
Agreement, to the extent possible, in the Bankruptcy Court, and solely in connection with claims
arising under this Agreement: (a) irrevocably submits to the exclusive jurisdiction of the
Bankruptcy Court; (b) waives any objection to laying venue in any such action or proceeding in
the Bankruptcy Court; and (c) waives any objection that the Bankruptcy Court is an inconvenient
forum or does not have jurisdiction over any Party hereto.

      14.06. TRIAL BY JURY WAIVER. EACH PARTY HERETO IRREVOCABLY
WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

        14.07. Execution of Agreement. This Agreement may be executed and delivered in any
number of counterparts and by way of electronic signature and delivery, each such counterpart,
when executed and delivered, shall be deemed an original, and all of which together shall constitute
the same agreement. Except as expressly provided in this Agreement, each individual executing
this Agreement on behalf of a Party has been duly authorized and empowered to execute and
deliver this Agreement on behalf of said Party.

        14.08. Rules of Construction. This Agreement is the product of negotiations among the
Consenting DIP Lenders, the Consenting Revolving Credit Facility Lenders, the Consenting FLLO
Term Loan Facility Lenders, the Consenting Second Lien Noteholders, and the Company Parties,
and in the enforcement or interpretation hereof, is to be interpreted in a neutral manner, and any
presumption with regard to interpretation for or against any Party by reason of that Party having
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drafted or caused to be drafted this Agreement, or any portion hereof, shall not be effective in
regard to the interpretation hereof. The Parties were each represented by counsel during the
negotiations and drafting of this Agreement and continue to be represented by counsel and,
therefore, waive the application of any law, regulation, holding or rule of construction (a)
providing that ambiguities in an agreement or other document shall be construed against the party
drafting such agreement or document or (b) any Party with a defense to the enforcement of the
terms of this Agreement against such Party based upon lack of legal counsel.

        14.09. Successors and Assigns; Third Parties. This Agreement is intended to bind and
inure to the benefit of the Parties and their respective successors and permitted assigns, as
applicable. There are no third party beneficiaries under this Agreement, and the rights or
obligations of any Party under this Agreement may not be assigned, delegated, or transferred to
any other Entity.

       14.10. Notices. All notices hereunder shall be deemed given if in writing and delivered,
by electronic mail, courier, or registered or certified mail (return receipt requested), to the
following addresses (or at such other addresses as shall be specified by like notice):

       (a)    if to a Company Party, to:

              Chesapeake Energy Corporation
              Attention: James R. Webb, Executive Vice President, General Counsel and
              Corporate Secretary
              E-mail address: jim.webb@chk.com

              and

              Kirkland & Ellis LLP
              300 North LaSalle Street
              Chicago, IL 60654
              Attention: Patrick J. Nash, Jr., P.C., Marc Kieselstein, P.C., and Alexandra
              Schwarzman
              E-mail addresses: patrick.nash@kirkland.com; marc.kieselstein@kirkland.com;
              and alexandra.schwarzman@kirkland.com

       (b)    if to a Consenting DIP Lender, to Sidley Austin LLP as counsel to the DIP Agent:

              Sidley Austin LLP
              555 West Fifth Street
              Los Angeles, CA 90013
              Attention: Jennifer C. Hagle and Brian E. Minyard
              Email address: jhagle@sidley.com; bminyard@sidley.com




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       (c)     if to a Consenting Revolving Credit Facility Lender, to Sidley Austin LLP as
               counsel to the Revolving Credit Facility Administrative Agent:

               Sidley Austin LLP
               555 West Fifth Street
               Los Angeles, CA 90013
               Attention: Jennifer C. Hagle and Brian E. Minyard
               Email address: jhagle@sidley.com; bminyard@sidley.com

       (d)     if to a Consenting FLLO Term Loan Facility Lender represented by Davis Polk &
               Wardwell LLP, to:

               Davis Polk & Wardwell LLP
               450 Lexington Avenue
               New York, NY 10017
               Attention: Damian S. Schaible, Darren S. Klein, and Aryeh Ethan Falk
               Email addresses: damian.schaible@davispolk.com; darren.klein@davispolk.com;
               and aryeh.falk@davispolk.com

       (e)     if to a Consenting Second Lien Noteholder represented by Akin Gump Strauss
               Hauer & Feld LLP, to:

               Akin Gump Strauss Hauer & Feld LLP
               One Bryant Park
               Bank of America Tower
               New York, NY 10036-6745
               Attention: Michael S. Stamer, Meredith A. Lahaie, and Stephen B. Kuhn
               Email addresses: mstamer@akingump.com; mlahaie@akingump.com; and
               skuhn@akingump.com

Any notice given by delivery, mail, or courier shall be effective when received.

        14.11. Independent Due Diligence and Decision Making. Each Consenting Stakeholder
hereby confirms that its decision to execute this Agreement has been based upon its independent
investigation of the operations, businesses, financial and other conditions, and prospects of the
Company Parties.

       14.12. Enforceability of Agreement. Each of the Parties to the extent enforceable waives
any right to assert that the exercise of termination rights under this Agreement is subject to the
automatic stay provisions of the Bankruptcy Code, and expressly stipulates and consents hereunder
to the prospective modification of the automatic stay provisions of the Bankruptcy Code for
purposes of exercising termination rights under this Agreement, to the extent the Bankruptcy Court
determines that such relief is required.

        14.13. Settlement. If the Restructuring Transactions are not consummated, or if this
Agreement is terminated in accordance with its terms for any reason, the Parties fully reserve any
and all of their rights and nothing herein shall constitute or be deemed to constitute such Party’s
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consent or approval of any chapter 11 plan of reorganization for the Company Parties or any waiver
of any rights such Party may have under any subordination agreement. Pursuant to Federal Rule
of Evidence 408 and any other applicable rules of evidence, this Agreement and all negotiations
relating hereto shall not be admissible into evidence in any proceeding other than a proceeding to
enforce its terms or the payment of damages to which a Party may be entitled under this
Agreement.

        14.14. Specific Performance. It is understood and agreed by the Parties that money
damages would be an insufficient remedy for any breach of this Agreement by any Party, and each
non-breaching Party shall be entitled to specific performance and injunctive or other equitable
relief (without the posting of any bond and without proof of actual damages) as a remedy of any
such breach, including an order of the Bankruptcy Court or other court of competent
jurisdiction requiring any Party to comply promptly with any of its obligations hereunder.

        14.15. Several, Not Joint, Claims. Except where otherwise specified, the agreements,
representations, warranties, and obligations of the Parties under this Agreement are, in all respects,
several and not joint.

        14.16. Severability and Construction. If any provision of this Agreement shall be held by
a court of competent jurisdiction to be illegal, invalid, or unenforceable, the remaining provisions
shall remain in full force and effect if essential terms and conditions of this Agreement for each
Party remain valid, binding, and enforceable.

        14.17. Remedies Cumulative. All rights, powers, and remedies provided under this
Agreement or otherwise available in respect hereof at Law or in equity shall be cumulative and
not alternative, and the exercise of any right, power, or remedy thereof by any Party shall not
preclude the simultaneous or later exercise of any other such right, power, or remedy by such Party.

        14.18. Capacities of Consenting Stakeholders. Each Consenting Stakeholder has entered
into this agreement on account of all Company Claims that it holds (directly or through
discretionary accounts that it manages or advises) and, except where otherwise specified in this
Agreement, shall take or refrain from taking all actions that it is obligated to take or refrain from
taking under this Agreement with respect to all such Company Claims.

       14.19. Relationship Among Consenting Stakeholders.

        (a)     Notwithstanding anything to the contrary herein, the duties and obligations of the
Consenting Stakeholders under this Agreement shall be several, not joint, with respect to each
Consenting Stakeholder. None of the Consenting Stakeholders shall have any fiduciary duty, any
duty of trust or confidence in any form, or other duties or responsibilities in any kind or form to
each other, any Consenting Stakeholder, any Company Party, or any of the Company Party’s
respective creditors or other stakeholders, and there are no commitments among or between the
Consenting Stakeholders as a result of this Agreement or the transactions contemplated herein or
in the Restructuring Term Sheet, in each case except as expressly set forth in this Agreement. No
Party shall have any responsibility by virtue of this Agreement for any trading by any other entity.
It is understood and agreed that any Consenting Stakeholder may trade in any debt or equity
securities of any Company Parties without the consent of the Company Parties or any Consenting
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Stakeholder, subject to Section 8 of this Agreement and applicable securities laws. No prior
history, pattern or practice of sharing confidence among or between any of the Consenting
Stakeholders, and/or the Company Parties shall in any way affect or negate this understanding and
Agreement, and each Consenting Stakeholder shall be entitled to independently protect and
enforce its rights, including, without limitation, the rights arising out of this Agreement, and it
shall not be necessary for any other Consenting Stakeholder to be joined as an additional party in
any proceeding for such purpose. Nothing contained in this Agreement, and no action taken by
any Consenting Stakeholder pursuant hereto is intended to constitute the Consenting Stakeholders
as a partnership, an association, a joint venture or any other kind of entity, or create a presumption
that any Consenting Stakeholder is in any way acting in concert or as a member of a “group” with
any other Consenting Stakeholder or Consenting Stakeholders within the meaning of Rule 13d-5
under the Securities Exchange Act of 1934, as amended. As of the date hereof and for so long as
this Agreement remains in effect, the Parties have no agreement, arrangement or understanding
with respect to acting together for the purpose of acquiring, holding, voting or disposing of any
securities of any of the Company Parties and do not constitute a “group” within the meaning of
Section 13(d)(3) of the Exchange Act or Rule 13d-5 promulgated thereunder. For the avoidance
of doubt: (1) each Consenting Stakeholder is entering into this Agreement directly with the
Company Parties and not with any other Consenting Stakeholder, (2) no other Consenting
Stakeholder shall have any right to bring any action against any other Consenting Stakeholder with
respect to this Agreement (or any breach thereof) and (3) no Consenting Stakeholder shall, nor
shall any action taken by a Consenting Stakeholder pursuant to this Agreement cause such
Consenting Stakeholder to, be obligated to vote its Interests in the Company in any manner or
otherwise be deemed to be acting in concert or as any group with any other Consenting Stakeholder
with respect to the obligations under this Agreement nor shall this Agreement create a presumption
that the Consenting Stakeholders are in any way acting as a group. All rights under this Agreement
are separately granted to each Consenting Stakeholder by the Company Parties and vice versa, and
the use of a single document is for the convenience of the Company Parties. The decision to
commit to enter into the transactions contemplated by this Agreement has been made
independently. Nothing in this Agreement shall require any Consenting Stakeholder to incur any
expenses, liabilities or other obligations, or agreement to any commitments, undertakings,
concessions, indemnities or other arrangements that could result in expenses or other obligations
to any Consenting Stakeholder; provided, that the preceding sentence shall not serve to limit, alter
or modify any Consenting Stakeholder’s express obligations hereunder.

        (b)    The Company Parties acknowledge that the Consenting Stakeholders are engaged
in a wide range of financial services and businesses, and, in furtherance of the foregoing, the
Consenting Stakeholders and Company Parties acknowledge and agree that the obligations set
forth in this Agreement shall only apply to the trading desk(s) and/or business group(s) of the
Consenting Stakeholders that principally manage and/or supervise the Consenting Stakeholder’s
investment in the Company Parties, and shall not apply to any other trading desk or business group
of the Consenting Stakeholder so long as they are not acting at the direction or for the benefit of
such Consenting Stakeholder.

       14.20. Email Consents. Where a written consent, acceptance, approval, or waiver is
required pursuant to or contemplated by this Agreement, pursuant to Section 3.02, Section 13, or
otherwise, including a written approval by the Company Parties, the Required Consenting DIP
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Lenders, the Required Consenting Revolving Credit Facility Lenders, the Required Consenting
FLLO Term Loan Facility Lenders, the Required Consenting Second Lien Noteholders, and/or the
Required Consenting Stakeholders, such written consent, acceptance, approval, or waiver shall be
deemed to have occurred if, by agreement between counsel to the Parties submitting and receiving
such consent, acceptance, approval, or waiver, it is conveyed in writing (including electronic mail)
between each such counsel without representations or warranties of any kind on behalf of such
counsel.

        14.21. Settlement Discussions. This Agreement is part of a proposed settlement of matters
that could otherwise be the subject of litigation among the Parties, including any such matters
arising under the Intercreditor Agreement, any avoidance actions that could be brought against the
DIP Lenders, Revolving Credit Facility Lenders, FLLO Term Loan Facility Lenders, or Second
Lien Noteholders under section 547 of the Bankruptcy Code or any other provision of the
Bankruptcy Code, or other applicable law, and any matters related to the enterprise value of the
Company Parties. Subject to Section 14.13, each of the Consenting FLLO Term Loan Facility
Lenders and each of the Consenting Revolving Credit Facility Lenders hereby agrees that it shall
forbear from exercising any rights it may have to seek turnover of any payments made to any other
Consenting Stakeholder arising under any provision of the Intercreditor Agreement, including, but
not limited to any turnover provisions in sections 3.05, 402.(l), 6.01 and 7.03 thereof, or the
Collateral Trust Agreement, including section 5.05, 6.02(o), 8.01 and 9.03 thereto; provided,
however, that any such forbearance will expire on the Termination Date (other than a Termination
Date as a result of the occurrence of the Plan Effective Date) and, following such Termination
Date (other than a Termination Date as a result of the occurrence of the Plan Effective Date), the
Consenting FLLO Term Loan Facility Lenders or the Consenting Revolving Credit Facility
Lenders may freely exercise all rights and remedies under the Intercreditor Agreement. For the
avoidance of doubt, each of the Consenting FLLO Term Loan Facility Lenders and each of the
Consenting Revolving Credit Facility Lenders hereby agrees that, if a Termination Date has not
occurred prior to the occurrence of the Plan Effective Date, then upon the occurrence of the Plan
Effective Date, such Consenting FLLO Term Loan Facility Lender or Consenting Revolving
Credit Facility Lenders shall conclusively, absolutely, unconditionally, irrevocably and forever
waive any rights it may have to seek turnover of any payments to any other Consenting Stakeholder
arising under any provision of the Intercreditor Agreement, including, but not limited to, any
turnover provisions in sections 3.05, 4.02(l), 6.01 and 7.03 thereof. Each of the Consenting FLLO
Term Loan Facility Lenders hereby agrees that it shall not seek, and shall not direct or support the
collateral agent under the FLLO Term Loan Facility to seek, turnover of any payment of reasonable
and documented professional fees to any of the advisors to Franklin made pursuant to this
Agreement prior to the occurrence of the Termination Date (other than a Termination Date as a
result of the occurrence of the Plan Effective Date) notwithstanding their rights under the
Intercreditor Agreement or termination of this Agreement; provided that this sentence shall not
apply to any success, completion, back-end, or similar fee of any banker or financial advisor to
Franklin. Each of the Consenting Revolving Credit Facility Lenders hereby agrees that it shall not
seek, and shall not direct or support the collateral agent under the Revolving Credit Facility to
seek, turnover of any payment of reasonable and documented professional fees to any of the
advisors to Franklin or the FLLO Ad Hoc Group made pursuant to this Agreement prior to the
occurrence of the Termination Date (other than a Termination Date as a result of the occurrence
of the Plan Effective Date) notwithstanding their rights under the Intercreditor Agreement or the
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Collateral Trust Agreement or termination of this Agreement; provided that this sentence shall not
apply to any success, completion, back-end, or similar fee of any banker or financial advisor to
Franklin or the FLLO Ad Hoc Group. Nothing in this Agreement shall be deemed an admission of
any kind. Pursuant to Federal Rule of Evidence 408, any applicable state rules of evidence and
any other applicable law, foreign or domestic, this Agreement, and all negotiations relating thereto
shall not be admissible into evidence in any proceeding other than to prove the existence of this
Agreement or in a proceeding to enforce the terms of this Agreement.

        14.22. Good Faith Cooperation; Further Assurances. The Parties shall cooperate with each
other in good faith and shall coordinate their activities (to the extent reasonably practicable) in
respect of all matters concerning the implementation and consummation of the Restructuring.
Further, each of the Parties shall take such action (including executing and delivering any other
agreements and making and filing any required regulatory filings) as may be reasonably necessary
to carry out the purposes and intent of this Agreement.

        14.23. Public Disclosure. Under no circumstances may any Party make any public
disclosure of any kind that would disclose either: (i) the holdings of any Consenting Stakeholders
(including the signature pages hereto, which shall not be publicly disclosed or filed) or (ii) the
identity of any Consenting Stakeholder, in each case without the prior written consent of such
Consenting Stakeholder or the order of a Bankruptcy Court or other court with competent
jurisdiction.

        14.24. Survival. Notwithstanding (a) any Transfer of any Company Claims in accordance
with this Agreement or (b) the termination of this Agreement in accordance with its terms, the
agreements and obligations of the Parties in Section 12.09, Section 14, and the Confidentiality
Agreements shall survive such Transfer and/or termination and shall continue in full force and
effect for the benefit of the Parties in accordance with the terms hereof and thereof.

               IN WITNESS WHEREOF, the Parties hereto have executed this Agreement on the
day and year first above written.




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         [Consenting Stakeholder signature pages on file with the Debtors.]
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                         Consenting Stakeholder Signature Page to
                           the Restructuring Support Agreement
BRAZOS VALLEY LONGHORN,L.L.C.
BRAZOS VALLEY LONGHORN FINANCE CORP.
BURLESON SAND LLC
BURLESON WATER RESOURCES,LLC
CHESAPEAKE AEZ EXPLORATION,L.L.C.
CHESAPEAKE APPALACHIA,L.L.C.
CHESAPEAKE-CLEMENTS ACQUISITION,L.L.C.
CHESAPEAKE E&P HOLDING,L.L.C.
CHESAPEAKE ENERGY CORPORATION
CHESAPEAKE ENERGY LOUISIANA,LLC
CHESAPEAKE ENERGY MARKETING,L.L.C.
CHESAPEAKE EXPLORATION,L.L.C.
CHESAPEAKE LAND DEVELOPMENT COMPANY,L.L.C.
CHESAPEAKE NIIDSTREAM DEVELOPMENT,L.L.C.
CHESAPEAKE NG VENTURES CORPORATION
CHESAPEAKE OPERATING,L.L.C., on behalf of itself and as the general partner of
     CHESAPEAKE LOUISIANA,L.P.
CHESAPEAKE PLAINS,LLC
CHESAPEAKE ROYALTY,L.L.C.
CHESAPEAKE VRT,L.L.C.
CHK ENERGY HOLDINGS,INC.
CHK NGV LEASING COMPANY,L.L.C.
CHK UTICA,L.L.C.
COMPASS MANUFACTURING,L.L.C.
EMLP,L.L.C.,on behalf of itself and as the general partner of
     EMPRESS LOUISIANA PROPERTIES,L.P.
EMPRESS,L.L.C.
ESQUISTO RESOURCES II, LLC
GSF,L.L.C.
MC LOUISIANA MINERALS,L.L.C.
MC MINERAL COMPANY,L.L.C.
MIDCON COMPRESSION,L.L.C.
NOMAC SERVICES,L.L.C.
NORTHERN MICHIGAN EXPLORATION COMPANY,L.L.C.
PETROMAX E&P SURLESON,LLC
SPARKS DRIVE SWD,INC.
WHE ACQCO.,LLC
WHR EAGLE FORD LLC
WILDHORSE RESOURCES II, LLC
WILDHORSE RESOURCES MANAGEMENT COMPANY,LLC
WINTER MOON ENERGY CORPORATION

By:                ~, 'J
Name: Dome c J. Dell'Osso, Jr.
Title: Executive Vice President nd Chief Financial Officer
Authorized Signatory
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BRAZOS VALLEY LONGHORN FINANCE CORP.
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BURLESON WATER RESOURCES, LLC
CHESAPEAKE AEZ EXPLORATION, L.L.C.
CHESAPEAKE APPALACHIA, L.L.C.
CHESAPEAKE-CLEMENTS ACQUISITION, L.L.C.
CHESAPEAKE E&P HOLDING, L.L.C.
CHESAPEAKE ENERGY CORPORATION
CHESAPEAKE ENERGY LOUISIANA, LLC
CHESAPEAKE ENERGY MARKETING, L.L.C.
CHESAPEAKE EXPLORATION, L.L.C.
CHESAPEAKE LAND DEVELOPMENT COMPANY, L.L.C.
CHESAPEAKE MIDSTREAM DEVELOPMENT, L.L.C.
CHESAPEAKE NG VENTURES CORPORATION
CHESAPEAKE OPERATING, L.L.C., on behalf of itself and as the general partner of
      CHESAPEAKE LOUISIANA, L.P.
CHESAPEAKE PLAINS, LLC
CHESAPEAKE ROYALTY, L.L.C.
CHESAPEAKE VRT, L.L.C.
CHK ENERGY HOLDINGS, INC.
CHK NGV LEASING COMPANY, L.L.C.
CHK UTICA, L.L.C.
COMPASS MANUFACTURING, L.L.C.
EMLP, L.L.C., on behalf of itself and as the general partner of
      EMPRESS LOUISIANA PROPERTIES, L.P.
EMPRESS, L.L.C.
ESQUISTO RESOURCES II, LLC
GSF, L.L.C.
MC LOUISIANA MINERALS, L.L.C.
MC MINERAL COMPANY, L.L.C.
MIDCON COMPRESSION, L.L.C.
NOMAC SERVICES, L.L.C.
NORTHERN MICHIGAN EXPLORATION COMPANY, L.L.C.
PETROMAX E&P BURLESON, LLC
SPARKS DRIVE SWD, INC.
WHE ACQCO., LLC
WHR EAGLE FORD LLC
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WILDHORSE RESOURCES MANAGEMENT COMPANY, LLC
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                                EXHIBIT B

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THIS RESTRUCTURING TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY
SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN
THE MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS AND/OR
PROVISIONS OF THE BANKRUPTCY CODE.        NOTHING CONTAINED IN THIS
RESTRUCTURING TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR,
UNTIL THE OCCURRENCE OF THE PLAN EFFECTIVE DATE OF THE RESTRUCTURING
SUPPORT AGREEMENT ON THE TERMS DESCRIBED HEREIN AND IN THE
RESTRUCTURING SUPPORT AGREEMENT, DEEMED BINDING ON ANY OF THE
PARTIES HERETO.

                                     RESTRUCTURING TERM SHEET
                                               INTRODUCTION

This Restructuring Term Sheet1 describes the principal terms of the Restructuring and the Restructuring
Transactions of Chesapeake Energy Corporation and its direct and indirect subsidiaries. The regulatory,
corporate, tax, accounting, and other legal and financial matters related to the Restructuring have not been
fully evaluated, and any such evaluation may affect the terms and structure of any Restructuring.
This Restructuring Term Sheet is proffered in the nature of a settlement proposal in furtherance of
settlement discussions. Accordingly, this Restructuring Term Sheet and the information contained herein
are entitled to protection from any use or disclosure to any party or person pursuant to Rule 408 of the
Federal Rules of Evidence and any other applicable rule, statute, or doctrine of similar import protecting
the use or disclosure of confidential settlement discussions.

This Restructuring Term Sheet does not include a description of all of the terms, conditions, and other
provisions that will be contained in the Definitive Documents governing the Restructuring, which remain
subject to negotiation and completion in accordance with the Restructuring Support Agreement (“RSA”)
and applicable bankruptcy law. The Restructuring will not contain any material terms or conditions that
are inconsistent in any material respect with this Restructuring Term Sheet or the RSA. This Restructuring
Term Sheet incorporates the rules of construction as set forth in section 102 of the Bankruptcy Code.

                      GENERAL PROVISIONS REGARDING THE RESTRUCTURING

    Restructuring Summary             The Restructuring will be consummated through the commencement of the
                                      Chapter 11 Cases in the Bankruptcy Court for the Southern District of Texas
                                      to implement the Plan described herein on a pre-arranged basis.
                                      The Debtors intend to enter into the Restructuring Transactions to
                                      restructure the debt under the Revolving Credit Facility, FLLO Term Loan
                                      Facility, Second Lien Notes, and Unsecured Notes and take advantage of
                                      certain features of chapter 11.




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      Capitalized terms used but not defined in this Restructuring Term Sheet have the meanings given to such terms
      in Exhibit 1 to this Restructuring Term Sheet.
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                  GENERAL PROVISIONS REGARDING THE RESTRUCTURING

Chapter 11 Plan            On the Plan Effective Date, or as soon as is reasonably practicable
                           thereafter, each holder of an Allowed Claim or Interest, as applicable, shall
                           receive under the Plan the treatment described in this Restructuring Term
                           Sheet in full and final satisfaction, settlement, release, and discharge of and
                           in exchange for such holder’s Allowed Claim or Interest, except to the extent
                           different treatment is agreed to by the Reorganized Debtors with the consent
                           of the Required Consenting Stakeholders and the holder of such Allowed
                           Claim or Interest, as applicable.
                           The Plan will constitute a separate chapter 11 plan of reorganization for each
                           Debtor. For the avoidance of doubt, any action required to be taken by the
                           Debtors on the Plan Effective Date pursuant to this Restructuring Term
                           Sheet may be taken on the Plan Effective Date or as soon as is reasonably
                           practicable thereafter; provided that the foregoing shall not apply to the
                           Conditions Precedent to the Plan Effective Date; and provided further that
                           all distributions to Holders of DIP Claims and Claims in Class 3 must be
                           made on the Plan Effective Date.

Midstream Savings          The Debtors intend to achieve savings on certain midstream contracts
                           through rejection of such contracts and/or renegotiation of terms.
                           In the event that sufficient savings (as determined by the Required Plan
                           Sponsors) are not achieved, unless the Debtors and the Required Consenting
                           Stakeholders agree otherwise but subject to the reasonable written consent
                           of the DIP Agent and Required Consenting DIP Lenders, certain of the
                           Debtors’ assets will be separated from the Debtors’ remaining assets to the
                           extent not inconsistent with 28 U.S.C. § 959(b). The Restructuring will then
                           be consummated with respect to the remaining assets, and the separated
                           assets will be wound down in a manner agreed between the Debtors and the
                           Required Consenting Stakeholders.

DIP Facility               The DIP Lenders will provide the DIP Facility. The material terms of the
                           DIP Facility are set forth in the term sheet attached hereto as Exhibit 2 (the
                           “DIP Term Sheet”).

Exit Facilities            On the Plan Effective Date, so long as the Conditions Precedent to the Exit
                           Facilities have been satisfied, the Exit Facilities Lenders will provide the
                           Exit Facilities pursuant to the Exit Facilities Credit Agreements on the terms
                           set forth in the term sheet attached hereto as Exhibit 3 (the “Exit Facilities
                           Term Sheet”). The Exit Facilities Lenders have each executed a
                           commitment letter to the Exit Facilities which incorporates the allocation of
                           the Exit Facilities agreed by each lender prior to and as a condition precedent
                           to the execution of the Restructuring Support Agreement. The Exit Facilities
                           Documents shall be consistent with the Exit Facilities Term Sheet.

New Common Stock           On the Plan Effective Date, Reorganized Chesapeake shall issue a single
                           class of common equity interests (the “New Common Stock”). The New
                           Common Stock will be distributed in accordance with this Restructuring
                           Term Sheet and on terms acceptable to the Required Plan Sponsors.




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               GENERAL PROVISIONS REGARDING THE RESTRUCTURING
                        As described herein, on the Plan Effective Date, pursuant to the Rights
                        Offering, Reorganized Chesapeake shall issue New Common Stock for an
                        aggregate purchase price of a minimum of $600 million.

New Warrants            On the Plan Effective Date, Reorganized Chesapeake shall issue to the
                        holders of Allowed Second Lien Notes Claims and Allowed Unsecured
                        Notes Claims:
                               Warrants to purchase 10% of the New Common Stock (after giving
                                effect to the Rights Offering, but subject to dilution by the
                                Management Incentive Plan), with a term of 5 years, at an initial
                                exercise price per share struck at the equity value, post new-money,
                                implied by a total enterprise value of $4.0 billion (the “New Class
                                A Warrants”);
                               Warrants to purchase 10% of the New Common Stock (after giving
                                effect to the Rights Offering, but subject to dilution by the
                                Management Incentive Plan), with a term of 5 years, at an initial
                                exercise price per share struck at the equity value, post new-money,
                                implied by a total enterprise value of $4.5 billion (the “New Class
                                B Warrants”);
                               Warrants to purchase 10% of the New Common Stock (after giving
                                effect to the Rights Offering, but subject to dilution by the
                                Management Incentive Plan), with a term of 5 years, at an initial
                                exercise price per share struck at the equity value, post new-money,
                                implied by a total enterprise value of $5.0 billion (the “New Class
                                C Warrants” and, together with the New Class A Warrants and
                                New Class B Warrants, the “New Warrants”).
                        The New Warrants shall automatically terminate upon a deemed liquidation
                        event (e.g., a merger, consolidation, asset sale of all or substantially all of
                        the assets of Reorganized Chesapeake and its subsidiaries, taken as a whole,
                        or similar transactions); provided that a transaction in which the New
                        Common Stock of Reorganized Chesapeake continues to represent, or is
                        exchanged for, at least a majority of the outstanding common equity
                        interests of the post-transaction company shall not be a deemed
                        liquidation event.

Cash on Hand            Cash distributions, in accordance with this Restructuring Term Sheet and
                        the Plan, shall be made from cash on hand as of the Plan Effective Date,
                        including proceeds from the Rights Offering and the Exit Facilities.

Definitive Documents    Any documents, including any Definitive Documents, that remain the
                        subject of negotiation as of the Agreement Effective Date shall be subject
                        to the rights and obligations set forth in Section 3 of the RSA. Failure to
                        reference such rights and obligations as it relates to any document
                        referenced in this Restructuring Term Sheet shall not impair such rights
                        and obligations.




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                 GENERAL PROVISIONS REGARDING THE RESTRUCTURING

Tax Matters                      The Parties will work together in good faith and will use commercially
                                 reasonable efforts to structure and implement the Restructuring in a tax
                                 efficient and cost-effective manner for the Debtors and in a manner
                                 reasonably acceptable to the Required Consenting Stakeholders.


    TREATMENT OF CLAIMS AND INTERESTS OF THE DEBTORS UNDER THE PLAN

                                                                                                 Impairment /
Class No.     Type of Claim                              Treatment
                                                                                                   Voting
                                     Unclassified Non-Voting Claims
                                 Except to the extent the holder of an Allowed DIP Claim
                                 agrees to less favorable treatment, on the Plan Effective
                                 Date, each holder of an Allowed DIP Claim shall receive
                                 payment of its Allowed DIP Claims in full in cash from, at
                                 the Debtors’ option, (i) the proceeds of the Exit Facilities
               DIP Claims        available as of Plan Effective Date and consistent with the
  N/A                                                                                                N/A
                                 Exit Facilities Term Sheet, (ii) the proceeds of the Rights
                                 Offering, and (iii) cash on hand; provided that to the extent
                                 that such DIP Lender is also an Exit Facility Lender, such
                                 DIP Lender’s Allowed DIP Claims will first be reduced
                                 dollar-for-dollar and satisfied by the amount of its Exit
                                 Facility Loans as of the Plan Effective Date.

                                 On the Plan Effective Date, each holder of an Allowed
              Administrative     Administrative Claim shall receive treatment in a manner
  N/A            Claims                                                                              N/A
                                 consistent   with    section     1129(a)(2)     of   the
                                 Bankruptcy Code.

                                 On the Plan Effective Date, each holder of an Allowed
               Priority Tax      Priority Tax Claim shall receive treatment in a manner
  N/A            Claims                                                                              N/A
                                 consistent with section 1129(a)(9)(C) of the
                                 Bankruptcy Code.

                              Classified Claims and Interests of the Debtors
                                 On the Plan Effective Date, each holder of an Allowed
                                 Other Secured Claim shall receive, at the Debtors’ option
                                 and in consultation with the Required Consenting
              Other Secured      Stakeholders: (a) payment in full in cash; (b) the collateral   Unimpaired /
 Class 1         Claims          securing its Allowed Other Secured Claim;                        Deemed to
                                 (c) Reinstatement of its Allowed Other Secured Claim; or          Accept
                                 (d) such other treatment rendering its Allowed Other
                                 Secured Claim Unimpaired in accordance with section
                                 1124 of the Bankruptcy Code.




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    TREATMENT OF CLAIMS AND INTERESTS OF THE DEBTORS UNDER THE PLAN

                                                                                             Impairment /
Class No.   Type of Claim                            Treatment
                                                                                               Voting

            Other Priority    Each holder of an Allowed Other Priority Claim shall           Unimpaired /
 Class 2       Claims         receive treatment in a manner consistent with section           Deemed to
                              1129(a)(9) of the Bankruptcy Code.                               Accept

                              On the Plan Effective Date, the Revolving Credit Facility       Impaired /
                              Claims shall be Allowed and deemed to be Allowed                Entitled to
                              Claims in the full amount outstanding under the Revolving         Vote
                              Credit Facility, including all principal, any accrued and
                              unpaid interest at the contract rate, and all accrued and
                              unpaid fees, expenses, and non-contingent indemnity
                              payable under the Revolving Credit Facility.
                              Except to the extent the holder of an Allowed Revolving
              Revolving       Credit Facility Claim agrees to less favorable treatment, on
 Class 3    Credit Facility   the Plan Effective Date, each holder of an Allowed
               Claims         Revolving Credit Facility Claim shall receive, at such
                              holder’s option, either (i) Tranche A RBL Exit Facility
                              Loans or (ii) Tranche B RBL Exit Facility Loans, on a
                              dollar for dollar basis; provided, that holders of Revolving
                              Credit Facility Claims sufficient to constitute class
                              acceptance for Class 3 pursuant to Section 1126(c) of the
                              Bankruptcy Code may elect different treatment for Class 3
                              Claims with the consent of the Debtors, the DIP Agent, and
                              the Required Consenting Stakeholders.

                              On the Plan Effective Date, the FLLO Term Loan Facility         Impaired /
                              Claims shall be Allowed and deemed to be Allowed                Entitled to
                              Claims in the full amount outstanding under the FLLO              Vote
                              Term Loan Facility, including all principal, accrued and
                              unpaid interest at the applicable default rate, and all
            FLLO Term         accrued and unpaid fees, expenses, and noncontingent
            Loan Facility     indemnity payable under the FLLO Term Loan
 Class 4                      Facility. On the Plan Effective Date, each holder of an
              Claims
                              Allowed FLLO Term Loan Facility Claim shall receive its
                              pro rata share of (i) 76% of the New Common Stock,
                              subject to dilution on account of the Management
                              Incentive Plan, Rights Offering, Backstop Commitment
                              Fee, and New Warrants, and (ii) the right to participate in
                              the Rights Offering on the terms set forth herein.

                              On the Plan Effective Date, the Second Lien Notes Claims        Impaired /
                              shall be Allowed and deemed to be Allowed Claims in the         Entitled to
                              full amount outstanding under the Second Lien Notes               Vote
            Second Lien       Indenture, including the aggregate outstanding principal
 Class 5    Notes Claims      amount of Second Lien Notes, any premium (including the
                              Make-Whole Premium (as defined in the Second Lien
                              Notes Indenture)), and accrued and unpaid interest, and
                              each holder of an Allowed Second Lien Notes Claim shall

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    TREATMENT OF CLAIMS AND INTERESTS OF THE DEBTORS UNDER THE PLAN

                                                                                              Impairment /
Class No.   Type of Claim                             Treatment
                                                                                                Voting
                              receive its pro rata share of (i) 12% of the New Common
                              Stock, subject to dilution on account of the Management
                              Incentive Plan, Rights Offering, Backstop Commitment
                              Fee, and New Warrants, (ii) the right to participate in the
                              Rights Offering on the terms set forth herein, (iii) the New
                              Class A Warrants, (iv) the New Class B Warrants, and
                              (v) 50% of the New Class C Warrants.

                              On the Plan Effective Date, the Unsecured Notes Claims           Impaired /
                              shall be deemed Allowed in full, and each holder of an           Entitled to
                              Allowed Unsecured Notes Claim shall receive its pro rata           Vote
                              share of (i) the Unsecured Claims Recovery and (ii) 50%
              Unsecured       of the New Class C Warrants.
 Class 6     Notes Claims
                              “Unsecured Claims Recovery” means 12% of the New
                              Common Stock, subject to dilution on account of the
                              Management Incentive Plan, Rights Offering, Backstop
                              Commitment Fee, and New Warrants.

               General        On the Plan Effective Date, each holder of an Allowed            Impaired /
 Class 7      Unsecured       General Unsecured Claim shall receive its pro rata share         Entitled to
               Claims         of the Unsecured Claims Recovery.                                  Vote

                              On the Plan Effective Date, each holder of an Allowed            Impaired /
                              Intercompany Claim shall have its Claim Reinstated or            Deemed to
            Intercompany      cancelled, released, and extinguished and without any             Reject or
 Class 8        Claims                                                                        Unimpaired /
                              distribution at the Debtors’ election with the consent of the
                              Required Consenting Stakeholders.                                Deemed to
                                                                                                 Accept

               Existing       On the Plan Effective Date, each holder of an Existing           Impaired /
                Equity        Equity Interest other than in Chesapeake shall have such         Deemed to
            Interests Other   Interest Reinstated or cancelled, released, and                   Reject or
 Class 9                      extinguished and without any distribution at the Debtors’       Unimpaired /
                Than in
              Chesapeake      election with the consent of the Required Consenting             Deemed to
                              Stakeholders.                                                      Accept

              Existing        On the Plan Effective Date, each holder of an Existing
               Equity                                                                          Impaired /
                              Equity Interest in Chesapeake shall have such Interest
 Class 10    Interests in                                                                      Deemed to
                              cancelled,    released, and    extinguished   without
             Chesapeake                                                                          Reject
                              any distribution.


                    RIGHTS OFFERING AND BACKSTOP COMMITMENT

Rights Offering and           On the Plan Effective Date, the Debtors will consummate a common equity
Backstop Commitment           rights offering (the “Rights Offering”) for an aggregate subscription price
                              of a minimum of $600 million (the “Rights Offering Amount”) in



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                   RIGHTS OFFERING AND BACKSTOP COMMITMENT
                             accordance with the Plan and the Backstop Commitment Agreement
                             attached hereto as Exhibit 4 and the Rights Offering Procedures.
                             Subscription rights to participate in the Rights Offering shall be distributed
                             as follows:
                                 (i) 25% of the New Common Stock to be issued pursuant to the Rights
                                     Offering shall be reserved for the Backstop Parties;
                                 (ii) 63.75% of the New Common Stock to be issued pursuant to the
                                      Rights Offering shall be offered pro rata to the holders of Allowed
                                      FLLO Term Loan Facility Claims; and
                                 (iii) 11.25% of the New Common Stock to be issued pursuant to the
                                       Rights Offering shall be offered pro rata to the holders of Allowed
                                       Second Lien Notes Claims.
                             The issuance of such subscription rights will be exempt from SEC
                             registration under applicable law. The New Common Stock in the Rights
                             Offering shall be offered at the Rights Offering Value and shall dilute the
                             New Common Stock issued under the Plan on account of any prepetition
                             claims (which New Common Stock, for the avoidance of doubt, shall be
                             subject to dilution for the Management Incentive Plan and New Warrants).
                             The proceeds of the Rights Offering shall be used by the Debtors or
                             Reorganized Chesapeake, as applicable, to fund payments under the Plan
                             and for general corporate and strategic purposes as determined
                             by management.
                             The Rights Offering shall be backstopped in full (the “Backstop”) by the
                             Backstop Parties in accordance with the terms and conditions set forth in the
                             Backstop Commitment Agreement. The Backstop Parties shall severally
                             (but not jointly) backstop the Rights Offering (with oversubscription rights
                             with respect to such amounts) on the terms set forth in the Backstop
                             Commitment Agreement. The members of the FLLO Ad Hoc Group shall
                             backstop 77% of the Rights Offering and Franklin shall backstop 23% of
                             the Rights Offering (the “Backstop Allocations”).
                             “Backstop Parties” means the members of the FLLO Ad Hoc Group
                             and Franklin that are signatories to the Backstop Commitment Agreement.
                             “Rights Offering Value” means a discount of 35% to the Plan
                             Equity Value.
                             “Plan Equity Value” means the equity value, post new-money, as implied
                             by a Plan total enterprise value of $3.25 billion.

Backstop Commitment Fee      The “Backstop Commitment Fee” means a nonrefundable aggregate
                             premium equal to 10% of the aggregate amount of the Rights Offering,
                             excluding any oversubscription amounts, payable in New Common Stock
                             issued at the Rights Offering Value.

Backstop Termination Fee /   If the Backstop Parties are entitled to payment of the Put Option Premium
Put Option Premium           (as defined in and on the terms and conditions set forth in the Backstop
                             Commitment Agreement) in cash, the Put Option Premium shall be a
                             superpriority administrative expense with priority over all other


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                    RIGHTS OFFERING AND BACKSTOP COMMITMENT
                               administrative claims except it shall be unsecured and (i) be subordinated in
                               priority to the administrative claims provided on account of the DIP Claims
                               and adequate protection on account of the Revolving Credit Facility Claims
                               (and any claims to which such DIP Claims and adequate protection claims
                               are subordinate) and (ii) payable only after all such claims set forth in clause
                               (i) have been paid in full in cash or provided such other treatment as is
                               agreed by (a) with respect to DIP Claims, 100% of New Money DIP Lenders
                               and (b) with respect to Revolving Credit Facility Claims, holders of
                               Revolving Credit Facility Claims sufficient to constitute class acceptance
                               pursuant to Section 1126(c) of the Bankruptcy Code.


                                             MILESTONES

 (a) No later than June 30, 2020, the Company Parties and Backstop Parties shall execute the Backstop
     Commitment Agreement and the Company Parties shall commence the Chapter 11 Cases.
 (b) No later than  days after the Petition Date, the Bankruptcy Court shall have entered the Interim
     DIP Order.
 (c) No later than 30 days after the Petition Date, the Company Parties shall have Filed a motion seeking
     entry of the Backstop Commitment Agreement Approval Order.
 (d) No later than 30 days after the Petition Date, the Company Parties shall have Filed a motion which
     is acceptable to the DIP Agent, seeking (i) approval of all fees to be paid with respect to the Exit
     Facilities and (ii) authority to pay the upfront fees, arranger fees, and any other fees under the Exit
     Facilities Term Sheet earned and payable prior to the effective date of a plan of reorganization (the
     “Exit Facilities Motion”).
 (e) No later than  days after the Petition Date, the Bankruptcy Court shall have entered the Final
     DIP Order.
 (f) No later than 60 days after the Petition Date, the Bankruptcy Court shall have entered the Backstop
     Commitment Agreement Approval Order.
 (g) No later than 60 days after the Petition Date, the Debtors shall have (i) obtained Bankruptcy Court
     approval of the relief requested in the Exit Facilities Motion and (ii) paid the upfront fees, arranger
     fees, and all other fees then earned and payable (as described in the Exit Facilities Term Sheet).
 (h) No later than 90 days after the Petition Date, the Company Parties shall have Filed a Plan and
     Disclosure Statement that provides for treatment acceptable to DIP Lenders (or such plan provides
     for the indefeasible repayment of the DIP Obligations and obligations under the Revolving Credit
     Facility in full in cash on the Effective Date and as a condition to the occurrence of the Plan Effective
     Date); provided, that the treatment provided in this Restructuring Term Sheet is acceptable to the
     DIP Lenders.
 (i) No later than 120 days after the Petition Date, the Company Parties shall have Filed a motion seeking
     approval of the Disclosure Statement.
 (j) No later than  days after the Petition Date, the Bankruptcy Court shall have entered an order
     approving the Disclosure Statement.
 (k) No later than  days after the Petition Date, the Bankruptcy Court shall have entered the
     Confirmation Order.



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                                                 MILESTONES
    (l) No later than 220 days after the Petition Date, the Plan Effective Date shall have occurred; provided
        that this milestone shall be automatically extended to the extent necessary, but in no event longer
        than for fifteen (15) consecutive business days to allow for the expiration of the marketing period
        under the Exit Facilities Term Sheet.
        The Milestones consisting of the entry of orders or judicial resolution by the Bankruptcy Court shall
be automatically extended (the “COVID-19 Extensions”) by five (5) business days to the extent it is not
reasonably feasible to hold and conclude a hearing (if necessary) prior to the applicable Milestone as a result
of the closure of the Bankruptcy Court due to the events or circumstances surrounding the virus known as
COVID-19 (and the DIP Agent and the Required Consenting Stakeholders shall be deemed to have
automatically agreed to such extension).

         If (i) the Debtors fail to satisfy Milestones (e) or (f) set forth in the DIP Term Sheet and (ii) a board
observer is appointed at the election of the DIP Agent (as contemplated by the terms of the DIP Term Sheet),
then the Milestones set forth in (i)-(l) above shall be automatically extended as follows: (a) the Debtors shall
file an Approved Plan and Disclosure Statement, and a motion to approve such Approved Disclosure
Statement, in each case, on or before a date that is 135 days following the Petition Date; (b) such Approved
Disclosure Statement shall have been approved by Bankruptcy Court by the date that is no later than 165
days after the Petition Date; (c) the Bankruptcy Court shall have entered an order confirming such Approved
Plan by the date that is no later than 200 days after the Petition Date; and (d) the effective date of such
Approved Plan shall have occurred by the date that is no later than 220 days after the Petition Date; provided
that this milestone (d) shall be automatically extended to the extent necessary, but in no event longer than for
fifteen (15) consecutive business days to allow for the expiration of the marketing period under the Exit
Facilities Term Sheet.

         If (i) the Debtors fail to satisfy Milestone (e) set forth in the DIP term sheet on the date that is 135
days following the Petition Date and, (ii) the Debtors take all actions necessary to implement a Chief
Restructuring Officer pursuant to an election exercised by the DIP Agent pursuant to the terms set forth in
the DIP Term Sheet, then, upon bankruptcy court approval and appointment of the CRO, the Milestones set
forth in (i)-(l) above shall be extended as follows: (a) an Approved Disclosure Statement, and the motion to
approve such Approved Disclosure Statement, shall be filed with an Approved Plan approved by the CRO
on or before the date that is 180 days following the Petition Date; (b) such Approved Disclosure Statement
shall have been approved by Bankruptcy Court by the date that is no later than 210 days after the Petition
Date; (c) the Bankruptcy Court shall have entered an order confirming such Approved Plan by the date that
is no later than 245 days after the Petition Date; and (d) the Effective Date of such Approved Plan shall have
occurred by the date that is no later than 260 days after the Petition Date; provided that this milestone (d) shall
be automatically extended to the extent necessary, but in no event longer than for fifteen (15) consecutive
business days to allow for the expiration of the marketing period under the Exit Facilities Term Sheet (as
defined in the Restructuring Support Agreement); provided, further, that in no event shall the Plan Effective
Date extend beyond the Scheduled Maturity Date.

                           GENERAL PROVISIONS REGARDING THE PLAN

Subordination                      Except as otherwise set forth in this Restructuring Term Sheet and the RSA,
                                   the classification and treatment of Claims under the Plan shall conform to
                                   the respective contractual, legal, and equitable subordination rights of such
                                   Claims, and any such rights shall be settled, compromised, and released
                                   pursuant to the Plan.




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                        GENERAL PROVISIONS REGARDING THE PLAN

Restructuring Transactions   The Confirmation Order shall be deemed to authorize, among other things,
                             all actions as may be necessary or appropriate to effectuate any transaction
                             described in, approved by, contemplated by, or necessary to consummate
                             the Plan and the Restructuring Transactions therein. On the Plan Effective
                             Date, the Debtors, as applicable, shall issue all securities, notes, instruments,
                             certificates, and other documents required to be issued pursuant to
                             the Restructuring.

Cancellation of Notes,       On the Plan Effective Date, except to the extent otherwise provided in this
Instruments, Certificates,   Restructuring Term Sheet or the Plan, all notes, instruments, certificates,
and Other Documents          and other documents evidencing Claims or Interests, including credit
                             agreements and indentures, shall be canceled, and the Debtors’ obligations
                             thereunder or in any way related thereto shall be deemed satisfied in full
                             and discharged.

Executory Contracts and      The Plan will provide that the executory contracts and unexpired leases that
Unexpired Leases             are not rejected as of the Plan Effective Date (either pursuant to the Plan or
                             a separate motion) will be deemed assumed pursuant to section 365 of the
                             Bankruptcy Code.
                             The Parties will work together in good faith to determine which executory
                             contracts and unexpired leases shall be assumed, assumed and assigned, or
                             rejected in the Chapter 11 Cases.
                             The Company Parties shall host a weekly telephonic meeting with the DIP
                             Agent, the Revolving Credit Facility Administrative Agent, the FLLO Ad
                             Hoc Group, and Franklin to discuss whether to reject or assume any
                             midstream contracts, and (if applicable) the strategy to renegotiate any
                             midstream contracts.

Retention of Jurisdiction    The Plan will provide that the Bankruptcy Court shall retain jurisdiction for
                             usual and customary matters.

Discharge of Claims and      Pursuant to section 1141(d) of the Bankruptcy Code and except as otherwise
Termination of Interests     specifically provided in the Plan or in any contract, instrument, or other
                             agreement or document created pursuant to the Plan, the distributions,
                             rights, and treatment that are provided in the Plan shall be in complete
                             satisfaction, discharge, and release, effective as of the Plan Effective Date,
                             of Claims (including any Intercompany Claims that the Debtors resolve or
                             compromise after the Plan Effective Date), Interests, and Causes of Action
                             of any nature whatsoever, including any interest accrued on Claims or
                             Interests from and after the Petition Date, whether known or unknown,
                             against, liabilities of, Liens on, obligations of, rights against, and Interests
                             in the Debtors or any of their assets or properties, regardless of whether any
                             property shall have been distributed or retained pursuant to the Plan on
                             account of such Claims and Interests, including demands, liabilities, and
                             Causes of Action that arose before the Plan Effective Date, any liability
                             (including withdrawal liability) to the extent such Claims or Interests relate
                             to services that employees of the Debtors have performed prior to the Plan
                             Effective Date and that arise from a termination of employment, any



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                      GENERAL PROVISIONS REGARDING THE PLAN
                              contingent or non-contingent liability on account of representations or
                              warranties issued on or before the Plan Effective Date, and all debts of the
                              kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code,
                              in each case whether or not (a) a Proof of Claim based upon such debt or
                              right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy
                              Code, (b) a Claim or Interest based upon such debt, right, or Interest is
                              Allowed pursuant to section 502 of the Bankruptcy Code, or (c) the holder
                              of such a Claim or Interest has accepted the Plan. The Confirmation Order
                              shall be a judicial determination of the discharge of all Claims and Interests
                              subject to the occurrence of the Plan Effective Date.

Releases by the Debtors,      The Plan shall include the release, exculpation, and injunction provisions
Releases by Holders of        set forth in Exhibit 5 attached hereto.
Claims and Interests,
                              The Consenting Revolving Credit Facility Lenders, the Consenting FLLO
Exculpation, and Injunction
                              Term Loan Facility Lenders, and the Consenting Second Lien Noteholders
                              will, pursuant to the RSA, agree to “opt in” to or not to “opt out” of, as
                              applicable, the consensual “Third-Party” releases, including those granted
                              to the Company Parties’ current and former officers, directors, and
                              employees.


          OTHER MATERIAL PROVISIONS REGARDING THE RESTRUCTURING

Management Incentive Plan     On the Plan Effective Date, the Reorganized Debtors will implement a
                              management incentive plan (the “Management Incentive Plan”). All
                              grants under the Management Incentive Plan shall be determined at the sole
                              discretion of the New Board including, without limitation, with respect to
                              the participants, allocation, timing, and the form and structure of the options,
                              warrants and/or equity compensation to be provided thereunder and taking
                              into account market compensation levels and historical equity compensation
                              structures.

Governance                    The new board of directors of Reorganized Chesapeake (the “New Board”)
                              shall be appointed in accordance with the terms of the Governance Term
                              Sheet attached hereto as Exhibit 6, and the identities of the New Board shall
                              be set forth in the Plan Supplement to the extent known at the time of Filing.
                              Corporate governance for Reorganized Chesapeake, including charters,
                              bylaws, operating agreements, or other organization documents, as
                              applicable (the “New Organizational Documents”), shall be consistent
                              with this Restructuring Term Sheet and section 1123(a)(6) of the
                              Bankruptcy Code and shall be in form and substance satisfactory to the
                              Required Plan Sponsors.




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           OTHER MATERIAL PROVISIONS REGARDING THE RESTRUCTURING

Exemption from SEC            The issuance of all securities under the Plan (other than securities issued
Registration                  pursuant to the Backstop set forth in the Backstop Commitment Agreement)
                              will be exempt from SEC registration under section 1145 of the Bankruptcy
                              Code to the fullest extent permissible.
                              Each Backstop Party that receives securities under the Plan will be entitled
                              to registration rights and sale support rights with respect to all such
                              securities to be documented in a registration rights agreement in form and
                              substance satisfactory to the Required Plan Sponsors.

Employment Obligations        Pursuant to the RSA and this Restructuring Term Sheet, the Parties consent
                              to the continuation of the Debtors’ wages, compensation, and benefits
                              programs according to existing terms and practices, including executive
                              compensation programs and any motions in the Bankruptcy Court for
                              approval thereof. On the Plan Effective Date, the Debtors shall (a) assume
                              all employment agreements, indemnification agreements, or other
                              agreements entered into with current and former employees or (b) enter into
                              new agreements with such employees on terms and conditions acceptable to
                              the Debtor and such employee. Notwithstanding the foregoing, any
                              employment agreements or other employment-related agreements that
                              provide for any acceleration or enhancement of payments (including
                              severance payments) , vesting, benefits or other rights, in connection with a
                              transaction that constitutes a change in control, change of control or similar
                              concept under such agreements, shall only be assumed if and to the extent
                              that the Debtors’ obtain waivers specifying that the consummation of the
                              Restructuring Transactions shall not trigger any such rights under
                              such agreements.

Indemnification Obligations   Consistent with applicable law, all indemnification provisions in place as of
                              the Plan Effective Date (whether in the by-laws, certificates of incorporation
                              or formation, limited liability company agreements, other organizational
                              documents, board resolutions, indemnification agreements, employment
                              contracts, or otherwise) for current and former directors, officers, managers,
                              employees, attorneys, accountants, investment bankers, and other
                              professionals of the Parties, as applicable, shall be reinstated and remain
                              intact, irrevocable, and shall survive the effectiveness of the Restructuring
                              on terms no less favorable to such current and former directors, officers,
                              managers, employees, attorneys, accountants, investment bankers, and other
                              professionals of the Parties than the indemnification provisions in place
                              prior to the Restructuring.

Retained Causes of Action     The Reorganized Debtors, as applicable, shall retain all rights to commence
                              and pursue any Causes of Action, other than any Causes of Action that the
                              Debtors have released pursuant to the release and exculpation provisions
                              outlined in this Restructuring Term Sheet and implemented pursuant to
                              the Plan.

Conditions Precedent to the   The following shall be conditions to the Plan Effective Date
Plan Effective Date           (the “Conditions Precedent to the Plan Effective Date”):



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                          (a) the Bankruptcy Court shall have entered the Confirmation Order,
                              which shall:
                             (i)   authorize the Debtors to take all actions necessary to enter into,
                                   implement, and consummate the contracts, instruments,
                                   releases, leases, indentures, and other agreements or
                                   documents created in connection with the Plan;

                             (ii) decree that the provisions in the Confirmation Order and the
                                  Plan are nonseverable and mutually dependent;

                             (iii) authorize the Debtors, as applicable/necessary, to: (a)
                                   implement the Restructuring Transactions, including the
                                   Rights Offering and Exit Facilities; (b) distribute the New
                                   Common Stock pursuant to the exemption from registration
                                   under the Securities Act provided by section 1145 of the
                                   Bankruptcy Code or other exemption from such registration or
                                   pursuant to one or more registration statements; (c) make all
                                   distributions and issuances as required under the Plan,
                                   including cash and the New Common Stock; and (d) enter into
                                   any agreements, transactions, and sales of property as set forth
                                   in the Plan Supplement, including the Management Incentive
                                   Plan;

                             (iv) authorize the implementation of the Plan in accordance with its
                                  terms; and

                             (v)    provide that, pursuant to section 1146 of the Bankruptcy
                                    Code, the assignment or surrender of any lease or sublease,
                                    and the delivery of any deed or other instrument or transfer
                                    order, in furtherance of, or in connection with the Plan,
                                    including any deeds, bills of sale, or assignments executed in
                                    connection with any disposition or transfer of assets
                                    contemplated under the Plan, shall not be subject to any
                                    stamp, real estate transfer, mortgage recording, or other
                                    similar tax; and

                          (b) the Debtors shall have obtained all authorizations, consents,
                              regulatory approvals, rulings, or documents that are necessary to
                              implement and effectuate the Plan;
                          (c) the final version of each of the Plan, the Definitive Documents, and
                              all documents contained in any supplement to the Plan, including
                              the Plan Supplement and all of the schedules, documents, and
                              exhibits contained therein shall have been Filed in a manner
                              consistent in all material respects with the RSA, this Restructuring
                              Term Sheet, and the Plan;
                          (d) the RSA shall remain in full force and effect;
                          (e) the Final Order approving the DIP Facility shall remain in full force
                              and effect and no event of default shall have occurred and be
                              continuing thereunder;



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                 OTHER MATERIAL PROVISIONS REGARDING THE RESTRUCTURING
                                          (f) the Backstop Commitment Agreement Approval Order and
                                              Backstop Commitment Agreement shall remain in full force and
                                              effect;
                                          (g) all professional fees and expenses of retained professionals that
                                              require the Bankruptcy Court’s approval shall have been paid in full
                                              or amounts sufficient to pay such fees and expenses after the Plan
                                              Effective Date shall have been placed in a professional fee escrow
                                              account pending the Bankruptcy Court’s approval of such fees and
                                              expenses;
                                          (h) to the extent invoiced, the payment in cash in full of all
                                              Restructuring Expenses;
                                          (i) the Debtors shall have obtained exit financing in an amount and on
                                              terms satisfactory to the Required Consenting Stakeholders (which
                                              shall not be withheld in bad faith);
                                          (j) the Debtors shall have Minimum Liquidity2 of at least $500 million;
                                          (k) the Debtors shall have Total Leverage3 no greater than 2.25x;
                                          (l) the Debtors’ PDP PV10 test ratio shall be no less than 1.5x; and
                                          (m) the Debtors shall have implemented the Restructuring Transactions
                                              and all transactions contemplated in this Restructuring Term Sheet
                                              in a manner consistent with the RSA, this Restructuring Term Sheet,
                                              and the Plan.
                                      For the avoidance of doubt, if the Minimum Liquidity condition set forth in
                                      subsection (j) above, the Total Leverage condition set forth in subsection
                                      (k) above, and/or the PDP PV10 ratio set forth in subsection (l) above would
                                      not otherwise be satisfied, the Required Plan Sponsors may agree, in their
                                      sole discretion, to increase the Rights Offering amount above $600 million
                                      on the same terms, including the Rights Offering Value and with an
                                      allocation consistent with the Backstop Allocations, in order to enable such
                                      conditions to be satisfied, provided that no Backstop Party’s Backstop
                                      Commitment may be increased without its consent.

    Waiver of Conditions              The Debtors, with the prior written consent of the Required Consenting
    Precedent to the Plan             Stakeholders (not to be withheld unreasonably), may waive any one or more
    Effective Date                    of the Conditions Precedent to the Plan Effective Date.

    Settlement                        Pursuant to the RSA and this Restructuring Term Sheet, the Parties agree to
                                      settle matters that could otherwise be the subject of litigation among the
                                      Parties, including any such matters arising under the Intercreditor
                                      Agreement and any matters related to the enterprise value of the
                                      Company Parties.
                                      If a Termination Date has not occurred prior to the Plan Effective Date, then
                                      on the Plan Effective Date, in conjunction with the issuance of new
                                      securities under the Plan, the Backstop with respect to the Rights Offering,

2
      “Minimum Liquidity” to be defined in a customary manner and to be net of payables more than 90 days past due.
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      “Total Leverage” has the meaning ascribed to Total Leverage Ratio in the Exit Facilities Term Sheet.


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          OTHER MATERIAL PROVISIONS REGARDING THE RESTRUCTURING
                            the DIP Facility, the Exit Facilities and the various compromises of rights
                            and claims on which this Term Sheet and the Restructuring Transactions are
                            predicated, among other things, the FLLO Term Loan Facility Lenders shall
                            conclusively, absolutely, unconditionally, irrevocably and forever waive
                            any rights they may have to seek turnover of any payments arising under
                            any provision of the Intercreditor Agreement, including, but not limited to,
                            any turnover provisions in sections 3.05, 4.02(l), 6.01 and 7.03 thereof.
                            The Parties hereto agree and consent that the DIP Order and any cash
DIP Order/Cash Collateral
                            collateral order approved in the Chapter 11 Cases shall provide that the
Order
                            Debtors will pay the fees and expenses of professionals of (i) the collateral
                            trustee under the Collateral Trust Agreement (including Paul Hastings LLP),
                            (ii) the FLLO Term Loan Facility Administrative Agent (including Arnold
                            & Porter Kaye Scholer LLP and one local counsel in the relevant
                            jurisdiction), (iii) the FLLO Ad Hoc Group (including Davis Polk &
                            Wardwell LLP, Vinson & Elkins LLP, one local counsel in each other
                            relevant local jurisdiction, and Perella Weinberg Partners LP) ((ii)-(iii),
                            collectively the “FLLO Professionals”), (iv) the Second Lien Collateral
                            Trustee (including Morgan, Lewis & Bockius LLP and one local counsel in
                            the relevant jurisdiction) and (v) Franklin (including Akin Gump Strauss
                            Hauer & Feld LLP, Moelis & Company LLC, one local counsel in each
                            other relevant local jurisdiction, and FTI Consulting, Inc.) ((iv)-(v),
                            collectively, the “Second Lien Professionals”); provided that:
                                (I)     (a) the payment of the fees and expenses of the FLLO
                                        Professionals shall only be payable as a form of adequate
                                        protection for so long as (1) the Restructuring Support
                                        Agreement has not been terminated as to the DIP Lenders,
                                        Required Consenting Revolving Credit Facility Lenders, or
                                        FLLO Ad Hoc Group, or (2) an alternative restructuring support
                                        agreement or similar agreement with respect to the restructuring
                                        of the Debtors’ debt and businesses remains in effect between
                                        the DIP Agent, the DIP Lenders, 66.67% of the Revolving
                                        Credit Facility Lenders, and the FLLO Ad Hoc Group, in each
                                        case, at which time such adequate protection shall terminate,
                                        provided that in the event such adequate protection payments
                                        terminate pursuant to the foregoing, (a) all parties shall retain
                                        all rights pursuant to the Collateral Trust Agreement, which
                                        rights are fully reserved, including, without limitation, the
                                        rights, if any, of the Existing FLLO Agent or Existing FLLO
                                        Lenders to seek different or additional adequate protection in
                                        accordance with section 6.02(f) of the Collateral Trust
                                        Agreement and (b) the Company Parties shall pay all fees and
                                        expenses of the FLLO Professionals incurred prior to
                                        termination of adequate protection as described herein; and
                                (II)    the payment of the fees and expenses of the Second Lien
                                        Professionals shall only be payable as a form of adequate
                                        protection for so long as the Restructuring Support Agreement
                                        has not been terminated as to the Company Parties, DIP
                                        Lenders, Required Consenting Revolving Credit Facility


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       OTHER MATERIAL PROVISIONS REGARDING THE RESTRUCTURING
                                   Lenders, or Franklin (at which time such adequate protection
                                   shall terminate), provided that in the event such adequate
                                   protection payments terminate pursuant to the foregoing, (a) all
                                   parties shall retain all rights pursuant to the Intercreditor
                                   Agreement, including, without limitation, the rights, if any, of
                                   such parties to seek different or additional adequate protection
                                   in accordance with section 4.02(f) of the Intercreditor
                                   Agreement and (b) the Company Parties shall pay all fees and
                                   expenses of the Second Lien Professionals incurred prior to
                                   termination of adequate protection as described herein.
                       This provision shall survive the termination of the RSA.




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                                           Exhibit 1

                                          Definitions

Term                         Definition
Additional Consenting        Any holder of Claims that is not a party to the RSA as of the Agreement
Stakeholder                  Effective Date who, at any time after the Agreement Effective Date,
                             becomes a party to the RSA as an applicable Consenting Stakeholder.
Administrative Claim         A Claim for costs and expenses of administration of the Chapter 11 Cases
                             pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the
                             Bankruptcy Code, including: (a) the actual and necessary costs and
                             expenses incurred on or after the Petition Date until and including the Plan
                             Effective Date of preserving the Estates and operating the Debtors’
                             businesses; (b) Allowed Professional Claims; and (c) all fees and charges
                             assessed against the Estates pursuant to section 1930 of chapter 123 of
                             title 28 of the United States Code.
Affiliate                    As defined in section 101(2) of the Bankruptcy Code.
Agent                        Any administrative agent, collateral agent, or similar Entity under the Exit
                             Facilities, the DIP Facility, the Revolving Credit Facility, and/or the
                             FLLO Term Loan Facility.
Agents/Trustees              Collectively, each of the Agents and Trustees.
Agreement Effective Date     The date on which the conditions set forth in Section 2 of the RSA have
                             been satisfied or waived by the appropriate Party or Parties in accordance
                             with the RSA.
Agreement Effective Period   With respect to a Party, the period from the Agreement Effective Date to
                             the Termination Date applicable to that Party.
Allowed                      With respect to any Claim or Interest, except as otherwise provided
                             herein: (a) a Claim or Interest in a liquidated amount as to which no
                             objection has been Filed prior to the applicable claims objection deadline
                             and that is evidenced by a Proof of Claim or Interest, as applicable, timely
                             Filed by the applicable Bar Date or that is not required to be evidenced by
                             a Filed Proof of Claim or Interest, as applicable, under the Plan, the
                             Bankruptcy Code, or a Final Order; (b) a Claim or Interest that is
                             scheduled by the Debtors as neither disputed, contingent, nor
                             unliquidated, and for which no Proof of Claim or Interest, as applicable,
                             has been timely Filed in an unliquidated or a different amount; (c) a Claim
                             or Interest that is upheld or otherwise Allowed (i) pursuant to the Plan;
                             (ii) in any stipulation that is approved by the Bankruptcy Court;
                             (iii) pursuant to any contract, instrument, indenture, or other agreement
                             entered into or assumed in connection herewith; or (iv) by Final Order
                             (including any such Claim to which the Debtors had objected or which the
                             Bankruptcy Court had disallowed prior to such Final Order); provided that
                             with respect to a Claim or Interest described in clauses (a) through (c)
                             above, such Claim or Interest shall be considered Allowed only if and to
                             the extent that with respect to such Claim or Interest no objection to the
                             allowance thereof has been or, in the Debtors’ or Reorganized Debtors’
                             reasonable good faith judgment, may be interposed within the applicable
                             period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy
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Term                        Definition
                            Rules, or the Bankruptcy Court, or such an objection is so interposed and
                            the Claim or Interest, as applicable, shall have been Allowed by a Final
                            Order; provided, further, that no Claim of any Entity subject to section
                            502(d) of the Bankruptcy Code shall be deemed Allowed unless and until
                            such Entity pays in full the amount that it owes such Debtor or
                            Reorganized Debtor, as applicable. Any Claim that has been or is
                            hereafter listed in the Schedules as contingent, unliquidated, or disputed,
                            and for which no Proof of Claim or Interest is or has been timely Filed, is
                            not considered Allowed and shall be deemed expunged without further
                            action by the Debtors and without further notice to any party or action,
                            approval, or order of the Bankruptcy Court. For the avoidance of doubt,
                            a Proof of Claim or Interest Filed after the Bar Date shall not be Allowed
                            for any purposes whatsoever absent entry of a Final Order allowing such
                            late-Filed Claim. “Allow,” “Allowing,” and “Allowance” shall have
                            correlative meanings.
Alternative Restructuring   Any inquiry, proposal, offer, bid, term sheet, discussion, or agreement
Proposal                    with respect to a sale, disposition, new-money investment, restructuring,
                            reorganization, merger, amalgamation, acquisition, consolidation,
                            dissolution, debt investment, equity investment, liquidation, tender offer,
                            recapitalization, plan of reorganization, share exchange, business
                            combination, or similar transaction involving any one or more Company
                            Parties or the debt, equity, or other interests in any one or more Company
                            Parties that is an alternative to one or more of the
                            Restructuring Transactions.
Backstop                    As defined in this Restructuring Term Sheet.
Backstop Commitment         That certain Backstop Commitment Agreement to be negotiated between
Agreement                   the Company Parties and the Backstop Parties, which shall be executed
                            prior to the Petition Date.
Backstop Commitment         An order of the Bankruptcy Court that that is not stayed under Bankruptcy
Agreement Approval Order    Rule 6004(h) or otherwise that (a) authorizes the Company Parties to
                            execute and deliver the Backstop Commitment Agreement, pursuant to
                            section 365 of the Bankruptcy Code and (b) provides that the Backstop
                            Commitment Fee shall constitute allowed administrative expenses of the
                            Debtors’ estates under sections 503(b) and 507 of the Bankruptcy Code
                            and shall be payable by the Debtors as provided in the Backstop
                            Commitment Agreement without further order of the Bankruptcy Court.

Backstop Commitment Fee     As defined in this Restructuring Term Sheet.
Backstop Parties            As defined in this Restructuring Term Sheet.
Bankruptcy Code             Title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended.
Bankruptcy Court            The United States Bankruptcy Court for the Southern District of Texas.
Bankruptcy Rules            The Federal Rules of Bankruptcy Procedure.
Bar Date                    The date established by the Bankruptcy Court by which Proof of Claims
                            or Proof of Interests must be Filed with respect to such Claims or Interests,
                            other than Administrative Claims, Claims held by Governmental Units, or
                            other Claims or Interests for which the Bankruptcy Court entered an order


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Term                            Definition
                                excluding the holders of such Claims or Interests from the requirement of
                                Filing Proof of Claims or Proof of Interests.
Business Day                    Any day other than a Saturday, Sunday, or other day on which commercial
                                banks are authorized to close under the Laws of, or are in fact closed in,
                                the state of New York.
Cause of Action                 Any claims, interests, damages, remedies, causes of action, demands,
                                rights, actions, suits, obligations, liabilities, accounts, defenses, offsets,
                                powers, privileges, licenses, Liens, indemnities, guaranties, and franchises
                                of any kind or character whatsoever, whether known or unknown, foreseen
                                or unforeseen, existing or hereinafter arising, contingent or
                                non-contingent, liquidated or unliquidated, secured or unsecured,
                                assertable, directly or derivatively, matured or unmatured, suspected or
                                unsuspected, in contract, tort, law, equity, or otherwise. Causes of Action
                                also include: (a) all rights of setoff, counterclaim, or recoupment and
                                claims under contracts or for breaches of duties imposed by law; (b) the
                                right to object to or otherwise contest Claims or Interests; (c) claims
                                pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the
                                Bankruptcy Code; and (d) such claims and defenses as fraud, mistake,
                                duress, and usury, and any other defenses set forth in section 558 of the
                                Bankruptcy Code.
Chapter 11 Cases                As defined in the RSA.

Chesapeake                      Chesapeake Energy Corporation or any successor or assign, by merger,
                                consolidation, or otherwise, prior to the Plan Effective Date.
Claim                           Any claim, as defined in section 101(5) of the Bankruptcy Code, against
                                any of the Debtors.
Class                           A category of holders of Claims or Interests pursuant to section 1122(a)
                                of the Bankruptcy Code.
Collateral Trust Agreement      That certain Collateral Trust Agreement dated December 19, 2019 by and
                                between MUFG Union Bank, N.A., as Collateral Trustee and Revolver
                                Agent, and GLAS USA LLC, as Original Term Loan Agent, and as
                                acknowledged and agreed by certain of the Debtors (as from time to time
                                amended and restated)
Company Parties                 As defined in the RSA.

Company Claims                  Claims against any Company Party.

Conditions Precedent to the As defined in this Restructuring Term Sheet.
Plan Effective Date
Conditions Precedent to the The conditions precedent to the closing of the Exit Facilities identified on
Exit Facilities             Exhibit D to the Exit Facilities Term Sheet
Confidentiality Agreement       An executed confidentiality agreement, including with respect to the
                                issuance of a “cleansing letter” or other public disclosure of material non-
                                public information agreement, in connection with any proposed
                                Restructuring Transactions.


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Term                      Definition
Confirmation              Entry of the Confirmation Order on the docket of the Chapter 11 Cases.

Confirmation Date         The date on which the Bankruptcy Court enters the Confirmation Order
                          on the docket of the Chapter 11 Cases within the meaning of Bankruptcy
                          Rules 5003 and 9021.
Confirmation Hearing      The hearing(s) before the Bankruptcy Court under section 1128 of the
                          Bankruptcy Code at which the Debtors seek entry of the
                          Confirmation Order.
Confirmation Order        The order of the Bankruptcy Court confirming the Plan under section 1129
                          of the Bankruptcy Code.
Consenting FLLO Term      As defined in the RSA.
Loan Facility Lenders
Consenting Revolving      As defined in the RSA.
Credit Facility Lenders
Consenting Second Lien    As defined in the RSA.
Noteholders
Consenting Stakeholders   As defined in the RSA.

Consenting Unsecured      Unsecured Noteholders that are Party to the RSA.
Noteholders
Consummation              The occurrence of the Plan Effective Date.

COVID-19 Extensions       As defined in this Restructuring Term Sheet.

CRO                       As defined in this Restructuring Term Sheet.

Debtor                    Each Company Party that has commenced Chapter 11 Cases.

Definitive Documents      The documents listed in Section 3 of the RSA.

DIP Agent                 MUFG Union Bank, N.A., in its capacity as administrative agent and
                          collateral agent under the DIP Credit Agreement.
DIP Claims                All Claims derived from, based upon, or secured pursuant to the DIP
                          Credit Agreement or DIP Order, including Claims for all principal
                          amounts outstanding, interest, fees, expenses, costs, professional fee
                          reimbursements, transaction fees, Superpriority Hedge Claims, and other
                          charges arising thereunder or related thereto, in each case, with respect to
                          the DIP Facility.
DIP Credit Agreement      That certain superpriority secured debtor-in-possession credit agreement
                          that governs the DIP Facility (as may be amended, supplemented, or
                          otherwise modified from time to time) which shall be consistent with the
                          DIP Term Sheet and shall be executed by Chesapeake Energy
                          Corporation, as borrower, the Debtor guarantors that are party thereto, the
                          DIP Lenders, and the DIP Agent following entry of the Interim DIP Order.



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Term                       Definition
DIP Documents              Collectively, the DIP Credit Agreement and any and all other agreements,
                           documents, and instruments delivered or to be entered into in connection
                           therewith, including any guarantee agreements, pledge and collateral
                           agreements, intercreditor agreements, and other security documents, in
                           each case consistent with the DIP Term Sheet and subject to the consent
                           rights described in the definition of DIP Facility below.
DIP Facility               That certain debtor-in-possession financing facility in accordance with the
                           terms and conditions set forth in the DIP Credit Agreement, provided that
                           the terms set forth in the DIP Term Sheet shall be deemed acceptable to
                           the FLLO Ad Hoc Group and Franklin; and provided further that the terms
                           of the DIP Facility that are not set forth in the DIP Term Sheet shall
                           otherwise be acceptable to the Required Consenting Parties (which
                           approval shall not be withheld in bad faith).
DIP Lenders                The lenders party to the DIP Credit Agreement with respect to the
                           DIP Facility.
DIP Obligations            As defined in the DIP Order.

DIP Order                  Collectively, the Interim DIP Order and Final DIP Order.

DIP Term Sheet             As defined in this Restructuring Term Sheet.

Disclosure Statement       The related disclosure statement with respect to the Plan.

Entity                     As defined in section 101(15) of the Bankruptcy Code.

Estate                     The estate of any Debtor created under sections 301 and 541 of the
                           Bankruptcy Code upon the commencement of the applicable Debtor’s
                           Chapter 11 Case.
Exculpated Parties         Collectively, and in each case in its capacity as such: (a) the Debtors; (b)
                           any official committees appointed in the Chapter 11 Cases and each of
                           their respective members; (c) the Consenting FLLO Term Loan Facility
                           Lenders, (d) the Consenting Second Lien Noteholders, (e) the Consenting
                           Unsecured Noteholders, (f) the Backstop Parties, (g) the Consenting
                           Revolving Credit Facility Lenders, (h) the DIP Lenders, (i) the Exit
                           Facilities Lenders, (j) the Agents, and (k) with respect to each of the
                           foregoing, such Entity and its current and former Affiliates, and such
                           Entity’s and its current and former Affiliates’ current and former equity
                           holders, subsidiaries, officers, directors, managers, principals, members,
                           employees, agents, advisory board members, financial advisors, partners,
                           attorneys, accountants, investment bankers, consultants, representatives,
                           and other professionals, each in their capacity as such.
Execution Date             As defined in the RSA.

Existing Equity Interest   An Interest in a Company Party existing as of the Agreement Effective
                           Date. Notwithstanding the foregoing, Existing Equity Interests do not
                           include Intercompany Interests.



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Term                         Definition
Exit Facilities              Collectively, the Exit RBL Facility and Exit FLLO Term Loan Facility,
                             provided that the terms set forth in the Exit Facilities Term Sheet shall be
                             deemed acceptable to the Company Parties, the FLLO Ad Hoc Group, and
                             Franklin; provided, further that the terms of the Exit Facilities that are not
                             set forth in the Exit Facilities Term Sheet shall otherwise be acceptable to
                             the Required Consenting Stakeholders (which approval shall not be
                             withheld in bad faith).
Exit Facilities Agent        MUFG Union Bank, N.A., in its capacity as administrative agent for the
                             Exit Facilities.
Exit Facilities Credit       Those certain credit agreements that will govern the Exit Facilities (as
Agreements                   each may be amended, supplemented, or otherwise modified from time to
                             time), in each case which shall be consistent with the Exit Facilities Term
                             Sheet.
Exit Facilities Documents    Collectively, the Exit Facilities Credit Agreements and any and all other
                             agreements, documents, and instruments delivered or to be entered into in
                             connection therewith, including any guarantee agreements, pledge and
                             collateral agreements, intercreditor agreements, and other security
                             documents, in each case if any, the form and substance of which shall be
                             consistent with the Exit Facilities Term Sheet and subject to the consent
                             rights set forth in the definition of Exit Facilities above.
Exit Facilities Lenders      The lenders party to the credit agreements documenting the Exit RBL
                             Facility and Exit FLLO Term Loan.
Exit Facilities Motion       As defined in this Restructuring Term Sheet.

Exit Facilities Term Sheet   As defined in this Restructuring Term Sheet.

Exit FLLO Term Loan          As defined in the Exit Facilities Term Sheet.
Facility
Exit FLLO Term Loan          “FLLO Term Loans” as defined in the Exit Facilities Term Sheet.

Exit Facility Loans          Collectively, the Tranche A RBL Exit Facility Loans, Tranche B RBL Exit
                             Facility Loans, and Exit FLLO Term Loans.
Exit RBL Facility            As defined in the Exit Facilities Term Sheet.

File, Filed, or Filing       File, filed, or filing with the Bankruptcy Court or its authorized designee
                             in the Chapter 11 Cases.
Final DIP Order              Any order regarding postpetition debtor in possession secured financing
                             approved by the Bankruptcy Court in these Chapter 11 Cases (including
                             with respect to any budgets governing or relating to such use) on a final
                             basis, the form and substance of which shall be consistent with the DIP
                             Term Sheet.
Final Order                  An order or judgment of the Bankruptcy Court, or court of competent
                             jurisdiction with respect to the subject matter that has not been reversed,
                             stayed, modified, or amended, as entered on the docket in any Chapter 11
                             Case or the docket of any court of competent jurisdiction, and as to which


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Term                       Definition
                           the time to appeal, or seek certiorari or move for a new trial, reargument,
                           or rehearing has expired and no appeal or petition for certiorari or other
                           proceedings for a new trial, reargument, or rehearing has been timely
                           taken, or as to which any appeal that has been taken or any petition for
                           certiorari that has been or may be timely Filed has been withdrawn or
                           resolved by the highest court to which the order or judgment was appealed
                           or from which certiorari was sought or the new trial, reargument, or
                           rehearing will have been denied, resulted in no stay pending appeal of such
                           order, or has otherwise been dismissed with prejudice; provided that the
                           possibility that a motion under Rule 60 of the Federal Rules of Civil
                           Procedure, or any analogous rule under the Bankruptcy Rules, may be
                           Filed with respect to such order will not preclude such order from being a
                           Final Order.
First Day Pleadings        The pleadings and related documentation requesting certain emergency
                           relief, or supporting the request for such relief, to be Filed on or around
                           the Petition Date and to be heard at the “first day” hearing.
FLLO Ad Hoc Group          The ad hoc group of FLLO Term Loan Facility Lenders represented by
                           Davis Polk & Wardwell LLP.
FLLO Term Loan Facility    The facility outstanding under the FLLO Term Loan Facility
                           Credit Agreement.
FLLO Term Loan Facility    GLAS USA LLC, in its capacity as administrative agent for the FLLO
Administrative Agent       Term Loan Facility.
FLLO Term Loan Facility    Any Claim on account of the FLLO Term Loan Facility.
Claim
FLLO Term Loan Facility    That certain term loan agreement, dated as of December 19, 2019 ((i) as
Credit Agreement           supplemented by that certain Class A Term Loan Supplement, dated as of
                           December 19, 2019 (as amended, restated or otherwise modified from
                           time to time), by and among Chesapeake, as borrower, the Debtor
                           guarantors party thereto, the FLLO Term Loan Facility Administrative
                           Agent, and the lender parties thereto, and (ii) as further amended, restated,
                           or otherwise modified from time to time), by and among Chesapeake, as
                           borrower, the Debtor guarantors party thereto, the FLLO Term Loan
                           Facility Administrative Agent, and the lender parties thereto.
FLLO Term Loan Facility    Holders of Allowed FLLO Term Loan Facility Claims.
Lenders
FLLO Term Loan Facility    The term loans issued under and on the terms set forth under the FLLO
Loans                      Term Loan Facility.
Franklin                   Franklin Advisers, Inc., as investment manager on behalf of certain funds
                           and accounts.
General Unsecured Claims   Any Unsecured Claim against a Debtor.

Governmental Unit          As defined in section 101(27) of the Bankruptcy Code.




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Term                        Definition
Impaired                    With respect to any Class of Claims or Interests, a Class of Claims or
                            Interests that is impaired within the meaning of section 1124 of the
                            Bankruptcy Code.
Incremental Roll-Up Loans   As defined in the DIP Term Sheet.

Intercompany Claim          A Claim held by a Debtor against a Debtor.

Intercompany Interest       An Interest in a Debtor held by a Debtor.

Intercreditor Agreement     That certain Intercreditor Agreement dated as of December 19, 2019
                            between MUFG Union Bank, N.A. as Priority Lien Agent, and Deutsche
                            Bank Trust Company Americas, as Second Lien Collateral Trustee and
                            Acknowledged and Agreed by Chesapeake Energy Corporation and
                            certain of its subsidiaries.
Interest                    Any equity security (as defined in section 101(16) of the Bankruptcy
                            Code) in any Debtor and any other rights, options, warrants, stock
                            appreciation rights, phantom stock rights, restricted stock units,
                            redemption rights, repurchase rights, convertible, exercisable or
                            exchangeable securities or other agreements, arrangements or
                            commitments of any character relating to, or whose value is related to, any
                            such interest or other ownership interest in any Debtor.
Interim DIP Order           Any order regarding postpetition debtor in possession secured financing
                            approved by the Bankruptcy Court in these Chapter 11 Cases (including
                            with respect to any budgets governing or relating to such use) on an
                            interim basis, the form and substance of which shall be consistent with the
                            DIP Term Sheet.
Joinder                     A joinder agreement whereby a holder of Claims that is not a Party to the
                            RSA as of the Agreement Effective Date may become a Consenting
                            Stakeholder by executing such joinder agreement.
KEIP                        As defined in the RSA.

KERP                        As defined in the RSA.

Law                         Any federal, state, local, or foreign law (including common law), statute,
                            code, ordinance, rule, regulation, order, ruling, or judgment, in each case,
                            that is validly adopted, promulgated, issued, or entered by a governmental
                            authority of competent jurisdiction (including the Bankruptcy Court).
Lien                        As defined in section 101(37) of the Bankruptcy Code.

Management Incentive Plan   As defined in this Restructuring Term Sheet.

Majority DIP Lenders        As defined in the DIP Order.

New Board                   As defined in this Restructuring Term Sheet.




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Term                      Definition
New Class A Warrants      As defined in this Restructuring Term Sheet.

New Class B Warrants      As defined in this Restructuring Term Sheet.

New Class C Warrants      As defined in this Restructuring Term Sheet.

New Common Stock          As defined in this Restructuring Term Sheet.

New Money Roll-Up Loans   As defined in the DIP Term Sheet.

New Organizational        As defined in this Restructuring Term Sheet.
Documents
New Warrants              As defined in this Restructuring Term Sheet.

Other Priority Claim      Any Claim other than an Administrative Claim or a Priority Tax Claim
                          entitled to priority in right of payment under section 507(a) of the
                          Bankruptcy Code.
Other Secured Claim       Any Secured Claim other than a Revolving Credit Facility Claim, a FLLO
                          Term Loan Facility Claim, a Second Lien Notes Claim, or a DIP Claim.
Parties                   As defined in the RSA.
Permitted Transferee      Each transferee of any Company Claims who meets the requirements of
                          Section 8 of the RSA.
Petition Date             The date on which the Chapter 11 Cases are commenced.
Plan                      The joint plan of reorganization Filed by the Debtors under chapter 11 of
                          the Bankruptcy Code that embodies the Restructuring Transactions.
Plan Effective Date       The date that is the first Business Day after the Confirmation Date on
                          which all Conditions Precedent to the Plan Effective Date have been
                          satisfied or waived in accordance with the Plan.
Plan Equity Value         As defined in this Restructuring Term Sheet.
Plan Supplement           Any compilation of documents and forms of documents, agreements,
                          schedules, and exhibits to the Plan, which shall be Filed by the Debtors
                          prior to the Confirmation Hearing, and additional documents Filed with
                          the Bankruptcy Court prior to the Plan Effective Date as amendments to
                          the Plan Supplement, each of which shall be consistent in all respects with,
                          and shall otherwise contain, the terms and conditions and be subject to the
                          consent rights set forth in the RSA and this Restructuring Term Sheet,
                          where applicable.
Priority Tax Claims       Any Claim of a Governmental Unit of the kind specified in
                          section 507(a)(8) of the Bankruptcy Code.
Professional Claim        A Claim by a professional seeking an award by the Bankruptcy Court of
                          compensation for services rendered or reimbursement of expenses
                          incurred through and including the Confirmation Date under sections 330,




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Term                     Definition
                         331, 503(b)(2),         503(b)(3),   503(b)(4),     or   503(b)(5)     of    the
                         Bankruptcy Code.
Proof of Claim           A proof of claim Filed against any of the Debtors in the Chapter 11 Cases
                         by the applicable bar date as established by the Court.
Proof of Interest        A proof of Interest Filed against any of the Debtors in the Chapter
                         11 Cases.
Put Option Premium       As defined in the Backstop Commitment Agreement.
Qualified Marketmaker    An Entity that (a) holds itself out to the public or the applicable private
                         markets as standing ready in the ordinary course of business to purchase
                         from customers and sell to customers Company Claims (or enter with
                         customers into long and short positions in Company Claims), in its
                         capacity as a dealer or market maker in Company Claims and (b) is, in
                         fact, regularly in the business of making a market in claims against issuers
                         or borrowers (including debt securities or other debt).
Registration Rights      The registration rights agreement pursuant to which each Backstop Party
Agreement                shall be entitled to registration rights, to be entered into as of the Plan
                         Effective Date.
Reinstatement or         With respect to Claims and Interests, that the Claim or Interest shall be
Reinstated               rendered unimpaired in accordance with section 1124 of the
                         Bankruptcy Code.
Released Parties         Collectively, and in each case in its capacity as such: (a) each Debtor;
                         (b) each Reorganized Debtor; (c) each Company Party; (d) each of the
                         Debtors’ current and former directors and officers; (e) each DIP Lender;
                         (f) each Exit Facilities Lender; (g) each Agent; (h) each Trustee; (i) the
                         Consenting Revolving Credit Facility Lenders; (j) the Consenting FLLO
                         Term Loan Facility Lenders, (k) the Consenting Second Lien Noteholders,
                         (l) the Consenting Unsecured Noteholders, (m) the Backstop Parties; (n)
                         all holders of Interests; (o) with respect to each of the foregoing
                         (a) through (o), each of such Entity and its current and former Affiliates,
                         and such Entities’ and their current and former Affiliates’ current and
                         former members, directors, managers, officers, equity holders (regardless
                         of whether such interests are held directly or indirectly), predecessors,
                         successors, and assigns, subsidiaries, and each of their respective current
                         and former members, equity holders, officers, directors, managers,
                         principals, members, employees, agents, advisory board members,
                         financial advisors, partners, attorneys, accountants, investment bankers,
                         consultants, representatives, and other professionals, each in their capacity
                         as such; provided that in each case, an Entity shall not be a Released Party
                         if it: (x) elects to opt out of the releases contained in the Plan; or (y) timely
                         Files with the Bankruptcy Court on the docket of the Chapter 11 Cases an
                         objection to the releases contained in the Plan that is not resolved
                         before Confirmation.
Releasing Parties        Collectively, and in each case in its capacity as such: (a) each Debtor;
                         (b) each Reorganized Debtor; (c) each Company Party; (d) each DIP
                         Lender; (e) each Exit Facilities Lender; (f) each Agent; (g) each Trustee;
                         (h) the Consenting FLLO Term Loan Facility Lenders, (i) the Consenting


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Term                        Definition
                            Revolving Credit Facility Lenders; (j) the Consenting Second Lien
                            Noteholders, (k) the Consenting Unsecured Noteholders, (l) the Backstop
                            Parties; (m) all holders of Claims; (n) all holders of Interests; (o) with
                            respect to each of the foregoing (a) through (o), such Entity and its current
                            and former Affiliates, and such Entities’ and their current and former
                            Affiliates’ current and former members, directors, managers, officers,
                            equity holders (regardless of whether such interests are held directly or
                            indirectly), predecessors, successors, and assigns, subsidiaries, and each
                            of their respective current and former members, equity holders, officers,
                            directors, managers, principals, members, employees, agents, advisory
                            board members, financial advisors, partners, attorneys, accountants,
                            investment bankers, consultants, representatives, and other professionals,
                            in each case, solely in their respective capacities as such with respect to
                            such Entity and solely to the extent such Entity has the authority to bind
                            such Affiliate in such capacity; provided that in each case, an Entity shall
                            not be a Releasing Party if it: (x) elects to opt out of the releases contained
                            in the Plan; or (y) timely Files with the Bankruptcy Court on the docket of
                            the Chapter 11 Cases an objection to the releases contained in the Plan that
                            is not resolved before Confirmation.
Reorganized Chesapeake      Reorganized Chesapeake, or any successor or assign, by merger,
                            consolidation, or otherwise, on or after the Plan Effective Date.
Reorganized Debtors         A Debtor, or any successor or assign thereto, by merger, consolidation, or
                            otherwise, on and after the Plan Effective Date.
Required Consenting FLLO As defined in the RSA.
Term Loan Facility Lenders
Required Consenting         As defined in the RSA.
Revolving Credit Facility
Lenders
Required Consenting DIP     As defined in the RSA.
Lenders
Required Consenting         As defined in the RSA.
Second Lien Noteholders
Required Consenting         As defined in the RSA.
Stakeholders
Required Consenting         As defined in the RSA.
Stakeholders Percentage
Required Plan Sponsors      As defined in the RSA.
Restructuring               The restructuring of Chesapeake and its direct and indirect subsidiaries, as
                            described in the RSA and this Restructuring Term Sheet.
Restructuring Expenses      The prepetition and postpetition reasonable and documented fees and
                            expenses of the FLLO Professionals and the Second Lien Professionals;
                            provided that:
                                (a) the fees and expenses of the FLLO Professionals shall only be
                                    Restructuring Expenses for so long as (1) the Restructuring


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Term                         Definition
                                     Support Agreement has not been terminated as to the DIP
                                     Lenders, Required Consenting Revolving Credit Facility Lenders,
                                     or FLLO Ad Hoc Group or (2) an alternative restructuring support
                                     agreement or similar agreement with respect to the restructuring
                                     of the Debtors’ debt and businesses remains in effect between the
                                     DIP Agent, the DIP Lenders, 66.67% of the Revolving Credit
                                     Facility Lenders, and the FLLO Ad Hoc Group, in each case, at
                                     which time such fees and expenses shall cease to be Restructuring
                                     Expenses (a “FLLO Restructuring Expenses Termination
                                     Event”), provided, that in the event a FLLO Restructuring
                                     Expenses Termination Event occurs, (a) all parties shall retain all
                                     rights pursuant to the Collateral Trust Agreement, which rights
                                     are fully reserved, including, without limitation, the rights, if any,
                                     of the Existing FLLO Agent or Existing FLLO Lenders to seek
                                     different or additional adequate protection in accordance with
                                     section 6.02(f) of the Collateral Trust Agreement and (b) the fees
                                     and expenses of the FLLO Professionals incurred prior to such
                                     FLLO Restructuring Expenses Termination Event shall be
                                     Restructuring Expenses; and
                                 (b) the fees and expenses of the Second Lien Professionals shall only
                                     be Restructuring Expenses for so long as the Restructuring
                                     Support Agreement has not been terminated as to the Company
                                     Parties, DIP Lenders, Required Consenting Revolving Credit
                                     Facility Lenders, or Franklin (a “Second Lien Restructuring
                                     Expenses Termination Event”); provided, that in the event a
                                     Second Lien Restructuring Expenses Termination Event occurs,
                                     (a) all parties shall retain all rights pursuant to the Intercreditor
                                     Agreement, including, without limitation, the rights, if any, of
                                     such parties to seek different or additional adequate protection in
                                     accordance with section 4.02(f) of the Intercreditor Agreement
                                     and (b) the fees and expenses of the Second Lien Professionals
                                     incurred prior to such Second Lien Restructuring Expenses
                                     Termination Event shall be Restructuring Expenses.

Restructuring Term Sheet     As defined in the RSA.
Restructuring Transactions   As defined in the RSA.
Revolving Credit Facility    The facility outstanding under the Revolving Credit Facility Credit
                             Agreement.
Revolving Credit Facility    MUFG Union Bank, N.A., in its capacity as administrative agent for the
Administrative Agent         Revolving Credit Facility.
Revolving Credit Facility    Any Claim on account of the Revolving Credit Facility.
Claim
Revolving Credit Facility    That certain amended and restated credit agreement, dated as of
Credit Agreement             September 12, 2018 (as amended, restated, or otherwise modified from
                             time to time), by and among Chesapeake, as borrower, the Debtor
                             guarantors party thereto, the Revolving Credit Facility Administrative
                             Agent, and the other lender, issuer, and agent parties thereto.


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Term                         Definition
Revolving Credit Facility    Holders of Allowed Revolving Credit Facility Claims.
Lenders
Revolving Credit Facility    The loans issued under and on the terms set forth under the Revolving
Loans                        Credit Facility.
Revolving DIP Loan           As defined in the DIP Term Sheet.
Commitments
Revolving DIP Loans          As defined in the DIP Order.
Rights Offering              As defined in this Restructuring Term Sheet.
Rights Offering Amount       As defined in this Restructuring Term Sheet.
Rights Offering Procedures   The procedures governing the Rights Offering attached as an exhibit to
                             the Backstop Commitment Agreement.
Rights Offering Value        As defined in this Restructuring Term Sheet.
Roll-Up Loans                As defined in the DIP Order.
RSA                          As defined in the introduction to this Restructuring Term Sheet.
SEC                          The Securities and Exchange Commission.
Second Lien Noteholders      Holders of Allowed Second Lien Notes Claims.
Second Lien Notes            The 11.500% senior notes due 2025 issued by Chesapeake pursuant to the
                             Second Lien Notes Indenture.
Second Lien Notes Claim      Any Claim on account of the Second Lien Notes.
Second Lien Notes            That certain indenture dated as of December 19, 2019, by and among
Indenture                    Chesapeake, as issuer, certain Debtors guarantors party thereto, and the
                             Second Lien Notes Trustee, as may be amended, supplemented, or
                             otherwise modified from time to time.
Second Lien Notes Trustee    Deutsche Bank Trust Company Americas, in its capacity as trustee and
                             collateral trustee for the Second Lien Notes Indenture.
Secured                      When referring to a Claim: (a) secured by a Lien on collateral to the extent
                             of the value of such collateral, as determined in accordance with
                             section 506(a) of the Bankruptcy Code or (b) subject to a valid right of
                             setoff pursuant to section 553 of the Bankruptcy Code.
Secured Tax Claim            Any Secured Claim that, absent its Secured status, would be entitled to
                             priority in right of payment under section 507(a)(8) of the Bankruptcy
                             Code (determined irrespective of time limitations), including any related
                             Secured Claim for penalties.
Securities Act               The Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
                             similar federal, state, or local law.
Solicitation Materials       The court-approved Plan and Disclosure Statement and related
                             documentation to be distributed to holders of Claims entitled to vote on
                             the Plan.



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Term                        Definition
Superpriority Hedge         As defined in the DIP Order
Claims
Termination Date            The date on which termination of the RSA as to a Party is effective in
                            accordance with Section 12 of the RSA.
Total Leverage              As defined in this Restructuring Term Sheet.
Tranche A RBL Exit          As defined in the Exit Facilities Term Sheet.
Facility Loans
Tranche B RBL Exit          As defined in the Exit Facilities Term Sheet.
Facility Loans
Transfer                    To sell, resell, reallocate, use, pledge, assign, transfer, hypothecate,
                            participate, donate or otherwise encumber or dispose of, directly or
                            indirectly (including through derivatives, options, swaps, pledges, forward
                            sales or other transactions).
Transfer Agreement          An executed form of the transfer agreement providing, among other
                            things, that a transferee is bound by the terms of the RSA and substantially
                            in the form attached to the RSA as Exhibit C.
Trustee                     Any indenture trustee, collateral trustee, or other trustee or similar entity
                            under the Second Lien Notes or the Unsecured Notes.
Unimpaired                  With respect to a Class of Claims or Interests, a Class of Claims or
                            Interests that is not Impaired.
United States Trustee       The United States Trustee for the jurisdiction in which the Chapter 11
                            Cases are commenced.
Unsecured Claim             Any Claim that is not a Secured Claim.
Unsecured Claims Recovery   As defined in this Restructuring Term Sheet.
Unsecured Noteholders       Holders of Allowed Unsecured Notes Claims.
Unsecured Notes             The 6.625% senior notes due 2020, the 6.125% senior notes due 2021, the
                            5.375% senior notes due 2021, the 4.875% senior notes due 2022, the
                            5.750% senior notes due 2023, the 7.000% senior notes due 2024, the
                            8.000% senior notes due 2025, the 8.000% senior notes due 2026, the
                            7.500% senior notes due 2026, the 8.000% senior notes due 2027, the
                            5.500% convertible senior notes due 2026, and the 6.875% senior notes
                            due 2025, all issued by certain Company Parties pursuant to the Unsecured
                            Notes Indentures.
Unsecured Notes Claim       Any Claim on account of the Unsecured Notes.
Unsecured Notes             Those certain indentures dated as of the following dates:
Indentures
                               August 2, 2010 (6.625% senior notes due 2020);
                               February 11, 2011 (6.125% senior notes due 2021);
                               April 1, 2013 (5.375% senior notes due 2021);
                               April 24, 2014 (4.875% senior notes due 2022);
                               April 1, 2013 (5.750% senior notes due 2023);


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Term                       Definition
                              September 27, 2018 (7.000% senior notes due 2024);
                              December 20, 2016 (8.000% senior notes due 2025);
                              April 3, 2019 (8.000% senior notes due 2026);
                              September 27, 2018 (7.500% senior notes due 2026);
                              June 6, 2017 (8.000% senior notes due 2027);
                              October 5, 2016 (5.500% convertible senior notes due 2026); and
                              February 1, 2017 (6.875% senior notes due 2025),

                           each by and among certain of the Company Parties and the Unsecured
                           Notes Trustees, as may be amended, supplemented, or otherwise modified
                           from time to time.
Unsecured Notes Trustees   The following entities:

                              The Bank of New York Trust Company, N.A. (6.625% senior notes
                               due 2020);
                              The Bank of New York Trust Company, N.A. (6.125% senior notes
                               due 2021);
                              The Bank of New York Trust Company, N.A. (5.375% senior notes
                               due 2021);
                              Deutsche Bank Trust Company Americas (4.875% senior notes due
                               2022);
                              The Bank of New York Trust Company, N.A. (5.750% senior notes
                               due 2023);
                              Deutsche Bank Trust Company Americas (7.000% senior notes due
                               2024);
                              Deutsche Bank Trust Company Americas (8.000% senior notes due
                               2025);
                              Deutsche Bank Trust Company Americas (8.000% senior notes due
                               2026);
                              Deutsche Bank Trust Company Americas (7.500% senior notes due
                               2026);
                              Deutsche Bank Trust Company Americas (8.000% senior notes due
                               2027);
                              Deutsche Bank Trust Company Americas (5.500% convertible senior
                               notes due 2026); and
                              U.S. Bank National Association (6.875% senior notes due 2025),

                           each in its capacity as trustee for the Unsecured Notes Indentures.




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                                  Exhibit 2

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                SUMMARY OF PROPOSED TERMS AND CONDITIONS
               FOR DIP FINANCING AND USE OF CASH COLLATERAL

                             Chesapeake Energy Corporation et al.,
                             as Debtors and Debtors-in-Possession
                                         June 28, 2020

Capitalized terms used in this term sheet and not otherwise defined shall have the meaning given
to such terms in the Amended and Restated Credit Agreement, dated as of September 12, 2018 (as
amended, supplemented, and otherwise modified from time to time, the “Prepetition Credit
Agreement”), among the Borrower (as defined below), the Prepetition Lenders (as defined below)
and the Prepetition Agent (as defined below) or the Restructuring Support Agreement (as defined
below).

Borrower:                          Chesapeake Energy Corporation, as debtor and debtor in
                                   possession (the “Borrower”) under Chapter 11 of the United
                                   States Bankruptcy Code (the “Bankruptcy Code”) in the
                                   jointly administered cases of Borrower and certain of its
                                   affiliates (collectively, the “Cases”) in the United States
                                   Bankruptcy Court for the Southern District of Texas (the
                                   “Bankruptcy Court”).

Guarantors:                        All obligations under the DIP Facility (as defined below) and
                                   the other DIP Loan Documents (as defined below) and any
                                   DIP Hedges (as defined below) will be unconditionally
                                   guaranteed (the “Guarantee”) by each subsidiary of the
                                   Borrower that is a debtor-in-possession under the Bankruptcy
                                   Code, including each subsidiary of the Borrower which is a
                                   Guarantor as such term is defined in the Prepetition Credit
                                   Agreement as of the Petition Date (as defined below) (such
                                   parties, the “Guarantors”; and, together with the Borrower,
                                   the “Debtors”, which have been identified on Schedule 1
                                   hereto).

Prepetition Agent:                 MUFG Union Bank, N.A., in its capacity as Administrative
                                   Agent under the Prepetition Credit Agreement (the
                                   “Prepetition Agent”) and related prepetition loan documents
                                   (collectively, the “Prepetition Loan Documents” and the
                                   loan facility evidenced thereby, the “Prepetition RBL
                                   Facility”).

Prepetition Lenders:               Those lenders who are parties to the Prepetition Credit
                                   Agreement as of the Petition Date (the “Prepetition
                                   Lenders”).

DIP Agent:                         MUFG Union Bank, N.A., in its capacity as Administrative
                                   Agent under the DIP Credit Agreement (the “DIP Agent”).
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DIP Lenders:                          The Prepetition Lenders providing Revolving DIP Loan
                                      Commitments and/or receiving Roll-Up Claims (each as
                                      defined below) under the DIP Facility (the “DIP Lenders”).
                                      The DIP Lenders who elect to participate in the DIP Facility
                                      pursuant to the respective Revolving DIP Loan Commitments
                                      set forth on Schedule 2 hereto are referred to herein as the
                                      “New Money DIP Lenders.” Participation in the Revolving
                                      DIP Loan Commitments will be open to all Prepetition
                                      Lenders on a pro rata basis.

Majority DIP Lenders:                 New Money DIP Lenders (as defined below) holding more
                                      than 50% of the Revolving DIP Loan Commitments under the
                                      DIP Facility shall constitute the “Majority DIP Lenders”.

Petition Date:                        The date the Debtors file their Chapter 11 petitions (the
                                      “Petition Date”).

DIP Facility and Roll-Up:             The DIP Lenders will provide to the Debtors a priming, senior
                                      secured, super-priority debtor-in-possession credit facility
                                      (the “DIP Facility”) comprising: (i) a revolving loan facility
                                      made available to the Borrower (the “Revolving DIP Loans”)
                                      in the aggregate maximum principal amount of up to $925
                                      million (including a sub-facility of up to $200 million for the
                                      issuance of letters of credit, which shall (a) permit the issuance
                                      of letters of credit on the Closing Date (as defined below) for
                                      general corporate purposes, including to replace, backstop or
                                      provide credit support for any letters of credit issued pursuant
                                      to the Prepetition RBL Facility (including by “grandfathering”
                                      such letters of credit into the Revolving DIP Loan facility) and
                                      (b) reduce availability under the DIP Facility on a dollar-for-
                                      dollar basis) (the “Revolving DIP Loan Commitment”), and
                                      (ii) a conversion of all of the Loans outstanding under the
                                      Prepetition Credit Agreement on the date the DIP Facility
                                      becomes effective (the “Closing Date”) in excess of $750
                                      million to loans under the DIP Facility (the “Roll-Up Loans”
                                      and, together with the Revolving DIP Loans, the “DIP
                                      Facility Loans”); provided, however that the amount of the
                                      Roll-Up Loans shall not be less than $925 million.1 Upon the
                                      conversion of the Roll-Up Loans in connection therewith, the
                                      Roll-Up Loans shall cease to be indebtedness under the
                                      Prepetition Credit Agreement and shall be deemed DIP
                                      Obligations (as defined below) in all respects, including for
                                      purposes of having the benefit of Section 364(e) of the
                                      Bankruptcy Code. The Revolving DIP Loans (and, for the
                                      avoidance of doubt, the DIP Hedges (as defined below)) shall
                                      be given payment priority over the Roll-Up Loans, including
                                      in the event of a sale or other disposition of the DIP Collateral

1
 Based on current assumptions regarding outstanding Loans under the Prepetition Credit Agreement, the
implied ratio of the Roll-Up Loans is approximately $1.27 of Loans under the Prepetition Credit
Agreement to $1.00 of Revolving DIP Loan Commitments.

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                            (defined below), a prepayment of the DIP Facility Loans, or
                            the exercise of remedies by the DIP Lenders.

                            The Roll-Up Loans shall be calculated and structured as
                            follows: (i) Roll-Up Loans consisting of $925 million of
                            Loans outstanding under the Prepetition Credit Agreement
                            held by the DIP Lenders providing the Revolving DIP Loan
                            Commitments (the “New Money DIP Lenders”) converted to
                            loans under the DIP Facility (the “New Money Roll-Up
                            Loans”) and (ii) Roll-Up Loans consisting of the amount of all
                            Loans outstanding under the Prepetition Credit Agreement on
                            the Closing Date in excess of $750 million, less $925 million
                            (the “Incremental Roll-Up Loans”). The Incremental Roll-Up
                            Loans shall be allocated to New Money DIP Lenders and
                            Prepetition Lenders that are not providing Revolving DIP
                            Loan Commitments (the “Non-Participating Lenders”), based
                            on (i) with respect to the Non-Participating Lenders, their
                            respective prepetition pro rata Prepetition RBL Facility
                            commitment percentages and (ii) with respect to the New
                            Money DIP Lenders, their respective pro rata share of the
                            Revolving DIP Loan Commitments.

                            Revolving DIP Loan Commitments in an amount of up to
                            $[325 million] (the “Interim Commitment”) of the
                            Revolving DIP Loans approved by the Bankruptcy Court
                            pursuant to the Interim Order shall be made available to the
                            Debtors during the period from the date of entry of the Interim
                            Order by the Bankruptcy Court through the date of entry of the
                            Final Order (as defined below) by the Bankruptcy Court, and
                            the balance of the Revolving DIP Loan Commitment shall be
                            available only upon and after entry of the Final Order. Upon
                            the entry of the Interim Order, the conversion of New Money
                            Roll-Up Loans shall be in an amount equal to the Interim
                            Commitment approved by the Bankruptcy Court, with the
                            balance of the New Money Roll-Up Loans and the
                            Incremental Roll-Up Loans converting upon entry of the Final
                            Order. Pending the entry of the Final Order, the DIP Agent
                            and the New Money DIP Lenders shall be afforded all of the
                            protections contained in the Interim Order.

                            The Revolving DIP Loans, subject to the foregoing and other
                            applicable conditions and consistent with past ordinary course
                            processing procedures, will be funded on (i) in the event of
                            LIBOR Revolving DIP Loans (to be defined in the DIP Credit
                            Agreement), the third business day following the submission
                            of a proper notice of borrowing if requested by 1:00 p.m. New
                            York time, or (ii) in the event of ABR Revolving DIP Loans
                            (to be defined in the DIP Credit Agreement), the next business
                            day following the submission of a proper notice of borrowing
                            if such request is made by 1:00 p.m. New York time. If such
                            notice of borrowing is submitted after 1:00 p.m. New York

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                                 Time, such notice of borrowing shall be deemed to have been
                                 delivered on the business day following the date specified in
                                 the foregoing sentence.

Exit Facilities:                 Pursuant to a Restructuring Support Agreement, dated June
                                 28, 2020, by and among the Debtors, the DIP Lenders, certain
                                 holders of FLLO Term Loans and certain holders of Second
                                 Lien Notes (as amended, restated, supplemented or otherwise
                                 modified from time to time, the “Restructuring Support
                                 Agreement”), the DIP Facility and remaining obligations
                                 under the Prepetition RBL Facility shall be converted into Exit
                                 Facilities consisting of a $1.75 billion Exit RBL Facility and
                                 up to a $750 million Exit FLLO Term Loan Facility, which
                                 Exit Facilities shall be provided by the DIP Lenders on terms
                                 and conditions to be set forth in an Exit Facility Term Sheet
                                 and subject to the requirements of the Restructuring Support
                                 Agreement.

Use of Proceeds:                 The DIP Facility may be used only for (i) post-petition
                                 working capital purposes of the Debtors, current interest and
                                 fees under the DIP Facility; (ii) the payment of adequate
                                 protection payments to the Prepetition Agent and the
                                 Prepetition Lenders, including fees payable under the
                                 Prepetition Credit Agreement; (iii) expenses and professional
                                 fees for (a) the collateral trustee under the Collateral Trust
                                 Agreement, (b) the FLLO Agent, (c) the FLLO Ad Hoc Group
                                 (as defined in the Restructuring Support Agreement), (d)
                                 Deutsche Bank Trust Company Americas, as the Second Lien
                                 Collateral Trustee (defined below) and (e) Franklin Advisers
                                 Inc. (“Franklin”) solely to the extent and as set forth below;
                                 and (iv) the allowed administrative costs and expenses of the
                                 Cases, in each case, solely in accordance with the Approved
                                 Budget (subject to the Variance Limit) and the Financing
                                 Orders (each as defined below) incorporating the terms hereof.

DIP Facility Interest Rate and   See Schedule 3 hereto with respect to rates and fees.
Fees:
                                 The DIP Loan Documents will contain provisions to be
                                 mutually agreed with respect to a replacement of the London
                                 interbank offered rate.

Priority and Security:           Subject to the Carve-Out, all obligations of the Debtors under
                                 the DIP Facility (the “DIP Obligations”) and any DIP Hedges
                                 shall be:

                                 (i) entitled to super-priority claim status under Section
                                 364(c)(1) of the Bankruptcy Code with priority over all
                                 administrative expense claims and unsecured claims now
                                 existing or hereafter arising under the Bankruptcy Code (other
                                 than as provided in respect of DIP Hedges as described
                                 below), including, without limitation, the prepetition claims

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                            and adequate protection claims of the Prepetition Agent on
                            behalf of the Prepetition Lenders and the prepetition claims of
                            the FLLO Agent on behalf of the FLLO Lenders (each as
                            defined below), subject only to the Carve-Out. The super-
                            priority claims of the DIP Lenders may be repaid from any
                            cash of the Debtors, including without limitation, Cash
                            Collateral and, subject to entry of the Final Order, any
                            Avoidance Action Proceeds (as defined below); provided that
                            the super-priority claims granted to the DIP Lenders on
                            account of the Roll-Up Loans shall be immediately junior in
                            payment priority and subject to the super-priority claims
                            granted to the New Money DIP Lenders on account of the
                            Revolving DIP Loans and DIP Hedges;

                            (ii) secured, pursuant to Section 364(c)(2) of the Bankruptcy
                            Code, by a first priority, perfected lien on all of the Debtors’
                            rights in property of the Debtors’ estates as of the Petition Date
                            that, as of the Petition Date, were unencumbered (and do not
                            become perfected subsequent to the Petition Date as permitted
                            by Section 546(b) of the Bankruptcy Code) (but including,
                            subject to entry of the Final Order, the proceeds of Avoidance
                            Actions (as defined below) and property received or recovered
                            thereby (the “Avoidance Action Proceeds”));

                            (iii) secured, pursuant to Section 364(c)(3) of the Bankruptcy
                            Code, by a junior priority, perfected lien on all of the Debtors’
                            rights in property of the Debtors’ estates as of the Petition Date
                            that, as of the Petition Date, were subject to a lien permitted
                            under the terms of the Prepetition Credit Agreement that was
                            perfected prior to the Petition Date or is perfected subsequent
                            to the Petition Date as permitted by Section 546(b) of the
                            Bankruptcy Code (other than the Liens securing the
                            obligations under the Prepetition Credit Agreement, the FLLO
                            Term Loan (as defined below) and the 11.5% Senior Secured
                            Second Lien Notes due 2025 issued by the Debtors pursuant
                            to that certain Indenture dated as of December 19, 2019 (the
                            “Second Lien Indenture” and the notes issued thereunder,
                            the “Second Lien Notes”), which liens are addressed in (iv)
                            below); and

                            (iv) secured, pursuant to Section 364(d)(1) of the Bankruptcy
                            Code, by valid, enforceable, priming first priority, fully
                            perfected security interests in and liens upon all of the
                            Debtors’ rights in property of the Debtors’ estates as of the
                            Petition Date and all of the Debtors’ rights in property
                            acquired post-petition (and proceeds thereof), whether now
                            existing or hereafter acquired or arising that secure the
                            obligations under the Prepetition Credit Agreement, the FLLO
                            Term Loan and the Second Lien Notes (but subject to clause
                            (iii) above) (such lien, together with the liens described in
                            clauses (ii) and (iii) above, the “DIP Liens” and the collateral

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                                        described in clauses (ii)–(iv) above, collectively, the “DIP
                                        Collateral”);

                                        DIP Collateral shall also include any and all rents, issues,
                                        products, offspring, proceeds and profits generated by any
                                        item of DIP Collateral, without the necessity of any further
                                        action of any kind or nature by the DIP Agent or the DIP
                                        Lenders in order to claim or perfect such rents, issues,
                                        products, offspring, proceeds and/or profits.

                                        Notwithstanding anything to the contrary contained herein, in
                                        no event shall any estate causes of action under Chapter 5 of
                                        the Bankruptcy Code (the “Avoidance Actions”) constitute
                                        DIP Collateral or be subject to a DIP Lien; provided, however,
                                        DIP Collateral shall include, and the DIP Liens shall attach to,
                                        Avoidance Action Proceeds subject to entry of the Final Order
                                        as set forth in (ii) above.

                                        The DIP Liens shall not be subject or subordinate to (i) subject
                                        to entry of the Final Order only, any lien or security interest
                                        that is avoided and preserved for the benefit of the Debtors and
                                        their estates under section 551 of the Bankruptcy Code, (ii)
                                        any liens arising after the Petition Date including, without
                                        limitation, any liens or security interests granted in favor of
                                        any federal, state, municipal or other governmental unit,
                                        commission, board or court for any liability of the Debtors, or
                                        (iii) any intercompany or affiliate liens of the Debtors.

                                        The DIP Liens will automatically attach to the DIP Collateral
                                        and become valid and perfected immediately upon entry of the
                                        Interim Order without the requirement of any further action by
                                        the DIP Agent or the DIP Lenders. The DIP Liens granted to
                                        the DIP Lenders with respect to the Roll-Up Loans will be pari
                                        passu (on a pro rata basis) to the DIP Liens granted to the New
                                        Money DIP Lenders with respect to the Revolving DIP Loans
                                        and to the DIP Liens securing DIP Hedges; provided,
                                        however, that (i) the Revolving DIP Loans and DIP Hedges
                                        shall have payment priority over the Roll-Up Loans pursuant
                                        to the DIP Credit Agreement and the Financing Orders, and
                                        (ii) the New Money Roll-Up Loans shall have payment
                                        priority over the Incremental Roll-Up Loans pursuant to the
                                        DIP Credit Agreement and the Financing Orders.

Use of Cash Collateral:2                All cash and cash equivalents of the Debtors, whenever or
                                        wherever acquired, and the proceeds of all collateral pledged
                                        to the DIP Agent constitute cash collateral, as contemplated

2
 Financing Order to include certain provisions, protections, and reservations of rights for the Prepetition
Agent and the Prepetition Lenders and other prepetition secured parties with respect to consent to use cash
collateral. Any omissions of such provisions, protections, and reservations in this DIP Facility Term Sheet
are not a waiver or concession of such provision, protection, or reservation.

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                            by Section 363 of the Bankruptcy Code (“Cash Collateral”).
                            Cash Collateral may be used only for (i) working capital
                            purposes of the Debtors, (ii) interest and fees under the DIP
                            Facility, (iii) payment of adequate protection payments to the
                            Prepetition Agent and Prepetition Lenders, (iv) payment of
                            expenses and professional fees for (a) the collateral trustee
                            under the Collateral Trust Agreement, (b) the FLLO Agent,
                            (c) the FLLO Ad Hoc Group, (d) Deutsche Bank Trust
                            Company Americas, as the Second Lien Collateral Trustee
                            (the “Second Lien Collateral Trustee”) and (e) Franklin
                            solely to the extent and as set forth below, and (iv) the allowed
                            costs and expenses of the Cases, in each case, solely in
                            accordance with the Approved Budget and the Financing
                            Orders incorporating the terms hereof (subject to the Variance
                            Limit).

Hedging:                    The Debtors shall negotiate in good faith with each Prepetition
                            Lender (or affiliate of a Prepetition Lender) which is the
                            counterparty (collectively, the “Hedge Counterparties”)
                            under one or more existing commodity price hedging
                            agreements (each, an “ISDA Transaction”) with one or more
                            of the Debtors to mutually terminate and close out all of the
                            outstanding ISDA Transactions between the Debtors and such
                            Hedge Counterparty on one or more day(s) to be agreed which,
                            in any event, will be no fewer than 3 days prior to the Petition
                            Date; provided that if the Debtors and any Hedge
                            Counterparty are unable to reach agreement on a mutual
                            termination of such ISDA Transactions, such Hedge
                            Counterparty shall retain its rights, powers, and remedies
                            under the terms of the applicable ISDA Master Agreement that
                            governs such ISDA Transactions. To the extent that the parties
                            mutually agree upon the termination and close out of
                            outstanding ISDA Transactions prior to the Petition Date, the
                            Debtors shall irrevocably instruct each Hedge Counterparty to
                            pay any termination amounts owed to the Debtors directly to
                            the Prepetition Agent to be applied to repay any outstanding
                            obligations under the Prepetition Credit Facility (and the
                            Commitments thereunder will be automatically reduced on a
                            dollar-for-dollar basis by the amount repaid). After the
                            Petition Date, to the extent any Hedge Counterparty (i)
                            terminates and closes out any outstanding ISDA Transactions
                            existing as of the Petition Date or (ii) makes any settlement
                            payments in respect of such ISDA Transactions existing as of
                            the Petition Date, all such termination or settlement amounts
                            owed to the Debtors, as applicable, shall be immediately
                            applied to repay outstanding obligations under the Prepetition
                            Credit Facility. It is understood that this provision is not
                            intended as, and does not constitute, an agreement with respect
                            to, or a modification or waiver of any of Hedge Counterparty’s
                            rights, powers and remedies (including netting rights) under
                            the applicable ISDA Master Agreement that governs the

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                            applicable ISDA Transactions, all of which are reserved, and
                            that any such agreement, modification or waiver will be
                            evidenced by a separate instrument among the Borrower, the
                            Prepetition Agent, certain Prepetition Lenders and the relevant
                            Hedge Counterparties.

                            The Debtors may enter into commodity hedge transactions
                            with New Money DIP Lenders or their affiliates subject to
                            minimum requirements and maximum limitations set forth
                            below pursuant to Master ISDAs and Schedules on terms to
                            be agreed between the parties thereto, which Master ISDAs
                            and Schedules shall be entered into following entry of the
                            Hedging Order (as defined below) (the “DIP Hedges”).
                            Subject to the Carve-Out, and solely upon entry of the
                            Hedging Order, the DIP Hedges shall be allowed superpriority
                            claims, pursuant to section 364(c)(1), with pari passu priority
                            to the Revolving DIP Loans (but, for the avoidance of doubt
                            with priority over the Roll-Up Loans) and with priority over
                            all other claims (including claims otherwise having priority
                            under section 507 of the Bankruptcy Code or otherwise) (the
                            “Hedge Administrative Claim”).

                            “Hedging Order” means interim or final (as applicable) order
                            granting a motion authorizing the Debtors to continue
                            prepetition hedging arrangements and enter into postpetition
                            hedging arrangements, among other relief, which such order
                            shall be in form and substance reasonably satisfactory to the
                            DIP Agent and Majority DIP Lenders. The Debtors may file a
                            “first day” motion seeking entry of the Hedging Order, which
                            such motion shall be in form and substance reasonably
                            satisfactory to the DIP Agent, and seek a hearing on such
                            motion at the “second day” hearing in the Cases.

                            Beginning on the date that is thirty (30) days after the Petition
                            Date, which may be extended in the DIP Agent’s sole
                            discretion (with respect to the July 1, 2020 Reserve Report (as
                            defined below) on July 1, 2020, and tested with the delivery
                            of each subsequent Reserve Report, the Debtors shall enter
                            into and maintain DIP Hedges consisting of commodity
                            hedging agreements that hedge a minimum of 50% of the
                            reasonably anticipated projected monthly production from
                            proved developed producing oil and gas reserves (in each case,
                            calculated separately for (i) crude oil and (ii) natural gas and
                            natural gas liquids, taken together, and in the case of clauses
                            (i) and (ii), based on the most recently delivered Reserve
                            Report) for a rolling twenty-four (24) month period.

                            The Debtors shall be permitted to enter into DIP Hedges so
                            long as, at the time such DIP Hedge is entered into, the term
                            of which does not exceed 60 months and the notional volumes
                            of which do not exceed (a) for the 24 month period from the

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                                     date such commodity hedge transaction is executed, 90% of
                                     the reasonably anticipated projected monthly production from
                                     proved developed producing oil and gas reserves and (b) for
                                     the 24-month period thereafter, 80% of the reasonably
                                     anticipated projected monthly protection from proved
                                     developed producing oil and gas reserves (in each case,
                                     calculated separately for (i) crude oil and (ii) natural gas and
                                     natural gas liquids, taken together, and in the case of clauses
                                     (i) and (ii), based on the most recently delivered Reserve
                                     Report).

Conditions Precedent:                The closing of the DIP Facility and the Debtors’ right to use
                                     Cash Collateral pursuant to the terms hereof will be subject to
                                     the satisfaction of all conditions precedent to be set forth in the
                                     DIP Credit Agreement (as defined below) deemed necessary
                                     or appropriate by the DIP Agent and the Prepetition Agent, as
                                     applicable, including but not limited to:

                                     (i) [satisfactory completion of legal and collateral due
                                     diligence and transaction structuring, including due diligence
                                     concerning the Cases and the receipt of all required court
                                     approvals of the DIP Facility and any other motions of the
                                     Debtors of concern to the DIP Lenders;

                                     (ii) the DIP Agent shall have received executed counterparts
                                     to the DIP Facility from each DIP Lender;]3

                                     (iii) no later than 2 days prior to the Petition Date, the DIP
                                     Agent and the Prepetition Agent shall have received a cash
                                     forecast for the period from the Petition Date through the
                                     Scheduled Maturity Date (as defined below) setting forth
                                     projected cash flows and disbursements, to be in form, scope
                                     and substance acceptable to the DIP Agent, the New Money
                                     DIP Lenders, and the Prepetition Agent and Majority Lenders
                                     (the “Initial Approved Budget”);

                                     (iv) the Debtors shall have provided the DIP Agent and the
                                     DIP Lenders with a copy of the cash management motion and
                                     proposed order to be filed with the Bankruptcy Court in
                                     connection with the commencement of the Cases. The cash
                                     management order filed by the Debtors and entered by the
                                     Bankruptcy Court shall be in form and substance reasonably
                                     satisfactory to the DIP Agent;

                                     (v) the Debtors shall not have executed, entered into or
                                     otherwise committed to any plan or restructuring support
                                     agreement or any other agreement or understanding



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       To be omitted from definitive credit agreement.

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                            concerning the terms of a chapter 11 plan or other exit strategy
                            without the consent of the DIP Agent;

                            (vi) an interim debtor-in-possession financing order,
                            substantially on the terms contemplated in this DIP Term
                            Sheet (and otherwise acceptable to the DIP Agent) (the
                            “Interim Order”), shall have been entered by the Bankruptcy
                            Court within five (5) days following the Petition Date and
                            shall not have been vacated, reversed or stayed, appealed, or
                            modified or amended without the prior written consent of the
                            DIP Agent and, if such modification or amendment is
                            materially adverse to the DIP Lenders, the Majority DIP
                            Lenders. Notwithstanding anything to the contrary contained
                            herein, funding of any Interim Commitment shall be subject
                            to entry of the Interim Order and funding of the balance of the
                            commitments under the DIP Facility and continued authority
                            to use Cash Collateral shall be subject to entry, within 35 days
                            following the Petition Date, of a final debtor-in-possession
                            financing/use of cash collateral order, substantially on the
                            terms contemplated by this DIP Term Sheet and in form and
                            substance acceptable to the DIP Agent (the “Final Order”
                            and, together with the Interim Order, collectively, the
                            “Financing Orders”), which shall not have been vacated,
                            reversed or stayed, appealed (and for which the appeal period
                            has expired or has been waived), or modified or amended
                            without the prior written consent of the DIP Agent and, if such
                            modification or amendment is materially adverse to the DIP
                            Lenders, the Majority DIP Lenders;

                            (vii) orders approving all “first day” motions shall have been
                            entered, and, in the case of any “first day” motions and orders
                            that affect the rights or duties of the DIP Agent or DIP
                            Lenders, in form and substance reasonably acceptable to the
                            DIP Agent;

                            (viii) the execution and delivery, in form and substance
                            acceptable to the DIP Agent and the New Money DIP Lenders
                            in their sole discretion, of a definitive credit agreement (the
                            “DIP Credit Agreement”) and related security agreement(s)
                            and guarantees, security documents, and other agreements,
                            customary opinions, instruments and documents required by
                            the DIP Agent and the New Money DIP Lenders (collectively,
                            and together with the DIP Credit Agreement, the “DIP Loan
                            Documents”);

                            (ix) the representations and warranties of the Debtors
                            contained in the DIP Loan Documents shall be true and correct
                            in all material respects (or, in the case of any representation
                            and warranty that is qualified as to “Material Adverse Effect”
                            or otherwise as to “materiality”, in all respects) as of the


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                            Closing Date (or as of such earlier date if the representation or
                            warranty specifically relates to an earlier date);

                            (x) except as disclosed to the DIP Agent and the DIP Lenders
                            in writing, since the date of execution of the Commitment
                            Letter, there shall have been no Material Adverse Effect (as
                            defined in the DIP Loan Documents);

                            (xi) payment in full in cash of the Upfront DIP Fee and DIP
                            Backstop Fee as set forth in Schedule 3 hereto;

                            (xii) reimbursement in full in cash of the reasonable and
                            documented out-of-pocket professional fees, costs and
                            expenses of the DIP Agent;

                            (xiii) the DIP Agent shall have received (for distribution to the
                            DIP Lenders), by at least three (3) business days prior to the
                            Closing Date “know your customer” and anti-money
                            laundering rules and regulations, including the Patriot Act,
                            beneficial ownership and other similar information that may
                            be required by any New Money DIP Lender;

                            (xiv) upon the entry of the Interim Order, the DIP Agent shall,
                            for the benefit of the DIP Agent and the DIP Lenders, have
                            valid, perfected and enforceable first priority or superpriority
                            priming, as applicable, liens on the DIP Collateral to the extent
                            set forth in the Interim Order, subject only to the Carve-Out
                            and the liens permitted by the DIP Loan Documents;

                            (xv) there shall not exist any action, suit, investigation,
                            litigation or proceeding pending or threatened (other than the
                            Cases) in any court or before any governmental authority that,
                            in the reasonable opinion of the DIP Agent, materially and
                            adversely affects any of the transactions contemplated hereby,
                            or that has or could be reasonably likely to result in a Material
                            Adverse Effect;

                            (xvi) any proceeds of the termination, offset, modification or
                            other unwind or monetization of prepetition hedge agreements
                            received by the Borrower, Guarantors, or their subsidiaries
                            prior to the effectiveness of the DIP Facility shall have been
                            applied to the obligations under the Prepetition Credit
                            Agreement on a pro rata basis and after giving effect to such
                            application and other ordinary course payments of the
                            Prepetition Loans prior to the Petition Date, there shall not be
                            more than $2.005 billion of aggregate exposure (including
                            Loans and participations in Letters of Credit under the
                            Prepetition RBL Facility as of the Petition Date (and, for the
                            avoidance of doubt, there shall be no exposure in respect of
                            Swingline Loans));


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                                     (xvii) on or prior to the Petition Date, the Borrower shall have
                                     executed the Commitment Letter dated as of June 28, 2020 by
                                     and among the Borrower and each Commitment Party (as
                                     defined therein) (the “Commitment Letter”);

                                     (xviii) the Debtors shall have obtained documentation
                                     evidencing a $600 million equity commitment and/or a
                                     committed backstopped equity rights offering reasonably
                                     acceptable to the DIP Agent and the Majority DIP Lenders,
                                     subject only to Bankruptcy Court approval, it being
                                     understood that the draft of the Backstop Commitment
                                     Agreement provided to, and accepted by, the DIP Agent prior
                                     to the Petition Date is satisfactory to the DIP Agent and the
                                     Majority DIP Lenders; and

                                     [(xix) such other deliverables as the DIP Agent and the
                                     Prepetition Agent may require.]4

                                     Modifications of the Financing Orders shall require approval
                                     of the DIP Agent and the Prepetition Agent in their sole
                                     discretion; provided that modifications of the Financing
                                     Orders that are materially adverse to the DIP Lenders shall
                                     also require approval of the Majority DIP Lenders.

Representations and                  Each of the Debtors under the DIP Loan Documents will make
Warranties:                          the representations and warranties set forth in Article VIII of
                                     the Prepetition Credit Agreement and the other Prepetition
                                     Loan Documents (other than any representation of warranty in
                                     respect of solvency), modified as necessary to reflect the filing
                                     of the Cases and the Debtors’ financial condition, other
                                     representations and warranties customarily found in loan
                                     documents for similar debtor-in-possession financings, and
                                     with such other modifications and such other representations
                                     and warranties as the DIP Agent may require, including, but
                                     not limited to:

                                     (a) orders of the Bankruptcy Court related to the financing
                                     contemplated by the DIP Facility remain in effect;

                                     (b) there are no defaults under material agreements arising
                                     after the Petition Date, (i) that would, either individually or in
                                     the aggregate, reasonably be expected to have a Material
                                     Adverse Effect or (ii) for which exercise of remedies would
                                     not be stayed by section 362 of the Bankruptcy Code; and

                                     (c) the Debtors have not failed to disclose any material
                                     assumptions with respect to the Initial Approved Budget and,
                                     as of the Closing Date, affirm the reasonableness of the


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                            assumptions in the Initial Approved Budget in all material
                            respects, subject to customary qualifiers.

Milestones:                 Each of the Debtors will agree to comply with the following
                            deadlines (each of which may be extended as set forth further
                            below or with the prior written consent of the DIP Agent and
                            Majority DIP Lenders without further order of the Bankruptcy
                            Court) (collectively, the “Milestones”):

                                (a) The Bankruptcy Court shall have entered the Interim
                                    Order no later than 5 days after the Petition Date;

                                (b) No later than the date that is 30 days after the Petition
                                    Date, the Debtors shall have filed a motion, in form
                                    and substance acceptable to the DIP Agent, seeking
                                    (i) approval of all fees to be paid with respect to the
                                    Exit Facilities and (ii) authority to pay the upfront
                                    fees, arranger fees, and any other fees under the Exit
                                    Facilities Term Sheet earned and payable prior to the
                                    effective date of a plan of reorganization (the “Exit
                                    Facilities Motion”).

                                (c) The Bankruptcy Court shall have entered the Final
                                    Order no later than 35 days after the Petition Date;

                                (d) No later than the date that is 60 days after the Petition
                                    Date, the Debtors shall have (i) obtained Bankruptcy
                                    Court approval of the relief requested in the Exit
                                    Facilities Motion and (ii) paid the upfront fees,
                                    arranger fees, and all other fees then earned and
                                    payable (as described in the Exit Facilities Term
                                    Sheet);

                                (e) The Debtors shall file a chapter 11 plan (a “Plan”) and
                                    a disclosure statement for the Plan (a “Disclosure
                                    Statement”) that provides for treatment acceptable to
                                    the DIP Lenders (or such Plan provides for the
                                    indefeasible repayment of the DIP Obligations and
                                    obligations under the Prepetition RBL Facility in full
                                    in cash on the Effective Date and as a condition to
                                    emergence) (such Plan, an “Approved Plan”, such
                                    Disclosure Statement, an “Approved Disclosure
                                    Statement”, and together with an Approved Plan,
                                    collectively an “Approved Plan and Disclosure
                                    Statement”), in each case, no later than 90 days after
                                    the Petition Date; provided, that for so long as the
                                    Restructuring Support Agreement is in effect the
                                    treatment provided in the Restructuring Support
                                    Agreement is acceptable to the DIP Lenders;

                                (f) No later than the date that is 90 days after the Petition

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                                    Date, the Court shall have entered the Backstop
                                    Commitment Agreement Approval Order (as defined
                                    in the Restructuring Term Sheet) and the Backstop
                                    Commitment Agreement shall remain effective and
                                    binding on the parties thereto;

                                (g) the Debtors shall have filed a motion for approval of
                                    the Approved Disclosure Statement no later than 120
                                    days after the Petition Date;

                                (h) the Approved Disclosure Statement shall be approved
                                    by the Bankruptcy Court by the date that is no later
                                    than 160 days after the Petition Date;

                                (i) the Bankruptcy Court shall have entered an order
                                    confirming the Approved Plan by the date that is no
                                    later than 195 days after the Petition Date; and

                                (j) the effective date of the Approved Plan (the “Effective
                                    Date”) shall have occurred by the date that is no later
                                    than 220 days after the Petition Date; provided that
                                    this milestone shall be automatically extended to the
                                    extent necessary, but in no event longer than for
                                    fifteen (15) consecutive business days to allow for the
                                    expiration of the marketing period under the Exit
                                    Facilities Term Sheet (as defined in the Restructuring
                                    Support Agreement.

                            The Milestones consisting of the entry of orders or judicial
                            resolution by the Bankruptcy Court shall be automatically
                            extended (the “COVID-19 Extensions”) by five (5) business
                            days to the extent it is not reasonably feasible to hold and
                            conclude a hearing (if necessary) prior to the applicable
                            Milestone as a result of the closure of the Bankruptcy Court
                            due to the events or circumstances surrounding the virus
                            known as COVID-19 (and the DIP Agent shall be deemed to
                            have automatically agreed to such extension).

                            If the Debtors fail to satisfy clause (e) or (f) above, then the
                            Required Plan Sponsors, for the benefit of all Consenting
                            FLLO Term Loan Facility Lenders and Consenting Second
                            Lien Noteholders (each as defined in the Restructuring
                            Support Agreement) and the DIP Agent shall each have the
                            right to appoint a board observer, effective immediately, who
                            shall attend any board of directors meetings and management
                            meetings concerning the restructuring (it being understood
                            that nothing herein prohibits or otherwise limits the board of
                            directors from meeting in executive session; provided that if
                            any officer attends such executive session concerning the
                            restructuring the board observer shall also attend). In
                            consideration for the immediate and effective appointment of

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                            the DIP Agent’s board observer, the Milestones shall be
                            extended as follows: (a) the Debtors shall file an Approved
                            Plan and Disclosure Statement, and a motion to approve such
                            Approved Disclosure Statement, in each case, on or before a
                            date that is 135 days following the Petition Date; (b) such
                            Approved Disclosure Statement shall have been approved by
                            Bankruptcy Court by the date that is no later than 165 days
                            after the Petition Date; (c) the Bankruptcy Court shall have
                            entered an order confirming such Approved Plan by the date
                            that is no later than 200 days after the Petition Date; and (d)
                            the Effective Date of such Approved Plan shall have occurred
                            by the date that is no later than 220 days after the Petition Date,
                            provided that this milestone (d) shall be automatically
                            extended to the extent necessary, but in no event longer than
                            for fifteen (15) consecutive business days to allow for the
                            expiration of the marketing period under the Exit Facilities
                            Term Sheet (as defined in the Restructuring Support
                            Agreement).

                            If the Milestone set forth in clause (e) above is not satisfied on
                            or before the date that is 135 days following the Petition Date,
                            then (x) at the request of the DIP Agent, the Debtors shall
                            immediately take all actions necessary on an expedited basis
                            to implement the appointment of a Chief Restructuring Officer
                            (“CRO”) acceptable to the DIP Agent in its sole discretion
                            who shall (i) be vested with the executive authority to oversee
                            the Debtors’ restructuring, subject to oversight by the board of
                            directors in accordance with applicable law, (ii) attend any
                            board of directors meetings and management meetings
                            concerning the restructuring (it being understood that nothing
                            herein prohibits or otherwise limits the board of directors from
                            meeting in executive session; provided that if any officer
                            attends such executive session concerning the restructuring
                            the CRO shall also attend), (iii) report directly to the board of
                            directors, (iv) provide updates to the Bankruptcy Court; and
                            (v) otherwise satisfy the requirements of 11 U.S.C. §327; and
                            (y) the Debtors’ shall file an Approved Plan on or before the
                            date that is 180 days after the Petition Date that has been
                            approved by the CRO.

                            Upon Bankruptcy Court approval and appointment of the
                            CRO, the Milestones shall be extended as follows: (a) an
                            Approved Disclosure Statement, and the motion to approve
                            such Approved Disclosure Statement, shall be filed with an
                            Approved Plan approved by the CRO on or before the date
                            that is 180 days following the Petition Date; (b) such
                            Approved Disclosure Statement shall have been approved by
                            Bankruptcy Court by the date that is no later than 210 days
                            after the Petition Date; (c) the Bankruptcy Court shall have
                            entered an order confirming such Approved Plan by the date
                            that is no later than 245 days after the Petition Date; and (d) the

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                             Effective Date of such Approved Plan shall have occurred by
                             the date that is no later than 260 days after the Petition Date,
                             provided that this milestone (d) shall be automatically
                             extended to the extent necessary, but in no event longer than
                             for fifteen (15) consecutive business days to allow for the
                             expiration of the marketing period under the Exit Facilities
                             Term Sheet (as defined in the Restructuring Support
                             Agreement); provided, further, that in no event shall the Plan
                             Effective Date extend beyond the Scheduled Maturity Date.

Mandatory Prepayments:       The Borrower shall prepay the Revolving DIP Loans, without
                             premium or penalty, at any time that the outstanding principal
                             amount of Revolving DIP Loans (and any exposure in respect
                             of letters of credit issued pursuant to the letter of credit sub-
                             facility) exceeds the Revolving DIP Loan Commitments.

Reporting and Information:   The DIP Loan Documents will contain the reporting and
                             information covenants made by the Debtors under the
                             Prepetition Credit Agreement (including those set forth in
                             Sections 9.1 and 9.2 thereof) and the other Prepetition Loan
                             Documents, modified in a customary manner to reflect the
                             nature and tenor of the DIP Facility. Without limiting the
                             foregoing, such reporting and information covenants shall
                             include provision to the DIP Agent (for circulation to the DIP
                             Lenders) of:

                             (a) all reports (including engineering and reserve reports)
                             currently provided by the Debtors to the Prepetition Agent
                             under the Prepetition Loan Documents (collectively, a
                             “Reserve Report”); provided, however, that Reserve Reports
                             shall be provided quarterly beginning July 1, 2020 on terms
                             substantially similar to those contained in the Prepetition
                             Credit Agreement with respect to “Internal Reserve Reports”;
                             provided further that the Reserve Report to be provided on
                             April 1, 2021 shall be prepared by an approved third party
                             engineer on terms substantially similar to those contained in
                             the Prepetition Credit Agreement for such reports. All
                             Reserve Reports will be prepared using 4-year NYMEX strip
                             pricing adjusted for applicable differentials and DIP Hedges
                             and held flat after such 4-year period at the average of the 37th
                             month through the 48th month’s price (“Strip Pricing”);

                             (b) within 20 days of month end, monthly production reports
                             and lease operating statements for the previous month and
                             monthly hedge schedule;

                             (c) within 30 days of month end, unaudited monthly balance
                             sheet and income statement together with a compliance
                             certificate; and




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                             (d) any other business or financial information which may be
                             reasonably requested by the DIP Agent;

                             Without limiting the generality of the foregoing, the Debtors
                             shall deliver to the DIP Agent (i) Variance Reports (as defined
                             below); (ii) copies of any motions to be filed by or on behalf
                             of any Debtor in the Cases at least two (2) business days prior
                             to such filing (or, if not practicable, as soon as reasonably
                             practicable), (iii) all notices required to be given to all parties
                             specified in any Financing Order; and (iv) such other
                             information (including access to the Debtors’ books, records,
                             personnel and advisors) as the DIP Agent may reasonably
                             request.

                             No later than the date that is the 15th business day after the
                             end of each month, the Debtors shall deliver to the DIP Agent
                             and DIP Lenders in a form reasonably acceptable to the DIP
                             Agent: a detailed forward-looking rolling three-month
                             forecast of capital expenditures by basin and category
                             (the “Capital Expenditure Report”) including, as
                             applicable, a report from a financial officer comparing the
                             capital expenditures on an accrual basis for the current month
                             to the same period in the prior month’s Capital Expenditure
                             Report and addressing any variance of actual performance to
                             the Capital Expenditure Report for the prior month.

Budget; Variance Covenant;   On July 30, 2020 (the “Initial Reporting Date”), the Debtors
Other Financial Covenants:   shall prepare for the DIP Agent’s and DIP Lenders’ review
                             and the DIP Agent’s and Majority DIP Lenders’ consent an
                             updated thirteen-week (13-week) detailed cash projection,
                             which shall be thereafter updated, as necessary, but shall not
                             be updated less than once every four weeks (each, a
                             “Proposed Budget”). Upon the Debtors’ receipt of the DIP
                             Agent’s and Majority DIP Lenders’ consent to a Proposed
                             Budget, (such consent not to be unreasonably conditioned,
                             delayed, or withheld; provided that the DIP Agent and DIP
                             Lenders shall have no less than five (5) business days to
                             review and respond to the Proposed Budget) which approval
                             shall be in the DIP Agent’s and Majority DIP Lenders’
                             reasonable discretion, such budget shall become
                             an “Approved Budget” and shall replace the then-operative
                             Approved Budget for all purposes. The Initial Approved
                             Budget shall be the Approved Budget until such time as a new
                             Proposed Budget is approved, following which such Proposed
                             Budget shall constitute the Approved Budget until a
                             subsequent Proposed Budget is approved. The Debtors shall
                             operate in accordance with the Approved Budget and all
                             disbursements shall be consistent with the provisions of the
                             Approved Budget (subject to the Variance Limit). The
                             Debtors may submit additional Proposed Budgets to the DIP
                             Agent and DIP Lenders, but until the DIP Agent and Majority

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                            DIP Lenders consent to such Proposed Budget, it shall not
                            become an Approved Budget and the Debtors shall continue
                            to comply with the then-operative Approved Budget.

                            Beginning on July 9, 2020, and on the Thursday of each
                            calendar week thereafter, the Debtors shall deliver to the DIP
                            Agent, in a form consistent with the form of the Approved
                            Budget, a variance report comparing the Debtors’ actual
                            receipts and disbursements by line item for the prior calendar
                            week and the prior four calendar weeks (on a cumulative
                            basis) with the projected receipts and disbursements for such
                            week and the prior four calendar weeks (on a cumulative
                            basis) as reflected in the applicable Approved Budget for such
                            weeks, which variance report shall include a report from a
                            financial officer of the Debtors (the “Weekly Variance
                            Report”).

                            No later than 4:00 p.m. Central Time on the Initial Reporting
                            Date and on each Thursday thereafter that is the four (4)-week
                            anniversary of the Initial Reporting Date (each such date, a
                            “Monthly Variance Testing Date” and each such four-week
                            period, the “Monthly Testing Period”), the Debtors shall
                            provide to the DIP Agent (for circulation to the DIP Lenders)
                            and the Prepetition Agent a report detailing (i) the aggregate
                            disbursements of the Debtors and aggregate receipts during
                            the applicable Monthly Testing Period for (a) LOE and capital
                            expenditures on a combined basis, (b) all other operating
                            disbursements (excluding LOE and capital expenditures), and
                            (c) Debtors’ professionals’ fees; and (ii) any variance
                            (whether positive or negative, expressed as a percentage)
                            between the aggregate disbursements made during such
                            Monthly Testing Period by the Debtors against the aggregate
                            disbursements for the Monthly Testing Period, as set forth in
                            the applicable Approved Budget (a “Monthly Variance
                            Report,” together with the Weekly Variance Report,
                            the “Variance Reports”).

                            The Debtors shall comply with the following (collectively,
                            the “Variance Covenant”):

                            As of any Monthly Variance Testing Date, for the Monthly
                            Testing Period ending on the Sunday preceding such Monthly
                            Variance Testing Date, the Debtors shall not allow: (i) LOE
                            and capital expenditures on a combined basis to be greater
                            than 110% of the estimated disbursement for such items in the
                            Approved Budget; (ii) all other operating disbursements
                            (excluding LOE and capital expenditures) to be greater than
                            115% of the estimated disbursement for such items in the
                            Approved Budget, and (iii) Debtors’ professionals’ fees to be
                            greater than 110% of the estimated disbursement for such
                            items in the Approved Budget, each for such Monthly Testing

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                            Period (collectively, the “Variance Limit”). Additional
                            variances, if any, from the Approved Budget, and any
                            proposed changes to the Approved Budget, shall be subject to
                            the DIP Agent’s reasonable approval. For the avoidance of
                            doubt, any reference to “written consent” hereunder shall
                            include consent granted by email.

                            Asset Coverage Ratio. The Debtors will not permit, as of the
                            date of delivery of each Reserve Report, the ratio of (a) PDP
                            PV10 (as determined in such Reserve Report and including,
                            for the avoidance of doubt, the present value of DIP Hedges)
                            to (b) the sum of (i) the aggregate amount of all Revolving DIP
                            Loans (and any exposure in respect of letters of credit issued
                            pursuant to the letter of credit sub-facility) plus (ii) the
                            aggregate principal amount of all Roll-Up Loans plus (iii) the
                            aggregate principal amount of all Prepetition Loans, in each
                            case outstanding as of such date, to be less than 1.25 to 1.0.

                            Key Employee Plans. No Debtor shall (a) enter into any key
                            employee retention plan and incentive plan, other than such
                            plans in effect as of the Petition Date or (b) amend or modify
                            any existing key employee retention plan and incentive plan,
                            unless such plan, amendment or modification, as applicable,
                            is satisfactory to the DIP Agent and Majority DIP Lenders (it
                            being agreed and understood that the KERP of the Borrower
                            effective as of May 1, 2020 for which the Borrower will seek
                            Bankruptcy Court approval shall be permitted).

Affirmative and Negative    The DIP Loan Documents will contain the affirmative and
Covenants:                  negative covenants made by the Debtors under the Prepetition
                            Credit Agreement and the other Prepetition Loan Documents,
                            with such modifications thereto and such other affirmative and
                            negative covenants as the DIP Agent and the New Money DIP
                            Lenders shall require; provided that the negative covenants
                            made by the Debtors under the Prepetition Credit Agreement
                            and the other Prepetition Loan Documents will be modified to
                            eliminate the baskets and carve-outs set forth therein (other
                            than baskets and carve-outs to be agreed in the DIP Loan
                            Documents limited to those necessary for the Debtors to run
                            their business in the ordinary course of business) and
                            additional restrictions on the following:

                            (a) disposing of assets outside of the ordinary course of
                            business (including, without limitation, any sale and leaseback
                            transaction and any disposition under Bankruptcy Code
                            section 363) in respect of transactions for total net cash
                            proceeds of more than $5 million in the aggregate for each
                            fiscal year (other than as contemplated by the procedures for
                            de minimis asset transactions authorized and approved by the
                            Bankruptcy Court);


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                            (b) paying prepetition indebtedness, except as expressly
                            provided for herein or pursuant to orders entered upon
                            pleadings in form and substance reasonably satisfactory to the
                            DIP Agent; and

                            (c) asserting any right of subrogation or contribution against
                            any other Debtors until all borrowings under the DIP Facility
                            are paid in full and the Revolving DIP Loan Commitments are
                            terminated.

                            The DIP Loan Documents will contain an affirmative
                            covenant that the Debtors will provide written notice to the
                            DIP Agent and the Prepetition Agent if any of the Debtors
                            intend to provide information with respect to the Prepetition
                            Loan Documents to a party in interest or is compelled to
                            provide such information by order of the Bankruptcy Court.

 Events of Default:          “Events of Default” shall include events of default
                             customarily found in loan documents for similar debtor-in-
                             possession financings, with such modifications as the DIP
                             Agent may require, including the occurrence of any of the
                             following:

                             (i) the Interim Order at any time ceases to be in full force and
                             effect, or shall be vacated, reversed or stayed, or modified or
                             amended without the prior written consent of the DIP Agent
                             and, if such modification or amendment is materially adverse
                             to the DIP Lenders, the Majority DIP Lenders;

                             (ii) the Final Order at any time ceases to be in full force and
                             effect, or shall be vacated, reversed or stayed, modified or
                             amended without the prior written consent of the DIP Agent
                             and, if such modification or amendment is materially adverse
                             to the DIP Lenders, the Majority DIP Lenders, or shall not
                             have been entered within 35 days after the entry of the Interim
                             Order (subject to any COVID-19 Extensions); provided such
                             time may be extended by agreement among the Borrower and
                             DIP Agent;

                             (iii) the inaccuracy in any material respect of any
                             representation of any Debtor when made or deemed made;

                             (iv) failure of any Debtor (a) to comply with the Variance
                             Covenant, (b) to satisfy any Milestone, (c) to have an
                             Approved Budget; (d) to comply with any negative covenant
                             or certain other customary affirmative covenants in the DIP
                             Loan Documents or with any other covenant or agreement
                             contained in the Financing Orders in any respect or (e) to
                             comply with any other covenant or agreement contained in the
                             DIP Loan Documents, subject, in the case of the foregoing


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                             clause (e), to a grace period of 30 days;

                             (v) (a) any of the Cases shall be dismissed or converted to a
                             case under Chapter 7 of the Bankruptcy Code; a Chapter 11
                             Trustee or an examiner (other than a fee examiner) with
                             enlarged powers relating to the operation of the business of
                             any Debtor (powers beyond those expressly set forth in
                             Section 1106(a)(3) and (4) of the Bankruptcy Code) shall be
                             appointed, (b) any other super-priority claim (other than the
                             Carve-Out (as defined below) and in respect of the DIP
                             Hedges) or grant of any other lien (including any adequate
                             protection lien) which is pari passu with or senior to the claims
                             and liens of the DIP Agent or the Prepetition Agent shall be
                             granted in any of the Cases, or (c) the filing of any pleading
                             by any Debtor seeking or otherwise consenting to or
                             supporting any of the matters set forth in clause (a) or clause
                             (b) of this subsection (v);

                             (vi) other than payments authorized by the Bankruptcy Court
                             and which are set forth in the Approved Budget (A) in respect
                             of accrued payroll and related expenses as of the
                             commencement of the Cases, (B) in respect of adequate
                             protection payments set forth herein and consented to by the
                             DIP Agent or otherwise permitted under the terms of the
                             Collateral Trust Agreement (as defined below) or the
                             Intercreditor Agreement (as defined below), as applicable, or
                             (C) in respect of certain critical vendors and other creditors, in
                             each case to the extent authorized by one or more “first day”
                             or other orders satisfactory to the DIP Agent, any Debtor shall
                             make any payment (whether by way of adequate protection or
                             otherwise) of principal or interest or otherwise on account of
                             any prepetition indebtedness or payables (including without
                             limitation, reclamation claims);

                             (vii) the Bankruptcy Court shall enter one or more orders
                             during the pendency of the Cases granting relief from the
                             automatic stay to the holder or holders of any lien to permit
                             foreclosure (or the granting of a deed in lieu of foreclosure or
                             the like) on assets of any Debtor or the Debtors that have an
                             aggregate value in excess of $7.5 million without the prior
                             written consent of the DIP Agent;

                             (viii) the Termination Date (as defined below) shall have
                             occurred;

                             (ix) the Debtors’ “exclusive period” under Section 1121 of the
                             Bankruptcy Code for the filing of a plan of reorganization
                             terminates for any reason;

                             (x) any Debtor petitions the Bankruptcy court to obtain
                             additional financing pari passu or senior to the DIP Facility

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                             without the consent of the DIP Agent (other than the Carve-
                             Out or as contemplated under the Hedging Order);

                             (xi) failure of any Debtor to comply with the terms of the
                             applicable Financing Order;

                             (xii) the consensual use of prepetition Cash Collateral is
                             terminated;

                             (xiii) (A) the Debtors engage in or support any challenge to
                             the validity, perfection, priority, extent or enforceability of the
                             DIP Facility or the Prepetition Loan Documents or the liens
                             on or security interest in the assets of the Debtors securing the
                             DIP Obligations or the Prepetition Obligations, including
                             without limitation seeking to equitably subordinate or avoid
                             the liens securing the such indebtedness or (B) the Debtors
                             engage in or support any investigation or assert any claims or
                             causes of action (or directly or indirectly support assertion of
                             the same) against the DIP Agent, any DIP Lender, the
                             Prepetition Agent or any Prepetition Lender; provided,
                             however, that it shall not constitute an Event of Default if any
                             of the Debtors provides information with respect to the
                             Prepetition Loan Documents to a party in interest or is
                             compelled to provide information by an order of the
                             Bankruptcy Court;

                             (xiv) any person shall obtain a Section 506(a) judgment or
                             similar determination with respect to the Prepetition
                             Obligations;

                             (xv) the allowance of any claim or claims under Section 506(c)
                             of the Bankruptcy Code against any of the DIP Collateral;

                             (xvi) the consummation of a sale of any material portion of the
                             DIP Collateral (other than a sale in the ordinary course of
                             business that is contemplated by the Approved Budget)
                             without the advance written consent of the DIP Agent and
                             Majority DIP Lenders if such sale or other transaction does not
                             satisfy the DIP Obligations in full in Cash;

                             (xvii) the confirmation of a plan of reorganization or
                             liquidation that does not provide for treatment acceptable to
                             the DIP Lenders, or any Debtor proposes or supports, or
                             fails to contest in good faith, the entry of such a plan of
                             reorganization or liquidation, unless such plan
                             contemplates indefeasibly paying the DIP Obligations and
                             obligations under the Prepetition RBL Facility in full, in cash
                             on the effective date of such plan;

                             (xviii) entry of an order by the Bankruptcy Court in favor of
                             the statutory committee of unsecured creditors (the

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                             “Creditors’ Committee”), if any, appointed in the Cases, any
                             ad hoc committee, or any other party in interest, (i) sustaining
                             an objection to claims of the DIP Agent or any of the DIP
                             Lenders, (ii) avoiding any liens held by the DIP Agent or any
                             of the DIP Lenders, (iii) sustaining an objection to claims of
                             the Prepetition Agent or any of the Prepetition Lenders, or (iv)
                             avoiding any liens held by the Prepetition Agent or any of the
                             Prepetition Lenders except as otherwise agreed by the
                             Prepetition Agent in writing; or

                             (xix) if (i) that certain Collateral Trust Agreement dated
                             December 19, 2019 by and between MUFG Union Bank,
                             N.A., as Collateral Trustee and Revolver Agent, and GLAS
                             USA LLC, as Original Term Loan Agent, and as
                             acknowledged and agreed by certain of the Debtors (as from
                             time to time amended and restated) (the “Collateral Trust
                             Agreement”), or that certain Intercreditor Agreement dated as
                             of December 19, 2019 by and between MUFG Union Bank,
                             N.A., as Priority Lien Agent, and Deutsche Bank Trust
                             Company Americas, as Second Lien Collateral Trustee, and as
                             acknowledged and agreed by certain of the Debtors (as from
                             time to time amended and restated) (the “Second Lien
                             Intercreditor Agreement”, and together with the Collateral
                             Trust Agreement, collectively, the “Intercreditor
                             Agreements”) shall for any reason, except to the extent
                             permitted by the terms thereof, cease to be in full force and
                             effect and valid, binding and enforceable in accordance with
                             its terms against the Borrower or any party thereto or any
                             holder of the liens subordinated thereby, or be amended,
                             modified or supplemented to cause the liens securing the
                             obligations of the FLLO Agent or Second Lien Collateral
                             Trustee to be senior or pari passu in priority to the liens
                             securing the obligations under the Prepetition Loan
                             Documents without the consent of the Prepetition Agent, (ii)
                             the Borrower takes any action inconsistent with the terms of
                             any Intercreditor Agreement (other than in connection with an
                             Approved Plan), (iii) any person bound by any Intercreditor
                             Agreement takes any action inconsistent with the terms
                             thereof and the Borrower shall fail to promptly take
                             commercially reasonable actions necessary to oppose such
                             action or (iv) any order of any court of competent jurisdiction
                             is granted which is materially inconsistent with the terms of
                             any Intercreditor Agreement and is adverse to the interests of
                             the Prepetition Agent or Prepetition Lenders.

                             Upon the occurrence and during the continuance of any Event
                             of Default, upon the direction of the Majority DIP Lenders,
                             the DIP Agent shall accelerate the DIP Obligations and,
                             thereafter, may take all or any of the following actions without



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                                        further order of or application to the Bankruptcy Court,5
                                        provided that in the case of the enforcement of liens or other
                                        remedies with respect to DIP Collateral pursuant to clause (2)
                                        below, the DIP Agent shall provide the Debtors (with a copy
                                        to any counsel for the Creditors’ Committee appointed in the
                                        Cases and to the United States Trustee) with five (5) business
                                        days’ prior written notice (the “Enforcement Notice Period”)
                                        and file such notice on the docket in the Cases, during which
                                        Enforcement Notice Period any such party must file a pleading
                                        in opposition to the DIP Agent’s exercise of its rights and
                                        remedies and seek an emergency hearing prior to the
                                        conclusion of the Enforcement Notice Period and provided
                                        further, that in any hearing following such notice, the only
                                        issue that may be raised by any party in opposition to the
                                        actions proposed or available to be taken by the DIP Agent
                                        shall be whether, in fact, an Event of Default has occurred and
                                        is continuing:

                                        (1) declare the principal of and accrued interest on the
                                        outstanding borrowings to be immediately due and payable
                                        and terminate, as applicable, any further commitments under
                                        the DIP Facility and/or terminate, as applicable, the right of
                                        the Debtors to use Cash Collateral; and

                                        (2) charge the default rate of interest under the DIP Facility
                                        and take any other action or exercise any other right or remedy
                                        (including without limitation, with respect to the liens in favor
                                        of the DIP Agent on behalf of the DIP Lenders) permitted
                                        under the DIP Loan Documents or applicable law.

                                        Unless during the Enforcement Notice Period the Bankruptcy
                                        Court determines that an Event of Default has not occurred (or
                                        that no Event of Default that has occurred is continuing), the
                                        DIP Agent shall have relief from the automatic stay without
                                        further notice or order and may foreclose on all or any portion
                                        of the DIP Collateral or otherwise exercise remedies against
                                        the DIP Collateral.

                                        Without limiting the foregoing, but subject to the Enforcement
                                        Notice Period, upon the occurrence and during the
                                        continuation of an Event of Default, each DIP Lender (and its
                                        respective affiliates, including its various branches and
                                        offices) shall have the authority, subject to obtaining the prior
                                        written consent of the DIP Agent and to the fullest extent
                                        permitted by applicable law, to set off and apply any and all
                                        deposits (of whatever type and in whatever currency) at any
                                        time held and other obligations (in whatever currency) at any
                                        time owing by such DIP Lender (or its affiliate) to or for the

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  The Financing Orders will include similar language modifying automatic stay to permit Prepetition Agent
to terminate right to use Cash Collateral in the event of a default.

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                              credit or account of any Borrower against any and all of the
                              DIP Obligations of such Borrower to such Lender; provided
                              that the DIP Credit Agreement shall contain provisions with
                              respect to setoff (and sharing of proceeds of setoff)
                              substantially similar to the Prepetition Credit Agreement and
                              except that the application of any proceeds from any such set
                              off right shall be subject to the payment priority with respect
                              to the Revolving DIP Loans described above. The foregoing
                              right of setoff shall apply irrespective of whether such DIP
                              Lender has made any demand under the DIP Loan Documents
                              and even if the DIP Obligations of the Borrower are contingent
                              or unmatured.

 Maturity/Termination Date:   The DIP Facility and the Debtors’ right to use Cash Collateral
                              (as applicable) shall automatically terminate without further
                              notice or court proceedings on the earliest to occur of (i) nine
                              (9) months after the Petition Date (the “Scheduled Maturity
                              Date”); (ii) the date of termination of the Revolving DIP Loan
                              Commitment and/or acceleration of any outstanding
                              borrowings under the DIP Facility pursuant to an Event of
                              Default; (iii) subject to the COVID-19 Extension, the first
                              business day on which the Interim Order expires by its terms
                              or is terminated, unless the Final Order has been entered and
                              become effective prior thereto; (iv) conversion of any of the
                              Cases to a case under chapter 7 of the Bankruptcy Code unless
                              otherwise consented to in writing by the DIP Agent and
                              Majority DIP Lenders; (v) dismissal of any of the Cases,
                              unless otherwise consented to in writing by the DIP Agent and
                              the Majority DIP Lenders; (vi) the closing of a sale of
                              substantially all of the equity or assets of the Debtors (unless
                              done pursuant to a confirmed chapter 11 plan); (vii) the date
                              of repayment in cash in full by the Debtors of all DIP
                              Obligations and termination of the Revolving DIP Loan
                              Commitment in accordance with the terms of the DIP Facility;
                              and (viii) the effective date of any Debtor’s plan of
                              reorganization confirmed in the Cases (the “Termination
                              Date”), unless extended, as to the DIP Facility, with the prior
                              written consent of the DIP Agent and, in the case of clause (i),
                              the New Money DIP Lenders and, in the case of clauses (ii) –
                              (viii), the Majority DIP Lenders, and as to the use of Cash
                              Collateral, with the prior written consent of the Prepetition
                              Agent and Majority Lenders.

 Assignments and              The DIP Lenders will be permitted to assign DIP Facility
 Participations:              Loans and Revolving DIP Loan Commitments under the DIP
                              Facility with the prior written consent of the Borrower (such
                              consent not to be unreasonably withheld, conditioned or
                              delayed) unless an Event of Default has occurred and is
                              continuing or unless such assignments are to other DIP
                              Lenders or affiliates or approved funds thereof. All
                              assignments will require the consent of the DIP Agent, not to

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                                  be unreasonably withheld or delayed. Each assignment will be
                                  in an amount not less than $5 million(or a lesser amount if the
                                  assigning DIP Lender’s aggregate Revolving DIP Loans, Roll-
                                  Up Loans, or Revolving DIP Loan Commitments, as
                                  applicable, amount to less than $5 million), except in the case
                                  of an assignment to a DIP Lender or an Affiliate of a DIP
                                  Lender or an assignment of the entire remaining amount of the
                                  assigning DIP Lender’s Revolving DIP Loans, Roll-Up
                                  Loans, or Revolving DIP Loan Commitments, as applicable.
                                  Subject to the limitations above, New Money DIP Lenders
                                  will be permitted to assign their respective Revolving DIP
                                  Loans and Revolving DIP Loan Commitments independently
                                  from such DIP Lender’s Roll-Up Loans, and vice versa.

                                  The New Money DIP Lenders will be permitted to sell
                                  participations in DIP Facility Loans and Revolving DIP Loan
                                  Commitments without restriction. Voting rights of
                                  participants shall be limited to matters consistent with the
                                  Prepetition Credit Agreement.


 Adequate Protection for          The Prepetition Agent shall receive the following as adequate
 Prepetition Agent, Prepetition   protection for the benefit of the Prepetition Lenders:
 Lenders, FLLO Agent, FLLO
 Lenders, Second Lien             (i) a super-priority claim under Section 507(b) of the
 Collateral Trustee and Holders   Bankruptcy Code, with priority over all administrative
 of Second Lien Notes :           expense claims and unsecured claims now existing or after
                                  arising, provided, however, that such super-priority claim
                                  shall be junior and subject to the Carve-Out, the super-priority
                                  claim of the DIP Agent for the benefit of the DIP Lenders in
                                  respect of the DIP Facility and the super-priority claim in
                                  respect of the DIP Hedges;

                                  (ii) a second priority, valid, enforceable, fully perfected
                                  security interest in and replacement lien on the DIP Collateral,
                                  subordinate only to (a) the liens of the DIP Agent for the
                                  benefit of the DIP Lenders in respect of the DIP Facility and
                                  the liens securing the DIP Hedges, (b) Permitted Liens, and (c)
                                  the Carve-Out;

                                  (iii) the reasonable, documented out-of-pocket fees, costs and
                                  expenses incurred or accrued by the Prepetition Agent (the
                                  foregoing to include all unpaid prepetition fees, costs and
                                  expenses) in connection with any and all aspects of the
                                  Debtors’ Cases, and including the reasonable and documented
                                  out-of-pocket fees and expenses of the legal and financial
                                  advisors and investment bankers to the Prepetition Agent and
                                  other professionals, hired by or on behalf of the Prepetition
                                  Agent;

                                  (iv) upon closing of the DIP Facility, payment of all accrued

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                             and unpaid interest at the non-default rate of L + 3.5% (with a
                             LIBOR floor of 0.00%) and fees then owing under the
                             Prepetition Credit Agreement; and

                             (v) so long as the loans under the Prepetition Credit Facility
                             (the “Prepetition Loans”) shall not have become Roll-Up
                             Loans, the Prepetition Lenders shall be entitled to cash
                             payment of all interest accruing post-petition under the
                             Prepetition Loan Documents at the non-default rate of L +
                             3.5% (with a LIBOR floor of 0.00%) and fees as and when due
                             pursuant to the Prepetition Loan Documents;

                             provided, however, that (x) the adequate protection claims and
                             liens described in the preceding clauses (i) and (ii) shall be
                             granted only to the extent of any diminution in the value of
                             any Cash Collateral or other collateral arising as a result of (A)
                             the use, sale, or lease of Cash Collateral or other collateral, (B)
                             the granting of priming liens to secure the DIP Facility or (C)
                             the imposition of the automatic stay, and (y) the adequate
                             protection claim described in the preceding clause (i) and the
                             adequate protection liens described in the preceding clause (ii)
                             shall not attach to any Avoidance Actions but shall attach to
                             any Avoidance Action Proceeds, subject to entry of the Final
                             Order.

                             The Financing Orders shall provide for adequate protection in
                             the form of replacement liens and superpriority claims,
                             financial reporting and rights of access and information,
                             payment of fees and expenses of professionals (as described
                             below) for the benefit of (i) GLAS USA, LLC (“FLLO
                             Agent”), as administrative agent under that certain Term Loan
                             Agreement, dated as of December 19, 2019 (the “FLLO
                             Term Loan”) or the lenders thereunder (the “FLLO
                             Lenders”) or (ii) Second Lien Collateral Trustee or holders of
                             Second Lien Notes to the extent permitted by the Intercreditor
                             Agreements.

                             The foregoing adequate protection liens shall be deemed
                             automatically perfected as of the Petition Date without further
                             action, although if the DIP Agent, the Prepetition Agent, the
                             FLLO Agent, or the Second Lien Collateral Trustee determine
                             to file any financing statements, notice of liens or similar
                             instruments, the Debtors will cooperate and assist in any such
                             filings and the automatic stay shall be lifted to allow such
                             filings.

                             The Debtors will pay the fees and expenses of professionals of
                             (i) the collateral trustee under the Collateral Trust Agreement
                             (including Paul Hastings LLP), (ii) the FLLO Term Loan
                             Facility Administrative Agent (including Arnold & Porter
                             Kaye Scholer LLP and one local counsel in the relevant

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                             jurisdiction), (iii) the FLLO Ad Hoc Group (including Davis
                             Polk & Wardwell LLP, Vinson & Elkins LLP, one local
                             counsel in each other relevant local jurisdiction, and Perella
                             Weinberg Partners LP) ((ii)-(iii), collectively the “FLLO
                             Professionals”), (iv) the Second Lien Collateral Trustee
                             (including Morgan, Lewis & Bockius LLP and one local
                             counsel in the relevant jurisdiction) and (v) Franklin
                             (including Akin Gump Strauss Hauer & Feld LLP, one local
                             counsel in each other relevant local jurisdiction, Moelis &
                             Company LLC and FTI Consulting, Inc.) ((iv)-(v),
                             collectively, the “Second Lien Professionals”); provided that
                             (x) the payment of the fees and expenses of the FLLO
                             Professionals shall only be payable as a form of adequate
                             protection for so long as (1) the Restructuring Support
                             Agreement has not been terminated as to the DIP Lenders,
                             Required Consenting Revolving Credit Facility Lenders, or
                             FLLO Ad Hoc Group, or (2) an alternative restructuring
                             support agreement or similar agreement with respect to the
                             restructuring of the Debtors’ debt and businesses remains in
                             effect between the DIP Agent, the DIP Lenders, 66.67% of
                             the Revolving Credit Facility Lenders, and the FLLO Ad Hoc
                             Group, in each case, at which time such adequate protection
                             shall terminate, provided further that in the event such
                             adequate protection payments terminate pursuant to the
                             foregoing, (a) all parties shall retain all rights pursuant to the
                             Collateral Trust Agreement, which rights are fully reserved,
                             including, without limitation, the rights, if any, of the Existing
                             FLLO Agent or Existing FLLO Lenders to seek different or
                             additional adequate protection in accordance with section
                             6.02(f) of the Collateral Trust Agreement and (b) the Debtors
                             shall pay all fees and expenses of the FLLO Professionals
                             incurred prior to termination of the payment of the fees and
                             expenses of the FLLO Professionals as a form of adequate
                             protection as described herein; and (y) the payment of the fees
                             and expenses of the Second Lien Professionals shall only be
                             payable as a form of adequate protection for so long as the
                             Restructuring Support Agreement has not been terminated as
                             to the Debtors, DIP Lenders, Required Consenting Revolving
                             Credit Facility Lenders, or Franklin (at which time such
                             adequate protection shall terminate), provided further that in
                             the event such adequate protection payments terminate
                             pursuant to the foregoing, (a) all parties shall retain all rights
                             pursuant to the Intercreditor Agreement, including, without
                             limitation, the rights, if any, of such parties to seek different
                             or additional adequate protection in accordance with
                             section 4.02(f) of the Intercreditor Agreement and (b) the
                             Debtors shall pay all fees and expenses of the Second Lien
                             Professionals incurred prior to termination of the payment of
                             the fees and expenses of the Second Lien Professionals as a
                             form of adequate protection as described herein. This
                             provision shall survive termination of the Restructuring

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                             Support Agreement.

 Carve-Out:                  [See Exhibit A hereto.]

 Estate Professional Fees:   Financing Orders to include language confirming that nothing
                             in such orders or otherwise shall be construed as consent to the
                             allowance of any fees, expenses, reimbursement or
                             compensation sought by any professional retained by the
                             Debtors or the Creditors’ Committee, or shall affect the right
                             of any party in interest, including any DIP Secured Party or
                             any Prepetition Secured Party, to object to the allowance and
                             payment of any such fees, expenses, reimbursement or
                             compensation.

 Section 506(c) Waiver:      Except to the extent of the Carve-Out, no expenses of
                             administration of the Cases or any future proceeding that may
                             result therefrom, including liquidation in bankruptcy or other
                             proceedings under the Bankruptcy Code, shall be charged
                             against or recovered from any collateral pursuant to Section
                             506(c) of the Bankruptcy Code or any similar principle of law,
                             without the prior written consent of the DIP Agent, the
                             Prepetition Agent, the FLLO Agent, and the Existing Second
                             Lien Notes Trustee (as defined in the Financing Orders) and
                             no such consent shall be implied from any other action,
                             inaction, or acquiescence by the DIP Secured Parties, the
                             Existing RBL Secured Parties, the Existing FLLO Secured
                             Parties or the Existing Second Lien Secured Parties (each as
                             defined in the Financing Orders); provided that the Debtors
                             shall irrevocably waive and shall be prohibited from asserting
                             any claim described in this paragraph, under section 506(c) of
                             the Bankruptcy Code or otherwise, for any costs and expenses
                             incurred in connection with the preservation, protection or
                             enhancement of, or realization by the DIP Secured Parties, the
                             Existing RBL Secured Parties, the Existing FLLO Secured
                             Parties, or the Existing Second Lien Secured Parties upon the
                             DIP Collateral, the Existing RBL Collateral, the Existing
                             FLLO Collateral, or the Existing Second Lien Collateral, as
                             applicable (each as defined in the Financing Orders); provided
                             further that the foregoing waivers shall be without prejudice
                             to any provisions of the Final Order with respect to costs or
                             expenses incurred following entry of such Final Order.

 Waiver of Marshaling:       Except to the extent of the Carve Out, (i) in connection with
                             any disposition of or exercise of rights and remedies with
                             respect to the DIP Collateral, the DIP Agent may use
                             commercially reasonable efforts to first apply proceeds of the
                             DIP Collateral that is not Existing Collateral to satisfy the DIP
                             Obligations before applying proceeds of DIP Collateral that is
                             Existing Collateral to satisfy the DIP Obligations and (ii) in no
                             event shall any of the DIP Secured Parties, any of the Existing
                             RBL Secured Parties, the Existing FLLO Secured Parties, or

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                                   the Existing Second Lien Secured Parties (each as defined in
                                   the Financing Orders) be subject to the equitable doctrine of
                                   “marshaling” or any other similar doctrine with respect to the
                                   collateral securing the DIP Obligations, the RBL Adequate
                                   Protection Obligations, the Existing RBL Obligations, the
                                   FLLO Adequate Protection Obligations, the Existing FLLO
                                   Obligations, the Second Lien Adequate Protection
                                   Obligations, or the Existing Second Lien Obligations (each as
                                   defined in the Financing Orders).

 Section 552(b):                   The DIP Secured Parties and the Existing Secured Parties
                                   (each as defined in the Financing Orders) shall be entitled to
                                   all of the rights and benefits of Section 552(b) of the
                                   Bankruptcy Code, the “equities of the case” exception under
                                   sections 552(b)(i) and (ii) of the Bankruptcy Code shall not
                                   apply to such parties with respect to the proceeds, products,
                                   rents, issues or profits of any of their collateral, and no
                                   expenses of administration of the Cases or any future
                                   proceeding that may result therefrom, including liquidation in
                                   bankruptcy or other proceedings under the Bankruptcy Code,
                                   may be charged against proceeds, product, offspring or profits
                                   from any of the collateral under Section 552(b) of the
                                   Bankruptcy Code (subject to any provisions of the Final Order
                                   with respect to costs or expenses incurred following the entry
                                   of such Final Order).

                                   Furthermore, the Debtors and their estates shall be deemed to
                                   have irrevocably waived and have agreed not to assert any
                                   claim or right under sections 552 or 726 of the Bankruptcy
                                   Code to avoid the imposition of DIP Liens, Existing Liens or
                                   the Adequate Protection Liens (each as defined in the
                                   Financing Orders) on any property acquired by any of the
                                   Debtors or any of their estates or to seek to surcharge any costs
                                   or expenses incurred in connection with the preservation,
                                   protection or enhancement of, or realization by, DIP Secured
                                   Parties and the Existing Secured Parties (each as defined in the
                                   Financing Orders) upon the DIP Collateral or the Existing
                                   Collateral (as defined in the Financing Orders), as applicable
                                   (subject to any provisions of the Final Order with respect to
                                   costs or expenses incurred following the entry of such Final
                                   Order).

 No Priming or Pari Passu          No order shall be entered authorizing or approving any liens
 Liens:                            or encumbrances on the DIP Collateral or the Prepetition
                                   Collateral, as applicable, senior to or pari passu with the liens
                                   of the Prepetition Agent for the benefit of the Prepetition
                                   Lenders, or the DIP Agent for the benefit of the DIP Lenders
                                   other than as otherwise contemplated herein.

 Acknowledgement/Stipulations: The Debtors shall stipulate and acknowledge (i) to the amount,
                               validity, priority and enforceability of the Obligations (as

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                             defined in the Prepetition Credit Agreement) under the
                             Prepetition Loan Documents, (ii) that the Prepetition Agent
                             for the benefit of the Prepetition Lenders has a valid,
                             enforceable and fully perfected first priority lien in all of the
                             collateral under the Prepetition Loan Documents (the
                             “Prepetition Collateral”), including Cash Collateral, and all
                             proceeds thereof, subject only to the DIP Liens, the Permitted
                             Liens, and the Carve-Out, and (iii) that the Prepetition
                             Collateral is declining in value on a daily basis as the result of
                             the Debtors’ business operations, including current levels of
                             resource extraction, capital expenditure, and cash flow. The
                             Debtors shall provide a full release to DIP Secured Parties and
                             the Existing Secured Parties (each as defined in the Financing
                             Orders), which would not bind the Creditors’ Committee or
                             other party in interest until the expiration of the period
                             described in the paragraph below titled “Challenge Period”.

 Challenge Period:           The Financing Orders shall establish a deadline that (i) in the
                             case of a Creditors’ Committee, is no earlier than thirty (30)
                             days after the appointment of such committee, but in any event
                             is within sixty (60) days of the Petition Date, or (ii) in the case
                             of any other party in interest, is within forty (40) days of the
                             Petition Date, by which the Creditors’ Committee, or any
                             creditor or other party-in-interest (in any case, which has
                             obtained the requisite standing) must commence an adversary
                             proceeding, if at all, against the Prepetition Agent or the
                             Prepetition Lenders for the purpose of challenging the
                             validity, extent, priority, perfection and enforceability of the
                             prepetition secured debt under the Prepetition Credit
                             Agreement or the other Prepetition Loan Documents, or the
                             liens, claims and security interests in the Prepetition Collateral
                             in favor of the Prepetition Agent or the Prepetition Lenders or
                             otherwise asserting any claims or causes of action against the
                             Prepetition Agent or such Prepetition Lenders on behalf of the
                             Debtors’ estates; provided, however, that nothing contained in
                             this term sheet, the DIP Loan Documents or the Financing
                             Orders shall be deemed to confer standing on the Creditors’
                             Committee or any other party in interest to commence such an
                             adversary proceeding. If such an adversary proceeding is not
                             commenced within such period, then the DIP Secured Parties
                             and the Existing Secured Parties (each as defined in the
                             Financing Orders) shall automatically receive full waivers and
                             releases provided in the Financing Orders and the liens of the
                             Prepetition Agent on behalf of the Prepetition Lenders shall be
                             valid, perfected, enforceable and unavoidable without any
                             further action by the Prepetition Agent or Prepetition Lenders
                             under the terms of the Financing Orders.

                             None of the Carve-Out, any Cash Collateral, the DIP Facility
                             Loans, the DIP Collateral or the Prepetition Collateral, may be
                             used to challenge the amount, validity, perfection, priority or

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                                           enforceability of, or assert any defense, counterclaim or offset
                                           to, the DIP Loan Documents or the Prepetition Loan
                                           Documents, or the security interests and liens securing any of
                                           the DIP Obligations or Prepetition Obligations, or to fund
                                           prosecution or assertion of any claims, or to otherwise litigate
                                           against the DIP Agent, any DIP Lender, the Prepetition Agent
                                           or any Prepetition Lender; provided that up to $50,000 shall
                                           be made available to the Creditors’ Committee for
                                           investigation costs in respect of the stipulations set forth in the
                                           Financing Orders, [which amount may be included in the
                                           Carve-Out].6

    Expenses:                              The reasonable, documented out-of-pocket fees, costs and
                                           expenses incurred by the DIP Agent (the foregoing to include
                                           all unpaid prepetition fees, costs and expenses incurred by the
                                           DIP Agent in connection with the DIP Facility) in connection
                                           with any and all aspects of the Debtors’ Cases, including,
                                           without limitation, the reasonable and documented out-of-
                                           pocket fees and expenses of the DIP Agent’s legal counsel
                                           (Sidley Austin LLP), banker (Houlihan Lokey), and financial
                                           advisor (RPA Advisors) and other professionals, hired by or
                                           on behalf of the DIP Agent with the Debtors’ reasonable
                                           consent, shall be payable by the Debtors under the DIP Facility
                                           on a monthly basis, promptly upon submission by such
                                           professional of a summary invoice setting forth such fees,
                                           costs and expenses.

    Indemnification:                       The Debtors shall agree to indemnify and hold harmless the
                                           DIP Agent and the DIP Lenders and each of their respective
                                           affiliates and each of their respective officers, directors,
                                           employees, agents, advisors, attorneys and representatives
                                           (each, an “Indemnified Party”) from and against any and all
                                           claims, damages, losses, liabilities and expenses (including,
                                           without limitation, reasonable and documented out-of-pocket
                                           fees and disbursements of counsel), that may be incurred by
                                           or asserted or awarded against any Indemnified Party
                                           (including, without limitation, in connection with any
                                           investigation, litigation or proceeding or the preparation of a
                                           defense in connection therewith), arising out of or in
                                           connection with or by reason of the transactions contemplated
                                           hereby, provided that no Indemnified Party will be
                                           indemnified for exclusions of the type excluded from
                                           “Indemnified Liabilities” (as such term is defined in the
                                           Prepetition Credit Facility). In the case of an investigation,
                                           litigation or other proceeding to which the indemnity in this
                                           paragraph applies, such indemnity shall be effective whether
                                           or not such investigation, litigation or proceeding is brought
                                           by any of the Debtors, any of their respective directors,
                                           security holders or creditors, an Indemnified Party or any other

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    DIP Agent shall have authority to negotiate Investigation Budget with the Creditors’ Committee.

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                             person or an Indemnified Party is otherwise a party thereto and
                             whether or not the transactions contemplated hereby are
                             consummated.

 Confidentiality:            Except as required by law or in connection with the
                             implementation of this Term Sheet, the terms hereof will be
                             kept strictly confidential by each of the Debtors and may only
                             be disclosed to such Debtor’s affiliates, legal counsel,
                             financial advisors and consultants who have been informed of,
                             and agree to abide by, the confidentiality of this Term Sheet.
                             To the extent that any disclosure becomes legally required, the
                             DIP Agent shall be notified promptly and before the required
                             disclosure is made.

 Governing Law:              The laws of the State of New York (excluding the laws
                             applicable to conflicts or choice of law), except as governed
                             by the Bankruptcy Code.




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                                        Schedule 1

                                        Guarantors

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2.    Chesapeake Appalachia, L.L.C.
3.    Chesapeake E&P Holding, L.L.C.
4.    Chesapeake Energy Louisiana, LLC
5.    Chesapeake Energy Marketing, L.L.C.
6.    Chesapeake Exploration, L.L.C.
7.    Chesapeake Land Development Company, L.L.C.
8.    Chesapeake Louisiana, L.P.
9.    Chesapeake Midstream Development, L.L.C.
10.   Chesapeake NG Ventures Corporation
11.   Chesapeake Operating, L.L.C.
12.   Chesapeake Plains, LLC
13.   Chesapeake Royalty, L.L.C.
14.   Chesapeake VRT, L.L.C.
15.   Chesapeake-Clements Acquisition, L.L.C.
16.   CHK Energy Holdings, Inc.
17.   CHK NGV Leasing Company, L.L.C.
18.   CHK Utica, L.L.C.
19.   Compass Manufacturing, L.L.C.
20.   EMLP, L.L.C.
21.   Empress Louisiana Properties, L.P.
22.   Empress, L.L.C.
23.   GSF, L.L.C.
24.   MC Louisiana Minerals, L.L.C.
25.   MC Mineral Company, L.L.C.
26.   MidCon Compression, L.L.C.
27.   Nomac Services, L.L.C.
28.   Northern Michigan Exploration Company, L.L.C.
29.   Sparks Drive SWD, Inc.
30.   Winter Moon Energy Corporation
31.   Brazos Valley Longhorn Finance Corp.
32.   Brazos Valley Longhorn, L.L.C.
33.   Burleson Sand LLC
34.   Burleson Water Resources, LLC
35.   Esquisto Resources II, LLC
36.   Petromax E&P Burleson, LLC
37.   WHE AcqCo., LLC
38.   WHR Eagle Ford LLC
39.   Wildhorse Resources II, LLC
40.   Wildhorse Resources Management Company, LLC
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                                  Schedule 2



               [DIP Lender Commitments on file with the Debtors.]
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                                     Schedule 3



            [Schedule of Interest Rate and Fees on file with the Debtors.]
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                                            Exhibit A

                                            Carve-Out

        1.      Carve Out.

                (a)      Carve Out. As used in this [Final/Interim] Order, the “Carve Out”

means the sum of (i) all fees required to be paid to the Clerk of the Court and to the Office

of the United States Trustee under section 1930(a) of title 28 of the United States Code

plus interest at the statutory rate (without regard to the notice set forth in (iii) below); (ii) all

reasonable fees and expenses up to $100,000 incurred by a trustee under section 726(b) of

the Bankruptcy Code (without regard to the notice set forth in (iii) below); (iii) to the extent

allowed at any time, whether by interim order, procedural order, or otherwise, all unpaid

fees and expenses (the “Allowed Professional Fees”) incurred by persons or firms retained

by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor

Professionals”) and the Creditors’ Committee pursuant to section 328 or 1103 of the

Bankruptcy Code (the “Committee Professionals” and, together with the Debtor

Professionals, the “Professional Persons”) at any time before or on the first business day

following delivery by the [DIP Agent] of a Carve Out Trigger Notice (as defined below),

whether allowed by the Court prior to or after delivery of a Carve Out Trigger Notice; and

(iv) Allowed Professional Fees of Professional Persons in an aggregate amount not to

exceed $7.5 million incurred after the first business day following delivery by the [DIP

Agent] of the Carve Out Trigger Notice, to the extent allowed at any time, whether by

interim order, procedural order, or otherwise (the amounts set forth in this clause (iv) being

the “Post-Carve Out Trigger Notice Cap”). For purposes of the foregoing, “Carve Out

Trigger Notice” shall mean a written notice delivered by email (or other electronic means)
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by the [DIP Agent] to the Debtors, their lead restructuring counsel, the U.S. Trustee, and

counsel to the Creditors’ Committee, which notice may be delivered following the

occurrence and during the continuation of an Event of Default and acceleration of the DIP

Obligations under the DIP Facility, stating that the Post-Carve Out Trigger Notice Cap has

been invoked.

                (b)   Carve Out Reserves. On the day on which a Carve Out Trigger

Notice is given by the DIP Agent to the Debtors with a copy to counsel to the Creditors’

Committee (the “Termination Declaration Date”), the Carve Out Trigger Notice shall (i)

be deemed a draw request and notice of borrowing by the Debtors for Revolving DIP Loans

under the Revolving DIP Loan Commitment (on a pro rata basis based on the then

outstanding Revolving DIP Loan Commitments), in an amount equal to the then unpaid

amounts of the Allowed Professional Fees (any such amounts actually advanced shall

constitute Revolving DIP Loans) and (ii) also constitute a demand to the Debtors to utilize

all cash on hand as of such date and any available cash thereafter held by any Debtor to

fund a reserve in an amount equal to the then unpaid amounts of the Allowed Professional

Fees. The Debtors shall deposit and hold such amounts in a segregated account at the DIP

Agent in trust to pay such then unpaid Allowed Professional Fees (the “Pre-Carve Out

Trigger Notice Reserve”) prior to any and all other claims. On the Termination

Declaration Date, the Carve Out Trigger Notice shall also (i) be deemed a request by the

Debtors for Revolving DIP Loans under the Revolving DIP Loan Commitment (on a pro

rata basis based on the then outstanding Revolving DIP Loan Commitments), in an amount

equal to the Post-Carve Out Trigger Notice Cap (any such amounts actually advanced shall

constitute Revolving DIP Loans) and (ii) constitute a demand to the Debtors to utilize all
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cash on hand as of such date and any available cash thereafter held by any Debtor, after

funding the Pre-Carve Out Trigger Notice Reserve, to fund a reserve in an amount equal

to the Post-Carve Out Trigger Notice Cap. The Debtors shall deposit and hold such

amounts in a segregated account at the DIP Agent in trust to pay such Allowed Professional

Fees benefiting from the Post-Carve Out Trigger Notice Cap (the “Post-Carve Out

Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice Reserve,

the “Carve Out Reserves”) prior to any and all other claims. On the first business day

after the DIP Agent gives such notice to such DIP Lenders, notwithstanding anything in

the DIP Credit Agreement to the contrary, including with respect to the existence of a

Default (as defined in the DIP Credit Agreement) or Event of Default, the failure of the

Debtors to satisfy any or all of the conditions precedent for Revolving DIP Loans under

the Revolving DIP Facility, any termination of the Revolving DIP Loan Commitments

following an Event of Default, or the occurrence of the Maturity Date, each New Money

DIP Lender with an outstanding Revolving DIP Loan Commitment (on a pro rata basis

based on the then outstanding Revolving DIP Loan Commitments) shall make available to

the DIP Agent such New Money DIP Lender’s pro rata share with respect to such

borrowing in accordance with the Revolving DIP Facility; provided that the New Money

DIP Lenders shall have no requirement to fund the Carve-Out Reserves in excess of any

remaining borrowing availability under the DIP Loan Documents. All funds in the Pre-

Carve Out Trigger Notice Reserve shall be used first to pay the obligations set forth in

clauses (i) through (iii) of the definition of Carve Out set forth above (the “Pre-Carve Out

Amounts”), but not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap,

until paid in full, and then, to the extent the Pre-Carve Out Trigger Notice Reserve has not
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been reduced to zero, to pay the DIP Agent for the benefit of the DIP Lenders, unless the

DIP Obligations have been indefeasibly paid in full, in cash, and all Revolving DIP Loan

Commitments have been terminated, in which case any such excess shall be paid to the

[Prepetition Secured Creditors] in accordance with their rights and priorities as of the

Petition Date. All funds in the Post-Carve Out Trigger Notice Reserve shall be used first

to pay the obligations set forth in clause (iv) of the definition of Carve Out set forth above

(the “Post-Carve Out Amounts”), and then, to the extent the Post-Carve Out Trigger

Notice Reserve has not been reduced to zero, to pay the DIP Agent for the benefit of the

DIP Lenders, unless the DIP Obligations have been indefeasibly paid in full, in cash, and

all Revolving DIP Loan Commitments have been terminated, in which case any such

excess shall be paid to the [Prepetition Secured Creditors] in accordance with their rights

and priorities as of the Petition Date. Notwithstanding anything to the contrary in the DIP

Loan Documents, or this [Final/Interim] Order, if either of the Carve Out Reserves is not

funded in full in the amounts set forth in this paragraph [●], then, any excess funds in one

of the Carve Out Reserves following the payment of the Pre-Carve Out Amounts and Post-

Carve Out Amounts, respectively, shall be used to fund the other Carve Out Reserve, up to

the applicable amount set forth in this paragraph [●], prior to making any payments to the

DIP Agent or the [Prepetition Secured Creditors], as applicable. Notwithstanding anything

to the contrary in the DIP Loan Documents or this [Final/Interim] Order, following delivery

of a Carve Out Trigger Notice, the DIP Agent and the Prepetition Agent shall not sweep or

foreclose on cash (including cash received as a result of the sale or other disposition of any

assets) of the Debtors until the Carve Out Reserves have been fully funded, but shall have

a security interest in any residual interest in the Carve Out Reserves, with any excess paid
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to the DIP Agent for application in accordance with the DIP Loan Documents. Further,

notwithstanding anything to the contrary in this [Final/Interim] Order, (i) disbursements by

the Debtors from the Carve Out Reserves shall not constitute Revolving DIP Loans or

increase or reduce the DIP Obligations, (ii) the failure of the Carve Out Reserves to satisfy

in full the Allowed Professional Fees shall not affect the priority of the Carve Out, and (iii)

in no way shall the Initial Budget, Budget, Carve Out, Post-Carve Out Trigger Notice Cap,

Carve Out Reserves, or any of the foregoing be construed as a cap or limitation on the

amount of the Allowed Professional Fees due and payable by the Debtors. For the

avoidance of doubt and notwithstanding anything to the contrary in this [Final/Interim]

Order, the DIP Facility, or in any [Prepetition Secured Facilities], the Carve Out shall be

senior to all liens and claims securing the DIP Obligations, the DIP Hedges, the Adequate

Protection Obligations, and any and all other forms of adequate protection, liens, or claims

securing the DIP Facility, or the [Prepetition Secured Obligations].

                 (c)   Payment of Allowed Professional Fees Prior to the Termination

Declaration Date. Any payment or reimbursement made prior to the occurrence of the

Termination Declaration Date in respect of any Allowed Professional Fees shall not reduce

the Carve Out.

                 (d)   No Direct Obligation To Pay Allowed Professional Fees. None of

the DIP Agent, DIP Lenders, or the [Prepetition Secured Creditors] shall be responsible for

the payment or reimbursement of any fees or disbursements of any Professional Person

incurred in connection with the Chapter 11 Cases or any successor cases under any chapter

of the Bankruptcy Code. Nothing in this [Interim/Final] Order or otherwise shall be

construed to obligate the DIP Agent, the DIP Lenders, or the [Prepetition Secured
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Creditors], in any way, to pay compensation to, or to reimburse expenses of, any

Professional Person or to guarantee that the Debtors have sufficient funds to pay such

compensation or reimbursement.

               (e)     Payment of Carve Out On or After the Termination Declaration

Date. Any payment or reimbursement made on or after the occurrence of the Termination

Declaration Date in respect of any Allowed Professional Fees shall permanently reduce the

Carve Out on a dollar-for-dollar basis. Any funding of the Carve Out shall be added to,

and made a part of, the DIP Obligations secured by the DIP Collateral and shall be

otherwise entitled to the protections granted under this [Final/Interim] Order, the DIP Loan

Documents, the Bankruptcy Code, and applicable law.
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                                   Exhibit 3

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                                                                                               EXHIBIT B


                                            RBL Facility
                                   Summary of Terms and Conditions

                 Set forth below is a summary of the principal terms and conditions for the RBL Facility.
Capitalized terms used but not otherwise defined herein shall have the meanings assigned to such terms in
the Commitment Letter to which this Exhibit B is attached or on Exhibits C or D (including the Annexes
hereto and thereto) attached thereto; provided, that in the event any such capitalized term is subject to
multiple and differing definitions, the appropriate meaning shall be determined by reference to the context
in which it is used.

PARTIES

 Borrower:                           Chesapeake Energy Corporation (the “Borrower”).

 Guarantors:                         All obligations of the Borrower under the RBL Facility (as defined
                                     below) and, at the Borrower’s option, under any treasury
                                     management agreement (a “Secured Treasury Management
                                     Agreement”) or any currency, interest rate protection or other
                                     hedging agreement (a “Secured Hedging Agreement”, which
                                     Secured Treasury Management Agreements and Secured Hedging
                                     Agreements shall have the same payment priority as the Tranche A
                                     RBL Loans described below), in each case entered into by the
                                     Borrower with the Administrative Agent, an RBL Lender (as
                                     defined below) or any person that is an affiliate of the
                                     Administrative Agent or an RBL Lender at the time the relevant
                                     transaction is entered into (collectively, the “Borrower
                                     Obligations”) will be unconditionally guaranteed on a senior basis
                                     (the “Guaranty”) by each of the Borrower’s wholly-owned
                                     Restricted Subsidiaries other than:

                                     (a)     immaterial subsidiaries subject to thresholds to be agreed
                                             (“Immaterial Subsidiaries”),

                                     (b) any subsidiary that is prohibited by law, regulation or
                                         contractual obligation from providing such Guaranty or that
                                         would require a governmental (including regulatory) consent,
                                         approval, license or authorization in order to provide such
                                         Guaranty, and

                                     (c)     solely in the case of any obligation under any Secured Hedging
                                             Agreement that constitutes a “swap” within the meaning of
                                             section 1(a)(47) of the Commodity Exchange Act, any
                                             subsidiary that is not an “Eligible Contract Participant” as
                                             defined under the Commodity Exchange Act

                                     (the “Guarantors”; the Borrower and the Guarantors, collectively,
                                     the “Loan Parties”).




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                                  For purposes of the RBL Credit Documentation (as defined below),
                                  “Restricted Subsidiary” means any existing or future direct or
                                  indirect subsidiary of the Borrower other than any Unrestricted
                                  Subsidiary (as defined below).

 Lead Arranger and Bookrunner:    MUFG Union Bank, N.A. will act as lead arranger and bookrunner
                                  for the RBL Facility (in such capacity, the “RBL Lead Arranger”).

 Joint Lead Arrangers and Joint   Bank of America, N.A., BMO Capital Markets Corp., Wells Fargo
 Bookrunners                      Securities, LLC, Citibank, N.A., JPMorgan Chase Bank, N.A., and
                                  Royal Bank of Canada will act as joint lead arrangers and joint
                                  bookrunners for the RBL Facility.

 Administrative Agent and         MUFG Union Bank, N.A. will act as the sole and exclusive
 Collateral Agent:                administrative agent and collateral agent for the RBL Lenders
                                  referred to below (in such capacities, the “RBL Agent”).

 RBL Lenders:                     Holders of Revolving Credit Facility Claims and DIP Claims (as
                                  defined in the Restructuring Support Agreement) or one or more of
                                  their designated affiliates (collectively, and together with any
                                  person that becomes a lender by assignment as set forth under the
                                  heading “Assignments and Participations” below, the “RBL
                                  Lenders”).

Prepetition Credit Facility

 Borrower:                        Chesapeake Energy Corporation.

 Prepetition Credit Agreement     Amended and Restated Credit Agreement, dated as of
                                  September 12, 2018 (as amended, supplemented, and otherwise
                                  modified from time to time), among the Borrower, the lenders party
                                  thereto and MUFG Union Bank, N.A., as the administrative agent
                                  thereunder (the “Prepetition Credit Agreement” and the credit
                                  facility provided thereunder, the “Prepetition Credit Facility”).

RBL Facility

 Type and Amount:                 A revolving reserve-based loan facility (the “RBL Facility”) in an
                                  initial aggregate principal amount of $1.75 billion (the loans
                                  thereunder, irrespective of tranche (as described below), the “RBL
                                  Loans”). The RBL Facility shall consist of two tranches of RBL
                                  Loans:

                                  Tranche A RBL Exit Facility Loans (the “Tranche A RBL Loans”,
                                  and the commitments under the RBL Facility to make such Tranche
                                  A RBL Loans, the “RBL Tranche A Commitments”), in an amount
                                  equal to $[●], which Tranche A RBL Loans (i) will be partially
                                  funded on the Closing Date, (ii) will have a scheduled maturity of 3
                                  years from the Closing Date, (iii) shall at all times be repaid prior to




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                            the repayment of any Tranche B RBL Loans and (iv) shall be fully
                            revolving.

                            Tranche B RBL Exit Facility Loans (the “Tranche B RBL Loans”)
                            in an amount equal to $[●], which Tranche B RBL Loans (i) will be
                            fully funded on the Closing Date, (ii) will have a maturity of 4 years
                            from the Closing Date, (iii) will be prepaid or repaid only after no
                            Tranche A RBL Loans remain outstanding, and (iv) once so prepaid
                            or repaid, may not be reborrowed.

                            Amounts funded (or Letters of Credit issued) under the RBL Facility
                            will be available in U.S. dollars.



 Availability:              The Tranche A RBL Loans shall be available on a revolving basis
                            during the period commencing on the Closing Date and ending on
                            the Revolving Maturity Date (as defined below); provided that no
                            more than $1.25 billion will be funded under the RBL Facility on
                            the Closing Date to fund a portion of the Restructuring Transactions.
                            The full amount of the RBL Facility shall be available for same-day
                            ABR borrowings to the extent borrowing requests are received by
                            11am Eastern time.

                            At all times, availability under the RBL Facility shall be equal to the
                            lesser of the aggregate RBL Tranche A Commitments and the
                            amount by which the then effective Borrowing Base exceeds the
                            Credit Facilities Total Outstandings.

                            The “RBL Total Outstandings” means, at any time, the aggregate
                            principal amount of RBL Loans (whether Tranche A RBL Loans or
                            Tranche B RBL Loans) then outstanding plus the aggregate stated
                            amount of all issued Letters of Credit and, without duplication, all
                            unreimbursed disbursements on any Letter of Credit as of such date
                            (unless cash collateralized or backstopped pursuant to arrangements
                            reasonably acceptable to the relevant Issuing Lender).

                            The “Credit Facilities Total Outstandings” mean the RBL Total
                            Outstandings plus the outstanding FLLO Term Loans.

 Maturity:                  The RBL Tranche A Commitments shall terminate and all Tranche
                            A RBL Loans will mature on the date that is three (3) years after the
                            Closing Date (the “RBL Tranche A Termination Date”).

                            The Tranche B RBL Loans will mature on the date that is four (4)
                            years after the Closing Date (the “RBL Tranche B Termination
                            Date”).

Borrowing Base:             The RBL Facility shall be subject to the borrowing base described
                            below (it being understood that the Borrowing Base under the RBL
                            Facility is intended to encompass both the RBL Facility and the



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                         FLLO Term Loans and that, at any time that the FLLO Term Loans
                         cease to be secured debt, the Borrowing Base will be automatically
                         reduced to the amount of the RBL Facility portion of the Borrowing
                         Base at such time). The borrowing base for the RBL Facility (the
                         “Borrowing Base”), at any time, shall be based on the aggregate
                         present value, discounted at 10% per annum, of (i) the proved oil
                         and gas reserves of the Loan Parties located within the geographic
                         boundaries of the United States included in the most recent Reserve
                         Report (as defined below) delivered to the RBL Agent (such
                         properties, the “Borrowing Base Properties”) and (ii) any hedge
                         positions existing at the time of such redetermination, in each case
                         utilizing the RBL Agent’s then current internal bank price deck and
                         approved by the RBL Lenders as provided below.

                         The initial borrowing base for the RBL Facility will be $2.5 billion
                         from the date of the initial borrowing under the RBL Facility (the
                         “Closing Date”) until, subject to the rights of optional
                         redetermination and the other adjustments provided for herein, the
                         next redetermination date (provided, that the Required RBL Lenders
                         will confirm the amount of this initial Borrowing Base (or provide
                         a new initial Borrowing Base amount) prior to the Closing Date
                         based on the Initial Reserve Report in a manner substantially similar
                         to the redetermination process described below).

                         The Borrowing Base shall be re-determined semi-annually on or
                         about (i) the date that is six months from the Closing Date (the “First
                         Scheduled Redetermination”)and (ii) thereafter, each May 1 and
                         October 1 to occur after the Closing Date, beginning on the first
                         such date to occur after the redetermination described in clause (i),
                         based upon (i) a reserve report prepared as of the immediately
                         preceding January 1 and July 1, respectively, and other related
                         information, and delivered on or before April 1 and September 1,
                         respectively and/or (ii) other engineering data reasonably
                         acceptable to the RBL Agent (each such report or other engineering
                         data, a “Reserve Report”) and other related information. Each
                         April 1 Reserve Report shall be prepared by an Approved Petroleum
                         Engineer (as defined below) as to 80% by volumes of the Borrowing
                         Base Properties covered thereby, with the balance prepared by or
                         under the supervision of the Borrower’s chief engineer. Each
                         August 1 Reserve Report (and any Reserve Report delivered in
                         connection with any unscheduled redetermination) may be prepared
                         internally by petroleum engineers who are employees of the
                         Borrower or its affiliates. The Borrowing Base shall be calculated
                         and proposed by the RBL Agent on behalf of the Required RBL
                         Lenders in good faith in accordance with its usual and customary oil
                         and gas lending criteria as it exists at the particular time and as
                         specified in the RBL Credit Documentation (as defined below) and
                         approved by the Required RBL Lenders or all of the RBL Lenders,
                         as the case may be. The RBL Agent shall notify the Lenders of the
                         RBL Agent’s proposed amount of the redetermined Borrowing Base
                         after the RBL Agent has received complete engineering reports


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                         from the Borrower and has had a reasonable opportunity to
                         determine the proposed Borrowing Base.

                         “Approved Petroleum Engineer” means any of (a) Schlumberger
                         N.V., (b) Netherland, Sewell & Associates, Inc., (c) Cawley,
                         Gillespie & Associates, Inc., (d) Ryder Scott Company, L.P., (e)
                         LaRoche Petroleum Consultants, Ltd. and (f) any other independent
                         engineer chosen by the Borrower and reasonably acceptable to the
                         RBL Agent.

                         Unscheduled redeterminations of the Borrowing Base may be made
                         (a) following the First Scheduled Redetermination date at the
                         request of the Required RBL Lenders not more than once between
                         any two scheduled redeterminations and (b) at any time (including
                         prior to the First Scheduled Redetermination date as described
                         above) by the Borrower.

                         In addition to the foregoing, after the Closing Date, the Borrowing
                         Base shall be subject to automatic reductions between
                         redeterminations in connection with:

                              (i)   sales or other dispositions (including in connection with
                                    the designation of unrestricted subsidiaries and
                                    investments) of Borrowing Base Properties and early
                                    monetization or early termination of any hedge positions
                                    existing at the time of the last redetermination date and
                                    relied on by the RBL Lenders in determining the
                                    Borrowing Base since the later of (A) the last
                                    redetermination date and (B) the last adjustment made
                                    pursuant to this clause (i), with an aggregate Borrowing
                                    Base value and Hedge PV (as defined below) with respect
                                    to all such Borrowing Base Properties sold or otherwise
                                    disposed of and hedge positions monetized or terminated
                                    early exceeding 5.0% of the Borrowing Base then in
                                    effect (after giving effect to any hedge agreements
                                    entered into (1) contemporaneously with such early
                                    monetization or termination or (2) subsequent to the last
                                    redetermination of the Borrowing Base), in an amount
                                    equal to the Hedge PV with respect to such hedge
                                    positions monetized or terminated or the Borrowing Base
                                    value as determined by the RBL Agent with respect to
                                    such Borrowing Base Properties disposed, and taking into
                                    account concurrent acquisitions or other investments for
                                    which Reserve Reports have been delivered to the RBL
                                    Agent and which have been given value by the RBL
                                    Agent and the other RBL Lenders; and

                              (ii) only with respect to amounts in excess of the Permitted
                                   Debt Prepayment (as defined below), the issuance of any
                                   junior lien, unsecured senior or senior subordinated
                                   indebtedness after the Closing Date (including any



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                                   additional “first lien last out” indebtedness) (such
                                   additional indebtedness “Specified Additional Debt”)
                                   under the basket permitting Specified Additional Debt
                                   and any permitted refinancing indebtedness in respect
                                   thereof; and in the case of this clause (ii), the Borrowing
                                   Base shall be immediately reduced by $0.50 for every
                                   $1.00 of Specified Additional Debt that remains
                                   outstanding, other than any such indebtedness
                                   constituting a permitted refinancing of Specified
                                   Additional Debt (only to the extent that the aggregate
                                   principal amount of such refinancing indebtedness does
                                   not result in an increase in the principal amount thereof
                                   plus amounts to fund any original issue discount or
                                   upfront fees relating thereto plus amounts to fund accrued
                                   interest, fees, expenses, premiums, etc. thereon).

                         “Hedge PV” means, with respect to any commodity hedge contract,
                         the present value, discounted at 10% per annum, of the future
                         receipts expected to be paid to the Borrower or its restricted
                         subsidiaries under such hedge contract netted against the RBL
                         Agent’s then current internal bank price deck; provided, that the
                         “Hedge PV” shall never be less than $0.00.

                         “PV-10” means the present value of the Loan Parties’ oil and gas
                         properties (calculated before federal and state income taxes (but not
                         other taxes customarily included in such calculation, including
                         sales, ad valorem and severance taxes), discounted at 10% per
                         annum, of the future net revenues expected to accrue to the Loan
                         Parties’ collective interests in such reserves during the remaining
                         expected economic lives of such reserves, calculated in a manner
                         consistent with past practice and other than in respect of calculating
                         the Total PDP PV-10 (which shall be calculated using the Ten Year
                         Strip Price), shall be calculated using the RBL Agent’s then current
                         internal bank price deck.

                         “Total PDP PV-10” means, as of any date of determination, the PV-
                         10 of the Loan Parties’ oil and gas properties characterized as
                         Proved Developed Producing reserves and any hedge positions
                         existing on such date. Each calculation of such Total PDP PV-10
                         shall be made (a) using the Ten-Year Strip Price adjusted in a
                         manner reasonably acceptable to the RBL Agent for any basis
                         differential, quality and gravity, (b) using costs as of the date of
                         estimation without future escalation, and without giving effect to
                         non-property related expenses such as general and administrative
                         expenses, debt service, future income tax expense and depreciation,
                         depletion and amortization, and (c) to the extent not otherwise
                         specified in the preceding clauses of this sentence, using reasonable
                         economic assumptions consistent with such clauses. Total PDP PV-
                         10 shall be calculated on a pro forma basis, giving effect to
                         (i) acquisitions and dispositions of oil and gas properties
                         consummated by the Borrower and the other Loan Parties since the


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                           date of the Reserve Report most recently delivered to the RBL
                           Agent (provided that, in the case of any acquisition of oil and gas
                           properties, the RBL Agent shall have received a Reserve Report, in
                           form and substance reasonably satisfactory to it, evaluating the
                           proved developed producing reserves attributable thereto) and
                           (ii) the unwind, monetization or termination of, or the entry into, any
                           hedge agreement to which a Loan Party is a party, in each case
                           occurring since the date of the Reserve Report most recently
                           delivered to the RBL Agent.

                           “Ten-Year Strip Price” means, as of any date, (a) for the 120-month
                           period commencing with the month in which such date occurs, as
                           quoted on the New York Mercantile Exchange (the “NYMEX”)
                           adjusted for applicable differentials (based on average of last twelve
                           (12) months actuals) and hedge agreements and published in a
                           nationally recognized publication for such pricing reasonably
                           acceptable to the RBL Agent (as such prices may be corrected or
                           revised from time to time by the NYMEX in accordance with its
                           rules and regulations), the corresponding monthly quoted futures
                           contract price for such months 0–120 and (b) for periods after such
                           120 month period, the average corresponding monthly quoted
                           futures contract price for months 108-120.

Letters of Credit:         $200 million of the RBL Tranche A Commitments shall be available
                           for the issuance of letters of credit, including documentary letters of
                           credit in U.S. dollars (the “Letters of Credit”), by the RBL Agent
                           and one or more RBL Lenders reasonably acceptable to the
                           Borrower (in such capacity, each, an “Issuing Lender”). No Letter
                           of Credit shall have an expiration date after the earlier of (a) 1 year
                           after the date of issuance or such longer period of time as may be
                           agreed to by the applicable Issuing Lender and (b) 3 business days
                           prior to the RBL Tranche A Termination Date; provided that any
                           Letter of Credit with a 1-year tenor may provide for automatic or
                           “evergreen” renewal thereof for additional 1-year periods (which
                           shall in no event extend beyond the date referred to in clause (b)
                           above unless cash collateralized or backstopped pursuant to
                           arrangements reasonably satisfactory to the Issuing Lender thereof).
                           So long as the Borrower is the primary obligor and a signatory to a
                           request for the issuance of a Letter of Credit, Letters of Credit may
                           be issued for the account of the Borrower or any of the Restricted
                           Subsidiaries.

                           Any drawing under any Letter of Credit shall be reimbursed by the
                           Borrower (whether with its own funds or with the proceeds of RBL
                           Loans) within 3 business days after notice thereof is received by the
                           Borrower from the relevant Issuing Lender. To the extent that the
                           Borrower does not so reimburse the Issuing Lender within such time
                           period, the RBL Lenders shall be irrevocably and unconditionally
                           obligated to fund participations in the reimbursement obligations on




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                           a pro rata basis based on their respective RBL Tranche A
                           Commitments.

                           Letters of Credit may be issued on the Closing Date in the ordinary
                           course of business and to replace or provide credit support for any
                           existing letters of credit (including by “grandfathering” such
                           existing letters of credit into the RBL Facility).

Use of Proceeds:           The proceeds of the RBL Loans may be used (a) on the Closing
                           Date, (i) to finance a portion of the Restructuring Transactions,
                           including the refinancing of the DIP Facility and the Prepetition
                           Credit Facility and the payment of related fees and expenses, (ii) to
                           finance working capital and the payment of transaction costs and
                           (iii) to finance working capital needs and other general corporate
                           purposes and (b) after the Closing Date, to finance the working
                           capital needs and other general corporate purposes of the Borrower
                           and its subsidiaries (including for capital expenditures, acquisitions,
                           working capital and/or purchase price adjustments, the payment of
                           transaction fees and expenses, other investments, restricted
                           payments and any other purpose not prohibited by the RBL Credit
                           Documentation).

CERTAIN PAYMENT PROVISIONS

Interest Rates and Fees:   As set forth on Annex I hereto.

Optional Prepayments and   RBL Loans may be prepaid and the RBL Tranche A Commitments
Commitment Reductions:     may be reduced, in whole or in part, without premium or penalty, in
                           minimum amounts to be agreed, at the option of the Borrower at any
                           time upon 1 business day’s (or, in the case of a prepayment of RBL
                           Eurodollar Loans (as defined on Annex I hereto), 3 business days’)
                           prior notice, subject to reimbursement of the RBL Lenders’
                           redeployment costs in the case of a prepayment of RBL Eurodollar
                           Loans prior to the last day of the relevant interest period. Optional
                           prepayments of the RBL Loans shall, subject to the paragraph
                           below, be applied to the installments of the RBL Loans as directed
                           by the Borrower (or in the absence of direction from the Borrower,
                           in the direct order of maturity).

                           All prepayments or repayments of RBL Loans, whether optional or
                           mandatory, shall first be applied to Tranche A RBL Loans until no
                           Tranche A RBL Loans remain outstanding.

Mandatory Prepayments:     At any time when Credit Facilities Total Outstandings exceeds the
                           Borrowing Base then in effect (such difference being a “Borrowing
                           Base Deficiency”), the Borrower shall, within ten (10) business days
                           after written notice from the RBL Agent to the Borrower of such
                           Borrowing Base Deficiency, notify the RBL Agent that it intends to
                           take one or any combination of the following actions:




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                               (A) within thirty (30) days after such notice from the RBL
                                   Agent, execute and deliver mortgages reasonably
                                   acceptable to the RBL Agent encumbering additional
                                   Borrowing Base Properties (accompanied by acceptable
                                   engineering reports with respect to such properties) to the
                                   extent necessary to eliminate such Borrowing Base
                                   Deficiency (with acceptable title information with respect
                                   to 85% of the PV-10 value of such Borrowing Base
                                   Properties to follow within sixty (60) days of the delivery
                                   of such mortgages);

                               (B) within thirty (30) days after such notice from the RBL
                                   Agent, prepay the RBL Loans in an amount sufficient to
                                   eliminate such Borrowing Base Deficiency; or

                               (C) prepay the RBL Loans in an amount sufficient to
                                   eliminate such Borrowing Base Deficiency in three equal
                                   monthly installments, with interest, beginning on the 30th
                                   day after the Borrower’s receipt of notice of such
                                   Borrowing Base Deficiency from the RBL Agent (as such
                                   Borrowing Base Deficiency may be increased or reduced
                                   during such three-month period as a result of a Borrowing
                                   Base redetermination or other adjustment of the
                                   Borrowing Base);

                         provided, that if the Borrowing Base is reduced as the result of (i)
                         an asset sale or disposition of Borrowing Base Properties or the
                         monetization or early termination of any hedge position in excess of
                         5% of the value of the Borrowing Base or (ii) the issuance of
                         Specified Additional Debt (as described in the section captioned
                         “Borrowing Base”) and a Borrowing Base Deficiency results from
                         such reduction, then the Borrower shall immediately (and in any
                         event within one (1) business day after the receipt of net cash
                         proceeds therefrom) eliminate such Borrowing Base Deficiency
                         with the proceeds of such asset sale, disposition or monetization or
                         early termination of any hedge position or the issuance of Specified
                         Additional Debt, as applicable. Additionally, any Borrowing Base
                         Deficiency resulting from a voluntary termination or reduction of
                         Commitments shall be required to be eliminated on the date of such
                         termination.

                         Notwithstanding the foregoing, any net proceeds from the incurrence
                         of junior debt otherwise permitted under the RBL Credit
                         Documentation shall be used to repay the FLLO Term Loans at par
                         (the “Permitted Debt Prepayment”).

                         In addition, the RBL Credit Documentation will contain a customary
                         anti-cash hoarding prepayment provision that is consistent with the
                         Prepetition Credit Facility, except that the five (5) business day cure




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                           period shall be replaced with three (3) business days and the limits
                           on cash on hand shall be reduced from $100 million to $75 million.

                           The RBL Loans shall be prepaid and the Letters of Credit shall be
                           cash collateralized or otherwise “backstopped” or replaced to the
                           extent all such extensions of credit under the RBL Facility exceed
                           the RBL Tranche A Commitments.



COLLATERAL                 Subject to the provisions of the immediately following paragraphs,
                           the Borrower Obligations and the obligations of each other Loan
                           Party under its Guaranty shall be secured by a perfected first-priority
                           security interest (subject to permitted liens and other exceptions to
                           be set forth in the RBL Credit Documentation) in substantially all
                           of the Loan Parties’ tangible and intangible assets (including,
                           without limitation, (i) a pledge of the capital stock of each Loan
                           Party’s direct subsidiaries (other than Unrestricted Subsidiaries and
                           otherwise subject to customary exceptions), (ii) all as-extracted
                           collateral arising from the Borrowing Base Properties, accounts
                           receivable with respect to sales of hydrocarbons from the Borrowing
                           Base Properties, inventory and equipment related to the Borrowing
                           Base Properties, cash and cash equivalents, general intangibles,
                           investment property, all deposit and securities accounts and (iii) all
                           of the Borrowing Base Properties (it being understood that the Loan
                           Parties shall only be required at any time to maintain mortgages on
                           at least 90% of the PV-10 value of the Borrowing Base Properties
                           to which proved reserves are attributed) and the proceeds of the
                           foregoing) (the “Collateral”).

                           Notwithstanding the foregoing, there shall be customary exclusions,
                           consistent with the Prepetition Credit Agreement, from the
                           Collateral, including, but not limited to (a) any property or asset the
                           grant or perfection of a security interest in which would result in
                           adverse tax consequences as reasonably determined by the
                           Borrower and the RBL Agent, (b) any property or asset the grant or
                           perfection of a security interest in which would require
                           governmental consent, approval, license or authorization and (c) any
                           building or manufactured (mobile home) (as defined in applicable
                           flood insurance regulations).

                           The priority of security interests and relative rights of the lenders
                           under the RBL Facility and the lenders under the FLLO Term Loan
                           Facility shall be subject to collateral agency arrangements set forth
                           in a collateral agency agreement (the “Collateral Agency
                           Agreement”) substantially similar to the collateral agency
                           agreement executed in connection with the Prepetition Credit
                           Facility and which shall provide, among other provisions, that the
                           obligations under the FLLO Term Loan Facility shall be junior in
                           right of repayment to the RBL Facility at all times.




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                             The RBL Credit Documentation will authorize the RBL Agent or
                             other collateral trustee, as applicable, to enter into customary
                             intercreditor arrangements in respect additional debt that is
                             permitted to be incurred and secured under the RBL Credit
                             Documentation on a pari passu or junior basis with the RBL
                             Facility. The material terms of such collateral agency arrangements
                             shall be reasonably acceptable to the RBL Agent and the Borrower.

TITLE                        In connection with each scheduled redetermination of the
                             Borrowing Base, the Borrower shall deliver such information (in
                             form and substance reasonably satisfactory to the RBL Agent) on
                             Borrowing Base Properties as is required to demonstrate satisfactory
                             title on 85% of the PV-10 value of the Borrowing Base Properties
                             included in the most recent Reserve Report.

CERTAIN CONDITIONS

Closing Conditions:          As set forth on Exhibit D.

Post-Closing Conditions:     The making of each RBL Loan and the issuance, amendment,
                             modification, renewal or extension of a Letter of Credit (other than
                             any amendment, modification, renewal or extension of a Letter of
                             Credit which does not increase the face amount of such Letter of
                             Credit) after the Closing Date, in each case, shall be conditioned
                             upon (a) the accuracy in all material respects of all representations
                             and warranties in the RBL Credit Documentation (except in the case
                             of any such representation which expressly relates to a given date or
                             period, such representation and warranty shall be true and correct in
                             all material respects as of the respective date or for the respective
                             period, as the case may be), (b) the Borrower holding no more than
                             $75 million of cash on hand after giving effect to such extension of
                             credit (and the use of proceeds therefrom within 3 business days),
                             (c) there being no default or event of default in existence at the time
                             of, or after giving effect to the making of, such extension of credit,
                             and (d) delivery of a customary borrowing notice or request for
                             issuance of a Letter of Credit, as applicable.

DOCUMENTATION

 RBL Credit Documentation:   The definitive financing documentation for the RBL Facility (the
                             “RBL Credit Documentation”), which will be drafted by the counsel
                             to the RBL Agent, shall, except as otherwise set forth herein, have
                             substantially the same terms, representations and warranties,
                             covenants and events of default as set forth in the Prepetition Credit
                             Agreement; provided that all such terms, representations and
                             warranties, covenants and events of default shall be modified to (a)
                             except to the extent set forth herein, reflect terms and conditions
                             (including carve-outs and baskets) that are customary as of the
                             Closing Date for similarly-sized reserve based revolving credit




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                                  facilities and (b) reflect such other terms as the Borrower and the
                                  RBL Lead Arranger shall agree (the “Documentation Principles”).

Representations and Warranties:   Subject to the Documentation Principles, to be substantially the
                                  same as the Prepetition Credit Agreement and to be limited to the
                                  following:

                                         organizational existence and corporate status;

                                         organizational power and authority;

                                         due authorization, execution and delivery of the RBL Credit
                                          Documentation;

                                         enforceability of the RBL Credit Documentation;

                                         no conflicts of the RBL Credit Documentation with
                                          applicable law, organizational documents or contractual
                                          obligations;

                                         financial statements for periods ended after the Closing
                                          Date;

                                         no material adverse effect;

                                         capitalization of subsidiaries;

                                         compliance with laws;

                                         use of proceeds not in violation of FCPA, OFAC and the
                                          PATRIOT Act; Beneficial Ownership Certification

                                         governmental and third party approvals and consents;

                                         ERISA and labor matters; environmental matters;

                                         litigation;

                                         ownership of property;

                                         taxes;

                                         Federal Reserve margin regulations; Investment Company
                                          Act;

                                         hedge agreements;

                                         pari passu or priority status;

                                         true and complete disclosure; and



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                                 solvency (to be defined in a manner consistent with Annex I
                                  to Exhibit D) of the Borrower and its Restricted
                                  Subsidiaries, taken as a whole, on the Closing Date; and the
                                  creation, validity and perfection of security interests.

                          The foregoing representations and warranties shall apply to the
                          Borrower and its Restricted Subsidiaries (with certain exceptions to
                          cover all subsidiaries to be agreed).

Affirmative Covenants:    Subject to the Documentation Principles, to be substantially the
                          same as the Prepetition Credit Agreement and to be limited to the
                          following:

                                 delivery of (i) annual audited financial statements within
                                  five business days after the date on which such financial
                                  statements are required to be filed with the SEC (after
                                  giving effect to any permitted extensions) (or, if such
                                  financial statements are not required to be filed with the
                                  SEC, on or before the date that is 90 days after the end of
                                  each such fiscal year) (accompanied by an opinion of an
                                  independent accounting firm that is not subject to (or does
                                  not contain) a “going concern” qualification or explanatory
                                  paragraph or qualification as to the scope of the relevant
                                  audit (other than with respect to, or resulting from, (i) the
                                  occurrence of the maturity date of the RBL Facility within
                                  one year from the date such opinion is delivered or (ii) any
                                  potential inability to satisfy the Financial Covenants (as
                                  provided below) on a future date or in a future period)),
                                  (ii) quarterly unaudited financial statements (for each of the
                                  first 3 fiscal quarters of each fiscal year) within five
                                  Business Days after the date on which such financial
                                  statements are required to be filed with the SEC (after
                                  giving effect to any permitted extensions) (or, if such
                                  financial statements are not required to be filed with the
                                  SEC, on or before the date that is 60 days after the end of
                                  each such quarterly accounting period), (iii) officers’
                                  certificates and (iv) other information reasonably requested
                                  by the RBL Agent;

                                 beneficial ownership certification (only upon knowledge of
                                  changes thereto);

                                 notices of default, litigation, environmental matters and
                                  certain other events;

                                 maintenance of books and records; maintenance of
                                  existence; maintenance of insurance; maintenance of
                                  properties

                                 payment of taxes;



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                                control agreements;

                                compliance with laws (including ERISA and environmental
                                 laws);

                                maintenance of property and insurance; payment of taxes;
                                 right of the RBL Agent to inspect property and books and
                                 records (subject to frequency and cost reimbursement
                                 limitations) (no more than once per year, unless an Event of
                                 Default is ongoing);

                                use of proceeds;

                                reserve reports, lease operating statements, and hedge
                                 schedules; title information (as described above);
                                 supplemental mortgages (if necessary, with each scheduled
                                 redetermination);

                                designation of Unrestricted Subsidiaries;

                                further assurances on guaranty and Collateral matters
                                 (including, without limitation, with respect to additional
                                 guarantors, guarantees and security interests in after-
                                 acquired property), subject to the parameters set forth under
                                 “Collateral” above; and

                                minimum required hedging of the Borrower and its
                                 Restricted Subsidiaries attributable to PDP reserves for
                                 each of (i) crude oil and (ii) natural gas liquids and natural
                                 gas (taken together), with each of (i) and (ii) calculated
                                 separately as follows: (A) 80% from the Closing Date to
                                 the 24th month after the Closing Date; (B) 65% for the 25th
                                 month after the Closing Date to the 36th month after the
                                 Closing Date and (C) 50% for the 37th to the 48th month
                                 after the Closing Date; provided, that, if the Borrower
                                 reasonably determines that, after working in good faith with
                                 the applicable counterparties, the RBL Lenders (and their
                                 affiliates) have insufficient aggregate capacity or are
                                 unwilling or otherwise fail or refuse to enter into hedge
                                 agreements with one or more Loan Parties on commercially
                                 reasonable terms consistent with terms available to other
                                 similarly situated borrowers, then the minimum hedging
                                 requirements shall be reduced solely to the extent necessary
                                 to reflect the maximum volumes for which the RBL
                                 Lenders (and their respective affiliates) have insufficient
                                 aggregate capacity, willingness or otherwise fail or refuse
                                 to enter into such hedge agreements.

                         The foregoing affirmative covenants shall apply to the Borrower
                         and its Restricted Subsidiaries.



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Financial Covenants:      Limited to (i) First Lien Leverage Ratio, (ii) Total Leverage Ratio,
                          (iii) Current Ratio and (iv) Secured Debt Coverage Ratio, measured
                          for the Borrower and the Loan Parties.

                          The “First Lien Leverage Ratio” shall be no more than 2.75 to 1.00
                          and will be defined as the ratio of (a) consolidated debt that is
                          secured on a first-priority basis by all or any portion of the Collateral
                          (including the Credit Facilities Total Outstandings), net of
                          unrestricted cash and cash equivalents held in a pledged account in
                          an amount not to exceed $100 million (the “Unrestricted Cash
                          Amount”) to (b) Consolidated EBITDAX (subject to the last
                          paragraph of this Section).

                          The “Total Leverage Ratio” shall be no more than 3.50 to 1.00 and
                          will be defined as the ratio of (a) Consolidated Indebtedness
                          (defined in a manner consistent with the Documentation Principles)
                          net of the Unrestricted Cash Amount to (b) Consolidated EBITDAX
                          (subject to the last paragraph of this Section).

                          The “Current Ratio” shall be no less than 1.00 to 1.00 and will be
                          defined as the ratio of consolidated current assets of the Borrower
                          and its Restricted Subsidiaries (including the unused amount of the
                          RBL Tranche A Commitments as of such date, but excluding non-
                          cash assets under FAS 133 or ASC 815) to (b) consolidated current
                          liabilities of the Borrower and its Restricted Subsidiaries as of such
                          date (excluding (i) non-cash obligations under FAS 133 (or
                          ASC 815), (ii) current maturities under the Credit Facilities and
                          other current maturities of long-term indebtedness and (iii) such
                          other exclusions as shall be reasonably agreed to in the RBL Credit
                          Documentation).

                          The “Secured Debt Coverage Ratio” shall be no less than 1.50 to
                          1.00 and will be defined as the ratio of Total PDP PV-10 to total
                          consolidated debt that is secured (including the Credit Facilities
                          Total Outstandings and any other secured debt).

                          The Financial Covenants shall be tested as of the last day of each
                          fiscal quarter of the Borrower (beginning with the first full fiscal
                          quarter to occur after the Closing Date); provided, that the Secured
                          Debt Coverage Ratio shall be measured semi-annually
                          contemporaneously with the delivery of the Reserve Report
                          (beginning with the first Reserve Report delivered after the Closing
                          Date).

                          For purposes of the RBL Credit Documentation, “Consolidated
                          EBITDAX” (and component definitions, including, without
                          limitation, Consolidated Net Income) will be defined subject to the
                          Documentation Principles, and will include certain addbacks,
                          including, without limitation, addbacks for costs and expenses
                          related to the implementation of fresh start accounting and costs and




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                          expenses incurred in connection with restructuring activities
                          (including the Restructuring Transactions).

                          “Specified Quarter” shall mean the fourth fiscal quarter of 2020
                          based on actual numbers to the extent the testing date is in 2021 and,
                          to the extent the testing date is in 2020 based on actual numbers for
                          such portion of the fiscal quarter prior to the Closing Date, and based
                          on reasonable pro forma projections for such portion of the fiscal
                          quarter after the Closing Date.

                          “Consolidated EBITDAX” shall be calculated on a building
                          annualized basis so that (i) for a testing date in 2020 or a testing date
                          in the first fiscal quarter of 2021 (up to but not including the last day
                          of the first fiscal quarter of 2021), Consolidated EBITDAX for such
                          quarter shall be calculated by multiplying Consolidated EBITDAX
                          for the Specified Quarter by four, (ii) for a testing date on the last
                          day of the first fiscal quarter of 2021 or the second fiscal quarter of
                          2021 (up to but not including the last of the second fiscal quarter of
                          2021), Consolidated EBITDAX for such quarter shall be calculated
                          by multiplying Consolidated EBITDAX for the first fiscal quarter of
                          2021 by four, (iii) for a testing date on the last day of the second
                          fiscal quarter or in the third fiscal quarter of 2021 (up to but not
                          including the last day of the third fiscal quarter), Consolidated
                          EBITDAX for the such quarter shall be calculated by multiplying
                          Consolidated EBITDAX for the first two fiscal quarters in 2021 by
                          two and (iv) for a testing date on the last day of the third fiscal
                          quarter of 2021 or the fourth fiscal quarter of 2021 (up to but not
                          including the last day of the fourth fiscal quarter), the first three
                          fiscal quarters of 2021 multiplied by four divided by three or (b) for
                          a testing date on any date thereafter, Consolidated EBITDAX for the
                          immediately preceding four fiscal quarter period.


Negative Covenants:       Subject to the Documentation Principles, to be substantially the
                          same as the Prepetition Credit Agreement to be limited to:

                          (a)    indebtedness (including guarantee obligations in respect of
                                 indebtedness), with exceptions for, among other things,

                                 (i)     purchase money indebtedness and capital leases;

                                 (ii)    a general incurrence-based debt basket for Specified
                                         Additional Debt subject to (a) pro forma compliance
                                         with the Financial Covenants, (b) no Default or Event
                                         of Default and (c) a Total Leverage Ratio no greater
                                         than 3.00 to 1.00;

                                 (iii)   the Exit FLLO Term Loan Facility or any permitted
                                         refinancing or permitted replacements thereof; and




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                                (iii)   a general debt basket in an amount to be agreed;

                         (b) liens, including a general lien basket in an amount to be agreed,
                             liens attaching to Specified Additional Debt (as provided
                             above) and liens securing the Exit FLLO Term Loan Facility
                             or any last out or junior liens securing any permitted
                             refinancing or permitted replacements thereof;

                         (c)    mergers, consolidations, liquidations and dissolutions;

                         (d) sales, dispositions or transfers of assets;

                         (e)    dividends or distributions on, return of capital, payment or
                                delivery of property or cash to equity holders, or redemptions,
                                retirement or repurchases of, or other restricted payments in
                                respect of, the equity interests of the Borrower or the other
                                Loan Parties;

                         (f)    acquisitions, investments, loans and advances and other
                                investments;

                         (g)    limitations on junior debt payments and amendments;

                         (h) burdensome agreements in respect of negative pledge clauses
                             with respect to the Collateral;

                         (i)    transactions with affiliates;

                         (j)    limitation on subsidiary distributions;

                         (k)    changes in fiscal year;

                         (l)    amendments of organizational documents of the Loan Parties
                                and material contracts of the Loan Parties, in each case, that
                                are materially adverse to the RBL Lenders;

                         (m) use of proceeds;

                         (n) sanctions; anti-corruption use of proceeds; and

                         (o) maximum permitted hedging of the Borrower and its
                             Restricted Subsidiaries attributable to PDP reserves for each
                             of (i) crude oil and (ii) natural gas liquids and natural gas
                             (taken together), with each of (i) and (ii) calculated separately
                             as follows: (A) 90% for each of the first two years; and
                             (B) 80% for the third year and thereafter.

                         The RBL Credit Documentation will contain provisions pursuant to
                         which, subject to customary limitations on investments in
                         Unrestricted Subsidiaries, the Borrower will be permitted to
                         designate (or re-designate) any existing or subsequently acquired or



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                          organized Restricted Subsidiary as an “unrestricted subsidiary”
                          (each, an “Unrestricted Subsidiary”) and designate (or re-designate)
                          any such Unrestricted Subsidiary as a Restricted Subsidiary;
                          provided, that after giving effect to any such designation or re-
                          designation, no default or Event of Default shall exist.

Events of Default:        Subject to the Documentation Principles, to be substantially the
                          same as the Prepetition Credit Agreement (including materiality
                          thresholds, exceptions and grace periods) and to be limited to:
                          nonpayment of principal when due; nonpayment of interest or
                          regularly scheduled fees; nonpayment of other amounts after five
                          days; material inaccuracy of a representation or warranty when
                          made; violation of a covenant (with certain covenants subject to a
                          30 day grace period); cross-default to material indebtedness in
                          excess of an amount to be reasonably agreed; bankruptcy events
                          with respect to the Borrower or a material Restricted Subsidiary;
                          certain ERISA events; unpaid, final judgments involving a liability
                          in excess of an amount to be reasonably agreed that have not been
                          vacated, discharged, stayed or bonded pending appeal within 60
                          days from the entry thereof; actual (or assertion by a Loan Party in
                          writing) of the invalidity of any guarantee or any material security
                          document; and a change of control (consistent with the Prepetition
                          Credit Agreement but giving effect to certain “permitted holder”
                          modifications).

Voting:                   Amendments and waivers of the RBL Credit Documentation will
                          require the approval of RBL Lenders that are non-defaulting RBL
                          Lenders holding more than 50% of the aggregate amount of the
                          RBL Loans and the RBL Tranche A Commitments (the “Majority
                          RBL Lenders”), except that:

                          (a)    the consent of each RBL Lender directly and adversely
                                 affected thereby (but not the Majority RBL Lenders) shall be
                                 required with respect to:

                                 (i)   reductions in the principal amount of any RBL Loan
                                       owed to such RBL Lender or any scheduled amortization
                                       payment thereon,

                                 (ii) extensions of the final maturity of any RBL Loan owed
                                      to such RBL Lender or any scheduled amortization
                                      payment thereon or the due date of any interest or fee
                                      payment owed to such RBL Lender (in each case other
                                      than any extension for administrative convenience),

                                 (iii) reductions in the rate of interest (other than a waiver of
                                       default interest) or the amount of any fees owed to such
                                       RBL Lender (it being understood that any change in the
                                       definitions of any ratio used in the calculation of such rate




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                                      of interest or fees (or the component definitions) shall not
                                      constitute a reduction in any rate of interest or fees),

                                (iv) increases in the amount of such RBL Lender’s RBL
                                     Loans or RBL Tranche A Commitment (it being
                                     understood that a waiver of any condition precedent or
                                     the waiver of any default, event of default or mandatory
                                     prepayment shall not constitute an increase of any RBL
                                     Loan or RBL Tranche A Commitment of any RBL
                                     Lender), and

                                (v) extensions of the expiry date of such RBL Lender’s RBL
                                    Tranche A Commitment (it being understood that a
                                    waiver of any condition precedent or the waiver of any
                                    default, event of default or mandatory prepayment shall
                                    not constitute an extension of any commitment of any
                                    RBL Lender, which shall only require a Majority RBL
                                    Lender vote).

                         (b) the consent of 66.67% (calculated as provided above) of the
                             Tranche A RBL Lenders (other than Non-Participating
                             Lenders (as such term is defined in the DIP Credit Agreement)
                             and any affiliates thereof (the “Non-Participating Lenders”))
                             (the “Required RBL Lenders”) shall be required in the case of
                             decreases in, or reaffirmations of, the Borrowing Base (other
                             than as set forth in the section titled “Borrowing Base”);

                         (c)    the consent of 100% of the RBL Lenders shall be required with
                                respect to:

                                (i)   reductions of any of the voting percentages set forth in
                                      the definition of “Majority RBL Lenders” or “Required
                                      RBL Lenders”,

                                (ii) releases of all or substantially all of the Collateral, and

                                (iii) releases of all or substantially all of the value of the
                                      Guaranty,(other than, in the case of clauses (ii) and (iii)
                                      above, to the extent otherwise in accordance with the
                                      RBL Credit Documentation).

                                (d)    the consent of 100% of the Tranche A RBL Lenders
                                (excluding any Non-Participating Lender) shall be required
                                with respect to any increase in the Borrowing Base (it being
                                understood that any redetermination of the Borrower Base may
                                be extended or postponed with the consent of Majority
                                Lenders).

                         Notwithstanding the foregoing, amendments and waivers of the
                         Financial Covenants (or any of financial definitions included in (and
                         for purposes of) the Financial Covenants) will require only the



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                                  consent of the Majority RBL Lenders and no other consents or
                                  approvals shall be required.

                                  The RBL Credit Documentation shall contain provisions allowing
                                  the Borrower to replace a RBL Lender in connection with
                                  amendments and waivers requiring the consent of the Required RBL
                                  Lenders, all RBL Lenders or of all RBL Lenders directly affected
                                  thereby (so long as the Majority RBL Lenders or a majority of the
                                  relevant affected RBL Lenders, as the case may be, consent thereto),
                                  increased costs, taxes, etc. and “defaulting” or insolvent RBL
                                  Lenders.

                                  Any provision of the RBL Credit Documentation may be amended
                                  by an agreement in writing signed by the RBL Agent and the
                                  Borrower to cure any immaterial ambiguity, omission, defect or
                                  inconsistency.

Defaulting Lenders:               The RBL Credit Documentation shall contain customary limitations
                                  on and protections with respect to “defaulting” RBL Lenders
                                  (including provisions relating to cash collateral requirements for
                                  such RBL Lender; reallocation of participations in, or the Borrower
                                  providing cash collateral to support Letters of Credit; suspension of
                                  voting rights and rights to receive certain fee and other payments;
                                  termination or assignment of the commitments or RBL Loans of
                                  such defaulting RBL Lender and any RBL Lender subject to
                                  customary “EU Bail-In” provisions). Defaulting RBL Lenders will
                                  not be entitled to receive commitment or Letter of Credit fees.

Assignments and Participations:   The RBL Lenders shall be permitted to assign all or a portion of
                                  their RBL Loans and RBL Tranche A Commitments with the
                                  consent of (a) the Borrower (such consent not to be unreasonably
                                  withheld), unless an event of default has occurred and is continuing
                                  or such assignment is to a RBL Lender, an affiliate of a RBL Lender
                                  or an Approved Fund (as defined below) (but if in respect of the
                                  RBL Facility, only to another RBL Lender under the RBL Facility);
                                  provided that the Borrower shall be deemed to have consented to
                                  any assignment unless it shall have objected thereto by written
                                  notice to the RBL Agent within 10 business days after having
                                  received written notice thereof, (b) the RBL Agent (not to be
                                  unreasonably withheld), and (c) each Issuing Lender (not to be
                                  unreasonably withheld). In the case of partial assignments (other
                                  than to another RBL Lender, an affiliate of a RBL Lender or an
                                  Approved Fund), the minimum assignment amount shall be
                                  $15 million (and $1 million increments above such amount) unless
                                  otherwise agreed by the Borrower and the RBL Agent (or, in each
                                  case, if less, all of the relevant RBL Lender’s remaining loans and
                                  commitments of the applicable class). The RBL Agent shall receive
                                  a processing and recordation fee of $3,500 (which fee may be
                                  waived or reduced in the sole discretion of the RBL Agent) in
                                  connection with all assignments.




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                                “Approved Fund” means, with respect to any RBL Lender, any
                                person (other than a natural person) that is engaged in making,
                                purchasing, holding or otherwise investing in commercial loans and
                                similar extensions of credit in the ordinary course of its activities
                                and is administered, advised or managed by (i) such RBL Lender,
                                (ii) an affiliate of such RBL Lender or (iii) an entity or an affiliate
                                of an entity that administers, advises or manages such RBL Lender.

                                Pledges of RBL Loans in accordance with applicable law shall be
                                permitted without restriction.

Yield Protection and Taxes:     The RBL Credit Documentation shall contain customary provisions
                                (a) protecting the RBL Lenders against increased costs or loss of
                                yield resulting from changes in reserve, capital adequacy and other
                                requirements of law and (b) indemnifying the RBL Lenders for
                                “breakage costs” incurred in connection with, among other things,
                                any prepayment of a RBL Eurodollar Loan on a day other than the
                                last day of an interest period with respect thereto. The RBL Credit
                                Documentation shall contain a customary tax gross up.

Expenses and Indemnification:   The Borrower shall pay (a) all reasonable and documented out-of-
                                pocket expenses (and with respect to legal expenses, limited to
                                reasonable fees, disbursements and other charges of one primary
                                outside counsel, and if necessary, of a single firm of local outside
                                counsel in each material jurisdiction for all persons, taken as whole
                                (unless there is an actual or perceived conflict of interest in which
                                case all such similarly situated persons, taken as a whole, may retain
                                an outside counsel upon written notice to the Borrower and RBL
                                Agent), in each case, to the RBL Agent) of the RBL Agent and the
                                RBL Lead Arranger incurred on or after the Closing Date within ten
                                (10) days after written demand thereof associated with the
                                syndication of the RBL Facility and the preparation, execution,
                                delivery and administration of the RBL Credit Documentation and
                                any amendment or waiver with respect thereto and (b) all reasonable
                                out-of-pocket expenses of the RBL Agent and the RBL Lenders
                                within ten (10) days after written demand thereof in connection with
                                the enforcement of the RBL Credit Documentation.

                                The RBL Agent, the RBL Lead Arranger and the RBL Lenders (and
                                their affiliates and their respective officers, directors, employees,
                                agents, advisors and other representatives) (each, an “indemnified
                                person”) will be indemnified for and held harmless against, any
                                losses, claims, damages and liabilities (it being understood that any
                                such losses, claims, damages or liabilities that consist of legal fees
                                and/or expenses shall be limited to the actual reasonable and
                                documented out-of-pocket fees, disbursements and other charges of
                                one counsel to all indemnified persons taken as a whole and, solely
                                in the case of a conflict of interest, one additional counsel to all
                                affected indemnified persons taken as a whole, and, if reasonably
                                necessary, one local counsel in any relevant material jurisdiction to
                                all indemnified persons, taken as a whole and, solely in the case of



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                               an actual or reasonably perceived conflict of interest, one additional
                               local counsel to all affected indemnified persons, taken as a whole,
                               in each case incurred in connection with investigating or defending
                               any claim, litigation or proceeding relating to the RBL Facility or
                               the use or the proposed use thereof) incurred in respect of the RBL
                               Facility or the use or the proposed use of proceeds thereof, except
                               to the extent they arise from the gross negligence or willful
                               misconduct of the RBL Credit Documentation by, such indemnified
                               person, in each case as determined by a final, non-appealable
                               judgment of a court of competent jurisdiction or any dispute solely
                               among the indemnified persons (other than any claims against an
                               indemnified person in its capacity as the RBL Agent or RBL Lead
                               Arranger) and not arising out of any act or omission of the Borrower,
                               or any of its subsidiaries. None of the indemnified persons, the
                               Borrower, any subsidiary of the Borrower or any affiliates or
                               directors, officers, employees, agents, advisors or other
                               representatives of any of the foregoing shall be liable for any
                               special, indirect, consequential or punitive damages in connection
                               with the RBL Facility (including the use or intended use of the
                               proceeds of the RBL Facility); provided that the foregoing shall not
                               limit the indemnification obligations in the immediately preceding
                               sentence to the extent including in any third party claim in
                               connection with which such indemnified person is entitled to
                               indemnification hereunder. Notwithstanding the foregoing, each
                               indemnified person shall be obligated to refund and return any and
                               all amounts paid by the Borrower to such indemnified person for
                               fees, expenses or damages to the extent such indemnified person is
                               not entitled to payment of such amounts in accordance with the
                               terms hereof.

Governing Law and Forum:       New York.

Counsel to the RBL Agent and
the RBL Lead Arranger:         Sidley Austin LLP.




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                                Annex I to Exhibit B



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                                                                                             EXHIBIT C

                                 First Lien Last Out Term Loan Facility
                                   Summary of Terms and Conditions

                 Set forth below is a summary of the principal terms and conditions for the FLLO Term
Loan Facility. Capitalized terms used but not otherwise defined herein shall have the meanings assigned
to such terms in the Commitment Letter to which this Exhibit C is attached or on Exhibits B or D (including
the Annexes hereto and thereto) attached thereto; provided, that in the event any such capitalized term is
subject to multiple and differing definitions, the appropriate meaning shall be determined by reference to
the context in which it is used.

 PARTIES

  Borrower:                            Chesapeake Energy Corporation.

  Guarantors:                          All obligations of the Borrower under the FLLO Term Loan
                                       Facility will be unconditionally guaranteed on a senior basis by
                                       the same Guarantors that guarantee the RBL Facility.

  Lead Arranger and Bookrunner:        MUFG Union Bank, N.A. will act as lead arranger and
                                       bookrunner for the FLLO Term Loan Facility (in such capacity,
                                       the “FLLO Lead Arranger”).

  Joint Lead Arrangers and Joint       Bank of America, N.A., BMO Capital Markets Corp., Wells
  Bookrunners                          Fargo Securities, LLC, Citibank, N.A., JPMorgan Chase Bank,
                                       N.A., and Royal Bank of Canada will act as joint lead arrangers
                                       and joint bookrunners for the FLLO Term Loan Facility.

  FLLO Term Loan                       MUFG Union Bank, N.A. or an affiliate thereof will act as the
  Administrative                       sole and exclusive administrative agent and collateral agent for
  Agent and Collateral Agent:          the FLLO Term Lenders referred to below (in such capacities, the
                                       “FLLO Term Loan Agent” and, together with the RBL Agent, the
                                       “Agents”).

  FLLO Term Lenders:                   Holders of DIP Claims (as defined in the Restructuring Support
                                       Agreement) (collectively, and together with any person that
                                       becomes a lender by assignment as set forth under the heading
                                       “Assignments and Participations” below, the “FLLO Term
                                       Lenders”).




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TYPE AND AMOUNT OF FLLO TERM LOAN FACILITY

 Type and Amount:                A 5-year first lien last out term loan facility (the “FLLO Term
                                 Loan Facility”) in an aggregate principal amount of $750 million
                                 (the loans thereunder, the “FLLO Term Loans” and, together with
                                 the RBL Loans, the “Loans”).

 Amortization:                   Commencing the first full quarter following the Closing Date,
                                 quarterly amortization of principal in equal installments of 0.25%
                                 of the funded FLLO Term Loan amounts.

 Maturity:                       The FLLO Term Loans will mature on the date which is 5 years
                                 following the Closing Date (the “FLLO Term Loan Maturity
                                 Date”).

 Availability:                   The FLLO Term Loans shall be made in a single drawing on the
                                 Closing Date. Repayments and prepayments of the FLLO Term
                                 Loans may not be reborrowed.

 Use of Proceeds:                Same as the RBL Facility.

CERTAIN PAYMENT PROVISIONS

 Interest Rates and Fees:        As set forth on Annex I hereto.

 Optional Prepayments:           The FLLO Term Loans will be non-callable until the second
                                 anniversary of the Closing Date (provided that the FLLO Term
                                 Loans may be repaid without premium or penalty within 90 days
                                 of the Closing Date to the extent that, at the time of such
                                 repayment, at least 50.1% of the FLLO Term Loans are held by
                                 the initial holders thereof). Thereafter, and to the extent permitted
                                 by the RBL Credit Documentation, FLLO Term Loans may be
                                 prepaid, in whole or in part, without premium or penalty (except
                                 as set forth under the heading “FLLO Term Loan Prepayment
                                 Fee” below), in minimum amounts to be agreed, at the option of
                                 the Borrower at any time upon 1 business days (or, in the case of
                                 a prepayment of Eurodollar Loans, 3 business days’) prior notice,
                                 subject to reimbursement of the FLLO Term Lenders’
                                 redeployment costs in the case of a prepayment of Eurodollar
                                 Loans prior to the last day of the relevant interest period.



 FLLO Term Loan Prepayment       Any (a) optional prepayment of the FLLO Term Loans and
 Fee:                            (b) mandatory prepayment of the FLLO Term Loans with the
                                 proceeds of indebtedness that is not permitted by the Credit
                                 Documentation (any transaction described in clauses (a) through
                                 (b) above, a “Subject Prepayment Transaction”) will be subject to
                                 a customary make-whole (discounted at the applicable adjusted
                                 treasury rate plus 50 basis points) if made prior to the second
                                 anniversary of the Closing Date and thereafter subject to the



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                             following prepayment premiums (expressed as a percentage of
                             the outstanding principal amount of the FLLO Term Loans
                             prepaid) as set forth opposite the relevant period from the Closing
                             Date as indicated below:



                            Year                                 Call Premium

                            Year 3:                              6.00%

                            Year 4:                              3.00%

                            Thereafter:                          0.00%



Mandatory Prepayments:       Prior to the repayment in full and termination of the RBL Facility
                             (and any permitted refinancing thereof), the Borrower shall
                             prepay the FLLO Term Loans with 100% of the net proceeds
                             from the incurrence of junior debt permitted under the Credit
                             Documentation.

                             Following the repayment in full and termination of the RBL
                             Facility, the Borrower shall make the following mandatory
                             prepayments:

                             (a) 100% of net proceeds of certain non-ordinary course sales or
                                 other dispositions of Collateral (including as a result of
                                 casualty or condemnation) by the Loan Parties subject to a
                                 365 day reinvestment right period (which may be extended
                                 by an additional 180 days as long as a binding commitment
                                 for such reinvestment has been entered into within such 365
                                 day-period); and

                             (b) On a quarterly basis, any excess cash flow (to be defined in a
                                 manner to be agreed), such that (and only to the extent) after
                                 giving pro forma effect to the prepayment of the loans in such
                                 amount, (x) the Total PDP PV-10 to (y) the Consolidated
                                 Indebtedness net of the Unrestricted Cash Amount would be
                                 equal to 2.00 to 1.00.

                             For the avoidance of doubt, all such mandatory prepayments shall
                             be made at par.

COLLATERAL                   The Borrower obligations under the FLLO Term Loan Facility
                             and each other Loan Party’s obligations under the Guaranty shall
                             be secured on a first-lien basis (but with a right to repayment that
                             is junior to the rights of the RBL Facility at all times) by the same




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                                  Collateral securing the RBL Facility subject to the provisions of
                                  the Collateral Trust Agreement.

                                  The first lien pledges, security interest and mortgages on the
                                  Collateral shall be created and perfected on terms, and pursuant
                                  to the same collateral documentation that will be the Credit
                                  Documentation, in each case, subject to the Collateral Trust
                                  Agreement.

                                  The Collateral Trust Agreement shall provide for the automatic
                                  release of any Guaranty or Collateral under the FLLO Term Loan
                                  Facility to the extent the corresponding guarantor and collateral
                                  is released under the RBL Credit Facility.



DOCUMENTATION

FLLO Term Loan Credit             The definitive financing documentation for the FLLO Term Loan
Documentation:                    Facility will be the “FLLO Term Loan Credit Documentation”
                                  (together with the RBL Credit Documentation, the “Credit
                                  Documentation”), which will be drafted by the counsel to the
                                  FLLO Term Loan Agent, shall, contain the terms and conditions
                                  set forth in the Commitment Letter and such other terms as the
                                  Borrower and the FLLO Lead Arrangers shall agreement; it being
                                  understood and agreed that the FLLO Term Loan Credit
                                  Documentation shall be based on and consistent with the RBL
                                  Credit Documentation; provided, that, any extensions of time
                                  periods for the delivery of collateral, guarantees or reserve or title
                                  reporting provided by the RBL Agent or RBL Lenders shall
                                  automatically apply to the corresponding requirement under the
                                  FLLO Term Loan Credit Documentation. The principles
                                  described under this section entitled “FLLO Term Loan Credit
                                  Documentation” shall be referred to as the “FLLO
                                  Documentation Principles”.

Closing Conditions:               As set forth on Exhibit D.

Representations and Warranties:   Subject to the FLLO Documentation Principles, the
                                  representations and warranties shall be substantially similar to
                                  (and limited to) those representations and warranties contained in
                                  the RBL Credit Documentation.

Affirmative Covenants:            Subject to the FLLO Documentation Principles, the affirmative
                                  covenants shall be substantially similar to (and limited to) those
                                  affirmative covenants contained in the RBL Credit
                                  Documentation.

Financial Covenants:              Same (and limited to) financial covenants as those financial
                                  covenants contained in the RBL Credit Documentation.




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Negative Covenants:                 Subject to the FLLO Documentation Principles, the negative
                                    covenants shall be substantially similar to (and limited to) those
                                    negative covenants contained in the RBL Credit Documentation.

Events of Default:                  Subject to the FLLO Documentation Principles, the events of
                                    default shall be substantially similar to (and limited to) the events
                                    of default contained in the RBL Credit Documentation, provided,
                                    however, that the FLLO Term Loan Credit Documentation shall
                                    contain notice provisions, thresholds, and grace and cure periods
                                    consistent with customary high yield bond indentures.

Voting:                             The FLLO Term Loan Credit Documentation will contain
                                    provisions for amendments, waivers and other modifications
                                    substantially similar to such provisions contained in the RBL
                                    Credit Documentation and to include customary affiliate voting
                                    provisions.

Defaulting Lenders:                 The FLLO Term Loan Credit Documentation shall contain
                                    customary limitations on and protections with respect to
                                    “defaulting” FLLO Term Lenders.

Assignments and Participations:     The FLLO Term Loan Credit Documentation will contain
                                    provisions for assignments of and participations in the FLLO
                                    Term Loans substantially similar to the provisions for
                                    assignments of and participations in the loans contained in the
                                    RBL Credit Documentation modified to reflect the term loan
                                    nature of the FLLO Term Loans.

Yield Protection and Taxes:         The FLLO Term Loan Credit Documentation will contain yield
                                    protection and tax provisions substantially similar to those
                                    contained in the RBL Credit Documentation.

Expenses and Indemnification:       The FLLO Term Loan Credit Documentation will contain
                                    provisions for expense reimbursement and indemnification
                                    substantially similar to those provisions for expense
                                    reimbursement and indemnification contained in the RBL Credit
                                    Documentation, provided that expense reimbursement and
                                    indemnitees shall only be available under the FLLO Term Loan
                                    Credit Documentation for the Agents and Arrangers (and their
                                    respective affiliates).

Governing Law and Forum:            New York.

Counsel to the FLLO Term            Sidley Austin LLP.
Loan Agent:




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                                                                                                 EXHIBIT D


                                            Conditions Precedent

The availability and initial funding of the Exit RBL Facility and the Exit FLLO Term Loan Facility
(collectively, the “Credit Facilities” and each a “Credit Facility”) shall be subject to the satisfaction (or
waiver) of solely the following conditions. Capitalized terms used but not otherwise defined herein have
the meanings assigned to such terms in the Commitment Letter to which this Exhibit D is attached
(including by reference to the Restructuring Support Agreement) or on Exhibits B or C (including the
Annexes thereto) attached thereto; provided, that in the event any such capitalized term is subject to multiple
and differing definitions, the appropriate meaning shall be determined by reference to the context in which
it is used.

1.      Each of the Loan Parties shall have executed and delivered the relevant Credit Documentation to
        which it is a party, which shall, in each case, be substantially consistent with the terms of the term
        sheets set forth Exhibits B and C to the satisfaction of the Commitment Parties and the Borrower,
        including all documents and instruments required to create and perfect the security interests in the
        Collateral, and the Lead Arranger and the Agents shall have received: customary closing and
        secretary’s certificates, borrowing notices and legal opinions (including legal opinions of local
        counsel in each material relevant jurisdiction), corporate documents (including organizational
        documents and certificates of authorization and/or good standing in each jurisdiction where
        material Borrowing Base Properties) are located and resolutions; a certificate of the chief financial
        officer (or other officer with reasonably equivalent responsibilities) of the Borrower in the form
        attached as Annex I hereto, certifying that the Borrower and its subsidiaries, on a consolidated
        basis, after giving effect to the Restructuring Transactions, are solvent; and such other documents
        and instruments as are customary for transactions of this type (including evidence of insurance and
        customary lien and judgment searches reflecting the absence of liens and security interests other
        than those being released on or prior to the Closing Date, or which are otherwise permitted under
        the Credit Documentation).

2.      The representations in the Credit Documentation shall be true and correct in all material respects
        (except in the case of any such representation which expressly relates to a given date or period,
        such representation and warranty shall be true and correct in all material respects as of the
        respective date or for the respective period, as the case may be).

3.      The Restructuring shall be consummated substantially concurrently with the initial funding of the
        Credit Facilities on Closing Date.

4.      The Agents shall have received a certificate of a responsible officer of the Borrower certifying (a)
        that the Borrower and its restricted subsidiaries have received all material third-party and
        governmental consents and approvals required by the terms of the Credit Documentation, (b) as to
        other customary matters in connection with the Closing Date, and (c) since the Petition Date, there
        has not been any material adverse change in, or material adverse effect on the business, operations,
        property, liabilities (actual or contingent) or condition (financial or otherwise) of the Loan Parties,
        taken as a whole, other than any change, event or occurrence, arising individually or in the
        aggregate, from events that could reasonably be expected to result from the filing or
        commencement of the Chapter 11 Cases (as defined in the Restructuring Support Agreement) or
        the announcement of the filing or commencement of the Chapter 11 Cases.




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5.      The Agents shall have received (a) audited consolidated financial statements of the Borrower for
        the fiscal year ended December 31, 2019 and unaudited consolidated financial statements of the
        Borrower for each fiscal quarter thereafter ending at least 60 days prior to the Closing Date, (it
        being agreed and understood that the financial statements described in this clause (a) have been
        received by the Agents and the condition described in this clause (a) has been satisfied with respect
        to the fiscal year of the Borrower ended December 31, 2019, and fiscal quarter ended March 31,
        2020), (b) a pro forma unaudited consolidated balance sheet of the Borrower as of the Closing Date
        (based on the unaudited consolidated balance sheet of the Borrower as of the most recently ended
        calendar month ended at least 30 calendar days before the Closing Date), after giving effect to the
        making of the initial extensions of credit under the Credit Facilities, the application of the proceeds
        thereof and to the other transactions contemplated to occur on the Closing Date, certified by the
        Borrower’s chief financial officer, which shall reflect no indebtedness other than the Loans made
        by the Lenders under each of the Credit Facilities, as applicable, on the Closing Date and other
        indebtedness permitted by the Credit Documentation (excluding any Specified Additional Debt),
        (c) at least 30 days prior to the Closing Date (or such later date as the RBL Agent may agree in its
        sole discretion), a reserve report, with an as of date within 150 days of the contemplated Plan
        Effective Date, prepared by an Approved Petroleum Engineer (as defined in the RBL Facility Term
        Sheet) covering the Borrowing Base Properties (the “Initial Reserve Report”) as to at least 80% by
        volumes of the Borrowing Base Properties covered thereby, with the balance prepared by or under
        the supervision of the Borrower’s chief engineer, (d) lease operating statements and production
        reports with respect to the oil and gas properties evaluated in the Initial Reserve Report for each
        fiscal quarter ended since the Petition Date and ending at least 60 days prior to the Closing Date
        and, to the extent that the Closing Date occurs on or after the day that is 60 days after the fiscal
        year ended December 31, 2020, for the fiscal year ended December 31, 2020 and (e) such other
        customary financial Projections in respect of the Borrower and its subsidiaries as the Lead Arranger
        may reasonably request in connection with the arrangement and syndication of the Exit FLLO Term
        Loan Facility to the extent so requested no later than 30 days prior to the Marketing Period
        Commencement Date (determined prior to giving effect to this clause (e)). The information
        required to be delivered pursuant to this paragraph 5 is referred to herein as the “Required Bank
        Information”.

6.      All actions necessary to establish that each Agent will have a perfected first priority security interest
        in the Collateral as required by the Credit Documentation shall have been taken, including delivery
        of an appropriate number of counterparts for filing in all relevant jurisdictions of all documents and
        instruments necessary to grant the Collateral Agent a perfected security interest (subject to liens
        permitted under the relevant Credit Documentation) in the Collateral under the Credit Facilities
        shall have been delivered; provided, however, to the extent the Borrower and Guarantors are unable
        to (i) execute and deliver control agreements in connection with deposit accounts, commodities
        accounts or securities accounts or (ii) deliver insurance endorsements after the use of commercially
        reasonable efforts, the Borrower and the Guarantors shall have a 10 business day post-closing
        period (or such longer period as the RBL Agent may reasonably agree) to deliver such items in
        clause (i) and (ii).

7.      The Borrower shall have delivered satisfactory title information with respect to 85% of the PV-10
        value of the Borrowing Base Properties evaluated in the Initial Reserve Report; provided, however,
        to the extent the Borrower is unable to deliver such title after the use of commercially reasonable
        efforts, the Borrower shall have a 30 day post-closing period (or such longer period as the RBL
        Agent may reasonably agree) to deliver such title. .

8.      All (a) fees required to be paid on the Closing Date pursuant to the Fee Letters and (b) expenses
        required to be paid on the Closing Date pursuant to the Commitment Letter to the extent invoiced


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         at least 3 business days prior to the Closing Date (the “Invoice Date”), shall, in each case,
         substantially concurrently with the initial borrowings have been paid (which amounts may be offset
         against the proceeds of the Credit Facilities).

9.       The Agent and Commitment Parties shall have received, at least five (5) business days prior to the
         Closing Date, all documentation and other information required by regulatory authorities with
         respect to the Loan Parties under applicable “know your customer” and anti-money laundering
         rules and regulations, including, without limitation, the PATRIOT Act, that has been reasonably
         requested by the Commitment Parties at least 10 business days in advance of the Closing Date.

10.      To the extent the Exit FLLO Term Loan Facility is to be funded on the Closing Date, the Lead
         Arranger shall have been afforded a period (the “Marketing Period”) of at least 15 consecutive
         business days (ending no later than the business day immediately prior to the Closing Date) upon
         receipt of the Required Bank Information (such date, the “Marketing Period Commencement
         Date”) (provided that the provision of any information as required under paragraph 5 above shall
         not “restart” the Marketing Period once the Marketing Period has otherwise begun) to syndicate
         the Exit FLLO Term Loan Facility.

11.      The Plan (as defined in the Restructuring Support Agreement), the order entered by the Bankruptcy
         Court confirming the Plan (the “Confirmation Order”), and any related order of the Bankruptcy
         Court (and any amendments or modifications to any of the foregoing) shall be consistent with the
         Restructuring Support Agreement (other than any changes to the terms described therein that would
         not reasonably be expected to adversely affect the interests of the Agents, the RBL Lenders or the
         FLLO Term Lenders in any material respect) and be in substance reasonably satisfactory to the
         Agents and shall provide for approval of the Credit Facilities and contain customary releases and
         exculpations, in each case that are reasonably acceptable to the Agents.

12.      The Confirmation Order shall be in full force and effect and shall not have been reversed, stayed,
         modified or amended, and shall not be subject to any pending appeals other than appeals the result
         of which would not have a materially adverse effect on the rights and interests of the Agents, the
         RBL Lenders or the FLLO Term Lenders.

13.      The Plan Effective Date (as defined in the Restructuring Support Agreement) shall have occurred,
         all conditions precedent to the confirmation and effectiveness of the Plan, as set forth in the Plan
         (other than the effectiveness of the Credit Facilities, which shall occur contemporaneously with the
         Plan Effective Date), shall have been fulfilled or waived as permitted therein, including, without
         limitation, all transactions contemplated in the Plan or in the Confirmation Order to occur on the
         Plan Effective Date shall have been substantially consummated in accordance with the terms
         thereof and in compliance with applicable law, Bankruptcy Court and regulatory approvals.

14.      The Agents shall have received satisfactory evidence as to the payment in full on the Plan Effective
         Date of all material administrative expense claims, priority claims and other claims (including
         professional and transaction fees) required to be paid upon the Plan Effective Date.

15.      The lenders under the Prepetition Credit Facility shall receive the treatment outlined in the Exit
         RBL Facility Term Sheet, the Exit FLLO Term Loan Facility Term Sheet, the DIP Credit
         Agreement, the Restructuring Support Agreement, the Restructuring Term Sheet, and the Plan, and
         the DIP Lenders shall receive the treatment under the Restructuring Support Agreement, the
         Restructuring Term Sheet, and the Plan and the commitments thereunder shall have been
         terminated, and all security interests related thereto shall have either (a) been terminated or (b) been




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         amended and restated to secure the Borrower’s obligations under the Credit Facilities, in either case
         concurrently with the Closing Date.

16.      Each of the Debtors shall have paid to the DIP Lenders holding DIP Loans all other payments as
         provided for in any final orders entered in connection with the DIP Credit Agreement and/or use
         of cash collateral, and the Plan, which amounts shall be applied to the repayment of the DIP
         Obligations in accordance with the Plan. The DIP Credit Agreement and the Restructuring Support
         Agreement shall be in full force and effect and no default or event of default shall have occurred
         and be continuing pursuant to the terms thereof.

17.      After giving effect to the Restructuring Transactions, the pro forma Total Leverage Ratio
         (calculated in accordance with the “Financial Covenants” paragraph of the Exit RBL Facility Term
         Sheet, including the last paragraph thereof) is no greater than 2.25 to 1.00, and the RBL Agent shall
         have received a certificate from a financial officer of the Borrower stating the same.

18.      After giving effect to the Restructuring Transactions, the ratio of (x) Credit Facilities Total
         Outstandings and any other secured debt of the Borrower as of the Closing Date to (y) Total PDP
         PV-10 measured on a pro forma basis, is no less than 1.50 to 1.00, and the RBL Agent shall have
         received a certificate from a financial officer of the Borrower stating the same.

19.      The RBL Agent shall have received a certificate from a financial officer of the Borrower, dated as
         of the Closing Date, certifying that (i) the Borrower has received cash equity contributions in an
         aggregate amount no less than $600 million pursuant to the Backstop Commitment Agreement (as
         defined in the Restructuring Support Agreement), (ii) after giving effect to the Restructuring
         Transactions, the RBL Total Outstandings shall be no greater than $1,250 million and (iii) after
         giving effect to the Restructuring Transactions, minimum liquidity (to include unrestricted cash on
         hand and availability under the Exit RBL Facility) of the Borrower and the Restricted Subsidiaries
         shall be no less than $500 million.




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                                        Form of Solvency Certificate
                                                                                                   [•][•], 20[•]

        This Solvency Certificate is being executed and delivered pursuant to Section [•] of that certain [•]
(the “Credit Agreement”; the terms defined therein being used herein as therein defined).

        I, [•], the [Chief Financial Officer/equivalent officer] of the Borrower, in such capacity and not in
an individual capacity, hereby certify as follows:

1.      I am generally familiar with the businesses and assets of the Borrower and its Restricted
        Subsidiaries, taken as a whole, and am duly authorized to execute this Solvency Certificate on
        behalf of the Borrower pursuant to the Credit Agreement; and

2.      As of the date hereof and after giving effect to the Transactions and the incurrence of the
        indebtedness and obligations being incurred in connection with the Credit Agreement and the
        Transactions, that, (i) the sum of the debt (including contingent liabilities) of the Borrower and its
        subsidiaries, taken as a whole, does not exceed the fair value of the assets of the Borrower and its
        subsidiaries, taken as a whole; (ii) the capital of the Borrower and its subsidiaries, taken as a whole,
        is not unreasonably small in relation to the business of the Borrower or its subsidiaries, taken as a
        whole, contemplated as of the date hereof; and (iii) the Borrower and its subsidiaries, taken as a
        whole, do not intend to incur, or believe that they will incur, debts (including current obligations
        and contingent liabilities) beyond their ability to pay such debts as they mature in the ordinary
        course of business. For the purposes hereof, the amount of any contingent liability at any time shall
        be computed as the amount that, in light of all of the facts and circumstances existing at such time,
        represents the amount that can reasonably be expected to become an actual or matured liability.

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   IN WITNESS WHEREOF, I have executed this Solvency Certificate on the date first written above.

                                      By:
                                      Name: [•]
                                      Title: [Chief Financial Officer/equivalent officer]




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                                                              Execution Version




                  BACKSTOP COMMITMENT AGREEMENT


                                  AMONG


                  CHESAPEAKE ENERGY CORPORATION


                                    AND


                 THE BACKSTOP PARTIES PARTY HERETO


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                        BACKSTOP COMMITMENT AGREEMENT

        THIS BACKSTOP COMMITMENT AGREEMENT (this “Agreement”), dated as of
June 28, 2020, is made by and among Chesapeake Energy Corporation, a corporation incorporated
under the Laws of Oklahoma (the “Company”), on behalf of itself and each of the other Debtors,
on the one hand, and each Backstop Party, on the other hand. The Company and each Backstop
Party are referred to herein, individually, as a “Party” and collectively, as the “Parties”.
Capitalized terms that are used but not otherwise defined in this Agreement shall have the
meanings given to them in Section 1.1 hereof or, if not defined therein, shall have the meanings
given to them in the Restructuring Support Agreement or Restructuring Term Sheet, as applicable.

                                          RECITALS

        WHEREAS, the Company (as defined in the Restructuring Support Agreement), the
Backstop Parties and the Consenting Stakeholders (as defined in the Restructuring Support
Agreement) have entered into a Restructuring Support Agreement, dated as of June 28, 2020
(including the terms and conditions set forth in the Restructuring Term Sheet attached as Exhibit
B to the Restructuring Support Agreement (the “Restructuring Term Sheet” and collectively,
including all the exhibits thereto, as may be amended, supplemented or otherwise modified from
time to time, the “Restructuring Support Agreement”)), which (a) provides for the restructuring
of the Debtors’ capital structure and financial obligations pursuant to a plan of reorganization to
be filed in the Debtors’ jointly administered cases (the “Chapter 11 Cases”) under Title 11 of the
United States Code, 11 U.S.C. §§ 101-1532 (as it may be amended from time to time,
the “Bankruptcy Code”), currently pending, or to be commenced, in the United States
Bankruptcy Court for Southern District of Texas (the “Bankruptcy Court”), implementing the
terms and conditions of the Restructuring Transactions and (b) requires that the Plan be consistent
with the Restructuring Support Agreement;

       WHEREAS, the Debtors plan to file with the Bankruptcy Court, in accordance with the
terms of the Restructuring Support Agreement, motions seeking entry of, among others, the
Backstop Commitment Agreement Approval Order, the Disclosure Statement Order, the
Confirmation Order and the DIP Order; and

        WHEREAS, pursuant to the Plan, the Restructuring Support Agreement and this
Agreement, and in accordance with the Rights Offering Procedures, the Company, on behalf of
Reorganized Chesapeake, will conduct a rights offering (the “Rights Offering”) for the Rights
Offering Shares for an aggregate subscription price of $600 million (the “Rights Offering
Amount”) and a per-share purchase price equal to the Per Share Purchase Price, and on the Plan
Effective Date, Reorganized Chesapeake shall assume and perform any remaining obligations with
respect to the Rights Offering and issue the Rights Offering Shares.

       NOW, THEREFORE, in consideration of the mutual promises, agreements,
representations, warranties and covenants contained herein, the Company (on behalf of itself and
each other Debtor) and each of the Backstop Parties hereby agrees, severally and not jointly, as
follows:




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                                          ARTICLE I
                                         DEFINITIONS

       Section 1.1 Definitions. Except as otherwise expressly provided in this Agreement,
whenever used in this Agreement (including any Exhibits and Schedules hereto), the following
terms shall have the respective meanings specified therefor below or in the Restructuring Support
Agreement or Restructuring Term Sheet, as applicable:

      “66 2/3 Consenting Second Lien Noteholders” means Consenting Second Lien
Noteholders holding at least 66 2/3% of the aggregate outstanding principal amount of the Second
Lien Note Claims that are held by Consenting Second Lien Noteholders.

        “Affiliate” means, with respect to any Person, any other Person that, directly or indirectly,
Controls or is Controlled by or is under common Control with such Person, and shall include the
meaning of “affiliate” set forth in section 101(2) of the Bankruptcy Code; provided, however, that
for purposes of this Agreement, no Backstop Party shall be deemed an Affiliate of any Debtor.
“Affiliated” has a correlative meaning.

         “Affiliated Fund” means, with respect to a Backstop Party, any Affiliates (including at the
institutional level) of such Backstop Party or any special purpose investment vehicles, investment
accounts or funds managed, advised or sub-advised by such Backstop Party, an Affiliate of such
Backstop Party or by the same investment manager, advisor or sub-advisor as such Backstop Party
or an Affiliate of such Backstop Party.

       “Agreement” has the meaning set forth in the Preamble.

      “Alternative Restructuring Proposal” has the meaning set forth in the Restructuring
Term Sheet.

        “Antitrust Authorities” means the United States Federal Trade Commission, the Antitrust
Division of the United States Department of Justice, the attorneys general of the several states of
the United States and any other Governmental Unit, whether domestic or foreign, having
jurisdiction pursuant to the Antitrust Laws, and “Antitrust Authority” means any of them.

         “Antitrust Laws” means the Sherman Act, the Clayton Act, the HSR Act, the Federal
Trade Commission Act, and any other Law, whether domestic or foreign, governing agreements
in restraint of trade, monopolization, pre-merger notification, the lessening of competition through
merger or acquisition or anti-competitive conduct, and any foreign investment Laws.

       “Applicable Consent” has the meaning set forth in Section 4.6.

       “Available Shares” means, collectively, all of the Unsubscribed Shares and Direct
Investment Shares that any Backstop Party fails to purchase as a result of a Backstop Party Default
by such Backstop Party.

       “Backstop Commitment” has the meaning set forth in Section 2.2.




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       “Backstop Commitment Agreement Approval Order” has the meaning set forth in the
Restructuring Term Sheet.

       “Backstop Commitment Percentage” means with respect to any Backstop Party, such
Backstop Party’s percentage of the Backstop Commitments as set forth opposite such Backstop
Party’s name under the column titled “Backstop Commitment Percentage” on the Backstop
Commitment Schedule. Any reference to “Backstop Commitment Percentage” in this Agreement
means the Backstop Commitment Percentage in effect at the time of the relevant determination.

      “Backstop Commitment Schedule” means, Schedule 1 to this Agreement, as it may be
amended, supplemented or otherwise modified from time to time in accordance with this
Agreement.

       “Backstop Party” means the Parties set forth on the Backstop Commitment Schedule, as
it may be amended from time to time in accordance with this Agreement.

       “Backstop Party Default” means the failure by any Backstop Party to (a) deliver and pay
the aggregate Per Share Purchase Price for such Backstop Party’s Backstop Commitment
Percentage of any Unsubscribed Shares by the Escrow Account Funding Date in accordance with
Section 2.4(b) or (b) fully exercise all Subscription Rights that are issued to it pursuant to the
Rights Offering and duly purchase all Rights Offering Shares (including the Direct Investment
Shares) issuable to it pursuant to such exercise, in accordance with this Agreement and the Plan.

       “Backstop Party Replacement” has the meaning set forth in Section 2.3(b).

       “Backstop Party Replacement Period” has the meaning set forth in Section 2.3(b).

       “Bankruptcy Code” has the meaning set forth in the Recitals.

       “Bankruptcy Court” has the meaning set forth in the Recitals.

       “BCA Approval Obligations” means the obligations of the Company and the other
Debtors under this Agreement and the Backstop Commitment Agreement Approval Order.

       “Business Day” has the meaning set forth in the Restructuring Term Sheet.

        “Bylaws” means the bylaws of Reorganized Chesapeake, which shall become effective as
of Plan Effective Date, and which shall be consistent with the terms set forth in the Restructuring
Support Agreement and the Plan, and otherwise be in form and substance reasonably acceptable
to the Required Plan Sponsors and the Company.

        “Certificate of Incorporation” means the certificate of incorporation of Reorganized
Chesapeake as in effect on the Plan Effective Date, which shall be consistent with the terms set
forth in the Restructuring Support Agreement and the Plan, and otherwise be in form and substance
reasonably acceptable to the Required Plan Sponsors and the Company.

       “Chapter 11 Cases” has the meaning set forth in the Recitals.



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       “Closing” has the meaning set forth in Section 2.5(a).

       “Closing Date” has the meaning set forth in Section 2.5(a).

       “Code” means the Internal Revenue Code of 1986.

        “Collective Bargaining Agreements” means any and all written or oral agreements,
memoranda of understanding, contracts, letters, side letters and contractual obligations of any kind,
nature and description, that have been entered into between the Company or any of its Subsidiaries
and any Employee Representative or that the Company or any of its Subsidiaries are bound by.

      “Common Shares” means the shares of common stock that constitute equity interests in
Reorganized Chesapeake.

       “Company” has the meaning set forth in the Preamble.

       “Company Balance Sheet” means the consolidated balance sheet of the Company and its
Subsidiaries as of December 31, 2019.

       “Company Claims” has the meaning set forth in the Restructuring Term Sheet.

     “Company Disclosure Schedules” means the disclosure schedules delivered by the
Company to the Backstop Parties on the date of this Agreement.

         “Company Plans” means each “employee benefit plan” within the meaning of Section
3(3) of ERISA (other than a Multiemployer Plan) and each other profit sharing, stock purchase,
stock option, restricted stock, other equity or equity-based compensation, severance, retention,
employment, consulting, change-of-control, bonus, incentive, deferred compensation, employee
loan, retirement, fringe benefit and other benefit plan, agreement, program, policy, commitment
or other arrangement, whether or not subject to ERISA, whether formal or informal, in each case,
that is sponsored, maintained, contributed or required to be contributed to by the Company or any
of its Subsidiaries for the current or future benefit of any current or former director, officer,
employee or individual independent contractor of the Company or any of its Subsidiaries, or under
which the Company or any of its Subsidiaries has any current or contingent liability.

        “Company SEC Documents” means all of the reports, schedules, forms, statements and
other documents (including exhibits and other information incorporated therein) filed with the SEC
by the Company.

       “Conditions Precedent to the Plan Effective Date” has the meaning set forth in the
Restructuring Term Sheet.

       “Confirmation Date” has the meaning set forth in the Restructuring Term Sheet.

       “Confirmation Hearing” has the meaning set forth in the Restructuring Term Sheet.

       “Confirmation Order” has the meaning set forth in the Restructuring Term Sheet.



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       “Consenting Second Lien Noteholders” has the meaning set forth in the Restructuring
Support Agreement.

      “Consenting Stakeholders” has the meaning set forth in the Restructuring Support
Agreement.

        “Contract” means any agreement, contract or instrument, including any loan, note, bond,
mortgage, indenture, guarantee, deed of trust, license, franchise, commitment, lease, franchise
agreement, letter of intent, memorandum of understanding or other enforceable arrangement or
obligation, and any amendments thereto, whether written or oral, but excluding the Plan.

       “Control” means, with respect to any Person, the possession, directly or indirectly, of the
power to direct or cause the direction of the management and policies of such Person, whether
through the ownership of voting securities or by Contract or agency or otherwise. The terms
“controlling”, “controlled by” or “under common control with” each have the correlative meaning.

       “COVID-19” means SARS-CoV-2 or COVID-19, and any evolutions thereof or related or
associated epidemics, pandemic or disease outbreaks.

        “COVID-19 Measures” means any quarantine, “shelter in place,” “stay at home,”
workforce reduction, social distancing, shut down, closure, sequester or any other Law, Order,
directive, guidelines or recommendations by any Governmental Unit in connection with or in
response to COVID-19, including, but not limited to, the Coronavirus Aid, Relief, and Economic
Security Act (CARES).

       “Debtor” has the meaning set forth in the Restructuring Term Sheet.

       “Defaulting Backstop Party” means in respect of a Backstop Party Default that is
continuing, the applicable defaulting Backstop Party.

      “Definitive Documents” has the meaning set forth in the Restructuring Support
Agreement.

       “DIP Agents” has the meaning set forth in the Restructuring Term Sheet.

       “DIP Claims” has the meaning set forth in the Restructuring Term Sheet.

       “DIP Credit Agreements” has the meaning set forth in the Restructuring Term Sheet.

       “DIP Facilities” has the meaning set forth in the Restructuring Term Sheet.

       “DIP Order” has the meaning set forth in the Restructuring Term Sheet.

       “Direct Investment Right” has the meaning set forth in Section 2.1.

        “Direct Investment Shares” means the Common Shares issued in accordance with the
Direct Investment Right.

       “Disclosure Statement” has the meaning set forth in the Restructuring Term Sheet.

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        “Disclosure Statement Order” means an Order, in form and substance reasonably
acceptable to the Required Plan Sponsors and the Company, approving the Disclosure Statement
with respect to the Plan and approving the Rights Offering Procedures and the solicitation with
respect to the Plan which are in form and substance reasonably acceptable to the Required Plan
Sponsors and the Company.

       “DTC” means The Depository Trust Company.

       “Employee Representative” has the meaning set forth in Section 4.14(a).

       “Enforceability Exceptions” has the meaning set forth in Section 4.3.

       “Environmental Laws” has the meaning set forth in Section 4.18(a).

       “Environmental Permits” has the meaning set forth in Section 4.18(a).

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

         “ERISA Affiliate” with respect to an entity means any other entity that, together with such
first entity, would be treated as a single employer under Section 414 of the Code.

       “Escrow Account” has the meaning set forth in Section 2.4(a).

       “Escrow Account Funding Date” has the meaning set forth in Section 2.4(b).

         “Event” means any event, development, occurrence, circumstance, effect, condition,
result, state of facts or change.

       “Exchange Act” means the Securities Exchange Act of 1934, as amended.

        “Executive Officer” means, with respect to a Person, such Person’s principal executive
officer, president, principal financial officer, principal accounting officer (or, if there is no such
accounting officer, the controller), any vice president of such Person in charge of a principal
business unit, division or function (such as sales, administration or finance), any other officer who
performs a policy-making function, or any other Person who performs similar policy-making
functions for such Person. Officers of such Person’s parent(s) or subsidiaries shall be deemed
Executive Officers of such Person if they perform such policy-making functions for such Person.

       “Exit Facility” has the meaning set forth in the Restructuring Term Sheet.

       “Exit Facility Documents” has the meaning set forth in the Restructuring Term Sheet.

       “Exit Facility Term Sheet” has the meaning set forth in the Restructuring Term Sheet.

       “Expense Reimbursement” has the meaning set forth in Section 6.13.

       “FCPA” has the meaning set forth in Section 4.24.

       “Filing Party” has the meaning set forth in Section 6.10(b).

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       “Final Order” has the meaning set forth in the Restructuring Term Sheet.

       “Financial Reports” has the meaning set forth in Section 6.3.

       “FLLO Term Loan Facility” has the meaning set forth in the Restructuring Term Sheet.

       “FLLO Term Loan Facility Administrative Agent” has the meaning set forth in the
Restructuring Term Sheet.

       “FLLO Term Loan Facility Credit Agreement” has the meaning set forth in the
Restructuring Term Sheet.

      “FLLO Term Loan Facility Lenders” has the meaning set forth in the Restructuring
Term Sheet.

       “Funding Amount” has the meaning set forth in Section 2.4(b).

       “Funding Notice” has the meaning set forth in Section 2.4(a).

       “Funding Notice Date” has the meaning set forth in Section 2.4(a).

       “GAAP” means United States generally accepted accounting principles.

        “Governmental Unit” means any U.S. or non-U.S. federal, state, municipal, local,
judicial, administrative, legislative or regulatory agency, department, commission, court, or
tribunal of competent jurisdiction (including any branch, department or official thereof).

      “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
amended from time to time.

       “Indemnified Claim” has the meaning set forth in Section 9.2.

       “Indemnified Person” has the meaning set forth in Section 9.1.

       “Indemnifying Parties” has the meaning set forth in Section 9.1.

       “Infringe” has the meaning set forth in Section 4.15.

        “Intellectual Property” means all U.S. or foreign intellectual or industrial property or
proprietary rights, including any: (i) trademarks, service marks, trade dress, domain names, social
media identifiers, corporate and trade names, logos and all other indicia of source or origin,
together with all associated goodwill, (ii) patents, inventions, invention disclosures, technology,
know-how, processes and methods, (iii) copyrights and copyrighted works, (including software,
applications, source and object code, databases and compilations, online, advertising and
promotional materials, mobile and social media content and documentation), (iv) trade secrets and
confidential or proprietary information or content, and (v) all registrations, applications, renewals,
re-issues, continuations, continuations-in-part, divisions, extensions, re-examinations and foreign
counterparts of any of the foregoing.


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        “Investment Companies” has the meaning set forth in Section 2.4(b).

        “Joinder Agreement” has the meaning set forth in Section 2.6(c).

        “Joint Filing Party” has the meaning set forth in Section 6.10(c).

        “knowledge” of the Company means the actual knowledge, after a reasonable inquiry of
their direct reports, of Robert D. Lawler, Domenic J. Dell’Osso, Jr., Frank J. Patterson, James R.
Webb, William M. Buergler or the chief restructuring officer of the Company, if any.

        “Law” has the meaning set forth in the Restructuring Term Sheet.

        “Legal Proceedings” has the meaning set forth in Section 4.13.

        “Legend” has the meaning set forth in Section 6.9.

        “Lien” means any lien, adverse claim, charge, option, right of first refusal, servitude,
security interest, mortgage, pledge, deed of trust, easement, encumbrance, restriction on transfer,
conditional sale or other title retention agreement, defect in title, lien or judicial lien as defined in
sections 101(36) and (37) of the Bankruptcy Code or other restrictions of a similar kind.

        “Losses” has the meaning set forth in Section 9.1.

        “Management Incentive Plan” has the meaning set forth in the Restructuring Term Sheet.

        “Material Adverse Effect” means any Event, which individually, or together with all other
Events, has had or would reasonably be expected to have a material and adverse effect on (a) the
business, assets, liabilities, finances, properties, results of operations or condition (financial or
otherwise) of the Debtors and their Subsidiaries, taken as a whole, or (b) the ability of the Debtors,
taken as a whole, to perform their obligations under, or to consummate the transactions
contemplated by, the Transaction Agreements, including the Rights Offering, provided in the case
of clause (a) only, except to the extent such Event results from, arises out of, or is attributable to,
the following (either alone or in combination): (i) any Event after the date hereof in global, national
or regional political conditions (including hostilities, acts of war, sabotage, terrorism or military
actions, or any escalation or material worsening of any such hostilities, acts of war, sabotage,
terrorism or military actions existing or underway) or in the general business, market, financial or
economic conditions affecting the industries, regions and markets in which the Debtors operate,
including any change in the United States or applicable foreign economies or securities,
commodities or financial markets, or force majeure events or “acts of God”; (ii) any changes after
the date hereof in applicable Law or GAAP, or in the interpretation or enforcement thereof; (iii) the
execution, announcement, disclosure or performance of this Agreement or the other Transaction
Agreements or the transactions contemplated hereby or thereby or any related transactions
(including any act or omission of the Debtors expressly required or prohibited, as applicable, by
this Agreement or consented to or required by the Required Backstop Parties in writing) (it being
understood and agreed that this clause (iii) shall not apply with respect to any representation or
warranty that is intended to address the consequences of the execution and delivery of this
Agreement or the public announcement or the pendency of this Agreement); (iv) changes in the
market price or trading volume of the Company Claims or equity or debt securities of the Debtors

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(but not the underlying facts giving rise to such changes unless such facts are otherwise excluded
pursuant to other clauses contained in this definition); (v) the filing or pendency of the Chapter 11
Cases or any reasonably anticipated effects thereof; (vi) declarations of national emergencies or
natural disasters; (vii) any epidemic, pandemic or disease outbreak (including the COVID-19
pandemic), or any Law, regulation, statute, directive, pronouncement or guideline issued by a
Governmental Unit, the Centers for Disease Control and Prevention, the World Health
Organization or industry group providing for business closures, “sheltering-in-place” or other
restrictions that relate to, or arise out of, an epidemic, pandemic or disease outbreak (including the
COVID-19 pandemic) or any change in such Law, regulation, statute, directive, pronouncement
or guideline or interpretation thereof following the date of this Agreement; (viii) the effect of any
action taken by the Backstop Parties or their Affiliates with respect to the DIP Facility; (ix) any
failure, in and of itself, of the Debtors to meet, with respect to any period or periods, any internal
or industry analyst projections, forecasts, estimates of earnings or revenues or business plans (but
not the underlying facts giving rise to such failure unless such facts are otherwise excluded
pursuant to other clauses contained in this definition); (x) the occurrence of a Backstop Party
Default or (xi) any matters expressly disclosed in the Company Disclosure Schedules as delivered
on the date hereof; provided, that the exceptions set forth in clauses (i), (ii), (vi) and (vii) shall not
apply to the extent that such Event is disproportionately adverse to the Debtors and their
Subsidiaries, taken as a whole, as compared to other companies in the industries in which the
Debtors operate.

         “Material Contract” has the meaning set forth in Section 4.23(a).

         “Materials of Environmental Concern” means any gasoline or petroleum (including
crude oil or any fraction thereof) or petroleum products, polychlorinated biphenyls, per- and
polyfluoroalkyl substances, urea-formaldehyde insulation, asbestos, pollutants, contaminants,
radioactive substances, and any other substances of any kind, that are regulated pursuant to or give
rise to liability under any applicable Law pertaining to pollution or protection of the environment.

         “Money Laundering Laws” has the meaning set forth in Section 4.25.

     “Multiemployer Plan” means a “multiemployer plan” as defined in Section 3(37) of
ERISA.

         “New Backstop Party” has the meaning set forth in Section 2.6(d).

         “New Money DIP Lenders” has the meaning set forth in Section 3.2(a).

         “New Organizational Documents” has the meaning set forth in the Restructuring Term
Sheet.

         “New Warrants” has the meaning set forth in the Restructuring Term Sheet.

         “Non-Competition Agreement” has the meaning set forth in Section 4.23(b).

         “Non-Transferring Backstop Parties” has the meaning set forth in Section 2.6(d).

         “Offer Acceptance Notice” has the meaning set forth in Section 2.6(d).

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       “Offered Backstop Commitment” has the meaning set forth in Section 2.6(d).

      “Order” means any judgment, order, award, injunction, writ, permit, license or decree of
any Governmental Unit or arbitrator of applicable jurisdiction.

       “Outside Date” has the meaning set forth in Section 8.2(a).

        “Owned Real Property” means all Real Property owned, in whole or in part by the
Company and its Subsidiaries, together with the Company’s and its Subsidiaries interest in all
buildings, fixtures and improvements now or subsequently located thereon, and all appurtenances
thereto.

       “Party” has the meaning set forth in the Preamble.

       “Per Share Purchase Price” means a purchase price per Common Share reflecting a
discount of thirty-five percent (35%) to the Plan Equity Value, calculated consistently with the
Restructuring Support Agreement.

        “Permitted Liens” means (a) Liens for Taxes (i) that are not yet delinquent, (ii) that are
being contested in good faith by appropriate proceedings and for which adequate reserves have
been made with respect thereto or (iii) the nonpayment of which is permitted or required by the
Bankruptcy Code; (b) landlord’s, operator’s, vendors’, carriers’, warehousemen’s, mechanics’,
materialmen’s, repairmen’s and other similar Liens for rent, labor, materials or supplies or other
like Liens arising by operation of law in the ordinary course of business or incident to the
exploration, development, operation and maintenance of oil and gas properties provided with
respect to any Real Property or personal property incurred in the ordinary course of business
consistent with past practice and as otherwise not prohibited under this Agreement and that do not
materially detract from the value of, or materially impair the use of, any of the Real Property or
personal property of any of the Debtors, or, if for amounts that do materially detract from the value
of, or materially impair the use of, any of the Real Property or personal property of any of the
Debtors, if such Lien is being contested in good faith by appropriate proceedings and for which
adequate reserves have been made with respect thereto; (c) zoning, building codes and other land
use Laws regulating the use or occupancy of any Real Property or the activities conducted thereon
that are imposed by any Governmental Unit having jurisdiction over such Real Property; provided,
that no such zoning, building codes and other land use Laws prohibit the use or occupancy of such
Real Property; (d) easements, covenants, conditions, minor encroachments, restrictions on transfer
and other similar matters affecting title to any Real Property (including any title retention
agreement) and other title defects and encumbrances that do not or would not materially impair
the ownership, use or occupancy of such Real Property or the operation of the Debtors’ business;
(e) Liens granted under any Contracts (including joint operating agreements, oil and gas leases,
farmout agreements, joint development agreements, transportation agreements, marketing
agreements, seismic licenses and other similar operational oil and gas agreements), in each case,
to the extent the same are ordinary and customary in the oil and gas business and do not or would
not materially impair the ownership, use or occupancy of any Real Property or the operation of the
Debtors’ business and which are for claims not more than sixty (60) days delinquent or, if such
claim does materially impair such ownership, use, occupancy or operation and are for obligations
that are more than sixty (60) days delinquent, are being contested in good faith by appropriate


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proceedings and for which adequate reserves have been made with respect thereto; (f) from and
after the occurrence of the Plan Effective Date, Liens granted in connection with the Exit Facility,
and Liens that are explicitly permitted under the Exit Facility; (g) mortgages on a lessor’s interest
in a lease or sublease; provided that no foreclosure proceedings have been duly filed (unless, in
such case, such mortgage has been subordinated to the applicable lease); (h) Liens that, pursuant
to the Plan and the Confirmation Order, will be discharged and released on the Plan Effective Date;
(i) matters that would be reflected on a survey of any Real Property that do not or would not
materially impair the ownership, use or occupancy of such Real Property or the operation of the
Debtors’ business; and (j) Liens granted under the DIP Credit Agreements and the DIP Order, and
Liens that are explicitly permitted under the DIP Credit Agreements and the schedules thereto as
of the date hereof.

        “Person” means an individual, firm, corporation (including any non-profit corporation),
partnership, limited liability company, joint venture, association, trust, Governmental Unit or other
entity or organization.

       “Plan” has the meaning set forth in the Restructuring Term Sheet.

       “Plan Effective Date” has the meaning set forth in the Restructuring Term Sheet.

        “Plan Equity Value” means the equity value, post new-money, as implied by a Plan total
enterprise value of $3.25 billion.

        “Plan Supplement” means any compilation of documents and forms of documents,
agreements, schedules, and exhibits to the Plan, which shall be filed by the Debtors prior to the
Confirmation Hearing, and additional documents filed with the Bankruptcy Court prior to the Plan
Effective Date as amendments to the Plan Supplement, each of which shall be consistent in all
respects with, and shall otherwise contain, the terms and conditions and be subject to the consent
rights set forth in the Restructuring Support Agreement and the Restructuring Term Sheet, where
applicable.

       “Post-Effective Date Business” means the businesses, assets and properties of
Reorganized Chesapeake and its Subsidiaries, taken as a whole, as of the Plan Effective Date after
giving effect to the transactions contemplated by the Plan.

       “Pre-Closing Period” means the period from the date of this Agreement to the earlier of
the Closing Date and the date on which this Agreement is terminated in accordance with its terms.

        “Pre-Closing Tax Period” means all taxable periods ending on or before the Closing Date
and the portion through the end of the Closing Date of any Straddle Period (each such taxable
period, a “Pre-Closing Tax Period”).

       “Purchasing Backstop Party” has the meaning set forth in Section 2.6(d).

       “Purchase Price” means an amount equal to the product of the Unsubscribed Shares to be
purchased by a Backstop Party and the Per Share Purchase Price.

       “Put Option Premium” has the meaning set forth in Section 3.1.

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         “Put Option Premium Shares” has the meaning set forth in Section 3.2(b).

        “Real Property” means, collectively, all right, title and interest (including any leasehold
estate) in and to any and all parcels of or interests in real property owned in fee or leased by any
of the Debtors, together with, in each case, all easements, hereditaments and appurtenances relating
thereto, all improvements and appurtenant fixtures incidental to the ownership or lease thereof.

       “Real Property Leases” means those leases, subleases, licenses, concessions and other
agreements, as amended, modified or restated, pursuant to which the Company or one of its
Subsidiaries holds a leasehold or subleasehold estate in, or is granted the right to use or occupy,
any land, buildings, structures, improvements, fixtures or other interest in Real Property used in
the Company’s or its Subsidiaries’ business.

         “Registrable Shares” has the meaning set forth in Section 6.5(a).

         “Registration Rights Agreement” has the meaning set forth in the Restructuring Term
Sheet.

        “Related Party” means, with respect to any Person, (a) any former, current or future
director, officer, agent, Affiliate, employee, general or limited partner, member, manager or
stockholder of such Person and (b) any former, current or future director, officer, agent, Affiliate,
employee, general or limited partner, member, manager or stockholder of any of the foregoing.

         “Related Purchaser” has the meaning set forth in Section 2.6(a).

         “Remaining Available Shares” has the meaning set forth in Section 2.3(b).

         “Reorganized Chesapeake” has the meaning set forth in the Restructuring Term Sheet.

         “Reorganized Debtors” has the meaning set forth in the Restructuring Term Sheet.

         “Replacing Backstop Parties” has the meaning set forth in Section 2.3(b).

       “Representatives” means, with respect to any Person, such Person’s directors, officers,
members, partners, managers, employees, agents, investment bankers, financial advisors,
attorneys, accountants, advisors and other representatives.

       “Required Backstop Parties” means the Backstop Parties holding at least 66 2/3% of the
aggregate Backstop Commitments held by non-Defaulting Backstop Parties as of the date on which
the consent or approval of the Required Backstop Parties is solicited.

      “Required Plan Sponsors” has the meaning set forth in the Restructuring Support
Agreement.

         “Restructuring” has the meaning set forth in the Restructuring Term Sheet.

         “Restructuring Support Agreement” has the meaning set forth in the Recitals.

         “Restructuring Term Sheet” has the meaning set forth in the Recitals.

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      “Restructuring Transactions” has the meaning set forth in the Restructuring Support
Agreement.

         “Revolving Credit Facility” has the meaning set forth in the Restructuring Term Sheet.

         “Revolving Credit Facility Claims” has the meaning set forth in the Restructuring Term
Sheet.

         “Rights Offering” has the meaning set forth in the Recitals.

         “Rights Offering Amount” has the meaning set forth in the Recitals.

        “Rights Offering Expiration Time” means the time and the date on which the rights
offering subscription forms must be duly delivered to the Rights Offering Subscription Agent in
accordance with the Rights Offering Procedures, together with the applicable aggregate Per Share
Purchase Price, if applicable.

       “Rights Offering Participants” means the Persons issued Subscription Rights in the
Rights Offering in accordance with the Rights Offering Procedures and the Plan.

         “Rights Offering Procedures” means the procedures governing the Rights Offering.

       “Rights Offering Shares” means the Common Shares issued in accordance with the
Rights Offering (including the Direct Investment Shares) and subject to the Rights Offering
Procedures and the Restructuring Support Agreement.

       “Rights Offering Subscription Agent” means Epiq Corporate Restructuring, LLC or
another subscription agent appointed by the Company and reasonably acceptable to the Required
Backstop Parties.

         “ROFO Notice Period” has the meaning set forth in Section 2.6(d).

         “Sanctions” has the meaning set forth in Section 4.26.

         “SEC” means the U.S. Securities and Exchange Commission.

         “Second Lien Notes Claims” has the meaning set forth in the Restructuring Term Sheet.

        “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa,
or any similar federal, state, or local Law.

       “Straddle Period” means any taxable period that includes (but does not end on) the
Closing Date.

        “Subscription Rights” means the subscription rights issued in the Rights Offering to the
Rights Offering Participants in accordance with the Rights Offering Procedures and the Plan
(including the Direct Investment Right).



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          “Subsidiary” means, with respect to any Person, any corporation, partnership, joint
   venture or other legal entity as to which such Person (either alone or through or together with any
   other subsidiary), (a) owns, directly or indirectly, more than fifty percent (50%) of the stock or
   other equity interests, (b) has the power to elect a majority of the board of directors or similar
   governing body, or (c) has the power to direct the business and policies.

           “Takeover Statute” means any restrictions contained in any “fair price,” “moratorium,”
   “control share acquisition,” “business combination” or other similar anti-takeover statute or
   regulation.

           “Taxes” means all taxes, assessments, duties, levies or other mandatory governmental
   charges paid to a Governmental Unit in the nature of a tax, including all federal, state, local, foreign
   and other income, franchise, profits, gross receipts, capital gains, capital stock, transfer, property,
   sales, use, value-added, occupation, excise, severance, windfall profits, stamp, payroll, social
   security, withholding and other taxes, assessments, duties, or levies (whether payable directly or
   by withholding and whether or not requiring the filing of a return), all estimated taxes, deficiency
   assessments, additions to tax, penalties and interest thereon and shall include any liability for such
   amounts as a result of being a member of a combined, consolidated, unitary or affiliated group.

           “Transaction Agreements” has the meaning set forth in Section 4.2(a).

          “Transfer” means to sell, transfer, assign, pledge, hypothecate, participate, donate or
   otherwise encumber or dispose of, directly or indirectly (including through derivatives, options,
   swaps, pledges, forward sales or other transactions in which any Person receives the right to own
   or acquire any current or future interest in a Subscription Right, a Rights Offering Share or
   Common Share). “Transfer” used as a noun has a correlative meaning.

           “Transferring Backstop Party” has the meaning set forth in Section 2.6(d).

           “Unlegended Shares” has the meaning set forth in Section 6.7.

          “Unsubscribed Shares” means all of the Rights Offering Shares that have not been duly
   purchased by the Rights Offering Participants in accordance with the Rights Offering Procedures
   and the Plan, excluding the Direct Investment Shares.

           “willful or intentional breach” has the meaning set forth in Section 9.4.

           Section 1.2    Construction. In this Agreement, unless the context otherwise requires:

                (a)      references to Articles, Sections, Exhibits and Schedules are references to the
articles and sections or subsections of, and the exhibits and schedules attached to, this Agreement;

               (b)     descriptive headings of the Articles and Sections of this Agreement are
inserted for convenience only, do not constitute a part of this Agreement and shall not affect in any
way the meaning or interpretation of this Agreement;




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                (c)      references in this Agreement to “writing” or comparable expressions include
a reference to a written document transmitted by means of electronic mail in portable document format
(pdf), facsimile transmission or comparable means of communication;

              (d)      words expressed in the singular number shall include the plural and vice versa;
words expressed in the masculine shall include the feminine and neuter gender and vice versa;

              (e)      the words “hereof”, “herein”, “hereto” and “hereunder”, and words of similar
import, when used in this Agreement, shall refer to this Agreement as a whole, including all Exhibits
and Schedules attached to this Agreement, and not to any provision of this Agreement;

              (f)    the term “this Agreement” shall be construed as a reference to this Agreement
as the same may have been, or may from time to time be, amended, modified, varied, novated or
supplemented;

              (g)      “include”, “includes” and “including” are deemed to be followed by “without
limitation” whether or not they are in fact followed by such words;

               (h)      references to “day” or “days” are to calendar days;

               (i)      references to “the date hereof” means the date of this Agreement;

              (j)     unless otherwise specified, references to a statute means such statute as
amended from time to time and includes any successor legislation thereto and any rules or regulations
promulgated thereunder in effect from time to time; and

               (k)     references to “dollars” or “$” refer to currency of the United States of America,
unless otherwise expressly provided.

                                           ARTICLE II
                                     BACKSTOP COMMITMENT

          Section 2.1 The Rights Offering; Subscription Rights. On and subject to the terms and
   conditions hereof, including entry of the Backstop Commitment Agreement Approval Order, the
   Company, on behalf of Reorganized Chesapeake, shall conduct the Rights Offering pursuant to
   and in accordance with the Plan, the Rights Offering Procedures and the Disclosure Statement
   Order. The Rights Offering will be conducted in reliance upon the exemption from registration
   under the Securities Act provided in Section 1145 of the Bankruptcy Code, and all Rights Offering
   Shares (other than the Unsubscribed Shares purchased by the Backstop Parties pursuant to this
   Agreement) will be issued in reliance upon such exemption, and the Plan and the Disclosure
   Statement shall each include a statement to such effect. The offer and sale of the Unsubscribed
   Shares purchased by the Backstop Parties pursuant to this Agreement will be made in reliance on
   the exemption from registration provided by Section 4(a)(2) of the Securities Act or another
   available exemption from registration under the Securities Act, and the Plan and the Disclosure
   Statement shall each include a statement to such effect. Twenty-five percent (25%) of the Common
   Shares to be issued pursuant to the Rights Offering shall be reserved for the Backstop Parties pro
   rata based on the Backstop Parties’ Backstop Commitment Percentages (the “Direct Investment
   Right”).

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           Section 2.2 The Backstop Commitment. On and subject to the terms and conditions
   hereof, including entry of the Backstop Commitment Agreement Approval Order, each Backstop
   Party agrees, severally and not jointly, to fully exercise all Subscription Rights that are issued to it
   pursuant to the Rights Offering and the Plan, and duly and timely purchase all Rights Offering
   Shares issuable to it pursuant to such exercise, in accordance with the Rights Offering Procedures
   and the Plan; provided that any Defaulting Backstop Party shall be liable to each non-Defaulting
   Backstop Party, the Company and Reorganized Chesapeake as a result of a Backstop Party Default
   by such Defaulting Backstop Party hereunder. In connection with the Rights Offering, and on and
   subject to the terms and conditions hereof, including entry of the Confirmation Order, each
   Backstop Party agrees, severally and not jointly (in accordance with its Backstop Commitment
   Percentage), to purchase, and Reorganized Chesapeake shall sell to such Backstop Party (or
   Related Purchaser), on the Closing Date for the applicable aggregate Per Share Purchase Price, (a)
   the number of Unsubscribed Shares equal to (i) such Backstop Party’s Backstop Commitment
   Percentage, multiplied by (ii) the aggregate number of Unsubscribed Shares and (b) the number of
   Direct Investment Shares equal to (i) such Backstop Party’s Backstop Commitment Percentage,
   multiplied by (ii) the aggregate number of Direct Investment Shares (such obligations, the
   “Backstop Commitment”), in each case rounded among the Backstop Parties solely to avoid
   fractional shares as the Required Backstop Parties may determine in their sole discretion (provided
   that in no event shall such rounding reduce the aggregate commitment of the Backstop Parties).
   Notwithstanding anything to the contrary, the Backstop Parties shall not be required to exercise
   their Subscription Rights or their Direct Investment Rights until the date that the Company and the
   Backstop Parties reasonably agree is approximately three (3) Business Days prior to the Plan
   Effective Date.

           Section 2.3    Backstop Party Default.

                (a)      Upon the occurrence of a Backstop Party Default, the Backstop Parties and
their respective Related Purchasers (other than any Defaulting Backstop Party) shall have the right,
but not the obligation, within five (5) Business Days after receipt of written notice from the Company
to all Backstop Parties (other than any Defaulting Backstop Party) of such Backstop Party Default,
which notice shall be given promptly following the occurrence of such Backstop Party Default and to
all Backstop Parties (other than any Defaulting Backstop Party) concurrently (such period, the
“Backstop Party Replacement Period”), to make arrangements for one or more of the Backstop
Parties and their respective Related Purchasers (other than any Defaulting Backstop Party) to purchase
all or any portion of the Available Shares at the Per Share Purchase Price (any such purchase, a
“Backstop Party Replacement”) on the terms and subject to the conditions set forth in this
Agreement and in such amounts as may be agreed upon by all of the Backstop Parties electing to
purchase all or any portion of the Available Shares, or, if no such agreement is reached, based upon
the relative applicable Backstop Commitment Percentages of any such Backstop Parties and their
respective Related Purchasers (other than any Defaulting Backstop Party) (such Backstop Parties, the
“Replacing Backstop Parties”).

                (b)     In the event the Backstop Parties and their respective Related Purchasers do
not elect to purchase all of the Available Shares pursuant to Section 2.3(a) (any such unpurchased
Available Shares, the “Remaining Available Shares”), the Company shall give prompt written notice
thereof to each of the Backstop Parties (other than any Defaulting Backstop Party), and each Backstop
Party and their respective Related Purchasers (other than any Defaulting Backstop Party) shall have

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the right, but not the obligation, within five (5) Business Days after receipt of such notice to make
arrangements for one or more of the Backstop Parties (other than any Defaulting Backstop Party) to
purchase all or any portion of the Remaining Available Shares at the Per Share Purchase Price on the
terms and subject to the conditions set forth in this Agreement and in such amounts as may be agreed
upon by all of the Backstop Parties electing to purchase all or any portion of such Remaining Available
Shares, or, if no such agreement is reached, based upon the relative applicable Backstop Commitment
Percentages of any such Backstop Parties and their respective Related Purchasers (other than any
Defaulting Backstop Party). For the avoidance of doubt, nothing in this Section 2.3(b) shall relieve
any Backstop Party of its obligation to fulfill its Backstop Commitment.

                (c)      In the event that any Remaining Available Shares are available for purchase
pursuant to Section 2.3(b) and the Backstop Parties and their respective Related Purchasers (other than
any Defaulting Backstop Party) do not elect to purchase all such Available Shares pursuant to the
provisions thereof, the Company may, in its sole discretion, elect to utilize the Cover Transaction
Period to consummate a Cover Transaction. As used herein, “Cover Transaction” means a
circumstance in which the Company, in its sole discretion, arranges for the sale of all or any portion
of the Available Shares to any other Person, on terms and conditions substantially similar to the
Backstop Commitment and the other terms and conditions applicable to the Backstop Parties in their
obligation to purchase the Available Shares pursuant to this Agreement, during the Cover Transaction
Period, and “Cover Transaction Period” means the ten (10) Business Day period following
expiration of the five (5) Business Day period specified in Section 2.3(b). For the avoidance of doubt,
the Company’s election to pursue a Cover Transaction, whether or not consummated, shall not relieve
any Backstop Party of its obligations pursuant to this Article II or otherwise to fulfill its Backstop
Commitment.

               (d)     Any Available Shares purchased by a Replacing Backstop Party (and any
commitment and applicable aggregate Per Share Purchase Price associated therewith) shall be
included, among other things, in the determination of the Backstop Commitment Percentage of such
Replacing Backstop Party for all purposes hereunder, including for purposes of the definition of
“Required Backstop Parties.” If a Backstop Party Default occurs, the Outside Date shall be delayed
only to the extent necessary to allow for (i) the Backstop Party Replacement to be completed within
the Backstop Party Replacement Period and/or (ii), if applicable, the Cover Transaction to be
completed within the Cover Transaction Period.

               (e)     If a Backstop Party is a Defaulting Backstop Party, it shall not be entitled to
any of the Put Option Premium hereunder.

                (f)     For the avoidance of doubt, notwithstanding anything to the contrary set forth
in Section 8.4 but subject to Section 10.11, no provision of this Agreement shall relieve any Defaulting
Backstop Party from liability hereunder, or limit the availability of the remedies set forth in Section
10.10, in connection with any such Defaulting Backstop Party’s Backstop Party Default.

           Section 2.4    Escrow Account Funding.

              (a)     Funding Notice. No later than the third (3rd) Business Day following the
Rights Offering Expiration Time, the Rights Offering Subscription Agent shall, on behalf of the
Company, deliver to each Backstop Party a written notice (the “Funding Notice,” and the date of such


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delivery, the “Funding Notice Date”) setting forth (i) the aggregate number of Rights Offering Shares
elected to be purchased by the Rights Offering Participants, and the aggregate Per Share Purchase
Price therefor in each case; (ii) the aggregate number of Unsubscribed Shares, if any, and the aggregate
Per Share Purchase Price therefor in each case; (iii) the aggregate number of Unsubscribed Shares
(based upon such Backstop Party’s Backstop Commitment Percentage) to be issued and sold by
Reorganized Chesapeake to such Backstop Party and the aggregate Per Share Purchase Price therefor;
(iv) the aggregate number of Direct Investment Shares (based upon such Backstop Party’s Backstop
Commitment Percentage) to be issued and sold by Reorganized Chesapeake to such Backstop Party
and the aggregate Per Share Purchase Price therefor; (v) if applicable, the number of Rights Offering
Shares such Backstop Party is subscribed for in the Rights Offering and for which such Backstop Party
had not yet paid to the Rights Offering Subscription Agent, the Per Share Purchase Price therefor and
the aggregate amount to be paid for the Rights Offering Shares; and (vi) the escrow account designated
in escrow agreements reasonably acceptable to the Required Backstop Parties and the Company or the
segregated account described under Section 2.4(b) to which such Backstop Party shall deliver and pay
the aggregate Per Share Purchase Price for such Backstop Party’s Backstop Commitment Percentage
of the Unsubscribed Shares, and, if applicable, the aggregate Per Share Purchase Price for the Rights
Offering Shares such Backstop Party has subscribed for in the Rights Offering (the “Escrow
Account”). The Company shall promptly direct the Rights Offering Subscription Agent to provide
any written backup, information and documentation relating to the information contained in the
applicable Funding Notice as any Backstop Party may reasonably request.

                (b)      Escrow Account Funding. On the date agreed with the Required Backstop
Parties pursuant to escrow agreements reasonably acceptable to the Required Backstop Parties and the
Company (the “Escrow Account Funding Date”), each Backstop Party (other than those that are
registered investment companies (“Investment Companies”) under the Investment Company Act of
1940, as amended (the “Investment Company Act”)) shall deliver and pay an amount equal to the
sum of (i) the aggregate Per Share Purchase Price for such Backstop Party’s Backstop Commitment
Percentage of the Unsubscribed Shares, plus (ii) the aggregate Per Share Purchase Price for the
Common Shares issuable pursuant to such Backstop Party’s exercise of all the Subscription Rights
issued to it in the Rights Offering, plus (iii) the aggregate Per Share Purchase Price for the Direct
Investment Shares (the “Funding Amount”), each by wire transfer of immediately available funds in
U.S. dollars into the Escrow Account in satisfaction of such Backstop Party’s Backstop Commitment
and its obligation to fully exercise its Subscription Rights; provided, that in no event shall the Escrow
Account Funding Date be less than five (5) Business Days after the Funding Notice Date or more than
two (2) Business Days prior to the Plan Effective Date. On the Plan Effective Date, each Backstop
Party that is an Investment Company shall deliver and pay its respective Funding Amount by wire
transfer of immediately available funds in U.S. dollars to a segregated bank account of the Company
or the Rights Offering Subscription Agent designated in the Funding Notice, or make other
arrangements that are reasonably acceptable to the applicable Investment Company and the Company,
in satisfaction of such Backstop Party’s Backstop Commitment and its obligations to fully exercise its
Subscription Rights. For the avoidance of doubt, any Backstop Party that fails to fulfill its obligation
to fully deliver and pay the aggregate Per Share Purchase Price for such Backstop Party’s Backstop
Commitment Percentage of any Unsubscribed Shares or fully exercise such Backstop Party’s
Subscription Rights (including the Direct Investment Rights) and duly purchase all of the Common
Shares issuable to it pursuant to such exercise on (i) if an Investment Company, on the Closing Date,
or (ii) otherwise, on the Escrow Account Funding Date, as applicable, shall be deemed a Defaulting
Backstop Party. If the Closing does not occur, all amounts deposited by the Backstop Parties in the

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Escrow Account or segregated account, as applicable, shall be returned to the Backstop Parties as
promptly as reasonably practicable.

           Section 2.5     Closing.

               (a)      Subject to Article VII, unless otherwise mutually agreed in writing between
the Company and the Required Backstop Parties, the closing of the Backstop Commitments (the
“Closing”) shall take place at the offices of Kirkland & Ellis LLP, 609 Main Street, Houston, Texas
77002 at 10:00 a.m., Houston, Texas time, on the date on which all of the conditions set forth in Article
VII shall have been satisfied or waived in accordance with this Agreement (other than conditions that
by their terms are to be satisfied at the Closing, but subject to the satisfaction or waiver of such
conditions). The date on which the Closing actually occurs shall be referred to herein as the “Closing
Date”. The Closing Date shall be concurrent with the Plan Effective Date.

                (b)      At the Closing, the funds held in the Escrow Account (and any amounts paid
to a Rights Offering Subscription Agent bank account pursuant to the last sentence of Section 2.4(b))
shall, as applicable, be released and utilized in accordance with the Plan.

               (c)      At the Closing, issuance of the Rights Offering Shares purchased by each
Backstop Party under the Rights Offering (including the Direct Investment Shares) or the
Unsubscribed Shares pursuant to the Backstop Commitment (including any Available Shares that such
Backstop Party has agreed to purchase in addition to its Backstop Commitment as a Replacing
Backstop Party) will be made by Reorganized Chesapeake to each Backstop Party (or to its designee
in accordance with Section 2.6(a)) in accordance with Section 6.7 against payment of the aggregate
Per Share Purchase Price for such Common Shares purchased by such Backstop Party, in satisfaction
of such Backstop Party’s Backstop Commitment. Notwithstanding anything to the contrary in this
Agreement, all Common Shares (including the Rights Offering Shares, Direct Investment Shares,
Unsubscribed Shares and Put Option Premium Shares) will be delivered with all issue, stamp, transfer,
sales and use, or similar transfer Taxes or duties that are due and payable (if any) in connection with
such delivery duly paid by the Company on behalf of Reorganized Chesapeake.

           Section 2.6     Designation and Assignment Rights.

                 (a)     No Backstop Party shall be entitled to Transfer all or any portion of its
Backstop Commitment except as expressly provided in this Section 2.6. After the Closing Date,
nothing in this Agreement shall limit or restrict in any way the ability of any Backstop Party (or any
permitted transferee thereof) to Transfer any of the Common Shares or any interest therein; provided,
that any such Transfer shall be made pursuant to an effective registration statement under the Securities
Act or an exemption from the registration requirements thereunder and pursuant to applicable
securities Laws. Notwithstanding anything in this Agreement to the contrary, this Agreement does not
limit or restrict the Transfer of any Company Claims with respect to the Debtors and nothing in this
Agreement shall restrict the ability of a Backstop Party to Transfer any Company Claims (including
the associated Subscription Rights) in compliance with Section 8 of the Restructuring Support
Agreement, and any such Transfer shall not impair or otherwise affect the rights and obligations of
such Backstop Party under this Agreement or, for the avoidance of doubt, result in any change to such
Backstop Party’s Backstop Commitment Percentage.



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                 (b)     Each Backstop Party shall have the right to designate by written notice to the
Company no later than two (2) Business Days prior to the Closing Date that some or all of the
Unsubscribed Shares, Direct Investment Shares and Put Option Premium Shares that it is obligated or
has the right to receive hereunder (including any Available Shares that such Backstop Party has agreed
to purchase in addition to its Backstop Commitment as a Replacing Backstop Party) be issued in the
name of, and delivered to, one or more of its Affiliates or Affiliated Funds (each, a “Related
Purchaser”) upon receipt by the Company of payment therefor in accordance with the terms hereof,
which notice of designation shall (i) be addressed to the Company and signed by such Backstop Party
and each such Related Purchaser, (ii) specify the number of Unsubscribed Shares, Direct Investment
Shares and Put Option Premium Shares to be delivered to or issued in the name of such Related
Purchaser and (iii) contain a confirmation by each such Related Purchaser of the accuracy of the
representations and warranties set forth in Section 5.4 through Section 5.9, as if such Related Purchaser
was a Backstop Party; provided, that no such designation pursuant to this Section 2.6(b) shall relieve
such Backstop Party from its obligations under this Agreement.

                (c)     Each Backstop Party shall have the right to Transfer all or any portion of its
Backstop Commitment to (i) an Affiliated Fund of the transferring Backstop Party or (ii) another
Backstop Party or an Affiliated Fund thereof without the prior written consent of the Company or any
other Backstop Party provided, that as a precondition to any such Transfer (i) such transferee, if not
already a Backstop Party, shall agree to be fully bound by, and subject to, this Agreement as a Backstop
Party hereto and shall execute and deliver a joinder agreement in substantially the form attached as
Exhibit A hereto or otherwise in form and substance reasonably acceptable to the Company (a
“Joinder Agreement”) and (ii) such transferee, if not already a party to the Restructuring Support
Agreement, shall execute a joinder to the Restructuring Support Agreement. The parties agreeing to
such Transfer shall provide prompt written notice thereof to the Company and the other Backstop
Parties. Any such Transfer shall relieve the transferring Backstop Party from all of its rights and
obligations under this Agreement with respect to such transferred Backstop Commitment if (i) to the
extent such transferred Backstop Commitment is to an existing Backstop Party, after giving effect to
such Transfer, the aggregate Backstop Commitments of the transferee Backstop Party and all of its
Affiliated Funds, taken as a whole, does not exceed 125% of such aggregate Backstop Commitments
in effect as of the date of this Agreement; (ii) the transferring Backstop Party (A) has provided an
adequate equity support letter or a guarantee, in an amount sufficient to satisfy the transferred Backstop
Commitment, in form and substance reasonably acceptable to the Company or (B) remains fully
obligated to fund such Backstop Commitment; or (iii) the Company provides prior written consent of
such Transfer, not to be unreasonably withheld, conditioned or delayed.

               (d)

                          (i)    Subject to Section 2.6(d)(ii), if a Backstop Party desires to Transfer
           (a “Transferring Backstop Party”) all or any portion of its Backstop Commitment to a
           Person other than a Backstop Party as of such date (a “New Backstop Party”), such
           Transferring Backstop Party shall first provide written notice (an “Offering Notice”) to
           the other Backstop Parties party to this Agreement as of such date (the “Non-Transferring
           Backstop Parties”) and the Company of such Transfer, which Offering Notice shall state
           the amount of the Backstop Commitment proposed to be Transferred by the Transferring
           Backstop Party (the “Offered Backstop Commitment”), the consideration offered by the
           New Backstop Party and the other material terms and conditions of the Transfer, including

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   a description of any non-cash consideration in sufficient detail to permit the valuation
   thereof. The Offering Notice shall constitute the Transferring Backstop Party’s offer to
   Transfer the Offered Backstop Commitment to the Non-Transferring Backstop Parties,
   which offer shall be irrevocable for ten (10) Business Days (the “ROFO Notice Period”).
   Upon receipt of the Offering Notice, each Non-Transferring Backstop Party may elect
   during the ROFO Notice Period, in its sole discretion, to assume, in whole or in part, the
   Offered Backstop Commitment on the same terms and for the same consideration as set
   forth in the Offering Notice by delivering a written notice (an “Offer Acceptance Notice”)
   to the Transferring Backstop Party, the other Non-Transferring Backstop Parties and the
   Company stating that it offers to purchase such portion of the Offered Backstop
   Commitment on the terms specified in the Offering Notice. Any Offer Acceptance Notice
   shall be binding upon delivery and irrevocable by the applicable Non-Transferring
   Backstop Party. If more than one Non-Transferring Backstop Party (each, a “Purchasing
   Backstop Party”) timely delivers an Offer Acceptance Notice and the aggregate amount
   of Backstop Commitments to be purchased pursuant to such Offer Acceptance Notices is
   greater than the amount of the Offered Backstop Commitment, each Purchasing Backstop
   Party shall be allocated a portion of the Offered Backstop Commitment based upon its
   applicable Backstop Commitment Percentage as of the date of the Offering Notice as
   compared to the Backstop Commitment Percentages of all of the Purchasing Backstop
   Parties, unless otherwise agreed to by the Non-Transferring Backstop Parties. To the extent
   any portion of the Offered Backstop Commitment is not assumed by the Non-Transferring
   Backstop Parties, the Transferring Backstop Party shall have a thirty (30) calendar day
   period in which to agree a Transfer of such portion to a New Backstop Party on
   substantially the same (or more favorable as to the Transferring Backstop Party) terms and
   conditions as were set forth in the Offering Notice. If the Transferring Backstop Party does
   not agree such a Transfer in accordance with the foregoing time limitations, then the right
   of the Transferring Backstop Party to agree such Transfer pursuant to this Section 2.6(d)
   shall terminate and the Transferring Backstop Party shall again comply with the procedures
   set forth in this Section 2.6(d) with respect to any proposed Transfer of its Backstop
   Commitments to a new Backstop Party.

                   (ii)    Notwithstanding anything to the contrary set forth in Section
   2.6(d)(i), a Transferring Backstop Party may Transfer, in one or more Transfers, to a New
   Backstop Party up to an aggregate of ten percent (10%) of the Backstop Commitments of
   such Transferring Backstop Party and all of its Affiliated Funds, taken as a whole, in effect
   as of the date hereof, without providing an Offering Notice or otherwise complying with
   the procedures in Section 2.6(d)(i).

                   (iii) If a New Backstop Party assumes any Backstop Commitments in
   compliance with this Section 2.6(d), such Transfer shall relieve the Transferring Backstop
   Party from all of its rights and obligations under this Agreement with respect to such
   transferred Backstop Commitment if (A) to the extent such transferred Backstop
   Commitment is to a Non-Transferring Backstop Party, on the same conditions as set forth
   in Section 2.6(c), (B) the transferring Backstop Party (1) has provided an adequate equity
   support letter or a guarantee, in an amount sufficient to satisfy the transferred Backstop
   Commitment, in form and substance reasonably acceptable to the Company or (2) remains
   fully obligated to fund such Backstop Commitment; or (C) the Company provides prior

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           written consent of such Transfer, not to be unreasonably withheld, conditioned or delayed.
           As preconditions to any Transfer of a Backstop Commitment to a New Backstop Party
           pursuant to this Section 2.6(d): (I) such New Backstop Party shall agree to be fully bound
           by, and subject to, this Agreement as a Backstop Party hereto and shall execute and deliver
           a Joinder Agreement and (II) such New Backstop Party shall execute a joinder to the
           Restructuring Support Agreement.

                (e)      Notwithstanding the foregoing, each Backstop Party may elect to Transfer all
or any portion of its Backstop Commitment to a New Backstop Party without following the procedures
in Section 2.6(d) and without the prior consent of the Company or any other Backstop Party if such
transferring Backstop Party elects to remain fully obligated to fund its Backstop Commitment in the
event such New Backstop Party defaults in the funding. As preconditions to any such Transfer: (i)
such New Backstop Party shall agree to be fully bound by, and subject to, this Agreement as a
Backstop Party hereto and shall execute and deliver a Joinder Agreement and (ii) such New Backstop
Party shall execute a joinder to the Restructuring Support Agreement. Such Joinder Agreement shall
indicate that the Transferring Backstop Party remains fully obligated to fund the Transferred Backstop
Commitment in the event that the New Backstop Party defaults under any of its obligations hereunder.
The parties agreeing to such Transfer shall provide prompt written notice thereof to the Company and
the other Backstop Parties. Upon receipt of such written notice, the Company shall revise the Backstop
Commitment Schedule to reflect such Transfer and also indicate that the Transferring Backstop Party
remains obligated in the event the New Backstop Party defaults in its obligations hereunder. For all
other purposes hereunder, the New Backstop Party shall have the rights and obligations associated
with the transferred Backstop Commitment, including with respect to the Put Option Premium and the
determination of the Required Backstop Parties.

                (f)     Upon the consummation of any Transfers of Backstop Commitments in
accordance with Section 2.6(c), Section 2.6(d) or Section 2.6(e), the Company shall revise the
Backstop Commitment Schedule to reflect such Transfer. Notwithstanding anything to the contrary
contained in this Section 2.6, any Transfer of a Backstop Commitment under Section 2.6(c), Section
2.6(d) or Section 2.6(e) must include the associated Direct Investment Rights, which may not be
transferred, in whole or in part, separate from the Backstop Commitment.

                                            ARTICLE III
                                       PUT OPTION PREMIUM

           Section 3.1 Put Option Premium Payable by the Company. Subject to Section 3.2, in
   consideration for the Backstop Commitment and the other agreements of the Backstop Parties in
   this Agreement, the Debtors shall pay or cause to be paid a nonrefundable aggregate fee equal to
   $60 million, which represents ten percent (10%) of the Rights Offering Amount, based on their
   respective Backstop Commitment Percentages at the time such payment is made (the “Put Option
   Premium”) (including any Replacing Backstop Party but excluding any Defaulting Backstop
   Party). If the Backstop Parties are entitled to payment of the Put Option Premium in cash, the Put
   Option Premium shall be a superpriority administrative expense with priority over all other
   administrative claims except it shall be unsecured and (i) be subordinated in priority to the
   administrative claims provided on account of the DIP Claims and adequate protection on account
   of the Revolving Credit Facility Claims (and any claims to which such DIP Claims and adequate
   protection claims are subordinate) and (ii) payable only after all such claims set forth in clause (i)

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   have been paid in full in cash or provided such other treatment as is agreed by (a) with respect to
   DIP Claims, 100% of New Money DIP Lenders and (b) with respect to Revolving Credit Facility
   Claims, holders of Revolving Credit Facility Claims sufficient to constitute class acceptance
   pursuant to Section 1126(c) of the Bankruptcy Code.

           Section 3.2    Payment of Put Option Premium.

                (a)      The Put Option Premium shall be fully earned, nonrefundable and non-
avoidable and accrued by the Company as of the date hereof. The Put Option Premium shall be paid
by the Company and Reorganized Chesapeake by, as applicable: (i) the issuance of a number of
Common Shares equal to the Put Option Premium divided by the Per Share Purchase Price (the “Put
Option Premium Shares”) (in each case rounded among the Backstop Parties solely to avoid
fractional shares as the Required Backstop Parties may determine in their sole discretion) at the
Closing pursuant to Section 2.5 or (ii) if this Agreement is earlier terminated pursuant to Article VIII
(other than any termination of this Agreement with respect to one or more Backstop Parties pursuant
to Section 8.3(b) or Section 8.4) payment in cash by wire transfer of immediately available funds in
U.S. dollars to the accounts specified by each Backstop Party to the Company in writing as
contemplated by Section 8.5(b). The aggregate Put Option Premium payable to a Backstop Party shall
be reduced ratably upon a Backstop Party Default based on the Backstop Commitment Percentage of
the Defaulting Backstop Party; provided, that if a Backstop Party Replacement sufficient to cure all or
a portion of the Backstop Party Default occurs, the Put Option Premium shall only be ratably reduced
to the extent of the uncured Backstop Party Default, and such amount that would have otherwise been
reduced shall be paid to the Replacing Backstop Parties, as applicable.

               (b)      The Put Option Premium shall be paid by the Debtors, free and clear of any
withholding or deduction for any applicable Taxes (except for any Taxes arising as a result of a
Backstop Party’s failure to provide an IRS Form W-9 or appropriate IRS Form W-8, as applicable),
on the Plan Effective Date, within the time specified therein. For the avoidance of doubt, the Put
Option Premium will be payable as provided herein, irrespective of the amount of Unsubscribed
Shares (if any) actually purchased.

                                  ARTICLE IV
                REPRESENTATIONS AND WARRANTIES OF THE COMPANY

            Except (i) as set forth in the corresponding section of the Company Disclosure Schedules
   or (ii) as disclosed in the Company SEC Documents filed with the SEC on or after December 31,
   2019 and publicly available on the SEC’s Electronic Data-Gathering, Analysis and Retrieval
   system prior to the date hereof (excluding any disclosures contained in the “Forward-Looking
   Statements” or “Risk Factors” sections thereof), the Company, on behalf of itself and each of the
   other Debtors hereby represents and warrants to the Backstop Parties (unless otherwise set forth
   herein, as of the date of this Agreement and as of the Closing Date) as set forth below.

           Section 4.1 Organization and Qualification. Each of the Debtors (a) is a duly organized
   and validly existing corporation, limited liability company or partnership, as the case may be, and,
   if applicable, in good standing (or the equivalent thereof) under the Laws of the jurisdiction of its
   incorporation or organization (except where the failure to be in good standing, or the equivalent,
   would not reasonably be excepted to have, individually or in the aggregate, a Material Adverse


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   Effect), (b) has the corporate or other applicable power and authority to own its property and assets
   and to transact the business in which it is currently engaged and presently proposes to engage and
   (c) except where the failure to have such authority or qualification would not reasonably be
   expected to have, individually or in the aggregate, a Material Adverse Effect, is duly qualified and
   is authorized to do business and is in good standing in each jurisdiction where the conduct of its
   business as currently conducted requires such qualifications.

           Section 4.2     Corporate Power and Authority.

                (a)     The Company has the requisite corporate power and authority (i) (A) subject
to entry of the Backstop Commitment Agreement Approval Order and the Confirmation Order and the
terms thereof, to enter into, execute and deliver this Agreement and to perform the BCA Approval
Obligations and (B) subject to entry of the Backstop Commitment Agreement Approval Order and the
Confirmation Order and the terms thereof, to perform each of its other obligations hereunder and
(ii) subject to entry of the Backstop Commitment Agreement Approval Order, the Disclosure
Statement Order, the Confirmation Order and the DIP Order and the terms thereof, to consummate the
transactions contemplated herein and by the Restructuring Support Agreement, to enter into, execute
and deliver all agreements to which it will be a party as contemplated by this Agreement and the
Restructuring Support Agreement (this Agreement, the Plan, the Disclosure Statement, the
Restructuring Support Agreement, the DIP Credit Agreements, the Exit Facility, the Registration
Rights Agreement and such other agreements and any Plan supplements or documents referred to
herein or therein or hereunder or thereunder, collectively, the “Transaction Agreements”) and to
perform its obligations under each of the Transaction Agreements (other than this Agreement).
Subject to the receipt of the foregoing Orders, as applicable, the execution and delivery of this
Agreement and each of the other Transaction Agreements and the consummation of the transactions
contemplated hereby and thereby have been or will be duly authorized by all requisite corporate action
on behalf of the Company.

               (b)      Subject to entry of the Backstop Commitment Agreement Approval Order, the
Disclosure Statement Order, the Confirmation Order and the DIP Order and the terms thereof, each of
the other Debtors has the requisite power and authority (corporate or otherwise) to enter into, execute
and deliver each Transaction Agreement to which such other Debtor is a party and to perform its
obligations thereunder. Subject to entry of the Backstop Commitment Agreement Approval Order,
the Disclosure Statement Order, the Confirmation Order and the DIP Order and the terms thereof, the
execution and delivery of this Agreement and each of the other Transaction Agreements and the
consummation of the transactions contemplated hereby and thereby have been or will be duly
authorized by all requisite action (corporate or otherwise) on behalf of each other Debtor party thereto.

               (c)      Notwithstanding the foregoing, the Company makes no express or implied
representations or warranties, on behalf of itself or the other Debtors, with respect to actions (including
in the foregoing) to be undertaken by Reorganized Chesapeake, which actions shall be governed by
the Plan and the Restructuring Support Agreement.

          Section 4.3 Execution and Delivery; Enforceability. Subject to entry of the Backstop
   Commitment Agreement Approval Order and the terms thereof, this Agreement will have been,
   and subject to the entry of the Backstop Commitment Agreement Approval Order, the Disclosure
   Statement Order, the Confirmation Order, the DIP Order and the terms thereof, each other

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   Transaction Agreement will be, duly executed and delivered by the Company and each of the other
   Debtors party thereto, as applicable. Upon entry of the Backstop Commitment Agreement
   Approval Order and assuming due and valid execution and delivery hereof by the Backstop Parties,
   the BCA Approval Obligations will constitute the valid and legally binding obligations of the
   Company and, to the extent applicable, the other Debtors, enforceable against the Company and,
   to the extent applicable, the other Debtors in accordance with their respective terms, subject to
   bankruptcy, insolvency, reorganization, moratorium and other similar Laws now or hereafter in
   effect relating to creditor’s rights generally and subject to general principles of equity (collectively,
   the “Enforceability Exceptions”). Upon entry of the Backstop Commitment Agreement
   Approval Order and assuming due and valid execution and delivery of this Agreement and the
   other Transaction Agreements by the Backstop Parties and, to the extent applicable, any other
   parties hereof and thereof, each of the obligations of the Company and, to the extent applicable,
   the other Debtors hereunder and thereunder will constitute the valid and legally binding obligations
   of the Company and, to the extent applicable, the other Debtors, enforceable against the Company
   and, to the extent applicable, the other Debtors, in accordance with their respective terms, subject
   to the Enforceability Exceptions.

           Section 4.4     Authorized and Issued Equity Interests.

                 (a)      On the Closing Date, Reorganized Chesapeake will have sufficient authorized
but unissued Common Shares to meet its obligations to deliver the Rights Offering Shares,
Unsubscribed Shares, Put Option Premium Shares, any Common Shares to be issued upon the valid
exercise of the New Warrants (“Warrant Shares”) and any other Common Shares to be issued
pursuant to the Plan, the Restructuring Support Agreement and this Agreement. The Common Shares
and New Warrants to be issued pursuant to the Plan and the Restructuring Support Agreement and this
Agreement, including the Rights Offering Shares, Unsubscribed Shares and Put Option Premium
Shares, the Warrant Shares and any other Common Shares to be issued pursuant to the Plan, the
Restructuring Support Agreement and this Agreement, will, when issued and delivered by
Reorganized Chesapeake, be duly and validly authorized, issued and delivered and shall be fully paid
and non-assessable, and free and clear of all Taxes, Liens (other than transfer restrictions imposed
hereunder, in connection with the Restructuring Transactions or by applicable Law), preemptive
rights, subscription and similar rights, other than any rights set forth in the New Organizational
Documents and the Registration Rights Agreement. Reorganized Chesapeake shall at all times reserve
and keep available a number of its authorized but unissued Common Shares sufficient to permit the
exercise in full of all outstanding New Warrants. The Warrant Shares will, when issued and delivered
by Reorganized Chesapeake, be duly and validly authorized, issued and delivered and shall be fully
paid and non-assessable, and free and clear of all Taxes, Liens (other than transfer restrictions imposed
hereunder or by applicable Law), preemptive rights, subscription and similar rights, other than any
rights set forth in the New Organizational Documents and the Registration Rights Agreement.

               (b)      Except as set forth in this Agreement or as contemplated by the Plan, the
Restructuring Support Agreement, the New Warrants or Management Incentive Plan, as of the Closing
Date, none of the Debtors will be party to or otherwise bound by or subject to any outstanding option,
warrant, call, right, security, commitment, Contract, arrangement or undertaking (including any
preemptive right) that (i) obligates any of the Debtors to issue, deliver, sell or transfer, or repurchase,
redeem or otherwise acquire, or cause to be issued, delivered, sold or transferred, or repurchased,
redeemed or otherwise acquired, any units or shares of capital stock of, or other equity or voting

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interests in, any of the Debtors or any security convertible or exercisable for or exchangeable into any
units or shares of capital stock of, or other equity or voting interests in, any of the Debtors, (ii) obligates
any of the Debtors to issue, grant, extend or enter into any such option, warrant, call, right, security,
commitment, Contract, arrangement or undertaking, (iii) restricts the Transfer of any units or shares
of capital stock of, or other equity interests in, any of the Debtors or (iv) relates to the voting of any
units or other equity interests in any of the Debtors.

            Section 4.5 No Conflicts. Assuming the consents described in Section 4.6 and Section
    7.1(j) are obtained, the execution and delivery by the Company and, if applicable, any other
    Debtor, of this Agreement, the Plan and the other Transaction Agreements, the compliance by the
    Company and, if applicable, any other Debtor, with the provisions hereof and thereof and the
    consummation of the transactions contemplated herein and therein will not (a) conflict with, or
    result in a breach, modification or violation of, any of the terms or provisions of, or constitute a
    default under (with or without notice or lapse of time, or both), or result, except to the extent
    specified in the Plan, in the acceleration of, or the creation of any Lien under, or cause any payment
    or consent to be required under any Contract to which any Debtor will be bound as of the Closing
    Date after giving effect to the Plan or to which any of the property or assets of any Debtor will be
    subject as of the Closing Date after giving effect to the Plan, (b) result in any violation of the
    provisions of any of the Debtors’ organizational documents or the New Organizational Documents
    (other than, for the avoidance of doubt, a breach or default that would be triggered as a result of
    the Chapter 11 Cases or the Company’s or any Debtor’s undertaking to implement the
    Restructuring Transactions through the Chapter 11 Cases), or (c) result in any violation of any
    Law or Order applicable to any Debtor or any of their properties, except in each of the cases
    described in clause (a) or (c) for any conflict, breach, modification, violation, default, acceleration
    or Lien which would not reasonably be expected to have, individually or in the aggregate, a
    Material Adverse Effect.

            Section 4.6 Consents and Approvals. No consent, approval, authorization, Order,
    registration or qualification of or with any Governmental Unit having jurisdiction over any of the
    Debtors or any of their properties (each, an “Applicable Consent”) is required for the execution
    and delivery by the Company and, to the extent relevant, the other Debtors, of this Agreement, the
    Plan and the other Transaction Agreements, the compliance by the Company and, to the extent
    relevant, the other Debtors, with the provisions hereof and thereof and the consummation of the
    transactions contemplated herein and therein, except for (a) the entry of the Backstop Commitment
    Agreement Approval Order authorizing the Company to assume this Agreement and perform the
    BCA Approval Obligations, (b) entry of the Disclosure Statement Order, (c) entry by the
    Bankruptcy Court, or any other court of competent jurisdiction, of Orders as may be necessary in
    the Chapter 11 Cases from time-to-time; (d) the entry of the Confirmation Order, (e) filings,
    notifications, authorizations, approvals, consents, clearances or termination or expiration of all
    applicable waiting periods under any Antitrust Laws in connection with the transactions
    contemplated by this Agreement, (f) such consents, approvals, authorizations, registrations or
    qualifications as may be required under state securities or “Blue Sky” Laws in connection with the
    transactions contemplated by this Agreement and the Rights Offering, (g) any notifications, filings,
    consents, waivers and approvals listed on Section 7.1(j) of the Company Disclosure Schedules and
    (h) any other Applicable Consents that, if not made or obtained, would not reasonably be expected
    to have, individually or in the aggregate, a Material Adverse Effect.


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       Section 4.7 Absence of Certain Changes. Since December 31, 2019 to the date of this
Agreement, no Event has occurred or exists that constitutes, individually or in the aggregate, a
Material Adverse Effect.

        Section 4.8 No Violation; Compliance with Laws. (a) The Company is not in violation
of its certificate of formation or bylaws in any material respect, and (b) no other Debtor is in
violation of its respective charter or bylaws, certificate of formation or limited liability company
operating agreement or similar organizational document in any material respect. None of the
Debtors is or has been at any time since January 1, 2018 in violation of any Law or Order, except
for any such violations that have not had and would not reasonably be expected to have,
individually or in the aggregate, a Material Adverse Effect.

         Section 4.9 Arm’s Length. The Company and each Debtor acknowledges and agrees
that (a) each of the Backstop Parties is acting solely in the capacity of an arm’s length contractual
counterparty to the Company with respect to the transactions contemplated hereby and not as a
financial advisor or a fiduciary to, or an agent of, the Company or any of its Subsidiaries and (b)
no Backstop Party is advising the Company or any of its Subsidiaries as to any legal, tax,
investment, accounting or regulatory matters in any jurisdiction.

        Section 4.10 Financial Statements. The consolidated financial statements of the
Company included or incorporated by reference in Forms 10-Q and 10-K filed by the Company
with the SEC since December 31, 2019, comply or when submitted or filed will comply, as the
case may be, in all material respects with the applicable requirements of the Securities Act and the
Exchange Act and present fairly or when submitted and filed will present fairly in all material
respects the financial position, results of operations and cash flows of the Company and its
consolidated subsidiaries, taken as a whole, as of the dates indicated and for the periods specified
therein. Such financial statements have been prepared in conformity with GAAP applied on a
consistent basis throughout the periods and at the dates covered thereby (except as disclosed
therein). Neither the Company nor any of its Subsidiaries is a party to, or has any commitment to
become a party to, any “off balance sheet arrangements” (as defined in Item 303(a) of Regulation
S-K promulgated by the SEC), where the purpose or intended effect of such arrangement is to
avoid disclosure of any material transaction involving, or material liabilities of, the Company or
any of its Subsidiary in the Company SEC Documents.

        Section 4.11 SEC Documents. Since December 31, 2019, the Company has filed all
reports, schedules, forms, statements and other documents (including exhibits and other
information incorporated therein) required to be filed with the SEC. No Company SEC Document
that has been filed prior to the date this representation has been made, after giving effect to any
amendments or supplements thereto and to any subsequently filed Company SEC Documents, in
each case filed prior to the date this representation is made, contained any untrue statement of a
material fact or omitted to state a material fact required to be stated therein or necessary to make
the statements therein, in light of the circumstances under which they were made, not misleading.

        Section 4.12 No Undisclosed Material Liabilities. Except as has not had and would not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect, there
are no liabilities or obligations of the Company or any of its Subsidiaries of any kind whatsoever,
whether accrued, contingent, absolute, determined or determinable, and there is no existing

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   condition, situation or set of circumstances that would reasonably be expected to result in such a
   liability or obligation other than: (i) liabilities or obligations disclosed and provided for in the
   Company Balance Sheet or in the notes thereto; and (ii) liabilities or obligations incurred in the
   ordinary course of business since December 31, 2019 or disclosed in the Company SEC
   Documents.

           Section 4.13 Legal Proceedings. Other than the Chapter 11 Cases and any adversary
   proceedings or contested motions commenced in connection therewith, there are no notices,
   claims, complaints, requests for information or legal, governmental, administrative, judicial or
   regulatory investigations, audits, actions, suits, arbitrations or proceedings (collectively, “Legal
   Proceedings”) pending or, to the Company’s knowledge, threatened to which the Company or any
   of its Subsidiaries is a party or to which any property of the Company or any of its Subsidiaries is
   the subject that would reasonably be expected to have, individually or in the aggregate, a Material
   Adverse Effect.

           Section 4.14 Labor Relations.

                   (a) Other than the Chapter 11 Cases and any adversary proceedings or contested
   motions commenced in connection therewith, there is no labor or employment-related Legal
   Proceeding pending or, to the knowledge of the Company, threatened against the Company or any
   of its Subsidiaries, by or on behalf of any of their respective employees or such employees’ labor
   organization, works council, workers’ committee, union representatives or any other type of
   employees’ representatives appointed for collective bargaining purposes (collectively “Employee
   Representatives”), or by any Governmental Unit, that has had or would reasonably be expected
   to have, individually or in the aggregate, a Material Adverse Effect.

                (b)     Neither the Company nor any of its Subsidiaries is or in the past two (2) years
has been a party to or subject to, or is currently negotiating in connection with entering into, any
Collective Bargaining Agreement, and there has not been any union organizing efforts, petitions or
other unionization activity seeking recognition of a collective bargaining unit relating to the Company
or any of its Subsidiaries in the past two (2) years. There is no strike, slowdown, concerted work
stoppage, picketing, lockout, material labor dispute or, to the knowledge of the Company, threat
thereof, by or with respect to any employees of the Company or any of its Subsidiaries, and, to the
knowledge of the Company, there has not been any such action within the past two (2) years. Except
as has not had and would not reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect, neither the Company nor any of its Subsidiaries is subject to any obligation
(whether pursuant to Law or Contract) to notify, inform and/or consult with, or obtain consent from,
any Employee Representative regarding the transactions contemplated by this Agreement prior to
entering into this Agreement.

                (c)      The Company and each of its Subsidiaries are, and within the past two (2)
years have been, in compliance with all applicable Laws relating to labor and employment, including
those relating to payment of their obligations to all employees of the Company and any of its
Subsidiaries in respect of all wages, salaries, fees, commissions, bonuses, overtime pay, holiday pay,
sick pay and all other compensation, remuneration and emoluments due and payable to such
employees under Law, and those relating to labor management relations, hours, employee
classification, discrimination, sexual harassment, civil rights, affirmative action, work authorization,

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immigration, safety and health, information privacy and security and workers compensation, except
in each case to the extent that any noncompliance does not constitute or would not reasonably be
expected to constitute, individually or in the aggregate, a Material Adverse Effect and, for the
avoidance of doubt, except for any payments that are not permitted by the Bankruptcy Court or the
Bankruptcy Code.

               (d)     The Company and each of its Subsidiaries are, and within the past two (2)
years have been, in compliance with the Worker Adjustment and Retraining Notification Act and any
comparable Law and have no liabilities or other obligations thereunder, except to the extent that any
noncompliance does not constitute or would not reasonably be expected to constitute, individually or
in the aggregate, a Material Adverse Effect.

           Section 4.15 Intellectual Property. Except as has not had and would not reasonably be
   expected to have, individually or in the aggregate, a Material Adverse Effect: (i) the Company
   and its Subsidiaries exclusively own, free and clear of all Liens except for Permitted Liens, all of
   their (x) patents and registered Intellectual Property (and all applications therefor) and (y)
   proprietary unregistered Intellectual Property, and all of the items in clause (x) are subsisting, and,
   to the knowledge of the Company, valid and enforceable; (ii) no Intellectual Property owned by
   the Company or its Subsidiaries, to the knowledge of the Company, has been infringed,
   misappropriated or violated (“Infringe”) by any other Person since January 1, 2017; (iii) the
   conduct of the businesses of the Company and its Subsidiaries as presently conducted does not
   Infringe any Intellectual Property of any other Person and no Person has alleged same in writing,
   except for allegations that have since been resolved or in connection with the Chapter 11 Cases
   and any adversary proceedings or contested motions commenced in connection therewith; and
   (iv) the Company and its Subsidiaries take commercially reasonable actions to maintain and
   protect (a) the confidentiality of their trade secrets and confidential information and (b) the
   integrity, security and continuous operation of their material software, systems, websites and
   networks (and all data therein), and, in the one year prior to the date of this Agreement (or earlier,
   if any of same have not since been resolved in all material respects), there have been no outages,
   interruptions, or breaches of same.

          Section 4.16 Title to Real and Personal Property. Except as has not had and would not
   reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect:

               (a)      Real Property. The Company or one of its Subsidiaries, as the case may be,
has good and valid title in fee simple to each Owned Real Property, free and clear of all Liens, except
for Permitted Liens.

                (b)       Leased Real Property. All Real Property Leases necessary for the operation of
the Post-Effective Date Business are valid, binding and enforceable by and against the Company or
its relevant Subsidiaries, and, to the knowledge of the Company no written notice to terminate, in
whole or part, any of such leases has been delivered to the Company or any of its Subsidiaries (nor, to
the knowledge of the Company, has there been any indication that any such notice of termination will
be served). Other than as a result of the filing of the Chapter 11 Cases, neither the Company nor any
of its Subsidiaries nor, to the knowledge of the Company, any other party to any material Real Property
Lease necessary for the operation of the Post-Effective Date Business is in default or breach under the



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terms thereof except for such instances of default or breach that do not have and would not reasonably
be expected to have, individually or in the aggregate, a Material Adverse Effect.

                (c)      Personal Property. The Company or its Subsidiaries has good title or, in the
case of leased assets, a valid leasehold interest, free and clear of all Liens, to all of its tangible personal
property and leased assets, except for Permitted Liens.

            Section 4.17 Licenses and Permits. The Company and its Subsidiaries possess all
    licenses, certificates, permits and other authorizations issued by, and have made all declarations
    and filings with, the appropriate Governmental Units that are necessary for the ownership or lease
    of their respective properties and the conduct of the Post-Effective Date Business, in each case,
    except as would not have and would not reasonably be expected to have, individually or in the
    aggregate, a Material Adverse Effect. Except as would not have and would not reasonably be
    expected to have, individually or in the aggregate, a Material Adverse Effect, neither the Company
    nor any of its Subsidiaries (i) has received notice of any revocation or modification of any such
    license, certificate, permit or authorization or (ii) has any reason to believe that any such license,
    certificate, permit or authorization will not be renewed in the ordinary course.

           Section 4.18 EnvironmentalThe Company and its Subsidiaries are, and have been for the
    past two (2) years, in compliance with all applicable Laws relating to the protection of the
    environment, natural resources (including wetlands, wildlife, aquatic and terrestrial species and
    vegetation) or of human health and safety (with respect to exposure to Materials of Environmental
    Concern), or to the management, use, transportation, treatment, storage, disposal or arrangement
    for disposal of Materials of Environmental Concern (collectively, “Environmental Laws”),
    except for such noncompliance that would not reasonably be expected to have, individually or in
    the aggregate, a Material Adverse Effect.

          (b)     The Company and its Subsidiaries (i) have received, possess and are in compliance
with all permits, licenses, exemptions and other approvals required of them under applicable
Environmental Laws to conduct their respective businesses as currently conducted (“Environmental
Permits”), (ii) are not subject to any written or other formal action to revoke, terminate, cancel or
limit any such Environmental Permits, and (iii) have paid all fees, assessments or expenses due under
any such Environmental Permits, except in each case as would not reasonably be expected to have,
individually or in the aggregate, a Material Adverse Effect.

          (c)     Except with respect to matters that have been fully and finally settled or resolved, (i)
there are no Legal Proceedings under any Environmental Laws pending or, to the knowledge of the
Company, threatened against the Company or any of its Subsidiaries, and (ii) the Company and its
Subsidiaries have not received written notice of any actual or potential liability of the Company for
the investigation, remediation or monitoring of any Materials of Environmental Concern at any
location, or for any violation of Environmental Laws or Environmental Permits, where such Legal
Proceedings or liability would reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect.

          (d)     Within the past two (2) years (or earlier, to the extent the Company or any of its
Subsidiaries is subject to ongoing obligations), none of the Company or any of its Subsidiaries has
entered into any consent decree, settlement or other agreement with any Governmental Unit, and none


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of the Company or its Subsidiaries is subject to any Order, in either case relating to any Environmental
Laws, Environmental Permits or to Materials of Environmental Concern, except for such consent
decrees, settlements, agreements or Orders that would not reasonably be expected to have, individually
or in the aggregate, a Material Adverse Effect.

          (e)     There has been no release, disposal or arrangement for disposal of any Materials of
Environmental Concern by or on behalf of the Company or its Subsidiaries, or release at or from any
real property currently or, to the knowledge of the Company, formerly owned, leased or operated by
the Company or its Subsidiaries, in each case that would reasonably be expected to (i) give rise to any
Legal Proceeding, or to any liability, under any Environmental Law, or (ii) prevent the Company or
any of its Subsidiaries from complying with applicable Environmental Laws or Environmental
Permits, except for such Legal Proceedings, liability or burden or non-compliance that would not
reasonably be expected, individually or in the aggregate, to have a Material Adverse Effect.

          (f)     Neither the Company nor any of its Subsidiaries has assumed or accepted by Contract
any liabilities of any other Person under Environmental Laws or concerning any Materials of
Environmental Concern, where such assumption or acceptance of responsibility would reasonably be
expected to have, individually or in the aggregate, a Material Adverse Effect.

            (g)    There has been no third-party environmental investigation, study, audit, review or
assessment conducted on behalf of the Company within the last two (2) years in relation to the current
business of the Company or any of its Subsidiaries or any real property or facility now or previously
owned, leased or operated by the Company or any of its Subsidiaries describing any facts or
circumstances which would reasonably be expected to give rise to any Legal Proceeding, or to any
liability, under any Environmental Law or Environmental Permit, which Legal Proceeding or liability
would reasonably be expected to have a Material Adverse Effect, the non-privileged written part of
which has not been delivered or made available to the Backstop Parties.

          (h)    Notwithstanding the generality of any other representations and warranties in this
Agreement, the representations and warranties in this Section 4.18 constitute the sole and exclusive
representations and warranties in this Agreement with respect to any environmental, health or safety
matters, including any arising under or relating to Environmental Laws, Environmental Permits or
Materials of Environmental Concern.

          Section 4.19 Tax Matters. Except in each case as to matters that would not reasonably be
   expected to have, individually or in the aggregate, a Material Adverse Effect,

                (a)       the Company and each of its Subsidiaries have timely filed or caused to be
timely filed (taking into account any applicable extension of time within which to file) with the
appropriate taxing authorities all tax returns, statements, forms and reports (including declarations,
disclosures, schedules, estimates and information statements) for Taxes (“Tax Returns”) that are
required to be filed by the Company and its Subsidiaries. The Tax Returns accurately reflect all
liability for Taxes of the Company and its Subsidiaries for the periods covered thereby;

              (b)     the Company and each of its Subsidiaries has paid or caused to be paid all
Taxes imposed on it or its assets, business or properties which Taxes are due and payable and, to the
extent not yet due and payable, has made adequate provision for the payment of such Taxes in


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accordance with GAAP or will make adequate provision therefor when required under GAAP on the
financial statements of the Company included in the Company SEC Documents (except (i) Taxes or
assessments that are being contested in good faith by appropriate proceedings and for which the
Company or its Subsidiaries (as the case may be) have set aside on their books adequate reserves in
accordance with GAAP or (ii) Taxes the non-payment thereof is permitted or required by the
Bankruptcy Code);

                (c)     as of the date hereof, with respect to the Company and its Subsidiaries, other
than in connection with (A) the Chapter 11 Cases, or (B) Taxes being contested in good faith by
appropriate proceedings for which adequate provisions have been made (to the extent required in
accordance with GAAP), (I) there is no outstanding audit, assessment or written claim concerning any
Tax liability of the Company and its Subsidiaries, (II) neither the Company nor its Subsidiaries have
received any written notices from any taxing authority relating to any outstanding tax issue that could
materially affect the Company and its Subsidiaries; and (III) there are no Liens with respect to Taxes
upon any of the assets or properties of the Company and its Subsidiaries, other than Permitted Liens;

               (d)       all Taxes that the Company and its Subsidiaries were required by Law to
withhold or collect in connection with amounts paid or owing to any employee, independent
contractor, creditor, stockholder or other third party have been duly withheld or collected, and have
been timely paid to the proper authorities to the extent due and payable;

               (e)      none of the Company or any of its Subsidiaries has been either a “distributing
corporation” or a “controlled corporation” in a distribution occurring during the last two (2) years prior
to the date hereof which was treated by the parties thereto as a distribution to which Section 355 of
the Code is applicable;

               (f)      within the last three (3) years prior to the date hereof, none of the Company
and any of its Subsidiaries has been included in any “consolidated,” “unitary” or “combined” Tax
Return provided for under any Law with respect to Taxes for any taxable period for which the statute
of limitations has not expired (other than a group of which the Company and/or its current or past
Subsidiaries are or were the only members);

                (g)      there are no tax sharing, indemnification or similar agreements in effect
between the Company or any of its Subsidiaries or any predecessor or Affiliate thereof and any other
party (including any predecessors or Affiliates thereof) under which the Company or any of its
Subsidiaries is a party to or otherwise bound by; and

               (h)      none of the Company and any of its Subsidiaries has received a written claim
which remains outstanding to pay any liability for Taxes of any Person (other than the Company or its
Subsidiaries) arising from the application of U.S. Treasury Regulation Section 1.1502-6 or any
analogous provision of state, local or foreign law, by contract or as a transferee or successor.

               (i)     Sections 4.14(c), 4.19, 4.20(a), 4.20(c) and 4.20(e) (in each case, to the extent
related to Tax matters) shall constitute the sole and exclusive representations and warranties with
respect to Tax matters. No representation or warranty is provided with respect to any Tax position
taken for any Tax period following the consummation of the Plan or with respect to the availability of



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any Tax attribute in such period. For the avoidance of doubt, the foregoing sentence is not intended
to address any Pre-Closing Tax Period.

           Section 4.20 Company Plans

                 (a)       Except as would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect: (i) each Company Plan is in compliance with ERISA, the Code,
other applicable Laws and its governing documents; (ii) each Company Plan that is intended to be a
qualified plan under Section 401(a) of the Code has received a favorable determination or opinion
letter from the IRS, and, to the knowledge of the Company, nothing has occurred that is reasonably
likely to result in the loss of the qualification of such Company Plan under Section 401(a) of the Code
or the imposition of any liability, penalty or tax under ERISA or the Code; (iii) all contributions
required to have been made under the terms of any Company Plan have been timely made; and (iv) no
claim, action, litigation, audit, examination, investigation or administrative proceeding has been made,
commenced or, to the knowledge of the Company, threatened in writing with respect to any Company
Plan (other than (A) routine claims for benefits payable in the ordinary course, (B) otherwise in
relation to the Chapter 11 Cases or (C) any that, individually, would not reasonably be expected to
result in a liability of the Company or any of its Subsidiaries in excess of $50,000).

              (b)      Except as would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect, neither the Company nor any of its Subsidiaries sponsors,
maintains, administers or contributes to (or has any obligation to contribute to) or has or is reasonably
expected to have any direct or indirect liability (including on account of a predecessor entity or an
ERISA Affiliate) with respect to, any plan subject to Title IV of ERISA, including any Multiemployer
Plan.

                (c)      Except as would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect, neither the Company nor any of its Subsidiaries has any current
or projected liability for, and no Company Plan provides for post-employment or retiree health, life
insurance or other welfare benefits, except for benefits required by Section 4980B of the Code or
similar Law.

               (d)       Neither the execution of this Agreement, the Plan or the other Transaction
Agreements, nor the consummation of the transactions contemplated hereby or thereby will (A) entitle
any director, employee or individual independent contractor of the Company or any of its Subsidiaries
to severance pay or any increase in severance pay upon any termination of service after the date hereof
or (B) accelerate the time of payment or vesting or result in any payment or funding (through a grantor
trust or otherwise) of compensation or benefits under, increase the amount payable or result in any
other material obligation pursuant to, any of the Company Plans.

               (e)       The execution, delivery of and performance by the Company and its
Subsidiaries of its obligations under this Agreement will not (either alone or upon the occurrence of
any additional or subsequent events) result in “excess parachute payments” within the meaning of
Section 280G(b)(1) of the Code or any payments under any other applicable Laws that would be
treated in such similar nature to such section of the Code, with respect to any Company Plan that
would be in effect immediately after the Closing.



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               (f)     Except as would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect, no Company Plan is maintained outside the jurisdiction of the
United States and covers any employee residing or working outside the United States.

          Section 4.21 Internal Control Over Financial Reporting. The Company has established
   and maintains a system of internal control over financial reporting (as defined in Rules 13a-15(f)
   and 15d-15(f) promulgated under the Exchange Act) that complies in all material respects with the
   requirements of the Exchange Act and has been designed to provide reasonable assurances
   regarding the reliability of financial reporting and the preparation of financial statements for
   external purposes in accordance with GAAP. To its knowledge, the Company does not have any
   material weaknesses in its internal control over financial reporting as of the date hereof.

           Section 4.22 Disclosure Controls and Procedures. The Company (i) maintains disclosure
   controls and procedures (within the meaning of Rules 13a-15(e) and 15d-15(e) promulgated under
   the Exchange Act) designed to ensure that information required to be disclosed by the Company
   in the reports that it files and submits under the Exchange Act is recorded, processed, summarized
   and reported within the time periods specified in the SEC’s rules and forms, including that
   information required to be disclosed by the Company in the reports that it files and submits under
   the Exchange Act is accumulated and communicated to management of the Company as
   appropriate to allow timely decisions regarding required disclosure, and (ii) to the knowledge of
   the Company has disclosed, based upon the most recent evaluation of the Company’s internal
   control over financial reporting, to its auditors and the audit committee of the Company’s board
   of directors (A) all significant deficiencies and material weaknesses in the design or operation of
   the Company’s internal control over financial reporting which are reasonably likely to adversely
   affect its ability to record, process, summarize and report financial data and (B) any fraud that
   involves management or other employees who have a significant role in the Company’s internal
   control over financial reporting. Neither the Company nor any of its Subsidiaries has made any
   prohibited loans to any executive officer of the Company (as defined in Rule 3b-7 under the
   Exchange Act) or director of the Company. There are no outstanding loans or other extensions of
   credit made by the Company or any of its Subsidiaries to any executive officer of the Company
   (as defined in Rule 3b-7 under the Exchange Act) or director of the Company.

           Section 4.23 Material Contracts.

               (a)      Other than as a result of a rejection motion filed by any of the Debtors in the
Chapter 11 Cases, all Material Contracts are valid, binding and enforceable by and against the
Company or its relevant Subsidiary, except where the failure to be valid, binding or enforceable would
not reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect, and,
to the knowledge of the Company, no written notice to terminate, in whole or part, any Material
Contract has been delivered to the Company or any of its Subsidiaries except where such termination
would not reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.
Other than as a result of the filing of the Chapter 11 Cases, neither the Company nor any of its
Subsidiaries nor, to the knowledge of the Company, any other party to any Material Contract, is in
default or material breach under the terms thereof except, in each case, for such instances of default
or material breach that would not reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect. For purposes of this Agreement, “Material Contract” means any Contract
necessary for the operation of the Post-Effective Date Business that is a “material contract” (as such

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term is defined in Item 601(b)(10) of Regulation S-K or required to be disclosed on a Current Report
on Form 8-K).

           (b)     Except as has not, had and would not reasonably be expected to have, individually
or in the aggregate, a Material Adverse Effect, as of the date hereof, neither the Company nor any of
its Subsidiaries is party to any contract, agreement, arrangement or understanding containing any
provision or covenant limiting in any material respect the ability of the Company or any of its
Subsidiaries (or, after the Plan Effective Date) to (i) sell any products or services of or to any other
Person or in any geographic region or (ii) engage in any line of business (or, after the Plan Effective
Date, Reorganized Chesapeake or its Subsidiaries) (each, a “Non-Competition Agreement”).

           Section 4.24 No Unlawful Payments. Since January 1, 2015, neither the Company nor
   any of its Subsidiaries nor, to the knowledge of the Company, any of their respective directors,
   officers or employees, agents or other Persons acting on behalf of the Company or any of its
   Subsidiaries, has in any material respect: (a) used any funds of the Company or any of its
   Subsidiaries for any unlawful contribution, gift, entertainment or other unlawful expense, in each
   case relating to political activity; (b) made any direct or indirect unlawful payment to any foreign
   or domestic government official or employee from corporate funds; (c) violated or is in violation
   of any provision of U.S. Foreign Corrupt Practices Act of 1977, as amended, and the rules and
   regulations thereunder (“FCPA”); or (d) made any bribe, rebate, payoff, influence payment,
   kickback or other similar unlawful payment. No material Legal Proceeding by or before any
   Governmental Unit or any arbitrator involving any of the Debtors, their respective Subsidiaries
   with respect to the FCPA or similar applicable anti-corruption laws is pending or, to the knowledge
   of the Company, threatened. The Debtors and their respective Subsidiaries have implemented and
   maintain in effect policies and procedures designed to ensure compliance by the Debtors and their
   respective Subsidiaries and their respective directors, officers, employees and agents with the
   FCPA and any other applicable anti-corruption Laws.

           Section 4.25 Compliance with Money Laundering Laws. The operations of the Company
   and its Subsidiaries are and since January 1, 2015 have been at all times conducted in compliance
   in all material respects with applicable financial recordkeeping and reporting requirements of the
   Currency and Foreign Transactions Reporting Act of 1970, as amended, the money laundering
   statutes of all jurisdictions, the rules and regulations thereunder and any related or similar Laws
   (collectively, the “Money Laundering Laws”) and no material action, suit or proceeding by or
   before any Governmental Unit or any arbitrator involving the Company or any of its Subsidiaries
   with respect to Money Laundering Laws is pending or, to the knowledge of the Company,
   threatened. The Debtors and their respective Subsidiaries have implemented and maintain in effect
   policies and procedures designed to ensure compliance by the Debtors and their respective
   Subsidiaries and their respective directors, officers, employees and agents with the Money
   Laundering Laws.

           Section 4.26 Compliance with Sanctions Laws. Neither the Company nor any of its
   Subsidiaries nor, to the knowledge of the Company, any of their respective directors, officers or
   employees, nor any agent or other Person acting on behalf of the Company or any of its
   Subsidiaries, is currently subject to any U.S. sanctions administered by the Office of Foreign
   Assets Control of the U.S. Treasury Department (“Sanctions”). The Company will not directly or
   indirectly use the proceeds of the Rights Offering or the sale of the Unsubscribed Shares, or lend,

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contribute or otherwise make available such proceeds to any Subsidiary, joint venture partner or
other Person, for the purpose of financing the activities of any Person that, to the knowledge of the
Company, is currently subject to any U.S. sanctions administered by the Office of Foreign Assets
Control of the U.S. Treasury Department. The Debtors and their respective Subsidiaries have
implemented and maintain in effect policies and procedures designed to ensure compliance by the
Debtors and their respective Subsidiaries and their respective directors, officers, employees and
agents with the Sanctions.

       Section 4.27 No Broker’s Fees. Neither the Company nor any of its Subsidiaries is a party
to any Contract with any Person (other than this Agreement) that would give rise to a valid claim
against the Backstop Parties for a brokerage commission, finder’s fee or like payment in
connection with the Rights Offering or the sale of the Unsubscribed Shares.

        Section 4.28 No Registration Rights. Except as provided for pursuant to the Registration
Rights Agreement, no Person has the right to require the Company or any of its Subsidiaries to
register any securities for sale under the Securities Act.

       Section 4.29 Takeover Statutes. No Takeover Statute is applicable to this Agreement, the
Backstop Commitment and the other transactions contemplated by this Agreement.

        Section 4.30 Insurance. Except as would not reasonably be expected to have, individually
or in the aggregate, a Material Adverse Effect: (i) all premiums due and payable in respect of
insurance policies maintained by the Company and its Subsidiaries have been paid, (ii) the
insurance maintained by or on behalf of the Company and its Subsidiaries is adequate and (iii) as
of the date hereof, to the knowledge of the Company, neither the Company nor any of its
Subsidiaries has received notice from any insurer or agent of such insurer with respect to any
insurance policies of the Company and its Subsidiaries of cancellation or termination of such
policies, other than such notices which are received in the ordinary course of business or for
policies that have expired on their terms.

        Section 4.31 No Undisclosed Relationships. There are no Contracts or other direct or
indirect relationships existing as of the date hereof between or among any of the Debtors or their
Subsidiaries, on the one hand, and any director, officer or greater than five percent (5%)
stockholder of any of the Debtors, or Affiliate thereof, on the other hand that is required by the
Exchange Act to be described in the Company’s filings with the SEC and that is not so described.
A correct and complete copy of any Contract existing as of the date hereof between or among any
of the Debtors or their Subsidiaries, on the one hand, and any director, officer or greater than five
percent (5%) stockholder of any of the Debtors or their Subsidiaries, or Affiliate thereof, on the
other hand, that is required by the Exchange Act to be described in the Company’s filings with the
SEC is filed as an exhibit to, or incorporated by reference as indicated in, the Annual Report on
Form 10-K for the fiscal year ended December 31, 2019 or such subsequently filed Quarterly
Report on Form 10-Q or Current Report on Form 8-K.

       Section 4.32 Investment Company Act. None of the Debtors or any of their respective
Subsidiaries is, or immediately after giving effect to the consummation of the Restructuring will
be, an “investment company” as defined in, or subject to regulation under, the Investment
Company Act, and this conclusion is based on one or more bases or exclusions other than Sections


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   3(c)(1) and 3(c)(7) of the Investment Company Act, including that none of the Debtors or their
   Subsidiaries comes within the basic definition of ‘investment company’ under section 3(a)(1) of
   the Investment Company Act.

           Section 4.33 Disclosure Schedule, and Company SEC Document References.

          (a)     The parties hereto agree that any reference in a particular Section of the Company
Disclosure Schedules shall be deemed disclosed in each other section of the Company Disclosure
Schedules to which such fact or item may apply so long as (a) such other section is referenced by
applicable cross-reference or (b) it is reasonably apparent that such disclosure is applicable to such
other section. The headings contained in the Company Disclosure Schedules are for convenience of
reference only and shall not be deemed to modify or influence the interpretation of the information
contained in the Company Disclosure Schedules or this Agreement. The Company Disclosure
Schedules are not intended to constitute, and shall not be construed as, an admission or indication
that any such fact or item is required to be disclosed. Any fact or item disclosed in the Company
Disclosure Schedules shall not by reason only of such inclusion be deemed to be material, to
establish any standard of materiality or to define further the meaning of such terms for purposes of
this Agreement and matters reflected in the Company Disclosure Schedules are not necessarily
limited to matters required by this Agreement to be reflected herein and may be included solely for
information purposes. No disclosure in the Company Disclosure Schedules relating to any possible
breach or violation of any Contract, Law or order shall be construed as an admission or indication
that any such breach or violation exists or has actually occurred. The information contained in the
Company Disclosure Schedules are confidential information subject to Section 6.2, and no third
party may rely on any information disclosed or set forth therein.

          (b)     The parties hereto agree that any information contained in any part of any
Company SEC Document shall only be deemed to be an exception to (or a disclosure for purposes
of) the Company’s representations and warranties if the relevance of that information as an
exception to (or a disclosure for purposes of) such representations and warranties would be
reasonably apparent to a person who has read that information concurrently with such
representations and warranties, without any independent knowledge on the part of the reader
regarding the matters so disclosed; provided that in no event shall any information contained in any
part of any Company SEC Document entitled “Risk Factors” or any part entitled “Forward-Looking
Statements” be deemed to be an exception to (or a disclosure for purposes of) any representations
and warranties of the Company contained in this Agreement.

                                ARTICLE V
          REPRESENTATIONS AND WARRANTIES OF THE BACKSTOP PARTIES

           Each Backstop Party, severally and not jointly, represents and warrants as to itself only
   (unless otherwise set forth herein, as of the date of this Agreement and as of the Closing Date) as
   set forth below.

           Section 5.1 Organization. Such Backstop Party is a legal entity duly organized, validly
   existing and, if applicable, in good standing (or the equivalent thereof) under the Laws of its
   jurisdiction of incorporation or organization.



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        Section 5.2 Organizational Power and Authority. Such Backstop Party has the requisite
power and authority (corporate or otherwise) to enter into, execute and deliver this Agreement and
to perform its obligations hereunder and thereunder and has taken all necessary action (corporate
or otherwise) required for the due authorization, execution, delivery and performance by it of this
Agreement.

       Section 5.3 Execution and Delivery. This Agreement (a) has been, or prior to its
execution and delivery will be, duly and validly executed and delivered by such Backstop Party
and (b) upon entry of the Backstop Commitment Agreement Approval Order and assuming due
and valid execution and delivery hereof and thereof by the Company and the other Debtors (as
applicable), will constitute valid and legally binding obligations of such Backstop Party,
enforceable against such Backstop Party in accordance with their respective terms subject to the
Enforceability Exceptions.

        Section 5.4 No Conflict. Assuming that the consents referred to in Section 5.5 are
obtained, the execution and delivery by such Backstop Party of this Agreement, the compliance
by such Backstop Party with all of the provisions hereof and thereof and the consummation of the
transactions contemplated herein and therein (a) will not conflict with, or result in breach,
modification, termination or violation of, any of the terms or provisions of, or constitute a default
under (with or without notice or lapse of time or both), or result in the acceleration of, or the
creation of any Lien under, any Contract to which such Backstop Party is party or is bound or to
which any of the property or assets or such Backstop Party are subject, (b) will not result in any
violation of the provisions of the certificate of incorporation or bylaws (or comparable constituent
documents) of such Backstop Party and (c) will not result in any material violation of any Law or
Order applicable to such Backstop Party or any of its properties, except in each of the cases
described in clauses (a) or (c), for any conflict, breach, modification, termination, violation,
default, acceleration or Lien which would not reasonably be expected, individually or in the
aggregate, to prohibit or materially and adversely impact such Backstop Party’s performance of
its obligations under this Agreement.

        Section 5.5 Consents and Approvals. No consent, approval, authorization, Order,
registration or qualification of or with any Governmental Unit having jurisdiction over such
Backstop Party or any of its properties is required for the execution and delivery by such Backstop
Party of this Agreement, the compliance by such Backstop Party with the provisions hereof and
the consummation of the transactions (including the purchase by such Backstop Party of its
Backstop Commitment Percentage of the Unsubscribed Shares and its portion of the Rights
Offering Shares) contemplated herein and therein, except (a) any consent, approval, authorization,
Order, registration or qualification which, if not made or obtained, would not reasonably be
expected, individually or in the aggregate, to prohibit or materially and adversely impact such
Backstop Party’s performance of its obligations under this Agreement and (b) filings, notifications,
authorizations, approvals, consents, clearances or termination or expiration of all applicable
waiting periods under any Antitrust Laws in connection with the transactions contemplated by this
Agreement.

        Section 5.6 No Registration.      Such Backstop Party understands that (a) the
Unsubscribed Shares, Put Option Premium Shares and Rights Offering Shares have not been
registered under the Securities Act by reason of a specific exemption from the registration

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   provisions of the Securities Act, the availability of which depends on, among other things, the
   bona fide nature of the investment intent and the accuracy of such Backstop Party’s representations
   as expressed herein or otherwise made pursuant hereto, and (b) the foregoing shares cannot be sold
   unless subsequently registered under the Securities Act or an exemption from registration is
   available.

           Section 5.7 Purchasing Intent. Such Backstop Party is acquiring the Unsubscribed
   Shares, Put Option Premium Shares and Rights Offering Shares for its own account or accounts
   or funds over which it holds voting discretion, not otherwise as a nominee or agent, and not
   otherwise with the view to, or for resale in connection with, any distribution thereof not in
   compliance with applicable securities Laws, and such Backstop Party has no present intention of
   selling, granting any other participation in, or otherwise distributing the same, except in
   compliance with applicable securities Laws.

           Section 5.8 Sophistication; Investigation. Such Backstop Party has such knowledge and
   experience in financial and business matters such that it is capable of evaluating the merits and
   risks of its investment in the Unsubscribed Shares, Put Option Premium Shares and Rights
   Offering Shares. Such Backstop Party is an “accredited investor” within the meaning of
   Rule 501(a) of the Securities Act or a “qualified institutional buyer” within the meaning of
   Rule 144A of the Securities Act. Such Backstop Party understands and is able to bear any
   economic risks associated with such investment (including the necessity of holding such shares
   for an indefinite period of time). Except for the representations and warranties expressly set forth
   in this Agreement or any other Transaction Agreement, such Backstop Party has independently
   evaluated the merits and risks of its decision to enter into this Agreement and disclaims reliance
   on any representations or warranties, either express or implied, by or on behalf of any of the
   Debtors.

          Section 5.9 No Broker’s Fees. Such Backstop Party is not a party to any Contract with
   any Person (other than the Transaction Agreements) that would give rise to a valid claim against
   any of the Debtors for a brokerage commission, finder’s fee or like payment in connection with
   the Rights Offering or the sale of the Unsubscribed Shares, Put Option Premium Shares or Rights
   Offering Shares.

           Section 5.10 Sufficient Funds. Such Backstop Party will have immediately available
   funds to make and complete the payment of the aggregate purchase price for the exercise of all of
   its Subscription Rights that are issued to it pursuant to the Rights Offering and fund such Backstop
   Party’s Backstop Commitment.

                                          ARTICLE VI
                                    ADDITIONAL COVENANTS

          Section 6.1     Conduct of Business.

               (a)    Except as explicitly set forth in this Agreement or otherwise contemplated by
the Restructuring Support Agreement, Disclosure Statement and Plan, with the prior written consent
of the Required Backstop Parties or in connection with, in the Company’s reasonable discretion, any
reasonable COVID-19 Measures, during the period from the date of this Agreement to the earlier of


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the Closing Date and the date on which this Agreement is terminated in accordance with its terms, the
Company shall, and shall cause each of its Subsidiaries to carry on its business in the ordinary course
and use commercially reasonable efforts to:

                       (i)   preserve intact its present business and its Post-Effective Date Business;

                      (ii) maintain in effect all of its foreign, federal, state and local licenses,
           permits, consents, franchises, approvals and authorizations (except where the failure to do
           so would not individually, or in the aggregate, have a Material Adverse Effect);

                       (iii) keep available the services of its officers and key employees; and

                       (iv) preserve its relationships with material customers, suppliers, licensors,
           licensees, distributors and others having business dealings with the Company or its
           Subsidiaries in connection with the Post-Effective Date Business.

           (b)    Without limiting the generality of the foregoing, except as explicitly set forth in
this Agreement or otherwise contemplated by the Restructuring Support Agreement, Disclosure
Statement and Plan, the Company shall not, and shall not permit any of its Subsidiaries to, take any
of the following actions without the prior written consent of the Required Backstop Parties:

                      (i)     amend the Company’s certificate of incorporation, Bylaws or other
           similar organizational documents (whether by merger, consolidation or otherwise) other
           than in connection with the New Organizational Documents;

                       (ii)    incur any capital expenditures or any obligations or liabilities in
           respect thereof, other than (A) in the ordinary course of business or (B) that is not
           material to the Post-Effective Date Business

                       (iii) acquire (by merger, consolidation, acquisition of stock or assets or
           otherwise), directly or indirectly, any assets, securities, properties, interests or businesses,
           other than (A) in the ordinary course of business, or (B) acquisitions (by merger,
           consolidation, acquisition of stock or assets or otherwise) that do not exceed $5,000,000
           individually or $25,000,000 in the aggregate;

                       (iv)  enter into, amend or modify in any material respect or terminate any
           Material Contract or otherwise waive, release or assign any material rights, claims or
           benefits of the Company or any of its Subsidiaries under any Material Contract;

                       (v)   enter into any contract, agreement, arrangement or understanding that
           is a material Non-Competition Agreement;

                       (vi)    sell, lease or otherwise transfer, or create or incur any Lien on, any of
           the Company’s or its Subsidiaries’ assets, securities, properties, interests or businesses,
           other than (A) in the ordinary course of business, or (B) sales of assets, securities,
           properties, interests or businesses with a sale price (including any related assumed
           indebtedness) that do not exceed $5,000,000 individually or $25,000,000 in the
           aggregate;

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                       (vii) other than in connection with actions permitted by Section 6.1(b)(ii),
           make any loans, advances or capital contributions to, or investments in, any other Person,
           other than (A) in the ordinary course of business, or (B) loans, advances or capital
           contributions that do not exceed $5,000,000 individually or $25,000,000 in the aggregate;

                       (viii) (A) unless required by a Company Plan in effect on the date hereof,
           with respect to any current or former directors or Executive Officers of the Company: (1)
           grant or increase any retention, severance or termination pay (or amend any existing
           retention, severance pay or termination arrangement); (2) enter into any employment,
           consulting, bonus, change in control, deferred compensation or other similar agreement
           (or amend any such existing agreement); (3) increase benefits provided or payable under
           any existing severance or termination pay policies; or (4) increase compensation, bonus
           or other benefits; (B) grant any equity or equity-based awards to, or discretionarily
           accelerated the vesting or payment of any such awards; or (C) establish, adopt, enter into
           or materially amend any material Company Plan or any Collective Bargaining Agreement
           other than as required by the relevant Company Plan in effect on the date hereof or as
           required by applicable Law;

                       (ix)     (A) terminate the service of any Executive Officer of the Company or
           (B) hire, appoint, elect or promote any Person to be an Executive Officer of the
           Company;

                        (x)    settle, or offer or propose to settle, (A) any material litigation,
           investigation, arbitration, proceeding or other claim involving or against the Company or
           any of its Subsidiaries, (B) any stockholder litigation or dispute against the Company or
           any of its officers or directors or (C) any litigation, arbitration, proceeding or dispute that
           relates to the transactions contemplated hereby; or

                         (xi)      agree, resolve or commit to do any of the foregoing.

           Section 6.2          Access to Information; Confidentiality.

                 (a)      Subject to applicable Law, COVID-19 Measures and Section 6.2(b), upon
reasonable notice during the Pre-Closing Period, the Debtors shall afford the Backstop Parties and
their Representatives upon request reasonable access, during normal business hours and without
unreasonable disruption or interference with the Debtors’ business or operations, to the Debtors’
employees, properties, books, Contracts and records and, during the Pre-Closing Period, the Debtors
shall furnish promptly to such parties all reasonable information concerning the Debtors’ business,
properties and personnel as may reasonably be requested by any such party, provided that the
foregoing shall not require the Company (i) to permit any inspection, or to disclose any information,
that in the reasonable judgment of the Company, would cause any of the Debtors to violate any of
their respective obligations with respect to confidentiality to a third party if the Company shall have
used its commercially reasonable efforts to obtain, but failed to obtain, the consent of such third party
to such inspection or disclosure, (ii) to disclose any legally privileged information of any of the
Debtors, (iii) to violate any applicable Laws or Orders, or (iv) to permit any sampling, testing, analysis
or investigation of environmental media at or related to the Debtors’ properties. All requests for



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information and access made in accordance with this Section 6.2 shall be directed to an executive
officer of the Company or such Person as may be designated by the Company’s executive officers.

                (b)      From and after the date hereof until the date that is one (1) year after the
expiration of the Pre-Closing Period, each Backstop Party shall, and shall cause its Representatives to,
(i) keep confidential and not provide or disclose to any Person any documents or information received
or otherwise obtained by such Backstop Party or its Representatives pursuant to this Section 6.2 or
Section 6.3 (except that provision or disclosure may be made to any Affiliate or Representative of
such Backstop Party who needs to know such information for purposes of this Agreement or the other
Transaction Agreements and who agrees to observe the terms of this Section 6.2(b) (and such Backstop
Party will remain liable for any breach of such terms by any such Affiliate or Representative)), and
(ii) not use such documents or information for any purpose other than in connection with this
Agreement or the other Transaction Agreements or the transactions contemplated hereby or thereby.
Notwithstanding the foregoing, the immediately preceding sentence shall not apply in respect of
documents or information that (A) is now or subsequently becomes generally available to the public
through no violation of this Section 6.2(b), (B) becomes available to a Backstop Party or its
Representatives on a non-confidential basis from a source other than any of the Debtors or any of their
respective Representatives, (C) becomes available to a Backstop Party or its Representatives through
document production or discovery in connection with the Chapter 11 Cases or other judicial or
administrative process, but subject to any confidentiality restrictions imposed by the Chapter 11 Cases
or other such process, (D) as or is independently developed by you or any of your Representatives
without reference to such document or information or (E) such Backstop Party or any Representative
thereof is requested or required to disclose pursuant to judicial or administrative process or pursuant
to applicable Law or applicable securities exchange rules and regulations or the rules and regulations
of any administrative or self-regulatory organization, including by oral questions, interrogatories,
requests for information or documents, subpoenas, civil investigative demand or similar process;
provided, that, such Backstop Party or such Representative shall provide the Company with prompt
written notice thereof (except that no such notice shall be required to be given in the case of routine
examinations by any regulator that are not specifically directed at the transactions contemplated by
this Agreement or the information or documents provided pursuant to Section 6.2(a) or Section 6.3)
and cooperate with the Company to obtain a protective Order or similar remedy to cause such
information or documents not to be disclosed, including interposing all available objections thereto,
at the Company’s sole cost and expense; provided, further, that, in the event that such protective Order
or other similar remedy is not obtained, the disclosing party shall furnish only that portion of such
information or documents that is legally required to be disclosed and shall exercise its commercially
reasonable efforts (at the Company’s sole cost and expense) to obtain assurance that confidential
treatment will be accorded such disclosed information or documents. The provisions of this Section
6.2(b) shall not apply to any Backstop Party that, as of the date hereof, is party to a confidentiality or
non-disclosure agreement with the Debtors, for so long as such agreement remains in full force and
effect (including any amendments thereto).

           Section 6.3 Financial Information. At all times prior to the Closing Date or termination
   of this Agreement, the Company shall deliver to each Backstop Party that so requests (and to such
   Persons’ financial advisors and counsel), subject to Section 6.2(b), financial reports, cash flow
   forecasts, variance reports, and accompanying certifications, as well as all statements and reports
   the Company is required to deliver to FLLO Term Loan Facility Administrative Agent pursuant
   to Section 8.1 of the FLLO Term Loan Facility Credit Agreement (the “Financial Reports”). To

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   the extent the information contains material, non-public information, such information may at the
   election of the Backstop Party be provided to the Backstop Party’s financial advisors and counsel.

           Section 6.4     Commercially Reasonable Efforts

              (a)      Without in any way limiting any other respective obligation of the Company
or any Backstop Party in this Agreement, each Party shall use (and the Company shall cause the other
Debtors to use) commercially reasonable efforts to take or cause to be taken all actions, and do or
cause to be done all things, reasonably necessary, proper or advisable in order to consummate and
make effective the transactions contemplated by this Agreement and the Plan, including using
commercially reasonable efforts in:

                           (i)    timely preparing and filing all documentation reasonably necessary
           to effect all necessary notices, reports and other filings of such Person and to obtain as
           promptly as practicable all consents, registrations, approvals, permits and authorizations
           necessary or advisable to be obtained from any third party or Governmental Unit;

                          (ii)   defending any Legal Proceedings in any way challenging (A) this
           Agreement, the Plan, the Registration Rights Agreement or any other Transaction
           Agreement, (B) the Backstop Commitment Agreement Approval Order, the Disclosure
           Statement Order, the Confirmation Order or the DIP Order or (C) the consummation of the
           transactions contemplated hereby and thereby, including seeking to have any stay or
           temporary restraining Order entered by any Governmental Unit vacated or reversed; and

                           (iii) working together in good faith to finalize Reorganized Chesapeake
           Organizational Documents, Transaction Agreements, the Registration Rights Agreement
           and all other documents relating thereto for timely inclusion in the Plan and filing with the
           Bankruptcy Court.

                (b)      Subject to Laws or applicable rules relating to the exchange of information,
and in accordance with the Restructuring Support Agreement, the Backstop Parties and the Company
shall have the right to review in advance, and to the extent practicable each will consult with the other
on all of the information relating to Backstop Parties or the Company, as the case may be, and any of
their respective Subsidiaries, that appears in any filing made with, or written materials submitted to,
any Governmental Unit in connection with the transactions contemplated by this Agreement or the
Plan; provided, however, that the Backstop Parties are not required to provide for review in advance
declarations or other evidence submitted in connection with any filing with the Bankruptcy Court. In
exercising the foregoing rights, the Parties shall act as reasonably and as promptly as practicable.

        Section 6.5        Registration Rights Agreement; Reorganized Chesapeake Organizational
   Documents.

               (a)     Reorganized Chesapeake will enter into the Registration Rights Agreement,
which agreement shall be in form and substance consistent with the Restructuring Term Sheet and
otherwise reasonably acceptable to the Required Plan Sponsors and the 66 2/3 Consenting Second
Lien Noteholders (the “Registration Rights Agreement”), in respect of the Common Shares, New
Warrants and Warrant Shares that the Backstop Parties (and their respective Related Purchasers) may
acquire in accordance with the Plan and this Agreement (collectively, the “Registrable Shares”). The

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Registration Rights Agreement shall, among other things, (i) provide for Reorganized Chesapeake to
use commercially reasonable efforts to file or confidentially submit a shelf registration statement
(whether on Form S-3 or on Form S-1) with the SEC covering the resale of Registrable Shares as soon
following the Plan Effective Date as is permissible under the applicable rules and regulations of the
SEC (and in no event later than 30 days following the Plan Effective Date or, if “fresh start” accounting
is required, no later than 90 days following the Plan Effective Date), and provide for the requirements
to use commercially reasonable efforts to cause such shelf registration statement to become effective
on the earliest date reasonably practicable thereafter, (ii) provide that Reorganized Chesapeake’s
obligation to maintain an effective shelf registration statement under the Registration Rights
Agreement will terminate no earlier than the time that Registrable Shares issued to the Backstop
Parties and their respective Related Purchasers may be sold by such Persons in a single transaction
without limitation under Rule 144 of the Securities Act and (iii) treat each Backstop Party and Related
Purchasers no less favorably than other Backstop Parties and the Related Purchasers with respect to
its Registrable Shares.

              (b)     The Plan will provide that on the Plan Effective Date, New Organizational
Documents will be duly authorized, approved, adopted and in full force and effect. Forms of New
Organizational Documents shall be filed with the Bankruptcy Court as part of the Plan Supplement or
an amendment thereto.

            Section 6.6 Blue Sky. The Company shall, on or before the Closing Date, take such
   action as the Company shall reasonably determine is necessary in order to obtain an exemption
   for, or to qualify the offer and sale of the Unsubscribed Shares, Put Option Premium Shares, Rights
   Offering Shares and Warrant Shares to the Backstop Parties and Related Purchasers pursuant to
   this Agreement under applicable securities and “Blue Sky” Laws of the states of the United States
   (or to obtain an exemption from such qualification) and any applicable foreign jurisdictions, and
   shall provide evidence of any such action so taken to the Backstop Parties on or prior to the Closing
   Date. Reorganized Chesapeake shall timely make all filings and reports relating to the offer and
   sale of the Unsubscribed Shares, Put Option Premium Shares, Rights Offering Shares and Warrant
   Shares issued hereunder required under applicable securities and “Blue Sky” Laws of the states of
   the United States following the Closing Date. The Company or Reorganized Chesapeake, as
   applicable, shall pay all fees and expenses in connection with satisfying its obligations under this
   Section 6.6. Notwithstanding the foregoing, the Company and Reorganized Chesapeake shall not
   be required to qualify as a foreign corporation or to file a general consent to service in any
   jurisdiction where it is not now so qualified or required to file such consent.

           Section 6.7 DTC Eligibility. Reorganized Chesapeake shall use commercially
   reasonable efforts to promptly make, when applicable from time to time before, at and after the
   Closing, all Unlegended Shares eligible for deposit with DTC, unless a Backstop Party or Related
   Purchasers requests delivery of a physical stock certificate in lieu thereof. “Unlegended Shares”
   means any Common Shares acquired by the Backstop Parties and their respective Affiliates
   (including any Related Purchaser in respect thereof) pursuant to this Agreement and the Plan,
   including all shares issued to the Backstop Parties and their respective Affiliates in connection
   with the Rights Offering, that do not require, or are no longer subject to, the Legend. Common
   Shares subject to the Legend to be delivered pursuant to this Agreement shall, if feasible, be
   eligible with DTC under a restricted CUSIP or, if not feasible, issued pursuant to Reorganized
   Chesapeake’s book entry procedures and delivery to such Backstop Party and its Related

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   Purchasers of an account statement reflecting the book entry of such Unsubscribed Shares
   (including, for the avoidance of doubt, the Available Shares) shall be deemed delivery of such
   Unsubscribed Shares for purposes of this Agreement, unless a Backstop Party requests delivery of
   a physical stock certificate. If a Backstop Party or Related Purchaser requests delivery of one or
   more physical stock certificates, Reorganized Chesapeake shall use commercially reasonable
   efforts to deliver such stock certificates in accordance with the instructions of such Backstop Party
   or Related Purchaser.

          Section 6.8 Use of Proceeds. The Company or Reorganized Chesapeake, as applicable,
   will apply the proceeds from the Rights Offering for the purposes identified in the Disclosure
   Statement and the Plan and for general corporate and strategic purposes as determined by
   management and the board of directors of Reorganized Chesapeake.

           Section 6.9 Share Legend. Each certificate evidencing Unsubscribed Shares, Put
   Option Premium Shares and Rights Offering Shares issued hereunder, and each certificate issued
   in exchange for or upon the Transfer of any such shares, shall be stamped or otherwise imprinted
   with a legend (the “Legend”) in substantially the following form:

   “THE SECURITIES REPRESENTED BY THIS CERTIFICATE WERE ORIGINALLY ISSUED
   ON DATE OF ISSUANCE, HAVE NOT BEEN REGISTERED UNDER THE UNITED STATES
   SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR ANY OTHER APPLICABLE
   STATE SECURITIES LAWS, AND MAY NOT BE SOLD OR TRANSFERRED IN THE
   ABSENCE OF AN EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT OR AN
   AVAILABLE EXEMPTION FROM REGISTRATION THEREUNDER.”

   In the event that any such shares are uncertificated, such shares shall be subject to a restrictive
   notation substantially similar to the Legend in the stock ledger or other appropriate records
   maintained by Reorganized Chesapeake or its agent, or DTC, and the term “Legend” shall include
   such restrictive notation. Reorganized Chesapeake shall remove the Legend (or restrictive
   notation, as applicable) set forth above from the certificates evidencing any such shares (or the
   share register or other appropriate Reorganized Chesapeake records, in the case of uncertified
   shares), upon request, at any time after the restrictions described in such Legend cease to be
   applicable, including, as applicable, when such shares may be sold under Rule 144 of the Securities
   Act. Reorganized Chesapeake may reasonably request such certificates or other evidence that such
   restrictions no longer apply as a condition to removing the Legend and will obtain any necessary
   legal opinions at the Company’s or Reorganized Chesapeake’s cost and expense.

           Section 6.10 Antitrust Approvals.

               (a)      Each Party agrees to use commercially reasonable efforts to take, or cause to
be taken, all actions and to do, or cause to be done, all things necessary to consummate and make
effective the transactions contemplated by this Agreement, the Plan and the other Transaction
Agreements, including (i) if applicable, filing, or causing to be filed, the Notification and Report Form
pursuant to the HSR Act with respect to the transactions contemplated by this Agreement with the
Antitrust Division of the United States Department of Justice and the United States Federal Trade
Commission and any filings (or, if required by any Antitrust Authority, any drafts thereof) under any
other Antitrust Laws that are necessary to consummate and make effective the transactions


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contemplated by this Agreement as soon as reasonably practicable (and with respect to any filings
required pursuant to the HSR Act, no later than fifteen (15) Business Days following the later of (x)
the date hereof or (y) a date reasonably determined by the Required Backstop Parties (not to be later
than twenty-five (25) Business Days following the date hereof)) and (ii) promptly furnishing any
documents or information reasonably requested by any Antitrust Authority. The Company agrees to
pay all filing fees of a Governmental Unit incurred by any Party in connection with the filings and
other actions contemplated by this Section 6.10(a).

                (b)      The Company and each Backstop Party subject to an obligation pursuant to the
Antitrust Laws to notify any transaction contemplated by this Agreement, the Plan or the other
Transaction Agreements that has notified the Company in writing of such obligation (each such
Backstop Party, a “Filing Party”) agree to reasonably cooperate with each other as to the appropriate
time of filing such notification and its content. The Company and each Filing Party shall, to the extent
permitted by applicable Law: (i) promptly notify each other of, and if in writing, furnish each other
with copies of (or, in the case of material oral communications, advise each other orally of) any
material communications from or with an Antitrust Authority; (ii) not participate in any meeting with
an Antitrust Authority unless it consults with each other Filing Party and the Company, as applicable,
in advance and, to the extent permitted by the Antitrust Authority and applicable Law, give each other
Filing Party and the Company, as applicable, a reasonable opportunity to attend and participate thereat;
(iii) furnish each other Filing Party and the Company, as applicable, with copies of all material
correspondence and communications between such Filing Party or the Company and the Antitrust
Authority; (iv) furnish each other Filing Party with such necessary information and reasonable
assistance as may be reasonably necessary in connection with the preparation of necessary filings or
submission of information to the Antitrust Authority; and (v) not withdraw its filing, if any, under the
HSR Act without the prior written consent of the Required Backstop Parties and the Company.

                (c)     Should a Filing Party be subject to an obligation under the Antitrust Laws to
jointly notify with one or more other Filing Parties (each, a “Joint Filing Party”) any transaction
contemplated by this Agreement, the Plan or the other Transaction Agreements, such Joint Filing Party
shall promptly notify each other Joint Filing Party of, and if in writing, furnish each other Joint Filing
Party with copies of (or, in the case of material oral communications, advise each other Joint Filing
Party orally of) any communications from or with an Antitrust Authority.

                (d)       The Company and each Filing Party shall use their commercially reasonable
efforts to obtain all authorizations, approvals, consents, or clearances under any applicable Antitrust
Laws or to cause the termination or expiration of all applicable waiting periods under any Antitrust
Laws in connection with the transactions contemplated by this Agreement at the earliest possible date
after the date of filing. The communications contemplated by this Section 6.10 may be made by the
Company or a Filing Party on an outside counsel-only basis or subject to other agreed upon
confidentiality safeguards in the event that they contain commercially sensitive information of the
Company or a Filing Party. The obligations in this Section 6.10 shall not apply to filings,
correspondence, communications or meetings with Antitrust Authorities unrelated to the transactions
contemplated by this Agreement, the Plan or the other Transaction Agreements.

          Section 6.11 Alternative Restructuring Proposals. Subject to the Restructuring Support
   Agreement, the Company and the other Debtors shall not seek, solicit, or support any Alternative
   Restructuring Proposal, and shall not cause or allow any of their agents or representatives to solicit

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any agreements relating to an Alternative Restructuring Proposal; provided, however, that nothing
in this Section 6.11 shall limit (i) subject to obtaining all applicable consents and approvals
required under the Restructuring Support Agreement, the Parties’ ability to engage in marketing
efforts, discussions, and/or negotiations with any party regarding refinancing of the Exit Facility
to be consummated following the Plan Effective Date, or (ii) require the Debtors or any of their
respective directors, officers, members or managers, as applicable (each in such Person’s capacity
as a director, officer, member or manager), to take any action, or refrain from taking any action,
to the extent that taking such action or refraining from taking such action would be inconsistent
with, or cause such party to breach such party’s fiduciary obligations under applicable Law, or
shall limit any Debtor from considering any Alternative Restructuring Proposal brought to them
consistent with their fiduciary duties.

       Section 6.12 Tax Treatment. The Company and each of the Backstop Parties hereby
agree to treat the rights and obligations arising under this Agreement, including the Backstop
Commitment and the Put Option Premium, for U.S. federal and applicable state and local income
tax purposes, as an option to sell property issued by each Backstop Party to the Company in
consideration for the Put Option Premium. Each party shall file all Tax Returns consistent with,
and take no position inconsistent with, such treatment (whether in audits or otherwise) unless
required to do so pursuant to a “determination” within the meaning of Section 1313(a) of the Code.

        Section 6.13 Expense Reimbursement. Whether or not the transactions contemplated
hereunder are consummated, the Debtors or Reorganized Chesapeake, as applicable, agree to pay
all reasonably incurred and documented out-of-pocket fees and expenses of the Backstop Parties
executing this Agreement as of the date hereof (the “Initial Backstop Parties”), including the
reasonably incurred and documented out-of-pocket fees and expenses of the attorneys,
accountants, other professionals, advisors, and consultants to the Initial Backstop Parties, including
the fees and expenses of Perella Weinberg Partners LP, Moelis & Company LLC, FTI Consulting,
Inc., Davis Polk & Wardwell LLP, Akin Gump Strauss Hauer & Feld LLP and any local counsels
engaged by the Initial Backstop Parties, whether incurred in connection with the Chapter 11 Cases
or the preparation therefor, including the transactions contemplated by this Agreement and the
Restructuring Support Agreement and (such payment obligations, the “Expense
Reimbursement”). The Expense Reimbursement shall, pursuant to the Backstop Commitment
Agreement Approval Order, constitute allowed administrative expenses against each of the
Debtors’ estates under sections 503(b) and 507 of the Bankruptcy Code. The Debtors shall pay
any invoices for the Expense Reimbursement within five (5) Business Days of receipt thereof. The
Expense Reimbursement accrued through the date on which the Backstop Commitment Agreement
Approval Order is entered shall be paid in accordance with the Backstop Commitment Agreement
Approval Order upon its entry by the Bankruptcy Court and as promptly as reasonably practicable
after the date of the entry of the Backstop Commitment Agreement Approval Order. The Expense
Reimbursement shall thereafter be payable on a monthly basis by the Debtors in accordance with
the Backstop Commitment Agreement Approval Order. The Initial Backstop Parties shall
reasonably promptly provide summary copies of all invoices (which shall not be required to
contain time entries and which may be redacted or modified to the extent necessary to delete any
information subject to the attorney-client privilege, any information constituting attorney work
product, or any other confidential information, and the provision of their invoices shall not
constitute any waiver of the attorney client privilege or of any benefits of the attorney work product
doctrine) to the Debtors and to the United States Trustee. Unless otherwise ordered by the

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   Bankruptcy Court, no recipient of any payment hereunder shall be required to file with respect
   thereto any interim or final fee application with the Bankruptcy Court. Notwithstanding anything
   contained in this Section 6.13 to the contrary, the Debtors or Reorganized Chesapeake, as
   applicable, shall not accrue additional Expense Reimbursement obligations from and after the
   Closing or termination of this Agreement pursuant to Article VIII, and the obligation to pay such
   Expense Reimbursements shall survive the Closing or such termination until paid.

                                    ARTICLE VII
                    CONDITIONS TO THE OBLIGATIONS OF THE PARTIES

            Section 7.1 Conditions to the Obligations of the Backstop Parties. The obligations of
   each Backstop Party to consummate the transactions contemplated hereby shall be subject to
   (unless waived in accordance with Section 7.2) the satisfaction of the following conditions prior
   to or at the Closing:

              (a)      Backstop Commitment Agreement Approval Order. The Bankruptcy Court
shall have entered the Backstop Commitment Agreement Approval Order in form and substance
reasonably acceptable to the Required Plan Sponsors, and such Order shall be a Final Order.

              (b)     Disclosure Statement Order. The Bankruptcy Court shall have entered the
Disclosure Statement Order in form and substance reasonably acceptable to the Required Plan
Sponsors, and such Order shall be a Final Order.

              (c)      Confirmation Order.    The Bankruptcy Court shall have entered the
Confirmation Order in form and substance reasonably acceptable to the Required Plan Sponsors, and
such Order shall be a Final Order.

               (d)      Plan. The Company and all of the other Debtors shall have substantially
complied with the terms of the Plan (as amended or supplemented from time to time) that are to be
performed by the Company, Reorganized Chesapeake and the other Debtors on or prior to the Plan
Effective Date and the conditions to the occurrence of the Plan Effective Date (other than any
conditions relating to occurrence of the Closing) set forth in the Plan shall have been satisfied or
waived in accordance with the terms of the Plan.

                (e)     Rights Offering. The Rights Offering shall have been conducted in accordance
with the Plan, the Disclosure Statement Order and this Agreement.

               (f)      Plan Effective Date. The Plan Effective Date shall have occurred, or shall be
deemed to have occurred concurrently with the Closing, as applicable, in accordance with the terms
and conditions in the Plan and in the Confirmation Order;

              (g)      Registration Rights Agreement; Reorganized Chesapeake Organizational
Documents.

                          (i)     The Registration Rights Agreement shall have been executed and
           delivered by Reorganized Chesapeake, shall otherwise have become effective with respect
           to the Backstop Parties and the other parties thereto, and shall be in full force and effect.


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                         (ii)    The New Organizational Documents shall have been duly approved
           and adopted and shall be in full force and effect.

               (h)      Governmental Approvals. All waiting periods applicable under Antitrust
Laws in connection with the transactions contemplated by this Agreement shall have terminated or
expired and all authorizations, approvals, consents or clearances under the Antitrust Laws shall have
been obtained or deemed obtained.

              (i)      No Legal Impediment to Issuance. No Law or Order shall have become
effective or been enacted, adopted or issued by any Governmental Unit that prohibits the
implementation of the Plan or the transactions contemplated by this Agreement.

              (j)      Consents. All governmental and third party notifications, filings, consents,
waivers and approvals required for the consummation of the transactions set forth on Section 7.1(j) of
the Company Disclosure Schedules have been made or received.

               (k)     Representations and Warranties.

                           (i)    The representations and warranties of the Debtors contained in
           Section 4.7 and Section 4.29 shall be true and correct in all respects on and as of the Closing
           Date with the same effect as if made on and as of the Closing Date (except for such
           representations and warranties made as of a specified date, which shall be true and correct
           only as of the specified date).

                           (ii)    The representations and warranties of the Debtors contained in
           Sections 4.2, 4.3 and 4.4 shall be true and correct in all material respects on and as of the
           Closing Date after giving effect to the Plan with the same effect as if made on and as of the
           Closing Date after giving effect to the Plan (except for such representations and warranties
           made as of a specified date, which shall be true and correct in all material respects only as
           of the specified date).

                           (iii) The representations and warranties of the Debtors contained in this
           Agreement other than those referred to in clauses (i) and (ii) above shall be true and correct
           (disregarding all materiality or Material Adverse Effect qualifiers) on and as of the Closing
           Date after giving effect to the Plan with the same effect as if made on and as of the Closing
           Date after giving effect to the Plan (except for such representations and warranties made
           as of a specified date, which shall be true and correct only as of the specified date), except
           where the failure to be so true and correct does not constitute, individually or in the
           aggregate, a Material Adverse Effect.

               (l)     Exit Facility. The Exit Facility, in form and substance reasonably acceptable
to the Required Plan Sponsors, shall have become effective.

                (m)       Covenants. The Company shall have performed and complied, in all material
respects, with all its covenants and agreements contained in this Agreement that contemplate, by their
terms, performance or compliance prior to the Closing Date.



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              (n)     Material Adverse Effect. Since the date of this Agreement, there shall not have
occurred, and there shall not exist, any Event that constitutes, individually or in the aggregate, a
Material Adverse Effect.

              (o)       Officer’s Certificate. Each Backstop Party shall have received on and as of
the Closing Date a certificate of the chief executive officer or chief financial officer of the Company
confirming that the conditions set forth in Section 7.1(k), (l) and (n) and (p) have been satisfied.

               (p)      Restructuring Support Agreement Conditions Precedent. All Conditions
Precedent to the Plan Effective Date (as such term is defined in the Restructuring Term Sheet) shall
have been satisfied or waived in accordance with the Restructuring Support Agreement.

               (q)     Funding Notice. Each Backstop Party shall have received the Funding Notice.

           Section 7.2 Waiver of Conditions to Obligations of Backstop Parties. Subject to Section
   10.7, all or any of the conditions set forth in Section 7.1 may only be waived in whole or in part
   with respect to all Backstop Parties by a written instrument executed by the Required Backstop
   Parties in their sole discretion and if so waived, all Backstop Parties shall be bound by such waiver.

          Section 7.3 Conditions to the Obligations of the Debtors. The obligations of the Debtors
   to consummate the transactions contemplated hereby with the Backstop Parties is subject to (unless
   waived by the Company) the satisfaction of each of the following conditions:

               (a)     Backstop Commitment Agreement Approval Order. The Bankruptcy Court
shall have entered the Backstop Commitment Agreement Approval Order and such Order shall be a
Final Order.

               (b)    Disclosure Statement Order. The Bankruptcy Court shall have entered the
Disclosure Statement Order, and such Order shall be a Final Order.

              (c)     Confirmation Order.       The Bankruptcy Court shall have entered the
Confirmation Order, and such Order shall be a Final Order.

               (d)      DIP Order. The Bankruptcy Court shall have entered the DIP Order, and such
Order shall be a Final Order.

               (e)      Plan Effective Date. The Plan Effective Date shall have occurred, or shall be
deemed to have occurred concurrently with the Closing, as applicable, in accordance with the terms
and conditions in the Plan and in the Confirmation Order.

               (f)      Governmental Approvals. All waiting periods applicable under Antitrust
Laws in connection with the transactions contemplated by this Agreement shall have terminated or
expired and all authorizations, approvals, consents or clearances shall have been obtained or deemed
obtained.

              (g)      No Legal Impediment to Issuance. No Law or Order shall have become
effective or been enacted, adopted or issued by any Governmental Unit that prohibits the
implementation of the Plan or the transactions contemplated by this Agreement.

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              (h)      Representations and Warranties.

                            (i)    The representations and warranties of the Backstop Parties
           contained in this Agreement that are qualified by “materiality” or “material adverse effect”
           or words or similar import shall be true and correct in all respects on and as of the Closing
           Date with the same effect as if made on and as of the Closing Date (except for such
           representations and warranties made as of a specified date, which shall be true and correct
           in all respects only as of the specified date).

                           (ii)     The representations and warranties of the Backstop Parties
           contained in this Agreement that are not qualified by “materiality” or “material adverse
           effect” or words or similar import shall be true and correct in all material respects on and
           as of the Closing Date with the same effect as if made on and as of the Closing Date (except
           for such representations and warranties made as of a specified date, which shall be true and
           correct in all material respects only as of the specified date).

               (i)      Covenants. The Backstop Parties shall have performed and complied, in all
material respects, with all of their covenants and agreements contained in this Agreement and in any
other document delivered pursuant to this Agreement.

                                             ARTICLE VIII
                                            TERMINATION

           Section 8.1 Consensual Termination. This Agreement may be terminated and the
   transactions contemplated hereby may be abandoned at any time prior to the Closing Date by
   mutual written consent of the Company and the Required Backstop Parties.

           Section 8.2 Termination by the Required Backstop Parties. Notwithstanding anything
   to the contrary in this Agreement, unless and until there is an unstayed Order of the Bankruptcy
   Court providing that the giving of notice under and/or termination of this Agreement in accordance
   with its terms is not prohibited by the automatic stay imposed by section 362 of the Bankruptcy
   Code, and except as otherwise provided in this Section 8.2, at which point this Agreement may be
   terminated by the Required Backstop Parties (or in the case of Section 8.2(a), each Backstop Party
   can terminate, but only with respect to itself, after the Outside Date (unless the Outside Date is
   extended by the Required Backstop Parties, then only after such extended Outside Date)) upon
   written notice to the Company upon the occurrence of any of the following Events, this Agreement
   shall terminate automatically without any further action or notice by any Party at 5:00 p.m.,
   Houston, Texas time on the fifth Business Day following the occurrence of any of the following
   Events; provided that the Required Backstop Parties may waive such termination or extend any
   applicable dates in accordance with Section 10.7 (or in the case of Section 8.2(a), each Backstop
   Party can terminate, but only with respect to itself, after the Outside Date (unless the Outside Date
   is extended by the Required Backstop Parties, then only after such extended Outside Date)):

              (a)     the Closing Date has not occurred by 11:59 p.m., Eastern Time on December
28, 2020 (as may be extended pursuant to Section 2.3(d) or the following proviso, the “Outside
Date”), unless prior thereto the Plan Effective Date occurs and the Rights Offering has been
consummated; provided, that the Outside Date may be waived or extended one or more times with the


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prior written consent of the Required Backstop Parties except that, notwithstanding anything to the
contrary in this Agreement, the Outside Date may not be extended later than 11:59 p.m., Eastern Time
on March 28, 2021; provided further, notwithstanding anything to the contrary herein, each Backstop
Party may terminate this Agreement by written notice to the Company, or automatic termination of
this Agreement pursuant to the immediately preceding paragraph may only be waived in writing by
each Backstop Party, in each case solely with respect to itself, if the Closing Date has not occurred by
(i) if the Outside Date has not been extended by the Required Backstop Parties pursuant to this Section
8.2(a), the Outside Date, or (ii) otherwise, such extended Outside Date; provided further, a Backstop
Party that terminates this Agreement pursuant to this Section 8.2(a), shall have no further obligations
with respect to its Backstop Commitment, no entitlement to any Direct Investment Rights, no
entitlement to any Expense Reimbursement for periods after the effectiveness of such termination (but,
for the avoidance of doubt, the Company shall remain obligated to pay any Expense Reimbursement
for such terminating Backstop Party accrued before the effectiveness of such termination unless such
Backstop Party was previously or substantially simultaneously terminated in accordance with Section
8.3(b)), and shall be entitled to payment of the Put Option Premium in cash pursuant to Section 8.5(b)
unless such Backstop Party was previously or substantially simultaneously terminated in accordance
with Section 8.3(b).

               (b)      the obligations of the Consenting Stakeholders or the FLLO Term Loan
Facility Lenders under the Restructuring Support Agreement are terminated in accordance with the
terms of the Restructuring Support Agreement;

                 (c)     (i) the Company or the other Debtors shall have materially breached any
representation, warranty, covenant or other agreement made by the Company or the other Debtors in
this Agreement or any such representation or warranty shall have become materially inaccurate after
the date of this Agreement and such breach or inaccuracy would, individually or in the aggregate,
cause a condition set forth in Section 7.1(k), Section 7.1(l), Section 7.1(n) or Section 7.1(p) not to be
satisfied, (ii) the Required Backstop Parties shall have delivered written notice of such breach or
inaccuracy to the Company, (iii) such breach or inaccuracy is not cured by the Company or the other
Debtors by the tenth (10th) Business Day after receipt of such notice, and (iv) as a result of such failure
to cure, any condition set forth in Section 7.1(k), Section 7.1(l), Section 7.1(n) or Section 7.1(p) is not
capable of being satisfied; provided, that, this Agreement shall not terminate automatically (and the
Required Backstop Parties may not terminate this Agreement, as applicable) pursuant to this Section
8.2(c) if the Required Backstop Parties are then in willful or intentional breach of this Agreement if
they are then in breach of any representation, warranty, covenant or other agreement hereunder that
would result in the failure of any condition set forth in Section 7.3;

               (d)      any Law or final and non-appealable Order shall have been enacted, adopted
or issued by any Governmental Unit that prohibits the implementation of the Plan or any Rights
Offering or the transactions contemplated by this Agreement, the other Transaction Agreements or the
Registration Rights Agreement; provided that the Debtors shall have ten (10) Business Days following
the issuance of any such Law or Order to obtain relief or propose an alternative that would allow
consummation of such transactions in a manner that does not prevent or diminish compliance with the
terms of the Transaction Agreements;

               (e)     (i) the Debtors have materially breached their obligations under Section 6.11;
(ii) the Bankruptcy Court approves or authorizes an Alternative Restructuring Proposal; or (iii) any of

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the Debtors enters into any Contract providing for the consummation of any Alternative Restructuring
Proposal;

                 (f)      the Company or any other Debtor (i) materially and adversely (to the Backstop
Parties, in their capacities as such) amends or modifies, or files a pleading seeking authority to amend
or modify, the Definitive Documents in violation of the requirements of the Restructuring Support
Agreement or (ii) publicly announces its intention to take any such action listed in sub-clauses (i) of
this subsection; or

                (g)     the Backstop Commitment Agreement Approval Order, Disclosure Statement
Order, Confirmation Order or any other Order approving the Exit Facility, this Agreement, the Rights
Offering Procedures, the Plan or the Disclosure Statement is terminated, reversed, stayed, dismissed,
vacated, or reconsidered, or any such Order is modified or amended after entry without the prior
written consent of the Required Plan Sponsors (and such action has not been reversed or vacated within
thirty (30) calendar days after its issuance) in a manner that prevents or prohibits the consummation
of the Restructuring Transactions contemplated in this Agreement or any of the Definitive Documents
in a way that cannot be remedied by the Debtors subject to the reasonable satisfaction of the Required
Backstop Parties.

          Section 8.3 Termination by the Company. This Agreement may be terminated by the
   Company upon written notice to each Backstop Party upon the occurrence of any of the following
   Events, subject to the rights of the Company to fully and conditionally waive, in writing, on a
   prospective or retroactive basis the occurrence of such Event:

               (a)      any Law or final and non-appealable Order shall have been enacted, adopted
or issued by any Governmental Unit that prohibits the implementation of the Plan or any Rights
Offering or the transactions contemplated by this Agreement or the other Transaction Agreements;

                (b)       subject to the right of the Backstop Parties to arrange a Backstop Party
Replacement in accordance with Section 2.3 or Section 2.6 (which will be deemed to cure any breach
by the replaced Backstop Party pursuant to this Section 8.3(b)) (i) any Backstop Party shall have
materially breached any representation, warranty, covenant or other agreement made by such Backstop
Party in this Agreement or any such representation or warranty shall have become materially
inaccurate after the date of this Agreement and such breach or inaccuracy would, individually or in
the aggregate, cause a condition set forth in Section 7.3(i) not to be satisfied, (ii) the Company shall
have delivered written notice of such material breach or material inaccuracy to such Backstop Party,
(iii) such material breach or material inaccuracy is not cured by such Backstop Party by the tenth
(10th) Business Day after receipt of such notice, and (iv) as a result of such failure to cure, any
condition set forth in Section 7.3(i) is not capable of being satisfied, then the Company may terminate
this Agreement solely with respect to such breaching Backstop Party and shall offer to the other non-
breaching Backstop Parties the right but not the obligation to assume such terminated Backstop Party’s
Backstop Commitment in such amounts as may be agreed upon by all of the Backstop Parties electing
to assume all or any portion of the Backstop Commitment, or, if no such agreement is reached, based
upon the relative applicable Backstop Commitment Percentages of any such Backstop Parties;
provided, that the Company shall not have the right to terminate this Agreement pursuant to this
Section 8.3(b) if it is then in willful or intentional breach of this Agreement; provided, further, that



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this Agreement shall continue in full force and effect with respect to the non-breaching Backstop
Parties;

               (c)     the Backstop Commitment Agreement Approval Order, Disclosure Statement
Order, Confirmation Order or any other Order approving the Exit Facility, this Agreement, the Rights
Offering Procedures, the Plan or the Disclosure Statement is terminated, reversed, stayed, dismissed,
vacated, or reconsidered, or any such Order is modified or amended after entry without the prior
acquiescence or written consent (not to be unreasonably withheld, conditioned or delayed) of the
Company (and such action has not been reversed or vacated within thirty (30) calendar days after its
issuance) in a manner that prevents or prohibits the consummation of the Restructuring Transactions
contemplated in this Agreement or any of the Definitive Documents in a way that cannot be remedied
by the Backstop Parties subject to the reasonable satisfaction of the Debtors.

                (d)     solely if the Bankruptcy Court has entered the Backstop Commitment
Agreement Approval Order but has not yet entered the Confirmation Order, the board of directors of
the Company determines that continued performance under this Agreement (including taking any
action or refraining from taking any action and including, without limitation, the Plan or solicitation
of the Plan) would be inconsistent with the board of directors’ fiduciary obligations under applicable
Law (as reasonably determined by the board of directors in good faith after consultation with outside
legal counsel and based on the advice of such counsel), and the board of directors shall give prompt
written notice to the Backstop Parties of any determination in accordance with this Section 8.3(d);

              (e)      the Restructuring Support Agreement is terminated as to the Company in
accordance with its terms; or

               (f)      the Closing Date has not occurred by the Outside Date (as the same may be
extended pursuant to Section 8.2(a) or Section 2.3(d)), unless prior thereto the Plan Effective Date
occurs and the Rights Offering has been consummated; provided, that the Company shall not have the
right to terminate this Agreement pursuant to this Section 8.3(f) if it is then in willful or intentional
breach of this Agreement.

            Section 8.4 Individual Backstop Party Termination. Any Backstop Party may terminate
   its status as a party to this Agreement, including all of its Backstop Commitments, as to itself only,
   upon the filing of any Definitive Document that contains terms that are not consistent with the
   terms of the Restructuring Support Agreement (as in effect as of the date hereof without giving
   effect to any amendment or modification thereof) and where such differences, taken as a whole,
   have a material and adverse impact on such Backstop Party, by delivery of a written notice to all
   Parties in accordance with Section 10.1 hereof within three (3) Business Days of such filing. Such
   terminating Backstop Party shall not be entitled to any of the Put Option Premium, Direct
   Investment Rights or Expense Reimbursement for periods following its termination hereunder
   (but, for the avoidance of doubt, the Company shall remain obligated to pay any Expense
   Reimbursement for such terminating Backstop Party accrued before the effectiveness of such
   termination). Following effectiveness of such termination, the other Backstop Parties may arrange
   for a Backstop Party Replacement pursuant to Section 2.3.

           Section 8.5     Effect of Termination.



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                 (a)     Upon termination of this Agreement pursuant to this Article VIII, this
Agreement shall forthwith become void and there shall be no further obligations or liabilities on the
part of the Parties; provided, that (i) the provisions set forth in Article III, Section 6.13, this Section
8.5, Article IX and Article X (including, for the avoidance of doubt, the obligation of the Debtors or
the Company, as applicable, to pay the Put Option Premium pursuant to Section 8.5(b) and the Expense
Reimbursement pursuant to Section 6.13 (unless such Backstop Party was previously or substantially
simultaneously terminated in accordance with Section 8.3(b))) shall survive the termination of this
Agreement in accordance with their terms and subject to any Order of the Bankruptcy Court and
(ii) subject to Section 10.11, nothing in this Section 8.5 shall relieve any Party from liability for gross
negligence or any willful or intentional breach of this Agreement. For purposes of this Agreement,
“willful or intentional breach” means a breach of this Agreement that is a consequence of an act
undertaken by the breaching Party with the knowledge that the taking of such act would, or would
reasonably be expected to, cause a breach of this Agreement.

                (b)      Upon termination of this Agreement pursuant to this Article VIII (other than
any termination of this Agreement with respect to one or more Backstop Parties pursuant to Section
8.3(b) or Section 8.4), the Company or the Debtors, as applicable, shall pay cash in the amount of the
Put Option Premium to the Backstop Parties (excluding any terminated Backstop Parties under Section
8.3(b), any Backstop Parties who have terminated under Section 8.4 and any Defaulting Backstop
Parties) or their designees based upon their respective Backstop Commitment Percentages, by wire
transfer of immediately available funds to such accounts as each Backstop Party may designate, within
two (2) Business Days of such termination. For the avoidance of doubt, if this Agreement is terminated
pursuant to Section 8.2(a) with respect to one or more Backstop Parties, such Backstop Parties (unless
previously or substantially simultaneously terminated under Section 8.3(b)) shall be entitled to their
ratable portion of the Put Option Premium in cash by wire transfer of immediately available funds to
such accounts as such Backstop Party may designate, within two (2) Business Days of such
termination.

                                       ARTICLE IX
                            INDEMNIFICATION AND CONTRIBUTION

            Section 9.1 Indemnification Obligations. Following the entry of the Backstop
   Commitment Agreement Approval Order, the Company, the other Debtors and the Reorganized
   Debtors (the “Indemnifying Parties” and each an “Indemnifying Party”) shall, jointly and
   severally, indemnify and hold harmless each Backstop Party, its Affiliates, shareholders, members,
   partners and other equity holders, general partners, managers and its and their respective
   Representatives, agents and controlling persons (each, an “Indemnified Person”) from and
   against any and all losses, claims, damages, liabilities and costs and expenses (other than Taxes of
   the Backstop Parties, except to the extent provided for in Section 2.5(c), Section 3.2 and 4.4(a))
   (collectively, “Losses”) that any such Indemnified Person may incur or to which any such
   Indemnified Person may become subject arising out of or in connection with this Agreement, the
   Restructuring Support Agreement, the Chapter 11 Cases or any other similar claims and related
   litigation, the Plan and the transactions contemplated hereby and thereby, including the Backstop
   Commitments, the Rights Offering, the payment of the Put Option Premium or the use of the
   proceeds of the Rights Offering, or any claim, challenge, litigation, investigation or proceeding
   relating to any of the foregoing, regardless of whether any Indemnified Person is a party thereto,
   whether or not such proceedings are brought by the Company, the other Debtors, the Reorganized

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Debtors, their respective equity holders, Affiliates, creditors or any other Person, and reimburse
each Indemnified Person upon demand for reasonable and documented (subject to redaction to
preserve attorney client and work product privileges) legal or other third-party expenses incurred
in connection with investigating, preparing to defend or defending, or providing evidence in or
preparing to serve or serving as a witness with respect to, any lawsuit, investigation, claim or other
proceeding relating to any of the foregoing (including in connection with the enforcement of the
indemnification obligations set forth herein), irrespective of whether or not the transactions
contemplated by this Agreement or the Plan are consummated or whether or not this Agreement
is terminated; provided that the foregoing indemnity will not, as to any Indemnified Person, apply
to Losses (a) as to a Defaulting Backstop Party and its Related Parties, caused by a Backstop Party
Default by such Backstop Party, or (b) to the extent they are found by a final, non-appealable
judgment of a court of competent jurisdiction to arise from the bad faith, willful misconduct or
gross negligence of such Indemnified Person. The Indemnified Persons are express third party
beneficiaries of this Article IX.

        Section 9.2 Indemnification Procedure. Promptly after receipt by an Indemnified
Person of notice of the commencement of any claim, challenge, litigation, investigation or
proceeding (an “Indemnified Claim”), such Indemnified Person will, if a claim is to be made
hereunder against the Indemnifying Party in respect thereof, notify the Indemnifying Party in
writing of the commencement thereof; provided that (a) the omission to so notify the Indemnifying
Party will not relieve the Indemnifying Party from any liability that it may have hereunder except
to the extent it has been materially prejudiced by such failure and (b) the omission to so notify the
Indemnifying Party will not relieve the Indemnifying Party from any liability that it may have to
such Indemnified Person otherwise than on account of this Article IX. In case any such
Indemnified Claims are brought against any Indemnified Person and it notifies the Indemnifying
Party of the commencement thereof, the Indemnifying Party will be entitled to participate therein,
and, to the extent that it may elect by written notice delivered to such Indemnified Person, to
assume the defense thereof or participation therein, with counsel reasonably acceptable to such
Indemnified Person; provided that if the parties (including any impleaded parties) to any such
Indemnified Claims include both such Indemnified Person and the Indemnifying Party and based
on advice of such Indemnified Person’s counsel there are legal defenses available to such
Indemnified Person that are different from or additional to those available to the Indemnifying
Party, such Indemnified Person shall have the right to select separate counsel to assert such legal
defenses and to otherwise participate in the defense of such Indemnified Claims. Upon receipt of
notice from the Indemnifying Party to such Indemnified Person of its election to so assume the
defense of such Indemnified Claims with counsel reasonably acceptable to the Indemnified Person,
the Indemnifying Party shall not be liable to such Indemnified Person for expenses incurred by
such Indemnified Person in connection with the defense thereof (other than reasonable costs of
investigation) unless (i) such Indemnified Person shall have employed separate counsel (in
addition to any local counsel) in connection with the assertion of legal defenses in accordance with
the proviso to the immediately preceding sentence (it being understood, however, that the
Indemnifying Party shall not be liable for the expenses of more than one separate counsel
representing the Indemnified Persons who are parties to such Indemnified Claims (in addition to
one local counsel in each jurisdiction in which local counsel is required)), (ii) the Indemnifying
Party shall not have employed counsel reasonably acceptable to such Indemnified Person to
represent such Indemnified Person within a reasonable time after notice of commencement of the
Indemnified Claims, (iii) after the Indemnifying Party assumes the defense of the Indemnified

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Claims and determines in good faith that the Indemnifying Party shall have failed or is failing to
defend such claim, and is provided written notice of such failure by the Indemnified Person and
such failure is not reasonably cured within ten (10) Business Days of receipt of such notice, or (iv)
the Indemnifying Party shall have authorized in writing the employment of counsel for such
Indemnified Person.

Nothing in this Section 9.2 shall limit the ability that the Debtors and the Reorganized Debtors
otherwise have (i) to have sole control over any Tax controversy or Tax audit of the Debtors or the
Reorganized Debtors or (ii) to settle any liability for Taxes of the Debtors or the Reorganized
Debtors. The Debtors or Reorganized Debtors, as applicable, shall give prompt notice to all
relevant Backstop Parties of any material changes or events in connection with a Tax controversy
or audit.

        Section 9.3 Settlement of Indemnified Claims. The Indemnifying Party shall not be
liable for any settlement of any Indemnified Claims effected without its written consent (which
consent shall not be unreasonably withheld). If any settlement of any Indemnified Claims is
consummated with the written consent of the Indemnifying Party or if there is a final judgment for
the plaintiff in any such Indemnified Claims, the Indemnifying Party agrees to indemnify and hold
harmless each Indemnified Person from and against any and all Losses by reason of such
settlement or judgment to the extent such Losses are otherwise subject to indemnification by the
Indemnifying Party hereunder in accordance with, and subject to the limitations of, the provisions
of this Article IX. The Indemnifying Party shall not, without the prior written consent of an
Indemnified Person (which consent shall be granted or withheld in the Indemnified Person’s sole
discretion), effect any settlement of any pending or threatened Indemnified Claims in respect of
which indemnity or contribution has been sought hereunder by such Indemnified Person unless (a)
such settlement includes an unconditional release of such Indemnified Person in form and
substance reasonably acceptable to such Indemnified Person from all liability on the claims that
are the subject matter of such Indemnified Claims and (b) such settlement does not include any
statement as to or any admission of fault, culpability or a failure to act by or on behalf of any
Indemnified Person.

         Section 9.4 Contribution. If for any reason the foregoing indemnification is unavailable
to any Indemnified Person or insufficient to hold it harmless from Losses that are subject to
indemnification pursuant to Section 9.1, then the Indemnifying Party shall contribute to the amount
paid or payable by such Indemnified Person as a result of such Loss in such proportion as is
appropriate to reflect not only the relative benefits received by the Indemnifying Party, on the one
hand, and such Indemnified Person, on the other hand, but also the relative fault of the
Indemnifying Party, on the one hand, and such Indemnified Person, on the other hand, as well as
any relevant equitable considerations. It is hereby agreed that the relative benefits to the
Indemnifying Party, on the one hand, and all Indemnified Persons, on the other hand, shall be
deemed to be in the same proportion as (a) the total value received or proposed to be received by
the Company (or Reorganized Chesapeake, as applicable) pursuant to the issuance and sale of the
Unsubscribed Shares and the Rights Offering Shares in the Rights Offering contemplated by this
Agreement and the Plan bears to (b) the Put Option Premium paid or proposed to be paid to the
Backstop Parties. The Indemnifying Parties also agree that no Indemnified Person shall have any
liability based on their comparative or contributory negligence or otherwise to the Indemnifying


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Parties, any Person asserting claims on behalf of or in right of any of the Indemnifying Parties, or
any other Person in connection with an Indemnified Claim.

       Section 9.5 Treatment of Indemnification Payments. All amounts paid by the
Indemnifying Party to an Indemnified Person under this Article IX shall, to the extent permitted
by applicable Law, be treated as adjustments to the Purchase Price for all Tax purposes. The
provisions of this Article IX are an integral part of the transactions contemplated by this Agreement
and without these provisions the Backstop Parties would not have entered into this Agreement,
and the obligations of the Debtors under this Article IX shall constitute allowed administrative
expenses of the Debtors’ estate under Sections 503(b) and 507 of the Bankruptcy Code and are
payable without further Order of the Bankruptcy Court, and the Debtors (and the Reorganized
Debtors) may comply with the requirements of this Article IX without further Order of the
Bankruptcy Court.

                                       ARTICLE X
                                   GENERAL PROVISIONS

        Section 10.1 Notices. All notices and other communications in connection with this
Agreement shall be in writing and shall be deemed given if delivered personally, sent via electronic
mail, mailed by registered or certified mail (return receipt requested) or delivered by an express
courier (with confirmation) to the Parties at the following addresses (or at such other address for a
Party as may be specified by like notice):

           (a)      If to the Company or any of the other Debtors:

                       Chesapeake Energy Corporation
                       6100 North Western Avenue
                       Oklahoma City, Oklahoma 73118
                       Tel: (405) 848-8000
                       Attn: James R. Webb, Executive Vice President, General Counsel and
                       Corporate Secretary
                       Email: jim.webb@chk.com

                       with copies (which shall not constitute notice) to:

                       Kirkland & Ellis LLP
                       300 North LaSalle Street
                       Chicago, Illinois 60654,
                       Tel: (312) 862-2000
                       Fax: (312) 862-2200
                       Attn: Patrick J. Nash, Jr., P.C.
                              Marc Kieselstein, P.C.
                              Alexandra Schwarzman
                       Email: patrick.nash@kirkland.com
                              marc.kieselstein@kirkland.com
                              alexandra.schwarzman@kirkland.com

           (b)      If to the FLLO Backstop Parties, to:

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                          Davis Polk & Wardwell LLP
                          450 Lexington Avenue
                          New York, NY 10017
                          Tel: +1 212 450 4000
                          Fax: +1 212 701 5800
                          Attn: Damian S. Schaible
                                 Darren S. Klein
                                 Aryeh Ethan Falk
                                 Stephen Salmon
                                 Bryan M. Quinn
                          Email: damian.schaible@davispolk.com;
                                 darren.klein@davispolk.com
                                 aryeh.falk@davispolk.com
                                 stephen.salmon@davispolk.com
                                 bryan.quinn@davispolk.com

              (c)      If to the Franklin Backstop Parties, to:

                          Akin Gump Strauss Hauer & Feld LLP
                          One Bryant Park
                          Bank of America Tower
                          New York, NY 10036-6745
                          Tel: +1 713 220 5800
                          Attn: Michael S. Stamer
                                 Meredith A. Lahaie
                                 Stephen B. Kuhn
                          Email: mstamer@akingump.com;
                                 mlahaie@akingump.com
                                 skuhn@akingump.com

           Section 10.2 Assignment; Third Party Beneficiaries. Neither this Agreement nor any of
   the rights, interests or obligations under this Agreement shall be assigned by any Party (whether
   by operation of Law or otherwise) without the prior written consent of the Company and the
   Required Backstop Parties, other than an assignment by a Backstop Party expressly permitted by
   Section 2.3 or 2.6 and any purported assignment in violation of this Section 10.2 shall be void ab
   initio. Except as provided under Article IX with respect to the Indemnified Persons, this
   Agreement (including the documents and instruments referred to in this Agreement) is not intended
   to and does not confer upon any Person any rights or remedies under this Agreement other than
   the Parties.

           Section 10.3 Prior Negotiations; Entire Agreement.

                (a)     This Agreement (including the agreements attached as Exhibits to and the
documents and instruments referred to in this Agreement) and the Restructuring Support Agreement
(including the Restructuring Term Sheet) constitute the entire agreement of the Parties and supersede
all prior agreements, arrangements or understandings, whether written or oral, among the Parties with
respect to the subject matter of this Agreement, except that the Parties hereto acknowledge that any

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confidentiality agreements heretofore executed among the Parties and the Restructuring Support
Agreement (including the Restructuring Term Sheet) will each continue in full force and effect;
provided, that in the event of any conflict between this Agreement and the Restructuring Support
Agreement (including the Restructuring Term Sheet), the Restructuring Support Agreement (including
the Restructuring Term Sheet) shall prevail. All exhibits, schedules and annexes hereto or referred to
herein are hereby incorporated in and made a part of this Agreement as if set forth in full herein.

              (b)      Notwithstanding anything to the contrary in the Plan (including any
amendments, supplements or modifications thereto) or the Confirmation Order (and any amendments,
supplements or modifications thereto) or an affirmative vote to accept the Plan submitted by any
Backstop Party, nothing contained in the Plan (including any amendments, supplements or
modifications thereto) or Confirmation Order (including any amendments, supplements or
modifications thereto) shall alter, amend or modify the rights of the Backstop Parties under this
Agreement unless such alteration, amendment or modification has been made in accordance with
Section 10.7.

         Section 10.4 Governing Law; Venue. THIS AGREEMENT SHALL BE GOVERNED
   BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
   YORK, WITHOUT REGARD TO SUCH STATE’S CHOICE OF LAW PROVISIONS WHICH
   WOULD REQUIRE THE APPLICATION OF THE LAW OF ANY OTHER JURISDICTION.
   BY ITS EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH PARTY
   IRREVOCABLY AND UNCONDITIONALLY AGREES FOR ITSELF THAT ANY LEGAL
   ACTION, SUIT, OR PROCEEDING AGAINST IT WITH RESPECT TO ANY MATTER
   ARISING UNDER OR ARISING OUT OF OR IN CONNECTION WITH THIS AGREEMENT
   OR FOR RECOGNITION OR ENFORCEMENT OF ANY JUDGMENT RENDERED IN ANY
   SUCH ACTION, SUIT, OR PROCEEDING, MAY BE BROUGHT IN THE BANKRUPTCY
   COURT, AND BY EXECUTING AND DELIVERING THIS AGREEMENT, EACH OF THE
   PARTIES IRREVOCABLY ACCEPTS AND SUBMITS ITSELF TO THE EXCLUSIVE
   JURISDICTION OF SUCH COURT, GENERALLY AND UNCONDITIONALLY, WITH
   RESPECT TO ANY SUCH ACTION, SUIT OR PROCEEDING. THE PARTIES HEREBY
   AGREE THAT MAILING OF PROCESS OR OTHER PAPERS IN CONNECTION WITH ANY
   SUCH ACTION OR PROCEEDING TO AN ADDRESS PROVIDED IN WRITING BY THE
   RECIPIENT OF SUCH MAILING, OR IN SUCH OTHER MANNER AS MAY BE
   PERMITTED BY LAW, SHALL BE VALID AND SUFFICIENT SERVICE THEREOF AND
   HEREBY WAIVE ANY OBJECTIONS TO SERVICE ACCOMPLISHED IN THE MANNER
   HEREIN PROVIDED.

        Section 10.5 Waiver of Jury Trial. EACH PARTY HEREBY WAIVES ALL RIGHTS
   TO TRIAL BY JURY IN ANY JURISDICTION IN ANY ACTION, SUIT OR PROCEEDING
   BROUGHT TO RESOLVE ANY DISPUTE AMONG THE PARTIES UNDER THIS
   AGREEMENT, WHETHER IN CONTRACT, TORT OR OTHERWISE.

           Section 10.6 Counterparts. This Agreement may be executed through the use of
   electronic signature and in any number of counterparts, all of which will be considered an original
   and one and the same agreement and will become effective when counterparts have been signed
   (electronically or otherwise) by each of the Parties and delivered to each other Party (including via
   facsimile or other electronic transmission), it being understood that each Party need not sign the

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same counterpart. The Company shall be provided signature pages of the Backstop Parties in
unredacted form; provided, that the Company, the Debtors and counsel to the Company and the
Debtors shall not make any public disclosure of any kind that would disclose either: (i) the holdings
or Backstop Commitments of any Backstop Parties (including the signature pages hereto, which
shall not be publicly disclosed or filed), (ii) the identity of any Backstop Parties and (iii) the
Backstop Commitment Schedule, in each case without the prior written consent of such Backstop
Party or the order of a Bankruptcy Court or other court with competent jurisdiction.

         Section 10.7 Waivers and Amendments; Rights Cumulative; Consent. This Agreement
may be amended, restated, modified or changed only by a written instrument signed by the
Company and the Required Backstop Parties; provided, that any Backstop Party’s (other than a
Defaulting Backstop Party) prior written consent shall be required for any amendment that would,
directly or indirectly: (i) modify such Backstop Party’s Backstop Commitment Percentage,
including with respect to the Direct Investment Shares, (ii) increase the Per Share Purchase Price,
(iii) decrease the Put Option Premium or adversely modify the method of payment thereof, (iv)
extend the Outside Date other than as permitted by Section 8.2(a), (v) change any provision of this
Section 10.7 or the definition of “Required Backstop Parties” or (vi) have a materially adverse and
disproportionate effect on such Backstop Party. Notwithstanding the foregoing, the Backstop
Commitment Schedule shall be revised as necessary without requiring a written instrument signed
by the Company and the Required Backstop Parties to reflect changes in the composition of the
Backstop Parties and Backstop Commitment Percentages as a result of Transfers permitted in
accordance with the terms and conditions of this Agreement and no such revisions shall give rise
to any termination right or allow the Backstop Parties to fail to close the transactions contemplated
by this Agreement. The terms and conditions of this Agreement (other than the conditions set
forth in Sections 7.1 and 7.3, the waiver of which shall be governed by Article VII) may be waived
(A) by the Debtors only by a written instrument executed by the Company and (B) by the Required
Backstop Parties only by a written instrument executed by the Required Backstop Parties. No
delay on the part of any Party in exercising any right, power or privilege pursuant to this Agreement
will operate as a waiver thereof, nor will any waiver on the part of any Party of any right, power
or privilege pursuant to this Agreement, nor will any single or partial exercise of any right, power
or privilege pursuant to this Agreement, preclude any other or further exercise thereof or the
exercise of any other right, power or privilege pursuant to this Agreement. Except as otherwise
provided in this Agreement, the rights and remedies provided pursuant to this Agreement are
cumulative and are not exclusive of any rights or remedies which any Party otherwise may have
at law or in equity.

       Section 10.8 Headings. The headings in this Agreement are for reference purposes only
and will not in any way affect the meaning or interpretation of this Agreement.

        Section 10.9 No Survival. All representations, warranties, covenants and agreements
made in this Agreement shall not survive the Closing Date except for covenants and agreements
that by their terms are to be satisfied after the Closing Date, which covenants and agreements shall
survive until satisfied in accordance with their terms. Notwithstanding the foregoing, this Article
X, the indemnification and other obligations of the Company pursuant to Article IX and the
obligations set forth in Article III, Section 6.13 and Section 8.5 shall survive the Closing Date or
the termination of this Agreement until the latest date permitted by applicable Law and, if
applicable, be assumed by Reorganized Chesapeake and its Subsidiaries.

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        Section 10.10 Specific Performance. The Parties agree that irreparable damage would
occur if any provision of this Agreement were not performed in accordance with the terms hereof
and that the Parties shall be entitled to an injunction or injunctions without the necessity of posting
a bond to prevent breaches of this Agreement or to enforce specifically the performance of the
terms and provisions hereof, in addition to any other remedy to which they are entitled at law or
in equity. Unless otherwise expressly stated in this Agreement, no right or remedy described or
provided in this Agreement is intended to be exclusive or to preclude a Party from pursuing other
rights and remedies to the extent available under this Agreement, at law or in equity.

       Section 10.11 Damages. Notwithstanding anything to the contrary in this Agreement,
none of the Parties will be liable for, and none of the Parties shall claim or seek to recover, any
punitive, special, indirect or consequential damages or damages for lost profits.

         Section 10.12 No Reliance. No Backstop Party or any of its Related Parties shall have any
duties or obligations to the other Backstop Parties in respect of this Agreement, the Plan or the
transactions contemplated hereby or thereby, except those expressly set forth herein. Without
limiting the generality of the foregoing, (a) no Backstop Party or any of its Related Parties shall
be subject to any fiduciary or other implied duties to the other Backstop Parties, (b) no Backstop
Party or any of its Related Parties shall have any duty to take any discretionary action or exercise
any discretionary powers on behalf of any other Backstop Party, (c) no Backstop Party or any of
its Related Parties shall have any duty to the other Backstop Parties to obtain, through the exercise
of diligence or otherwise, to investigate, confirm, or disclose to the other Backstop Parties any
information relating to any Debtor that may have been communicated to or obtained by such
Backstop Party or any of its Affiliates in any capacity, (d) no Backstop Party may rely, and each
Backstop Party confirms that it has not relied, on any due diligence investigation that any other
Backstop Party or any Person acting on behalf of such other Backstop Party may have conducted
with respect to the Company or any of its Affiliates or any of their respective securities, and
(e) each Backstop Party acknowledges that no other Backstop Party is acting as a placement agent,
initial purchaser, underwriter, broker or finder with respect to its Unsubscribed Shares or Backstop
Commitment Percentage of its Backstop Commitment.

        Section 10.13 Publicity. Other than as may be required by applicable Law or the rules and
regulations of any securities exchange, at all times prior to the Closing Date or the earlier
termination of this Agreement in accordance with its terms, the Company and the Backstop Parties
shall consult with each other prior to issuing any press releases (and provide each other a
reasonable opportunity to review and comment upon such release) or otherwise making public
announcements with respect to the transactions contemplated by this Agreement, it being
understood that nothing in this Section 10.13 shall prohibit any Party from filing any motions or
other pleadings or documents with the Bankruptcy Court in connection with the Chapter 11 Cases
or making any other filings or public announcements as may be required by applicable Law. For
the avoidance of doubt, each Party shall have the right, without any obligation to the other Parties,
to decline to comment to the press with respect to this Agreement.

        Section 10.14 Settlement Discussions. This Agreement and the transactions contemplated
herein are part of a proposed settlement of a dispute between the Parties. Nothing herein shall be
deemed an admission of any kind. Pursuant to Section 408 of the U.S. Federal Rules of
Evidence and any applicable state rules of evidence, this Agreement and all negotiations relating

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thereto shall not be admissible into evidence in any Legal Proceeding, except to the extent filed
with, or disclosed to, the Bankruptcy Court in connection with the Chapter 11 Cases (other than a
Legal Proceeding to approve or enforce the terms of this Agreement).

         Section 10.15 No Recourse. Notwithstanding anything that may be expressed or implied
in this Agreement, and notwithstanding the fact that certain of the Parties may be partnerships or
limited liability companies, each Party covenants, agrees and acknowledges that no recourse under
this Agreement or any documents or instruments delivered in connection with this Agreement shall
be had against any Party’s Affiliates, or any of such Party’s Affiliates’ or respective Related Parties
in each case other than the Parties to this Agreement and each of their respective successors (which
with respect to the Debtors includes the Reorganized Debtors) and permitted assignees under this
Agreement, whether by the enforcement of any assessment or by any legal or equitable proceeding,
or by virtue of any applicable Law, it being expressly agreed and acknowledged that no personal
liability whatsoever shall attach to, be imposed on or otherwise be incurred by any of the Related
Parties, as such, for any obligation or liability of any Party under this Agreement or any documents
or instruments delivered in connection herewith for any claim based on, in respect of or by reason
of such obligations or liabilities or their creation; provided, however, nothing in this Section 10.15
shall relieve or otherwise limit the liability of any Party hereto or any of their respective successors
or permitted assigns for any breach or violation of its obligations under this Agreement or such
other documents or instruments. For the avoidance of doubt, none of the Parties will have any
recourse, be entitled to commence any proceeding or make any claim under this Agreement or in
connection with the transactions contemplated hereby except against any of the Parties or their
respective successors and permitted assigns, as applicable.

        Section 10.16 Independence of Backstop Parties’ Obligations and Rights. The obligations
of each Backstop Party under this Agreement and the transactions contemplated herein and therein
are several and not joint with the obligations of any other Backstop Party, and no Backstop Party
shall be responsible in any way for the performance of the obligations of any other Backstop Party
under this Agreement or the transactions contemplated herein. Nothing contained herein or in any
other agreement referred to in this Agreement, and no action taken by any Backstop Party pursuant
hereto shall be deemed to constitute the Backstop Parties as, and the Debtors acknowledges that
the Backstop Parties do not so constitute, a partnership, an association, a joint venture or any other
kind of entity, or create a presumption that the Backstop Parties are in any way acting in concert
or as a group, including, without limitation, with respect to any agreement, arrangement, or
understanding with respect to acting together for the purpose of acquiring, holding, voting, or
disposing of any equity securities of the Debtors or with respect to acting as a “group” within the
meaning of Rule 13d-5 under the Exchange Act, and the Debtors will not assert any such claim
with respect to such obligations or the transactions contemplated by this Agreement and the
Debtors acknowledge that the Backstop Parties are not acting in concert or as a group with respect
to such obligations or the transactions contemplated by this Agreement. The Debtors acknowledge
and each Backstop Party confirms that it has independently participated in the negotiation of the
transactions contemplated herein with the advice of its own counsel and advisors. Each Backstop
Party shall be entitled to independently protect and enforce its rights, including, without limitation,
the rights arising out of this Agreement and it shall not be necessary for any other Backstop Party
to be joined as an additional party in any proceeding for such purpose. The use of a single
agreement to effectuate the transactions contemplated herein was solely in the control of the
Debtors, not the action or decision of any Backstop Party, and was done solely for the convenience

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of the Debtors and not because it was required or requested to do so by any Backstop Party. It is
expressly understood and agreed that each provision contained in this Agreement is between the
Backstop Parties and the Debtors, solely, and not between the Debtors and the Backstop Parties
collectively and not between and among the Backstop Parties.




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        IN WITNESS WHEREOF,the undersigned Parties have duly executed this Agreement as
of the date first above written.

                                        CHESAPEAKE ENERGY CORPORATION


                                        By:
                                              Name: Dome is J. Dell'O o, Jr.
                                              Title: Executive Vice President and Chief
                                                     Financial Officer




                  [Signatzrre page to Backstop Commitment Agreement]
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         [Backstop Parties signature pages on file with the Debtors.]
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                                 Schedule 1

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             [Backstop Commitment Schedule on file with the Debtors.]
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                                            Exhibit A

                                  Form of Joinder Agreement


                                   JOINDER AGREEMENT

       This joinder agreement (the “Joinder Agreement”) to Backstop Commitment Agreement
dated [●], 2020 (as amended, supplemented or otherwise modified from time to time, the “BCA”),
between the Debtors (as defined in the BCA) and the Backstop Parties (as defined in the BCA) is
executed and delivered by ________________________________ (the “Joining Party”) as of
______________, 2020 (the “Joinder Date”). Each capitalized term used herein but not otherwise
defined shall have the meaning set forth in the BCA.

        Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the terms
of the BCA, a copy of which is attached to this Joinder Agreement as Annex I (as the same has
been or may be hereafter amended, restated or otherwise modified from time to time in accordance
with the provisions hereof). The Joining Party shall hereafter be deemed to be an “Backstop Party”
for all purposes under the BCA. If the Joining Party is not a party to the Restructuring Support
Agreement, the Joining Party shall prior to, or simultaneously with, its execution of this Joinder
Agreement, also execute a joinder to the Restructuring Support Agreement.

        Representations and Warranties. The Joining Party hereby severally and not jointly makes
the representations and warranties of the Backstop Parties set forth in Article V of the BCA to the
Debtors as of the date of this Joinder Agreement.

       Governing Law. This Joinder Agreement shall be governed by and construed in
accordance with the Laws of the State of New York without application of any choice of law
provisions that would require the application of the Laws of another jurisdiction.

                                    [Signature pages follow.]
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       IN WITNESS WHEREOF, the Joining Party has caused this Joinder Agreement to be
executed as of the Joinder Date.

                                      JOINING PARTY

                                      [BACKSTOP PARTY], by and on behalf of
                                      certain of its and its affiliates’ managed funds
                                      and/or accounts


                                      By:
                                             Name:
                                             Title:



AGREED AND ACCEPTED AS OF THE
JOINDER DATE:

CHESAPEAKE ENERGY CORPORATION, as Debtor


By:
      Name:
      Title:
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                                              Exhibit 5

                          Release, Exculpation, and Injunction Provisions

                            Release, Exculpation, and Injunction Provisions

Releases by the Debtors         Notwithstanding anything contained in the Plan to the contrary, pursuant to
                                section 1123(b) of the Bankruptcy Code, in exchange for good and valuable
                                consideration, the adequacy of which is hereby confirmed, on and after the
                                Plan Effective Date, each Released Party is deemed to be, hereby
                                conclusively, absolutely, unconditionally, irrevocably, and forever released
                                and discharged by the Debtors, the Reorganized Debtors, and their Estates,
                                in each case on behalf of themselves and their respective successors, assigns,
                                and representatives, and any and all other Entities who may purport to assert
                                any Cause of Action, directly or derivatively, by, through, for, or because of
                                the foregoing Entities, from any and all Claims and Causes of Action,
                                including any derivative claims, asserted on behalf of the Debtors, whether
                                known or unknown, foreseen or unforeseen, matured or unmatured, existing
                                or hereafter arising, in law, equity, contract, tort or otherwise, that the
                                Debtors, the Reorganized Debtors, or their Estates would have been legally
                                entitled to assert in their own right (whether individually or collectively) or
                                on behalf of the holder of any Claim against, or Interest in, a Debtor or other
                                Entity, or that any holder of any Claim against, or Interest in, a Debtor or
                                other Entity could have asserted on behalf of the Debtors, based on or
                                relating to, or in any manner arising from, in whole or in part, the Debtors
                                (including the capital structure, management, ownership, or operation
                                thereof), any security of the Debtors or the Reorganized Debtors, the subject
                                matter of, or the transactions or events giving rise to, any Claim or Interest
                                that is treated in the Plan, the business or contractual arrangements between
                                any Debtor and any Released Party, the Revolving Credit Facility, the FLLO
                                Term Loan Facility, the Second Lien Notes, the assertion or enforcement of
                                rights and remedies against the Debtors, the Debtors’ in- or out-of-court
                                restructuring efforts, any avoidance actions, intercompany transactions
                                between or among a Company Party and another Company Party, the
                                Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
                                or Filing of the RSA, the Disclosure Statement, the Backstop Commitment
                                Agreement, the DIP Facility, the Exit Facilities, the Plan (including, for the
                                avoidance of doubt, the Plan Supplement), or any Restructuring
                                Transaction, contract, instrument, release, or other agreement or document
                                (including any legal opinion requested by any Entity regarding any
                                transaction, contract, instrument, document or other agreement
                                contemplated by the Plan or the reliance by any Released Party on the Plan
                                or the Confirmation Order in lieu of such legal opinion) created or entered
                                into in connection with the RSA, the Disclosure Statement, the Backstop
                                Commitment Agreement, the DIP Facility, the Plan, the Plan Supplement,
                                or the Exit Facilities, before or during the Chapter 11 Cases, the Filing of
                                the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
                                Consummation, the administration and implementation of the Plan,
                                including the issuance or distribution of securities pursuant to the Plan, or
                                the distribution of property under the Plan or any other related agreement,
                                or upon any other act or omission, transaction, agreement, event, or other
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                         occurrence related or relating to any of the foregoing taking place on or
                         before the Plan Effective Date, other than claims or liabilities arising out of
                         or relating to any act or omission of a Released Party that constitutes actual
                         fraud, willful misconduct, or gross negligence, each solely to the extent as
                         determined by a Final Order of a court of competent jurisdiction.
                         Notwithstanding anything to the contrary in the foregoing, the releases set
                         forth above do not release any post Plan Effective Date obligations of any
                         party or Entity under the Plan, the Confirmation Order, any Restructuring
                         Transaction, or any document, instrument, or agreement (including those set
                         forth in the Plan Supplement) executed to implement the Plan, including the
                         Exit Facilities Documents, or any Claim or obligation arising under the Plan.
                         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
                         approval, pursuant to Bankruptcy Rule 9019, of the debtors’ release, which
                         includes by reference each of the related provisions and definitions
                         contained in the Plan, and further, shall constitute the Bankruptcy Court’s
                         finding that the debtors’ release is: (a) in exchange for the good and
                         valuable consideration provided by the Released Parties, including, without
                         limitation, the Released Parties’ contributions to facilitating the
                         Restructuring and implementing the Plan; (b) a good faith settlement and
                         compromise of the Claims released by the debtors’ release; (c) in the best
                         interests of the Debtors and all holders of Claims and Interests; (d) fair,
                         equitable, and reasonable; (e) given and made after due notice and
                         opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized
                         Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action
                         released pursuant to the debtors’ release.

Releases by Holders of   Except as otherwise expressly set forth in this Plan or the Confirmation
Claims and Interests     Order, on and after the Plan Effective Date, in exchange for good and
                         valuable consideration, the adequacy of which is hereby confirmed, each
                         Released Party is, and is deemed to be, hereby conclusively, absolutely,
                         unconditionally, irrevocably and forever, released and discharged by each
                         Releasing Party from any and all Causes of Action, whether known or
                         unknown, foreseen or unforeseen, matured or unmatured, existing or
                         hereafter arising, in law, equity, contract, tort, or otherwise, including any
                         derivative claims asserted on behalf of the Debtors, that such Entity would
                         have been legally entitled to assert (whether individually or collectively),
                         based on or relating to, or in any manner arising from, in whole or in part,
                         the Debtors (including the capital structure, management, ownership, or
                         operation thereof), any security of the Debtors or the Reorganized Debtors,
                         the subject matter of, or the transactions or events giving rise to, any Claim
                         or Interest that is treated in the Plan, the business or contractual
                         arrangements between any Debtor and any Released Party, the Revolving
                         Credit Facility, the FLLO Term Loan Facility, the Second Lien Notes, the
                         assertion or enforcement of rights and remedies against the Debtors, the
                         Debtors’ in- or out-of-court restructuring efforts, any avoidance actions,
                         intercompany transactions between or among a Company Party and another
                         Company Party, the Chapter 11 Cases, the formulation, preparation,
                         dissemination, negotiation, or Filing of the RSA, the Disclosure Statement,
                         the DIP Facility, the Exit Facilities, the Plan (including, for the avoidance
                         of doubt, the Plan Supplement), or any Restructuring Transaction, contract,
                         instrument, release, or other agreement or document (including any legal


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                        opinion requested by any Entity regarding any transaction, contract,
                        instrument, document or other agreement contemplated by the Plan or the
                        reliance by any Released Party on the Plan or the Confirmation Order in lieu
                        of such legal opinion) created or entered into in connection with the RSA,
                        the Disclosure Statement, the DIP Facility, the Plan, the Plan Supplement,
                        before or during the Chapter 11 Cases, the Filing of the Chapter 11 Cases,
                        the pursuit of Confirmation, the pursuit of Consummation, the
                        administration and implementation of the Plan, including the issuance or
                        distribution of securities pursuant to the Plan, or the distribution of property
                        under the Plan or any other related agreement, or upon any other act or
                        omission, transaction, agreement, event, or other occurrence related or
                        relating to any of the foregoing taking place on or before the Plan Effective
                        Date, other than claims or liabilities arising out of or relating to any act or
                        omission of a Released Party that constitutes actual fraud, willful
                        misconduct, or gross negligence, each solely to the extent as determined by
                        a Final Order of a court of competent jurisdiction. Notwithstanding
                        anything to the contrary in the foregoing, the releases set forth above do not
                        release (i) any party of any obligations related to customary banking
                        products, banking services or other financial accommodations (except as
                        may be expressly amended or modified by the Plan and the Exit Facilities
                        Credit Agreements, or any other financing document under and as defined
                        therein) or (ii) any post-Plan Effective Date obligations of any party or
                        Entity under the Plan, the Confirmation Order, any Restructuring
                        Transaction, or any document, instrument, or agreement (including those set
                        forth in the Plan Supplement) executed to implement the Plan, including the
                        Exit Facilities documents, or any Claim or obligation arising under the Plan.
                        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
                        approval, pursuant to Bankruptcy Rule 9019, of the third-party releases,
                        which includes by reference each of the related provisions and definitions
                        contained herein, and, further, shall constitute the Bankruptcy Court’s
                        finding that the third-party releases are: (a) consensual; (b) essential to the
                        confirmation of the Plan; (c) given in exchange for the good and valuable
                        consideration provided by the Released Parties; (d) a good faith settlement
                        and compromise of the Claims released by the third-party releases; (e) in the
                        best interests of the Debtors and their Estates; (f) fair, equitable, and
                        reasonable; (g) given and made after due notice and opportunity for hearing;
                        and (h) a bar to any of the Releasing Parties asserting any claim or Cause of
                        Action released pursuant to the third-party releases.

Exculpation             Except as otherwise specifically provided in the Plan or the Confirmation
                        Order, no Exculpated Party shall have or incur liability for, and each
                        Exculpated Party is hereby released and exculpated from, any Cause of
                        Action for any claim related to any act or omission in connection with,
                        relating to, or arising out of, the Chapter 11 Cases, the formulation,
                        preparation, dissemination, negotiation, Filing, or termination of the RSA
                        and related prepetition transactions, the Disclosure Statement, the Plan, the
                        Plan Supplement, or any Restructuring Transaction, contract, instrument,
                        release or other agreement or document (including any legal opinion
                        requested by any Entity regarding any transaction, contract, instrument,
                        document or other agreement contemplated by the Plan or the reliance by
                        any Released Party on the Plan or the Confirmation Order in lieu of such


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                        legal opinion) created or entered into before or during the Chapter 11 Cases,
                        any preference, fraudulent transfer, or other avoidance claim arising
                        pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the
                        Filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
                        Consummation, the administration and implementation of the Plan,
                        including the issuance or distribution of securities pursuant to the Plan, or
                        the distribution of property under the Plan or any other related agreement,
                        or upon any other related act or omission, transaction, agreement, event, or
                        other occurrence taking place on or before the Plan Effective Date, except
                        for claims related to any act or omission that is determined in a Final Order
                        by a court of competent jurisdiction to have constituted actual fraud, willful
                        misconduct, or gross negligence, but in all respects such Entities shall be
                        entitled to reasonably rely upon the advice of counsel with respect to their
                        duties and responsibilities pursuant to the Plan.
                        The Exculpated Parties and other parties set forth above have, and upon
                        confirmation of the Plan shall be deemed to have, participated in good faith
                        and in compliance with the applicable laws with regard to the solicitation of
                        votes and distribution of consideration pursuant to the Plan and, therefore,
                        are not, and on account of such distributions shall not be, liable at any time
                        for the violation of any applicable law, rule, or regulation governing the
                        solicitation of acceptances or rejections of the Plan or such distributions
                        made pursuant to the Plan.

Injunction              Except as otherwise expressly provided in the Plan or the Confirmation
                        Order or for obligations issued or required to be paid pursuant to the Plan or
                        the Confirmation Order, all Entities who have held, hold, or may hold
                        Claims or Interests that have been released, discharged, or are subject to
                        exculpation are permanently enjoined, from and after the Plan Effective
                        Date, from taking any of the following actions against, as applicable, the
                        Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released
                        Parties: (1) commencing or continuing in any manner any action or other
                        proceeding of any kind on account of or in connection with or with respect
                        to any such Claims or Interests; (2) enforcing, attaching, collecting, or
                        recovering by any manner or means any judgment, award, decree, or order
                        against such Entities on account of or in connection with or with respect to
                        any such Claims or Interests; (3) creating, perfecting, or enforcing any
                        encumbrance of any kind against such Entities or the property or the Estates
                        of such Entities on account of or in connection with or with respect to any
                        such Claims or Interests; (4) asserting any right of setoff, subrogation, or
                        recoupment of any kind against any obligation due from such Entities or
                        against the property of such Entities on account of or in connection with or
                        with respect to any such Claims or Interests unless such holder has Filed a
                        motion requesting the right to perform such setoff on or before the Plan
                        Effective Date, and notwithstanding an indication of a Claim or Interest or
                        otherwise that such holder asserts, has, or intends to preserve any right of
                        setoff pursuant to applicable law or otherwise; and (5) commencing or
                        continuing in any manner any action or other proceeding of any kind on
                        account of or in connection with or with respect to any such Claims or
                        Interests released or settled pursuant to the Plan.
                        Upon entry of the Confirmation Order, all holders of Claims and Interests
                        and their respective current and former employees, agents, officers,


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                       directors, principals, and direct and indirect affiliates shall be enjoined from
                       taking any actions to interfere with the implementation or Consummation of
                       the Plan. Except as otherwise set forth in the Confirmation Order, each
                       holder of an Allowed Claim or Allowed Interest, as applicable, by accepting,
                       or being eligible to accept, distributions under or Reinstatement of such
                       Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to
                       have consented to the injunction provisions set forth in this Restructuring
                       Term Sheet and the Plan.




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                                  Exhibit 6

                            Governance Term Sheet
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                        CHESAPEAKE ENERGY CORPORATION
                            GOVERNANCE TERM SHEET

This term sheet (this “Term Sheet”) describes certain corporate governance provisions to be in
effect after the Restructuring of Chesapeake Energy Corporation and the other Debtors.
Capitalized terms used in this Term Sheet but not defined herein shall have the meanings set forth
in the RSA and the Restructuring Term Sheet, as applicable, of which this Term Sheet forms a part.

 Reorganized         Reorganized Chesapeake (the “Company”) will be a Delaware
 Company             corporation.

 Capital Stock       One class of voting common stock (the “New Common Stock”) and
                     authorized but unissued “blank check” preferred stock, having such
                     designations, preferences, limitations and relative rights, including
                     preferences over the New Common Stock with respect to dividends and
                     distributions, as the New Board may determine.

 Board of            The New Board to consist of seven (7) directors composed of: (i) the chief
 Directors           executive officer of the Company; (ii) one director selected by BlackRock
                     Financial Management, Inc. (on behalf of funds and accounts under
                     management); (iii) one director selected by Fidelity Management and
                     Research (or a subsidiary or affiliate thereof); (iv) one director selected by
                     PGIM, Inc. (on behalf of funds and accounts under management); (v) one
                     director selected by Franklin Advisers, Inc. (or a subsidiary or affiliate
                     thereof); and (vi) two directors selected by the Consenting FLLO Term
                     Loan Facility Lenders (excluding those set forth in clauses (ii) through (v))
                     holding a majority in principal amount of the FLLO Term Loan Facility
                     held by such lenders.
                     The Consenting FLLO Term Loan Facility Lenders and Franklin will
                     consult with one another regarding the process of selecting the New Board.
                     At least four (4) of the members of the New Board shall meet the
                     independence requirements of The New York Stock Exchange.
                     After the Plan Emergence Date, the members of the New Board will be
                     elected by the holders of the New Common Stock annually.

 Stockholder         In addition to any approvals required under applicable law and regulation,
 Approvals           without the approval of the holders of a majority of the outstanding New
                     Common Stock, the Company shall not authorize, adopt or amend any
                     equity incentive plan other than the Management Incentive Plan or
                     authorize any increase in the amount of shares or equity awards under the
                     Management Incentive Plan or any other equity incentive plan or equity
                     compensation plan.
                     In addition, until such time as the New Common Stock is listed on a
                     National Securities Exchange (as defined below), without the approval of
                     the holders of a majority of outstanding New Common Stock, the
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                Company shall not:
                 (i)    issue shares of New Common Stock in excess of 5% of the fully-
                        diluted number of shares of New Common Stock outstanding and
                        authorized for issuance under the Plan on the Plan Effective Date
                        (including all shares contemplated under the claims recovery, the
                        New Warrants, the Rights Offering, the Backstop Commitment
                        Agreement and the Management Incentive Plan) or authorize or
                        issue any shares of preferred stock; provided that this limitation shall
                        not apply in connection with the adoption of a bona fide stockholder
                        rights plan by the Company’s board of directors;
                 (ii)   enter into any sales, transfers or licenses of any Company subsidiary,
                        division, operation, business, line of business, assets or property, in
                        each case, held by the Company or any of its subsidiaries with any
                        person other than the Company or one or more of its wholly-owned
                        subsidiaries involving consideration in excess of $50,000,000 per
                        transaction or series of related transactions; or
                 (iii) make any acquisition, by merger, consolidation or stock or asset
                       purchase or investment with respect to any business, assets, property
                       or any corporation or other entity, involving consideration in excess
                       of $50,000,000 per transaction or series of related transactions.
                “National Securities Exchange” means The New York Stock Exchange,
                The Nasdaq Global Select Market or The Nasdaq Global Market.

Transfer        The New Common Stock will be transferrable without Company consent,
Restrictions    subject to compliance with applicable securities laws.
                If requested by the Required Consenting Stakeholders before the Plan
                Effective Date, the New Organizational Documents will include transfer
                restrictions designed to limit an ownership change for purposes of Section
                382 of the U.S. Internal Revenue Code or otherwise the Company may
                implement a stockholder rights plan designed for such purpose, in each
                case effective upon the Plan Effective Date.

Registration    Each Backstop Party to have customary registration rights for the New
Rights          Common Stock, the New Warrants and the New Common Stock
                underlying the New Warrants to be provided for in a registration rights
                agreement (the “RRA”).

Listing         Prior to the Plan Effective Date, the Required Consenting Stakeholders shall
                determine whether the Company shall use commercially reasonable efforts
                to (i) cause the New Common Stock to be listed on a National Securities
                Exchange on the Plan Effective Date or to (ii) cause the New Common Stock
                to be listed on an Alternative Securities Exchange on the Plan Effective
                Date, to engage a market maker for the New Common Stock and to take
                other reasonable steps to establish that the New Common Stock is regularly


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               traded on an established securities market for purposes of Section 897 under
               the U.S. Internal Revenue Code of 1986 and Treasury regulations
               promulgated and proposed to be promulgated thereunder (together, the
               “FIRPTA Rules”).
               The RRA will provide that, after the Plan Effective Date, if the New
               Common Stock is not then listed on a National Securities Exchange, the
               holders of a majority of the number of shares of New Common Stock
               outstanding on the Plan Effective Date can require the Company to use
               commercially reasonable efforts to cause the New Common Stock to be
               listed on a National Securities Exchange as promptly as reasonably
               practicable.
               The RRA will also provide that, after the Plan Effective Date, if the New
               Common Stock is not then listed on a National Securities Exchange, the
               holders of a majority of the number of shares of New Common Stock
               outstanding on the Plan Effective Date can require the Company to use
               commercially reasonable efforts to cause the New Common Stock to be
               listed on an Alternative Securities Exchange as promptly as reasonably
               practicable, to engage a market maker for the New Common Stock and to
               take other reasonable steps to establish that the New Common Stock is
               regularly traded on an established securities market for purposes of the
               FIRPTA Rules.
               “Alternative Securities Exchange” means, excluding any National
               Securities Exchange, any other securities exchange or over-the-counter
               quotation system, including, without limitation, the NYSE MKT, the
               Nasdaq Capital Market, any quotation or other listing service provided by
               the OTC Markets Group or the Financial Industry Regulatory Authority,
               Inc., any “pink sheet” or other alternative listing service or any successor
               or substantially equivalent service to any of the foregoing.

SEC Filings    The RRA will provide that at any time the Company is not required to file
               public reports with the SEC, the Company shall continue to file such public
               reports on EDGAR as a voluntary filer, unless approved by the holders of a
               majority of the outstanding New Common Stock.

DTC            The New Common Stock is to be DTC-eligible, other than any shares of
               New Common Stock required to bear a “restricted” legend under
               applicable securities laws (which shall be in DTC under a restricted
               CUSIP if feasible, otherwise in book entry form). The Company shall use
               commercially reasonable efforts to remove any such restricted legends
               when permitted under applicable securities laws, including obtaining any
               necessary legal opinions. The Company shall provide certificated shares
               upon reasonable request.

Other Terms    Consistent with Section 3.02 of the RSA, all other corporate governance
               terms, the New Organizational Documents and the RRA shall be in form


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              and substance reasonably satisfactory to the Required Consenting
              Stakeholders. The New Organizational Documents shall also provide for the
              indemnification and exculpation of directors, officers and appropriate
              persons to the fullest extent permitted by applicable law.




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                                                        EXHIBIT C

                                         Provision for Transfer Agreement

        The undersigned (“Transferee”) hereby acknowledges that it has read and understands the
Restructuring Support Agreement, dated as of __________ (the “Agreement”), 1 by and among
the Consenting Stakeholders and the other Parties thereto, including the transferor to the
Transferee of any Company Claims (each such transferor, a “Transferor”), and agrees to be bound
by the terms and conditions thereof to the extent the Transferor was thereby bound, and shall be
deemed a “Consenting Stakeholder” and a [“Consenting DIP Lender”] [“Consenting Revolving
Credit Facility Lender”] [“Consenting FLLO Term Loan Facility Lender”] [“Consenting Second
Lien Noteholder”] under the terms of the Agreement.

        The Transferee specifically agrees to be bound by the terms and conditions of the
Agreement and makes all representations and warranties contained therein as of the date of the
Transfer including the agreement to be bound by the vote of the Transferor if such vote was cast
before the effectiveness of the Transfer discussed herein.

Date Executed:
______________________________________
Name:
Title:
Address:
E-mail address(es):



    Aggregate Amounts Beneficially Owned or Managed on Account of:
    DIP Facility (total commitments)
    Revolving Credit Facility
    FLLO Term Loan Facility
    Second Lien Notes
    Unsecured Noteholders




1     Capitalized terms used but not otherwise defined herein shall having the meaning ascribed to such terms in the Agreement.
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                                                        EXHIBIT D

                                    Form of Consenting Stakeholder Joinder

        The undersigned (“Joinder Party”) hereby acknowledges that it has read and understands
the Restructuring Support Agreement, dated as of __________ (the “Agreement”), 1 by and among
the Consenting Stakeholders and the other Parties thereto, and agrees to be bound by the terms and
conditions thereof to the extent the other Parties are thereby bound, and shall be deemed a
“Consenting Stakeholder” and a [“Consenting DIP Lender”] [“Consenting Revolving Credit
Facility Lender”] [“Consenting FLLO Term Loan Facility Lender”] [“Consenting Second Lien
Noteholder”] under the terms of the Agreement.

        The Joinder Party specifically agrees to be bound by the terms and conditions of the
Agreement and makes all representations and warranties contained therein as of the date of this
joinder and any further date specified in the Agreement.

Date Executed:
______________________________________
Name:
Title:
Address:
E-mail address(es):



    Aggregate Amounts Beneficially Owned or Managed on Account of:
    DIP Facility (total commitments)
    Revolving Credit Facility
    FLLO Term Loan Facility
    Second Lien Notes
    Unsecured Noteholders




1     Capitalized terms used but not otherwise defined herein shall having the meaning ascribed to such terms in the Agreement.
